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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND



  STATE OF COLORADO, et al.,

              Plaintiffs,

        v.

  U.S. DEPARTMENT OF HEALTH AND HUMAN
  SERVICES, et al.,

              Defendants.




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                           DECLARATION OF SCOTT BOOKMAN
        ​       I, Scott Bookman, declare as follows:

        1.​     I am a resident of the State of Colorado. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.​     I am currently employed by the Colorado Department of Public Health and

 Environment (CDPHE) as the Senior Director of Public Health Readiness and Response.

        3.​     As the CDPHE Senior Director of Public Health Readiness and Response, I am

 responsible for oversight of the Division of Disease Control and Public Health Response, the

 Office of STI/HIV, and have a broader responsibility to ensure that CDPHE is prepared to

 respond to all public and environmental health emergencies. I served as Colorado’s COVID-19

 Incident Commander throughout the entire pandemic response.

        4.​     CDPHE recently received 4 award terminations from the U.S. Department of

 Health and Human Services, Centers for Disease Control and Prevention (CDC). The total value

 of the terminated awards was $635,737,356. All terminations were “for cause” based on the end

 of the COVID pandemic, rather than failure of the agency to follow the terms or conditions of

 the grants. Each award termination uses the same identical form language stating as follows:

 “The purpose of this amendment is to terminate the use of any remaining COVID-19 funding

 associated with this award. The termination of this funding is for cause. HHS regulations permit

 termination if “the non-Federal entity fails to comply with the terms and conditions of the

 award”, or separately, “for cause.” The end of the pandemic provides cause to terminate

 COVID-related grants and cooperative agreements. These grants and cooperative agreements

 were issued for a limited purpose: to ameliorate the effects of the pandemic. Now that the

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 pandemic is over, the grants and cooperative agreements are no longer necessary as their limited

 purpose has run out. Termination of use of funding under the listed document number(s) is

 effective as of the date set out in your Notice of Award.”

        5.​     Each of these 4 grant terminations included an unreasonable requirement to

 submit final federal financial reports (FFRs) within 30 days of the termination date for the award.

 Federal law requires FFRs for entities receiving federal funding, and allows for the completion

 of these final FFRs within 120 days after the termination of the federal award. 2 C.F.R. §

 200.344(b). A FFR is required for all federal funds spent by the recipient or subrecipient, and

 must include detailed information about the use of the funds. As CDPHE contracted out much of

 these 4 grant funds to other organizations, the agency must collect final close out information

 from each contractor or grantee, verify and consolidate the information, and report it back to the

 federal granting organization, here CDC. This new requirement to do so in a quarter of the

 typical timeframe when these subrecipient organizations may have limited or terminated staff

 and they had not yet begun the process of putting together final reporting information as they had

 no prior notice of the abrupt termination of the funds cannot be met in any reasonable way.

        6.​     Additionally, CDPHE received a Stop Work Order pertaining to federal funding it

 receives from the Colorado Behavioral Health Administration (BHA), based on BHA’s receipt of

 a termination notice for their federal grant from the U.S. Department of Health and Human

 Services, Substance Abuse and Mental Health Services Administration (SAMHSA).

        7.​     Descriptions of each award and the effects of these terminations follow.




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 National Initiative to Address COVID-19 Health Disparities Among Populations at

 High-Risk and Underserved, Including Racial and Ethnic Minority Populations and Rural

 Communities

        8.​      In 2021, CDC invited applications for the National Initiative to Address

 COVID-19 Health Disparities Among Populations at High-Risk and Underserved, Including

 Racial and Ethnic Minority Populations and Rural Communities (Health Disparities Grant).

        9.​      This grant’s stated purpose was to “Address COVID-19-related health disparities

 and advance health equity by expanding state, local, US territorial and freely associated state

 health department capacity and services to prevent and control COVID-19 infection (or

 transmission) among populations at higher risk and that are underserved, including racial and

 ethnic minority groups and people living in rural communities.” The notice of funding

 announcement specifically stated that “All strategies should aim to build infrastructures that both

 address disparities in the current COVID-19 pandemic and set the foundation to address future

 responses.” Throughout the grant period, we received instructions from CDC (via monthly

 program meetings, feedback to progress reports, and approvals of extension requests) to focus

 our work on addressing the indirect impact the COVID-19 pandemic had on communities, direct

 impacts of the COVID-19 virus, and direct COVID-19 pandemic response functions.

        10.​     As set out in its grant proposal, CDPHE intended to use the Health Disparities

 Grant to expand existing and develop new mitigation and prevention resources and services to

 reduce COVID-19 related disparities among underserved populations at higher risk. Activities

 focused on:

              a.​ conducting COVID-19 vaccination clinics, with a focus on reducing barriers to

                 access to vaccine, such as mobile vaccine clinics and community pop-up clinics;



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                  b.​ establishing evidence-based strategies to address respiratory disease transmission

                     risk and outbreak management, with a focus on prevention and mitigation that

                     minimizes impacts on essential industries and workforces now and in the future;

                     and educating Colorado workplaces and schools about how indoor air quality and

                     ventilation contribute to disease risks and what building operation improvements

                     can reduce risks;

                  c.​ capturing and analyzing social determinants of health as standard case

                     information during routine and emergency disease surveillance, and using that

                     information to drive decisions;

                  d.​ developing CDPHE infrastructure to support social services connections, health

                     navigation, and community resiliency in the face public health emergencies such

                     as the COVID-19 pandemic, mpox, and H5N1; and

                  e.​ mobilizing partners via a small grants program that funded dozens of

                     community-based organizations, non-profits, and local public health agencies to

                     conduct cultural navigation, community engagement, and community resiliency

                     work that meets the needs of disproportionately impacted populations.

           11.​       CDPHE submitted the required application on May 3, 2021. CDC issued the

 Notice of Award on May 28, 2021 for the term of June 1, 2021 through May 31, 2023. A true

 and correct copy of the corresponding Notice of Award and its attachments, dated May 28, 2021,

 is attached as Exhibit A. As set forth therein, termination of the grant by CDC is permitted only

 if a recipient or subrecipient “fails to comply with the terms and conditions of the award, or for

 cause.”




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        12.​    On November 10, 2022, CDPHE submitted an application for a 12-month No

 Cost Extension. CDC issued the Notice of Award dated November 22, 2022 approving the No

 Cost Extension revising the end date to May 31, 2024. On January 23, 2024, CDPHE submitted

 an application for an additional 24-month No Cost Extension. CDC issued the Notice of Award

 dated February 27, 2024 approving the No Cost Extension revising the end date to May 31,

 2026. The initial award amount was $22,581,706 and was never increased or decreased. Only

 time extensions were requested and granted.

        13.​    Since June 2021, CDPHE has used the Health Disparities Grant funds in a manner

 fully consistent with CDC’s statements regarding the nature of the grant and CDPHE’s grant

 application.

        14.​    CDPHE conducted numerous activities directly and through subcontracted

 organizations during the course of this funding that were aligned as 18 distinct activities across

 the 4 major strategies identified by CDC as the framework for this program. The activities did

 not change as far as title and main description throughout the course of funding, though some

 activities were completed or ended as the needs were no longer justified, and only activities that

 remained justified and aligned with the intent of these funds were continued.

        15.​    CDPHE submitted quarterly progress reports with detailed narratives on program

 workplan activities, performance evaluation metrics, and fiscal expenditures. CDC regularly

 provided written communication indicating approval of our progress and encouraged continued

 work. CDPHE’s grant team and fiscal officer met monthly with the CDC grant program officer.

 On March 11, 2025, CDPHE received an email from OT21-2103Support@cdc.gov that

 contained feedback from our most recently submitted progress report, which stated in 4 of 5

 categories, “No issues noted, please continue as planned.” The 5th category was left blank.



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        16.​     CDPHE submitted two requests for no-cost extensions in November 2022 and

 January 2024 to continue workplan activities, with detailed written justification that the timeline

 extension was necessary to continue our work. Both extensions were approved, indicating CDC

 agreed that the continuation of work was justified through the time frame requested.

        17.​    On March 25, 2025, without any prior notice or indication, CDC informed

 CDPHE that effective March 24, 2025 its Health Disparities Grant was terminated as of March

 24, 2025. A true and correct copy of the grant award termination notice is attached as Exhibit B.

        18.​    CDC’s termination of our Notice of Award stated the award was being terminated

 for cause, citing that the funds were intended to ameliorate the effects of the pandemic. The

 notice further indicated that the pandemic is over, thus the limited purpose for which the funding

 was awarded has run out. No further information or explanation was provided.

        19.​    There was $6,602,222.09 in funds remaining in the payment management system

 (PMS) account as of March 24, 2025 with a performance period end date of May 31, 2026.

 Draws are submitted in PMS weekly, typically on Thursdays, for reimbursement of expenditures

 posted since the prior week's draw.

        20.​    The remaining funds were to be used to support the major thematic initiatives

 described above; specifically, funds were to support 29 CDPHE staff, in part or full, responsible

 for programmatic activities, 16 community-based partners whose contracted work was active

 through May 2025, and two contracts with partners to support the above-stated activities that

 were active through May 2026. Across the 18 active contracts, over $3,6,31,885 was obligated to

 these partner organizations.

        21.​    CDPHE relied and acted upon its expectation and understanding that CDC would

 fulfill its commitment to provide the Health Disparities Grant funding it had awarded to CDPHE.



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 CDPHE staff rely on these funds, as do subrecipients and the public that is served by CDPHE’s

 administration of the funds. The lack of prior notice and implementation of an immediate

 termination of anticipated funding causes harm as described herein.

            a.​ Thirty-three employees whose funding is entirely or partly eliminated: 11 who

            face immediate termination by April 1, 2025, 15 who will be terminated by June 30,

            2025 because other appropriate funding sources are able to temporarily cover their

            work, and 7 for whom other long-term funding have been identified but with ripple

            effects to the budgets that will impact the greater team. For the 11 employees facing

            immediate termination, CDPHE does not have a funding source to cover their

            compensation from March 25 - 31, 2025.

            b. Seventeen local organizations in which CDPHE issued a stop work order due to the

            abrupt termination of funds from CDC. These contractors receive funding for

            approximately 4 employees each in addition to operating expenses, much of which

            they may not recover as the work was in progress when the termination notice was

            issued. As most of these organizations are small community-based organizations that

            may not have any fiscal reserves, their staff will likely not be paid for their work and

            the organizations may close their doors due to this unexpected, dramatic termination

            of funding.

            c. Contractor staff who typically process invoices at the completion of a contract will

            not be available to do this work as the grant funding from which this closure work is

            paid is now terminated. CDPHE’s typical practice is to end the contractor’s work far

            enough in advance of the grant expiration to allow for close out reporting work from

            the grantee.



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            d. As CDPHE operated under the expectation that it had 14 more months of work for

            this grant, no efforts had yet begun related to final performance reporting and close

            out. As CDC unreasonably instructed in its termination notice to not incur any further

            expenses on this funding source, and modified the timeline for FFR submission from

            120 to 30 days after the award end date, CDPHE will not be able to meet this

            arbitrary requirement as staff working on these grant funds will either be moved to

            other funding sources or terminated.

            e. CDPHE and local organizations had vaccine clinics and other community events

            scheduled for March 29-30, 2025 that had to be canceled. With a measles outbreak in

            neighboring states and other ongoing disease control work to prevent the spread of

            communicable diseases, Colorado has been making great efforts to partner with

            communities to provide vaccination services and increase herd immunity.

        22.​       Prior to the grant award termination on March 25, 2025, CDC had never provided

 CDPHE with notice, written or otherwise, that the grant administered by CDPHE was in any way

 unsatisfactory.

 Advancing the Centers of Excellence in Newcomer Health

        23.​       On August 26, 2021, the CDC awarded supplemental funding to an existing

 Advancing the Centers of Excellence in Newcomer Health Cooperative Agreement (Newcomer

 Health Grant). A true and correct copy of the Agreement and corresponding Notice of Award and

 its attachments, dated August 26, 2021, are attached as Exhibits C and D. As set forth therein,

 termination of the grant by CDC is permitted only if a recipient or subrecipient fails to comply

 with the terms and conditions of the grant, for good cause, or if the recipient or subrecipient




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  agrees to the termination. The grant supplement totaled $1,000,000, with expanded authority to

  expend these funds through September 29, 2025.

         24.​      The awarded supplemental funding added to existing Advancing the Center of

  Excellence (COE) in Newcomer Health activities, and bolstered the ability of the COE to address

  issues related to COVID-19 among eligible newcomer (refugees, special immigrant visa holders,

  asylees, victims of human trafficking) populations, understand vaccine confidence in some

  newcomer communities, and improve clinician and newcomer health education on this and other

  health issues.

         25.​      In alignment with its COE Cooperative Agreement work plan, CDPHE intended

  to use the funding to understand and improve the health and wellness of eligible newcomer

  communities through public health evaluations, dissemination of results to clinical and public

  health partners, and the improvement of data-driven dashboards and other outputs to be shared

  with decision-makers. Since August 26, 2021, CDPHE has used these supplemental Newcomer

  Health Grant funds in a manner fully consistent with CDC’s statements regarding the nature of

  the grant and CDPHE’s grant application.

         26.​      Since funding was awarded, CDPHE has piloted a Cultural Navigation program

  that has received national recognition, and developed a toolkit of promising practices and

  training to increase the capacity and skills of community health care workers to support public

  health disease control and response efforts. The funding has also supported data infrastructure

  and data modernization activities.

         27.​      CDPHE has completed all required reporting on this funding in accordance with

  grant requirements, including attendance at grantee meetings, Principal Investigator check-ins,

  annual progress evaluations, and annual performance reports. The program has also produced



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  quarterly reports that were not required but requested by CDC staff. CDC teams have relayed

  positive feedback and excitement when they see CDPHE’s work on Cultural Navigation

  presented at CDC and FDA conferences. The FDA and the Food Safety Center of Excellence

  have invited the Cultural Navigation team to present their model to others who may want to

  adapt and use it.

         28.​    The program has historically applied for and received extensions on expanded

  authority for all supplemental funding.

         29.​    On March 25, 2025 at 5:17 AM, without any prior notice or indication, CDC

  informed CDPHE that effective March 24, 2025 its Newcomer Health Grant was terminated as

  of March 24, 2025. A true and correct copy of the grant award termination NOA (Newcomer

  Health Termination NOA) is attached as Exhibit E.

         30.​    CDC’s Newcomer Health Termination NOA stated that the award was being

  terminated for cause, citing that the funds were intended to ameliorate the effects of the

  pandemic. The notice further indicated that the pandemic is over, thus the limited purpose for

  which the funding was awarded has run out. No further information or explanation was

  provided.

         31.​    In addition to this Newcomer Health Termination NOA, CDPHE received two

  supporting documents detailing the termination of funding, which appeared to be an internal

  CDC memo to staff describing the timing of the termination, and a table including the Newcomer

  Health Grant supplement and others unrelated to the program.

         32.​    There was $100,846.02 in funds remaining in the payment management system

  (PMS) account as of March 24, 2025 with a performance period end date of September 29,




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  2025. Draws are submitted in PMS weekly, typically on Thursdays, for reimbursement of

  expenditures posted since the prior week's draw.

         33.​    CDPHE relied and acted upon its expectation and understanding that HHS would

  fulfill its commitment to provide Newcomer Health Grant funding it had awarded to CDPHE.

  CDPHE has used funding to increase the data-informed approaches to health, wellness, and

  vaccine confidence among newcomer populations and has built models to serve newcomers and

  others who could benefit from accessing public health response and prevention activities,

  regardless of culture or language. In addition, this funding has been a critical component of data

  modernization efforts. The abrupt end of funding is causing an inefficient use of staff time to

  scramble to identify whether additional funding sources are available to support the planned and

  contracted efforts, including technical maintenance and modernization.

         34.​    Staffing from un-impacted funding that was allocated to advance core Newcomer

  Health program initiatives has been redirected to address this administrative work, and is

  dramatically impacting the ability of the Advancing the Centers of Excellence in Newcomer

  Health to achieve its stated deliverables and CDC-approved work plans within its base funding.

  Staffing to achieve this has dramatically reduced time that would have otherwise supported the

  goals of the funding. Additionally, the remaining Newcomer Health program funding not

  impacted by this Newcomer Health funding termination has been diverted to cover this

  unexpected loss in funds in order to keep technology modernization and maintenance efforts

  going. The funding that has been diverted to replace the terminated contract funding will result in

  Colorado being unable to contract with and expand the coverage of the CO-COE to another

  important state partner.




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         35.​       Termination of Newcomer Health Grant funding disrupts CDPHE’s ability to

  efficiently complete data modernization activities that are critical to reducing manual data work

  and improving the ability of partners to contribute data in a seamless manner. Ultimately, this

  disrupts CDPHE’s ability to conduct trend analysis and develop data-informed outputs for

  partners in clinical and public health settings in a timely manner. Instead of modernizing data

  flows that inform our understanding of newcomer health and wellness, staff are being redirected

  to complete administrative contracting functions. Instead of benefiting from the data

  modernization project, staff will continue to manually process portions of our data, spending

  more time managing data and less time using it to answer questions about newcomer health and

  wellness. These delays affect CDPHE’s ability to make data management efficient, and delay the

  ability to produce reports, infographics, manuscripts, and other outputs that inform Colorado,

  other states, and CDC of emerging public health trends in newcomer health.

         36.​       Prior to the grant award termination on March 24, 2025, CDC had never provided

  CDPHE with notice, written or otherwise, that the grant administered by CDPHE was in any way

  unsatisfactory.

  Immunization and Vaccines for Children (IP19-1901)

         37.​       In 2020 and 2021, CDC awarded supplemental funding to the existing cooperative

  agreement for Immunization and Vaccines for Children (Immunization Grant). A true and correct

  copy of the Cooperative Agreement is attached as Exhibit F.

         38.​       On September 23, 2020, CDC produced a Notice of Award setting forth the terms

  and conditions of the grant award. A true and correct copy of the corresponding Notice of Award

  and its attachments, dated September 23, 2020, is attached as Exhibit G. As set forth therein,

  termination of the grant by CDC is permitted only if a recipient or subrecipient fails to comply



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  with the terms and conditions of the grant, for good cause, or if the recipient or subrecipient

  agrees to the termination.

         39.​    CDPHE was awarded five rounds of supplemental funding totaling $110,714,102.

  Each round had modified guidance for funded activities and allowable uses to respond to the

  COVID-19 pandemic. The initial budget period ran from July 1, 2020 to June 30, 2021, and was

  extended through June 2023 as the pandemic continued. CDC released revised guidance in July

  2023 after the federal pandemic declaration was rescinded in May 2023. Continuing to use these

  funds required an approved carry over request with revised workplans and budgets to implement

  the new guidance. CDC approved CDPHE’s carry over request and extended the budget period

  through June 2025. In February 2025, a no-cost extension request was submitted to allow the use

  of the funds through June 2027; however, this request is pending in Grant Solutions with a status

  of “Amendment Approved Processing”.

         40.​    As set out in its grant proposal, CDPHE intended to use the Immunization Grant

  to support and strengthen critical COVID-19 immunization planning and implementation

  requirements and activities to ensure effective and efficient vaccination in phases. Key

  Immunization Grant activities included:

             a.​ increasing vaccine capacity across the jurisdiction by supporting vaccine

                 distribution, administration and oversight,

             b. ensuring safe vaccine administration,

             c. ensuring equitable vaccine distribution,

             d. increasing vaccine access through mass vaccination and mobile vaccination clinics,

             e. increasing vaccine confidence, implementing community engagement strategies,

             f. using the immunization information system to support vaccination efforts, and



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              g. increasing functionality and modernization of the immunization information

              system to support vaccine ordering and inventory management.

          41.​   This work benefitted CDPHE with respect to its COVID-19 activities as well as

  routine immunization work, with increased capacity to support providers, data reporting and

  visualization, and access to all vaccines. This enhanced infrastructure provided Colorado with

  the capacity to effectively respond to the mpox outbreak in 2022, and varicella and

  meningococcal outbreaks in 2024 as the capacity, capabilities, and processes had already been

  built using the Immunization Grant.

          42.​   The first round of funding was awarded in September 2020 for $3,165,133. Three

  supplemental rounds were awarded as follows: December 2020 for $2,215,322, January 2021 for

  $52,035,091, and March 2021 for $52,035,091. The initial award ended in June 2021 but funding

  was extended each year until June 2023. An additional supplement was awarded in August 2022

  for $1,263,465 to support using Immunization Information Systems (IIS) to report immunization

  data to the CDC. A carry over request authorized use of the funds through June 2025. In January

  2025, CDC issued guidance that a no-cost extension request could be submitted to extend the

  budget period through June 2027. That no-cost extension request was submitted in February

  2025.

          43.​   Since June 2020, CDPHE has used the Immunization Grant funds in a manner

  fully consistent with CDC’s statements regarding the nature of the grant and CDPHE’s grant

  application. The CDC accepted 15 performance measures reports submitted between July 2020

  and June 2023. These reports described the progress and activities conducted to meet the goals of

  the awards. In May and July 2021, CDC provided guidance that these funds could be used to

  provide influenza and other routine vaccines and education as long as they were provided



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  alongside COVID-19 vaccines. Budget changes were submitted to the CDC as formal redirection

  requests. The redirections include justification that changes align with award objectives. CDPHE

  submitted two budget revisions in 2021, and the carry over request for all COVID funding was

  submitted in 2024. A new NOA was issued to document CDC approval of these requests.

         44.​    CDPHE initially used the funding to increase staff capacity to support vaccine

  provider enrollment, vaccine ordering and inventory management, vaccine distribution and

  vaccine reporting to the immunization information system and increasing the number of vaccine

  provider sites that could administer COVID-19, including pharmacies. Funding was also

  provided to local public health agencies to expand their operations and increase vaccine

  administration. Vaccine strike teams, mobile vaccine clinics, and off-site site clinics were

  implemented through community-based organizations and local public health agencies. Site

  visits to COVID-19 vaccine clinics were implemented to provide monitoring and quality

  assurance. Vaccine supplies and personal protective equipment were provided to providers and

  partners. Partnerships were funded for community engagement to identify trusted voices that

  represent the diversity of affected communities and assisted in the building of local partnerships

  to promote vaccine confidence. Vaccine ordering and inventory capabilities were enhanced,

  including improving business processes and tools for vaccine ordering and tracking inventory,

  training providers, capacity for vaccine order reviews, automated tools to improve data quality

  (e.g., address validation), and help desk staffing.

         45.​    CDPHE focused on using the funds to meet the required activities of the

  supplemental award, which included all of the following:

             a.​ using data to identify communities of focus, including those with high COVID-19

                 case burden, and/or disproportionately low COVID-19 vaccination rates;



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             partnering with other programs to accelerate vaccine outreach and coordination to

             reach populations at higher risk of COVID-19;

          b.​ leveraging and supporting partnerships with local health departments by

             providing funding to support activities around vaccine outreach and partnerships,

             and standing up local community and mobile vaccination clinics;

          c.​ developing partnerships to reach disproportionately affected populations through

             community based organizations, education entities, working with local coalitions

             developing and implementing outreach campaigns, leveraging trusted messengers

             such as health care providers;

          d.​ improving access to COVID-19 vaccines by enrolling providers, deploying

             vaccine programs, and coordinating local organizations to implement pop-up,

             mobile, and other vaccination clinics; funding efforts to increase equity of health

             information including staffing for the increased call volume, increased translation

             of educational materials and websites, and increasing accessibility to information;

             and simplifying patient procedures at vaccine clinics for efficiency;

          e.​ improving messaging and education around vaccination by hiring health

             communication staff, developing and implementing appropriate messaging on

             COVID-19 vaccination, developing toolkits for vaccine education and awareness,

             and supporting ongoing training of trusted messengers;

          f.​ strengthening vaccine equity efforts by increasing coordination across the

             jurisdiction and participation in cross-jurisdictional information sharing and

             collaboration; and




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              g.​ increasing quality control for vaccine storage and handling, administration, and

                 vaccine program compliance.

         46.​     CDPHE has not received any negative feedback regarding inadequate

  performance or compliance issues with this grant.

         47.​    On March 24, 2025, without any prior notice or indication, CDC informed

  CDPHE that effective March 24, 2025 its Immunization Grant was being terminated as of March

  24, 2025. A true and correct copy of the grant award termination notice is attached as Exhibit H.

         48.​    CDC’s grant award termination Notice of Award (Immunization Termination

  NOA) stated that the award was being terminated for cause, citing that the funds were intended

  to ameliorate the effects of the pandemic. The notice further indicated that the pandemic is over,

  thus the limited purpose for which the funding was awarded has run out. No further information

  or explanation was provided.

         49.​    The Immunization Termination NOA changed the end date for all Immunization

  and Vaccines for Children awards, not solely the Immunization Grant award, to March 24, 2025,

  which effectively terminated all federal immunization funding. CDC then issued a revised NOA

  to restore the end date of the non-impacted funding to June 30, 2025.

         50.​    There was $39,535,103.11 in funds remaining in the payment management system

  (PMS) account as of March 24, 2025 with a performance period end date of June 30, 2025.

  Draws are submitted in PMS weekly, typically on Thursdays, for reimbursement of expenditures

  posted since the prior week's draw. The most recent PMS draw was approved on Friday March

  28, 2025.

         51.​    The remaining funds were to be used to continue efforts to increase vaccine

  access and vaccine confidence for COVID-19 and routine vaccines broadly in the community as



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  well as mobile vaccine efforts to reach underserved populations that experience barriers to

  vaccine access. This includes funding to CDPHE’s Mobile Public Health Clinic Program, as well

  as the Community Action and Engagement team, who coordinate vaccine outreach and education

  throughout the state in collaboration with the local public health agencies and other community

  partners. Funding also was planned to continue the enhancement and support of Colorado’s

  immunization information system for vaccine data reporting and CDPHE’s vaccine operations

  for provider ordering, inventory management and program compliance. The funding would have

  supported local public health agencies and community based organizations through their

  subcontracted dollars to continue to provide mobile and community clinic efforts and outreach

  and education.

         52.​      The termination of this funding will lead to public health harm through decreased

  access to COVID-19 and routine vaccinations, particularly for people who are already

  disproportionately affected by barriers in accessing health care services. With a reduced ability to

  provide positive and accurate vaccine messaging for the public and health care providers, this

  grant termination will lead to further decline in vaccine coverage and will result in more vaccine

  preventable disease outbreaks. The wealth of education and outreach resources previously

  provided by CDPHE, local public health agencies, community based organizations and health

  care providers through outreach, media, and education campaigns will cease with the termination

  in funds.

         53.​      CDPHE relied and acted upon its expectation and understanding that HHS would

  fulfill its commitment to provide Immunization Grant funding it had awarded to CDPHE. The

  CDPHE Immunization Program has 9 employees with impacted funding as follows: 8 will be

  terminated by June 30, 2025 and 1 who will move back into a permanent lower level position



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  with less pay. The Immunization Program had 5 contracted staff assisting with the immunization

  information system help desk and reminder/recall efforts for notifying patients and families

  about vaccinations that are due or missing, as well as coordinating vaccine education and

  outreach efforts for health care provider education sessions. These contracted staff were notified

  of a stop work order issued to their contracted vendor agency immediately after the termination

  of funds on March 24, 2025, and will lose their employment. The loss in staff will result in the

  loss of customer service for our vaccine providers through the immunization information system

  help desk, and the loss of the ability to provide notification to parents and patients regarding the

  need for both COVID-19 and routine vaccinations, including flu and the measles, mumps, and

  rubella (MMR) vaccine during a time of increased measles cases and outbreaks in the U.S.

         54.​    The termination of Immunization Grant funding dismantles CDPHE’s Champions

  for Vaccine Equity program, which leverages physicians and other health care providers to act as

  trusted messengers and educate people and communities in settings that provide comfort and

  support, such as at faith based or community events within and coordinated by the community in

  which they live or with which they identify. It also interrupts contracted work through the

  University of Colorado to provide physician-led training and education to health care providers

  throughout Colorado so that they are better prepared to make strong vaccine recommendations

  for COVID-19 vaccines and routine vaccines such as the MMR. This loss of education for

  providers and the public will likely lead to further decline in vaccine coverage and will result in

  more vaccine preventable disease outbreaks.

         55.​    The Immunization Grant funds contracted to Colorado local public health

  agencies provide additional staff and resources to address gaps in vaccine access by supporting

  mobile and community based clinics, and additional staff and resources to expand clinic hours on



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  nights and weekends to better serve their working populations. Termination of these funds will

  immediately reduce staffing capacity and resources, resulting in offering fewer opportunities for

  the public to access vaccines.

         56.​    CDPHE relied on the Immunization Grant to expand the reach of a newly built

  Mobile Public Health Clinic Program that fills gaps in routine vaccination services throughout

  the state, particularly in communities that are underserved and experience barriers in access to

  care, and can be deployed for emergency response such as testing and post-exposure prophylaxis

  during outbreaks. This program was based on a larger COVID Vaccine Bus program successfully

  implemented during the pandemic, and built into our routine disease control infrastructure to

  provide access to COVID-19 and routine vaccinations. As with the reduced capacity at the local

  level due, CDPHE’s Mobile Public Health Clinic Program will also be severely limited in its

  ability to provide these necessary vaccine services in communities in need.

         57.​    The termination of this Immunization Grant funding will be detrimental to the

  health of all Coloradans. Decreased access to and education regarding routine vaccinations,

  including COVID-19 vaccines, will result in decreasing numbers of people vaccinated against

  COVID-19, influenza, and other serious illnesses such as measles, whooping cough, and polio.

  When fewer people are vaccinated against these serious diseases, cases and outbreaks will

  increase, which will result in lives lost and increased health care costs for those who are ill, seek

  emergency care, and are hospitalized. This also results in increased strain on our healthcare

  systems, including the public health system, which are still recovering from the effects of a

  global pandemic. The effects of lower vaccination rates are already being witnessed, due to

  increasing vaccine hesitancy from the politicization of vaccines during the pandemic, as

  evidenced by the number of cases and outbreaks of measles in just the first quarter of 2025



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  surpassing the number of cases and outbreaks in the whole of 2024, and in years previous, with

  the exception of 2019. Ninety-seven percent of the 2025 measles cases are unvaccinated

  individuals, or those whose vaccine status is unknown. Similarly, lower vaccination rates for

  COVID-19 and influenza will lead to decreased health outcomes for Coloradans.

         58.​       With decreased CDPHE capacity to provide inventory and ordering support,

  registry support, vaccine coordination, data analysis, and program and clinical guidance and

  education for vaccine providers, Colorado could experience a loss in enrolled Vaccines for

  Children providers, which would further reduce access to life saving vaccinations and important

  vaccine education for patients and families who may not otherwise have access to vaccines.

         59.​       CDPHE had not yet begun any efforts related to FFRs and close-out, as CDC

  provided no advance notice of early termination, causing chaos and confusion with local public

  health agencies and contractors, and potentially causing these contracted entities to incur the cost

  of contracted staff and work. This decreases the trust in and credibility of CDPHE and state and

  federal government as a whole, and may damage CDPHE’s relationships with these partners.

         60.​       Prior to the grant award termination on March 24, 2025, CDC had never provided

  CDPHE with notice, written or otherwise, that the grant administered by CDPHE was in any way

  unsatisfactory.

  Epidemiology and Laboratory Capacity For Infectious Diseases

         61.​       In February 2019, CDC invited applications for CK19-1904 Epidemiology and

  Laboratory Capacity for Prevention and Control of Emerging Infectious Diseases (ELC

  Cooperative Agreement). A true and accurate copy of this agreement is attached as Exhibit I.

         62.​       ELC is a cooperative agreement offered to states, U.S. territories, and large

  metropolitan areas to address emerging or re-emerging disease threats and protect the public’s



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  health. Funding supports epidemiological, laboratory, and health information system capacity at

  CDPHE to detect, respond, prevent, and control infectious disease issues. The ELC cooperative

  agreement has a mechanism to quickly award funds to states to enhance surveillance, report and

  respond to outbreaks, support surge staffing, and establish interventions to control disease spread

  during infectious disease emergencies. This mechanism was used to award states funding during

  the COVID-19 pandemic through the ELC CARES, ELC ED, and ELC EDE supplemental

  awards.

         63.​    On July 11, 2019, CDC produced an ELC Notice of Award (NOA) setting forth

  the terms and conditions of the grant award. See Exhibit I. As set forth therein, termination of the

  grant by CDC is permitted only if a recipient or subrecipient fails to comply with the terms and

  conditions of the grant, for good cause, or if the recipient or subrecipient agrees to the

  termination.

         64.​    CDPHE was awarded funding for budget period 1 of the 5 year project period in

  August 2019. On April 23, 2020, CDC issued a Notice of Award for Cross-Cutting Emerging

  Issues for $10,368,137 of ELC funding to respond to the COVID-19 pandemic (ELC CARES

  funding as part of the federal “Coronavirus Aid, Relief, and Economic Security Act”) for the

  term January 20, 2020 through April 23, 2022. Supplemental to this award, on May 19, 2020,

  CDC issued a Notice of Award to CDPHE for $159,509,879 of ELC funding to respond to the

  COVID-19 pandemic (ELC Enhancing Detection [ED] funding as part of the federal “Paycheck

  Protection Program and Health Care Enhancement Act of 2020”) for the term January 20, 2020

  through November 11, 2022. Supplemental to these two awards, on January 14, 2021, CDC

  issued a Notice of Award to CDPHE for $331,463,532 of ELC funding to respond to the

  COVID-19 pandemic (ELC Enhancing Detection Expansion [EDE] as part of the “Coronavirus



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  Response and Relief Supplemental Appropriations Act of 2021”) for the term August 1, 2020

  through July 31, 2023. On April 26, 2022, CDC issued a Notice of Award to extend the terms of

  all three awards listed above through July 31, 2022 to line up with the award budget period. On

  October 18, 2023, CDC issued a Notice of Award to approve a No Cost Extension for all three

  awards listed above for an additional 24 months from August 1, 2024 to July 31, 2026. A true

  and accurate copy of these awards are attached as Exhibit J.

         65.​    These awards required CDPHE to perform the following activities: hire and train

  epidemiology, laboratory, and health information system staff to respond to the pandemic;

  establish and expand laboratory testing; establish and improve/modernize laboratory and disease

  surveillance systems; conduct case investigations, contact tracing, and outbreak response; and

  coordinate and engage with partners, especially local public health agencies, Tribal Nations,

  community based organizations, and academic institutions.

         66.​    As set out in its proposal, CDPHE intended to use the ELC cooperative agreement

  to support the statewide public health response to the COVID-19 pandemic. Funding was

  allocated to a variety of public health functions and partners as follows:

             a.​ to the CDPHE Laboratory to perform testing and virus genomic sequencing,

                 procure testing from external resources and distribute self-test kits, test

                 wastewater samples, and improve laboratory information systems;

             b.​ to several CDPHE programs to perform outbreak response, infection prevention

                 training to facilities experiencing an outbreak, case investigation, contact tracing,

                 and analyze and share surveillance data;

             c.​ to several CDPHE programs to develop and improve systems to collect,

                 exchange, and share disease-related data, including setting up systems to collect



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                 case investigation and contact tracing data, and a new statewide web-based

                 electronic reportable disease database;

             d.​ to all Colorado local public health agencies, two Tribal Nations, and local or

                 regional agencies to support these activities at the local level; and

             e.​ to academic institutions to provide additional testing capacity and perform

                 high-level analysis, such as pandemic modeling to inform the state’s response

                 strategy.

         67.​    Since April 2020, CDPHE has used the ELC CARES, ED, and EDE grant funds

  in a manner fully consistent with CDC’s statements regarding the nature of the grant and

  CDPHE’s grant application.

         68.​    ELC CARES, ELC ED, and ELC EDE funding supported COVID-19 response

  efforts throughout the Colorado public health system, including CDPHE and all Colorado local

  public health agencies and Tribal Nations via multiple contract offerings. The CDPHE

  Laboratory used the funds to scale testing capacity to over 10,000 COVID-19 diagnostic tests

  daily, set up contracts to support mobile testing services and community-based testing, set up a

  new wastewater surveillance testing program, purchase and distribute self-test kits, conduct

  genomic sequencing to detect new variants, and ensure proper management controls were in

  place to ensure quality, inventory, and specimen management.

         69.​    CDPHE set up teams to support response activities within local public health

  agencies in the state, track and provide guidance to thousands of entities that experienced

  COVID-19 outbreaks including schools and high risk settings like nursing homes, correctional

  settings, and other congregate settings, established a medical guidance unit to develop statewide

  clinical and mitigation guidance and provide education and training to healthcare providers



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  statewide, establish teams to analyze surveillance data and post data daily to public websites, and

  set up systems and teams to conduct case investigation and contact tracing.

         70.​    CDPHE ensured that millions of COVID-19 case reports were entered into the

  statewide electronic disease surveillance database, ensured data was shared with partners and

  CDC in a timely and accurate manner, and established EpiTrax, a new and modern disease

  reporting database, and data lakehouse to allow for more efficient disease reporting and merging

  and analyzing of various disease-related data sets. Funding was used to support community

  based organizations that provided cultural navigation services to better reach populations at risk

  for adverse COVID-19 outcomes. Contracts were awarded to academic partners to train local

  public health agency staff on critical activities of case investigation, contact tracing, and outbreak

  investigation, as well as conduct high-level disease modeling to inform state leadership on the

  progression of the pandemic and the effectiveness of interventions. Funds were provided to all

  Colorado local public health agencies and Tribal Nations through several rounds of contracts to

  support their responses to the pandemic.

         71.​    While CDPHE has been scaling back the pandemic response since 2023, the ELC

  funding was continuing to support laboratory, epidemiology, and health information system

  capacity efforts so Colorado is better prepared for the next public health emergency, while still

  responding to COVID-19 which was responsible for 76 deaths in Colorado in January and

  February 2025. The CDPHE Laboratory is still performing COVID-19 testing and genomic

  sequencing to detect the emergence of new variants that may cause increases in illness – these

  efforts will be greatly diminished due to the termination of the funding. Laboratory information

  system improvements were in progress to set CDPHE up for better capacity for the next




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  emerging disease threat, such as replacing outdated equipment and continuing to modernize

  laboratory data systems.

             72.​   Teams at CDPHE were analyzing COVID-19 surveillance data to provide weekly

  updates on a public facing dashboard, which informs the healthcare community and public of

  risks and potential hospital surges. The funding termination eliminates the team performing these

  analyses with no opportunity to transition the work to other teams, stops a project where we were

  transitioning reports of COVID hospitalizations into the EpiTrax disease reporting system for

  accurate tracking, eliminates CDPHE’s ability to monitor for accurate hospitalization reporting

  by healthcare facilities, and eliminates the staff who examine COVID lab reports and

  hospitalization reports to find potential outbreaks in high risk settings like nursing homes.

             73.​   Teams were still responding to dozens of COVID-19 outbreaks occurring at

  high-risk settings like nursing homes, assisted living facilities, and correctional settings. The

  funding termination eliminates the teams performing these activities with no opportunity to train

  local public health staff or other teams to pick up the work. This will greatly affect Colorado’s

  ability to track COVID outbreaks in high risk settings, which are often an indicator of new waves

  of disease in a community or across the state. Efforts were underway to train disease intervention

  specialists and epidemiologists statewide on best practices around responding to COVID-19

  outbreaks in high risk settings so these efforts could be shifted from CDPHE to the local public

  health agencies, but the funding termination eliminates the training team responsible for these

  efforts.

             74.​   A standardized disease investigation training and curriculum was recently

  launched to train disease investigators statewide so Colorado is better prepared for the next

  disease emergency, as well as better trained to collect routine disease investigations. This project



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  will not be able to be fully implemented due to the funding termination. Contracts were still in

  place with most Colorado local public health agencies and both Tribal Nations to continue

  testing and response activities locally, which were abruptly stopped with the funding termination.

  There are no other resources available to support local public health agencies and Tribes for this

  work.

          75.​   CDPHE used millions of these funds over several years to set up EpiTrax and a

  new data lakehouse. Efforts have been underway to continue to enhance the EpiTrax system to

  collect outbreak information and manage outbreak work electronically, in addition to the case

  reporting and tracking functions embedded within this system. Efforts have been underway to

  continue the development of the data lakehouse, which allows for merging of different data

  systems, such as EpiTrax and the state’s immunization information system, to create a more

  complete picture of emerging disease threats.

          76.​    CDPHE has been receiving ELC funding continuously since 1996, and remains

  in good standing with the CDC funders. CDPHE submits funding applications on-time with the

  required components, and responds to CDC questions and feedback within the established

  deadlines. CDPHE abides by the ELC activity progress reporting, fiscal reporting, and

  performance measure tracking. Progress updates on ELC CARES, ED, and EDE workplan

  activities and milestones, as well as fiscal spend-down figures, are currently reported quarterly;

  these reports were more frequent, some monthly, during the height of the pandemic. CDPHE

  uses CDC systems to submit reports, including ELC REDCap projects, Grant Solutions, and

  ELC CAMP, which is a CDC system launched in 2023 to manage the ELC funding.

          77.​   CDPHE’s last federal quarterly review was completed in January 2025 with no

  issues identified with our CDC ELC project officer. CDPHE has informal monthly check-in calls



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  with the CDC ELC project officer; the last informal call was held on February 4, 2025 and the

  project officer noted “No concerns with current progress or items for immediate follow-up”.

  CDPHE has periodic formal check-in calls with the CDC ELC project officer and CDC ELC

  leadership; the last formal call was held on January 28, 2025 and the project recorded that

  “Colorado is doing well with spending ELC CARES/Enhancing Detection/Enhancing Detection

  Expansion funds. The state has scaled down many of its epidemiology teams; however, they

  have had around 78 COVID outbreaks in nursing homes. They are considering some redirections

  of funds to support locals in high-risk settings. CO is trying to spend its CARES and Enhancing

  Detection funds first”.

         78.​      CDPHE was approved for every request to extend the term of this award.

  CDPHE submitted a request for no-cost extensions on the funding source in September 2023 and

  was subsequently approved for a 24 month extension in October 2023, which established the end

  date of the funding as July 31, 2026. During the no-cost extension time frame, CDPHE and

  contracted entities continued relevant and allowable COVID response activities, such as testing,

  variant typing, outbreak response, tracking and sharing COVID trends, and responding to

  COVID data requests. The allowable activities during the extension did not change from the

  original allowable activities. The original allowable activities included the ability for public

  health agencies to focus on projects and activities that benefitted the COVID response as well as

  other infections and conditions of public health significance.

         79.​      Additional activities CDPHE has conducted during the no-cost extension time

  frame include:




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          a.​ enhancing laboratory, epidemiology, and health information system workforce

             capacity to respond to other emerging disease threats by developing and offering

             training and conducting after action reviews of disease responses;

          b.​ continuing to advance electronic data exchange at the laboratory and streamlining

             test ordering processes by enhancing and modernizing laboratory information

             systems;

          c.​ launching EpiTrax and continuing to enhance its ability to collect disease case and

             outbreak data;

          d.​ developing the data lakehouse to combine different datasets, such as disease

             surveillance data and immunization data, to better analyze and understand disease

             trends and response needs;

          e.​ developing electronic case reporting capabilities from medical records to public

             health in order to streamline reporting and lessen the burden on healthcare

             providers and laboratories;

          f.​ quickly adapting EpiTrax to accommodate and collect human and animal reports

             of avian influenza; modernizing our disease reporting regulations to be more clear

             and less burdensome to disease reporters, such as laboratories, hospitals,

             healthcare providers, schools, and others, and reflect the advancements made in

             our data systems during the pandemic; and

          g.​ expanding the sharing of aggregated disease surveillance data with partners and

             the public using systems and tools developed during the pandemic for broader

             awareness of disease trends and threats, such as our new viral respiratory disease




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                 dashboard launched in the fall of 2024 which displays trends for COVID-19,

                 RSV, and influenza.

         80.​    On March 25, 2025, without any prior notice or indication, CDC informed

  CDPHE that effective on March 24, 2025 its ELC grant funding was being terminated. A true

  and correct copy of the grant award termination Notice of Award (ELC Termination NOA) is

  attached as Exhibit K.

         81.​    CDC’s ELC Termination NOA stated that the award was being terminated for

  cause, citing that the funds were intended to ameliorate the effects of the pandemic. The notice

  further indicated that the pandemic is over, thus the limited purpose for which the funding was

  awarded has run out. No further information or explanation was provided.

         82.​    There was $154,822,434.66 in funds remaining in the payment management

  system (PMS) account as of March 24, 2025 with a performance period end date of July 31,

  2026. Draws are submitted in PMS weekly, typically on Thursdays, for reimbursement of

  expenditures posted since the prior week's draw. The last successful draw was on Friday March

  28, 2025.

         83.​    CDPHE relied and acted upon its expectation and understanding that HHS would

  fulfill its commitment to provide the ELC funding it had awarded to CDPHE. CDPHE had

  planned for a gradual scaling down of staff and activities supported by this funding, assuming the

  funding would continue until July 2026, allowing CDPHE to finish projects, transition activities

  to teams funded by other sources, close out contracts, and conduct fiscal close out activities. The

  lack of prior notice of the funding termination, the abrupt end date with no time to transition

  activities, and the lack of other funding sources to support activities funded by the ELC CARES,

  ED, and EDE funds have created hardships and likely harms to people in Colorado.



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         84.​    Termination of the funding resulted in stop work orders being issued to at least 80

  contractors on March 27, 2025, and likely more in the near future. These contracts support

  COVID response work at the local level in Colorado, including work performed by local public

  health agencies, Tribal Nations, community based organizations, and academic partners.

  Contracts that support the purchase of lab supplies and equipment were issued stop work orders.

  The stoppage of these contracts, paired with the ending of funding supporting staff performing

  COVID response work and support of EpiTrax and data lake house, greatly diminishes

  Colorado’s ability to detect and respond to a new COVID variant or outbreaks in high risk

  settings, and further affects CDPHE’s ability to quickly scale up any needed testing and changes

  to EpiTrax to capture new test or variant types, all of which impacts the health and wellbeing of

  Coloradoans.

         85.​    COVID has not disappeared from Colorado – in January and February 2025, 76

  Coloradans died from COVID; there have been over 100 COVID outbreaks reported in high risk

  settings like nursing homes in 2025; and 94 COVID-associated hospitalizations were reported

  the week of March 24, 2025. A new COVID variant, KP.3.1.1, has recently emerged, and is now

  the predominant variant in the U.S. Termination of this funding eliminates the team that collects,

  collates, and analyzes the data that allows us to monitor these trends, which is especially

  concerning as we attempt to monitor the impact emerging variants may have in Colorado.

         86.​    CDPHE’s response to the thousands of outbreaks that occurred in nursing homes

  and assisted living facilities since the start of the pandemic has resulted in a standardized

  response that, when coupled with COVID treatments and vaccines, has resulted in smaller

  outbreaks, fewer hospitalizations, and fewer deaths in these settings. The funding termination

  eliminates the teams performing outbreak response work, right when CDPHE was starting to



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  transition the work to local public health agencies. Local public health agencies were receiving

  funding to take on this work which is now not available to them due to the CDC Termination

  NOA. It is likely that the funding elimination will result in public health not detecting COVID

  outbreaks in high risk settings, and cause delays in detecting and reporting of outbreaks, resulting

  in higher occurrences of adverse outcomes like hospitalizations and deaths.

         87.​    Efforts around modernizing laboratory information systems and disease

  surveillance systems will be greatly hindered with the loss of the ELC CARES, ED, and EDE

  funding, which will affect Colorado’s overall preparedness and the ability for the health

  information systems to be nimble when responding to emerging disease threats. The funding

  termination eliminates staff with specialized technical skills, leaving the EpiTrax team with

  limited capacity to continue enhancing the system. The funding termination adds risk for the

  continued maintenance and operation of EpiTrax because these funds were used to support

  CDPHE staff for this work as well as the contract with an external vendor that supports and

  upgrades the EpiTrax system. The funding termination impacts CDPHE’s ability to continue to

  develop the data lakehouse to increase functionality.

         88.​    Due to this funding termination, a contract with a Colorado academic institution

  that was studying long COVID was stopped just several months after being executed, which will

  result in less knowledge about the impacts of long COVID. CDPHE has no other funding source

  that can support the long COVID work. CDPHE was also working with laboratory, healthcare

  providers, local public health agencies, and other stakeholders to update our state disease

  reporting rule to reflect the advancements made in our disease reporting systems during the past

  five years, improve clarity, and reduce the reporting burden for our stakeholders. This project

  will be significantly delayed due to staff supporting the work no longer having funding.



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             89.​   CDPHE’s ability to offer training to local public health agencies on disease

  surveillance and investigation methods will end. This training has been instrumental in ensuring

  Colorado public health agencies have capacity to respond to emerging disease threats, especially

  given the large turnover in staff at the state and local level during and following the pandemic.

  Tribal Nations were disproportionately impacted during the pandemic, and funding that is now

  terminated affects their ability to monitor for disease trends, provide testing resources, and

  respond to outbreaks on their lands. A contract with the Colorado School of Public Health to

  study long COVID and its impact on Coloradans that was recently executed has been stopped,

  which will end Colorado’s ability to better understand the long term impacts of COVID on those

  who were affected.

             90.​   Laboratory equipment purchases that were in progress to replace worn out

  equipment used during early pandemic response are no longer able to be completed. This places

  the state at risk for ongoing testing needs for COVID, influenza including H5N1, measles,

  outbreak testing bioterrorism response and future response testing needs. Current equipment is

  approaching end of life and these federal funds were planned for support of the replacement

  instrumentation for sample extraction, diagnostic PCR testing, sequencing and wastewater

  testing.

             91.​   Prior to the grant award termination on March 24, 2025, CDC had never provided

  CDPHE with notice, written or otherwise, that the grant administered by CDPHE was in any way

  unsatisfactory.

  Substance Use Prevention, Treatment and Recovery Services Block Grant 1319 (SAMHSA

  Block Grant)




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         92.​    CDPHE recently received a stop work order from the Colorado Behavioral Health

  Administration (BHA) due to the termination of BHA’s award from the U.S. Department of

  Health and Human Services, Substance Abuse and Mental Health Services Administration

  (SAMHSA Block Grant). The total value of the terminated award was $7,700,000.00. A true and

  accurate copy of this notice of award is attached as Exhibit L. All terminations were “for cause”

  based on the end of the COVID pandemic, rather than failure of the BHA to follow the terms or

  conditions of the grants. A description of the award and the effects of this termination follows. A

  true and accurate copy of this stop work order is attached as Exhibit M.

         93.​    The SAMHSA Block Grant allocation requires states to expend not less than

  twenty percent (20%) of the total allocation for substance use disorder (SUD) primary prevention

  services for individuals who do not require treatment for substance abuse, in accordance with 42

  USC § 300x-22 and 45 CFR §§ 96.124 and 96.125. The SUD prevention, intervention, treatment,

  and recovery support services continuum includes various evidence-based services and supports

  for individuals, families, and communities. Integral to the SAMHSA Block Grant funds are its

  efforts to support health equity through its priority focus on the provision of SUD prevention,

  treatment, and recovery support services to identified underserved populations. SAMHSA

  recommends states develop, enhance or improve the following through the SAMHSA Block

  Grant funds: enhancing the primary prevention infrastructure within the state and communities

  using the Strategic Prevention Framework planning model, and implementing evidence-based

  practices, the six Center for Substance Abuse Prevention (CSAP) prevention strategies with an

  emphasis on environmental approaches.

         94.​    As set out in BHA’s grant proposal, CDPHE intended to use the SAMHSA Block

  Grant to procure primary prevention services through a Request for Proposal focused on three



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  areas: young adults/students enrolled in post secondary education and higher institutions of

  education, historically marginalized populations, and economically disadvantaged youth and

  their families. The organizations implemented the Strategic Prevention Framework and identified

  strategies to further develop, enhance, and improve the infrastructure of primary prevention

  services in communities. Funds were also used to further improve the Learning Management

  System, which is linked to the Behavioral Health Administration’s OwnPath Learning Hub.

  These systems provide training and educational resources to behavioral health professionals and

  others interested in the field.

          95.​    BHA awarded $7,700,000.00 to CDPHE from its award, which extended through

  September 30, 2025.

          96.​    Since July 2022, CDPHE has used the SAMHSA Block Grant funds in a manner

  fully consistent with SAMHSA’s statements regarding the nature of the grant and BHA’s grant

  application.

          97.​    CDPHE has primarily used and expended the funds for two different programs.

  First, $3,000,000 was expended on the purchase of opioid overdose reversal medication. The

  state's Naloxone Bulk Fund (naloxone distribution program) provides free naloxone to eligible

  entities for statewide distribution. The goal of the bulk fund is to increase statewide availability

  and access to naloxone, reduce the financial burden of purchasing naloxone, and promote public

  health and safety for all Coloradans. Community access to naloxone is a proven, vital tool for

  preventing overdose deaths.

          98.​    Second, $1,436,803 was expended on primary prevention activities. The

  Community Prevention and Early Intervention Unit has provided funding to the Coalition of

  Colorado Campus Alcohol & Drug Educators (CADE) to support 2 and 4 year college and



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  university substance abuse prevention efforts. CADE is the only statewide coalition for higher

  education professionals involved in health and wellness in Colorado. The funds provided

  technical assistance, in person meetings and training for prevention teams at campuses across the

  state. The Boys and Girls Club provides the evidence-based Positive Action Program across 27

  club sites in Colorado to economically disadvantaged youth and families, specifically the

  reduction and/or prevention of substance use among young people. Envision You provides a

  workshop series to teach adults how to provide better support systems for the LGBTQI+ youth in

  their lives. Funds were also used to develop a web-based prevention education program for

  middle and high school youth who have violated substances policy or law in school or the

  community. This program was to be provided to schools for free to look at their policies for

  substance violations and provide another path instead of suspension or expulsion. The

  development of the education program is impacted due to the loss of funding.

         99.​    As of March 24, 2025, a balance of $3,263,197 remained from the SAMHSA

  Block Grant that BHA had committed to CDPHE, and performance was authorized through

  September 30, 2025. The funds would have been used to continue the work of the procured

  agencies in addition to helping smaller organizations build their prevention infrastructure such as

  conducting a needs assessment and strategic plan for their community, provide training to adults

  and youth of LBGTQ+, youth of color, latinx including the purchasing of evidence based

  curricula such as Strengthening Families and LifeSkills. As the agreement is cost-

  reimbursement based, CDPHE incurs costs and then seeks reimbursement monthly from BHA.

         100.​   CDPHE reports annually to SAMHSA through the Web Block Grant Application

  System (WebBGAS). The 20% set aside for Prevention reports has a history of timely

  submissions and compliance since awarded. Bi-monthly meetings are also scheduled with the



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  SAMHSA Project Officer to discuss successes and challenges with the funds. Notice of Awards

  have been continuous in funding primary prevention services.

         101.​   On March 24, 2025, without any prior notice or indication, SAMHSA informed

  BHA that effective March 24, 2025, its SAMHSA Block Grant was being terminated as of

  March 24, 2025.

         102.​   CDPHE relied and acted upon its expectation and understanding that HHS would

  fulfill its commitment to provide SAMHSA Block Grant funding it had awarded to BHA.

  CDPHE entered into various contracts with Colorado communities to provide primary

  prevention services including the enhancement of primary prevention infrastructure in our state

  and communities using the Strategic Prevention Framework planning model and implementing

  evidence-based strategies and practices. The sudden termination of this funding without prior

  notice has created hardships for the communities and providers that had received these funds to

  fund projects through September 2025. This includes finishing programs that are in progress,

  collection of data for analysis to show the successes in their communities, and most harmful to

  the youth in these programs, especially the group of youth leaders working on providing the state

  their perspective on the programs and services implemented in communities. They were excited

  to share their voice and perspectives on how the state can better meet the needs of the youth

  through funds received. CDPHE had built the trust of the youth to share and now we have to

  explain why the funding went away suddenly.

         103.​   The funding cuts will harm organizations focusing on services to the youth,

  families, and communities and setting back the efforts and benefits of prevention. Funding is

  needed to support services that prevent substance use disorders, and by not investing in

  communities, youth and individuals, Coloradans will continue to be in crisis. This impacts



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  everyone as Colorado is already experiencing a high volume of people in need of treatment and

  mental health services.

         104.​   Prior to the grant award termination on March 24, 2025, SAMHSA had never

  provided CDPHE with notice, written or otherwise, that the grant funding administered by

  CDPHE was in any way unsatisfactory.

         105.​   As stated in detail throughout this Declaration, the abrupt termination of these

  federal sources of funding will harm Colorado communities, the governmental and

  nongovernmental entities that serve them, and will negatively impact the State’s ability to fulfill

  its role in protecting public health. Previously scheduled vaccine clinics will be cancelled, data

  collection initiatives will be curtailed, and individuals in need of access to the services provided

  through these funds will need to look elsewhere for assistance and may go unserved.

  ​     I declare under penalty of perjury under the laws of the United States that, to the best of

  my knowledge, the foregoing is true and correct.

                 Executed on March 31, 2025, at Denver, Colorado.




                                                _____________________________________
                                                Scott Bookman




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                DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1127SERVICES      Notice of Award
                                                                                                    Award# 1 NH75OT000066-01-00
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH75OT000066
                                                                                                    Federal Award Date: 05/28/2021



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
                                                   1 NH75OT000066-01-00
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                    NH75OT000066
   Colorado Department of Public Health and     13. Statutory Authority
                                                   317(K)(2) OF PHSA 42USC 247B(K)(2)
   Environme
   Denver, CO 80246-1523
   [NO DATA]
                                                14. Federal Award Project Title
2. Congressional District of Recipient             National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk and
   01                                              Underserved, Including Racial and Ethnic Minority Populations and Rural Communities
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.391
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Activities to Support State, Tribal, Local and Territorial (STLT) Health Department Response to Public
   878208826                                       Health or Healthcare Crises
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                   New
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Ms. Kristen Fedak
    kristen.fedak@state.co.us                                Summary Federal Award Financial Information
   413-374-2641
                                                19. Budget Period Start Date           06/01/2021 - End Date 05/31/2023

                                                20. Total Amount of Federal Funds Obligated by this Action                                  $22,581,706.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                 $20,285,778.00
   Ms. Jannette. Scarpino                           20b. Indirect Cost Amount                                                                $2,295,928.00
   CFO
                                                21. Authorized Carryover                                                                              $0.00
   jannette.scarpino@state.co.us
   303-692-2200                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                                        $0.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $22,581,706.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          06/01/2021 - End Date 05/31/2023
 Mr. John McGee
 Grants Management Specialist                   27. Total Amount of the Federal Award including Approved
 qsj4@cdc.gov                                       Cost Sharing or Matching this Project Period                                   Not Available
 404-498-4348
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Ms. Christine Graaf
                                                29. Grants Management Officer – Signature
 khx2@cdc.gov
                                                     Ms. Shirley K Byrd
 404-498-0442
                                                     Grants Management Officer




30. Remarks




                                                                                                                                             Page 1
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                 DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1128SERVICES      Notice of Award
                 Centers for Disease Control and Prevention                                       Award# 1 NH75OT000066-01-00
                                                                                                  FAIN# NH75OT000066
                                                                                                  Federal Award Date: 05/28/2021



Recipient Information                                   33. Approved Budget
                                                        (Excludes Direct Assistance)
Recipient Name                                           I. Financial Assistance from the Federal Awarding Agency Only
                                                         II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                           a. Salaries and Wages                                                    $7,211,254.00
 Colorado Department of Public Health and               b. Fringe Benefits                                                       $2,379,714.00
 Environme
                                                             c. Total Personnel Costs                                            $9,590,968.00
 Denver, CO 80246-1523
 [NO DATA]                                              d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                     e. Supplies                                                               $210,530.00
Payment Account Number and Type                         f. Travel                                                                  $74,280.00
 1840644739A4
Employer Identification Number (EIN) Data               g. Construction                                                                 $0.00
 840644739                                              h. Other                                                                        $0.00
Universal Numbering System (DUNS)
                                                        i. Contractual                                                          $10,410,000.00
 878208826
Recipient’s Unique Entity Identifier                    j. TOTAL DIRECT COSTS                                                  $20,285,778.00
 Not Available
                                                        k. INDIRECT COSTS                                                       $2,295,928.00

 31. Assistance Type                                    l. TOTAL APPROVED BUDGET                                               $22,581,706.00
 Project Grant
                                                        m. Federal Share                                                       $22,581,706.00
 32. Type of Award
 Other                                                  n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.         DOCUMENT NO.        ADMINISTRATIVE CODE     OBJECT CLASS      AMT ACTION FINANCIAL ASSISTANCE          APPROPRIATION
     1-9390H06         21NH75OT000066C5             OT                  41.51                                 $22,581,706.00     75-2122-0140




                                                                                                                                     Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1129 SERVICES Notice of Award
                                                                                             Award# 1 NH75OT000066-01-00
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH75OT000066
                                                                                             Federal Award Date: 05/28/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                         #: 1130
                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                       1 NH75OT000066-01-00
1. Terms and Conditions
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                                          #: 1131


                               Recipient: Colorado Department of Public Health and Environment


   AWARD INFORMATION

  Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
  and Conditions for Non-research awards at
  https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease
  Control and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO)
  number CDC-RFA-OT21-2103, entitled National Initiative to Address COVID-19 Health Disparities
  Among Populations at High-Risk and Underserved, Including Racial and Ethnic Minority
  Populations and Rural Communities, and application dated May 3, 2021, as may be amended,
  which are hereby made a part of this Non-research award, hereinafter referred to as the Notice
  of Award (NoA).

  Approved Funding: Funding in the amount of $22,581,706 is approved for a two year
  performance and budget period, which is June 1, 2021 through May 31, 2023. All future funding
  will be based on satisfactory programmatic progress and the availability of funds.

  The federal award amount is subject to adjustment based on total allowable costs incurred
  and/or the value of any third party in-kind contribution when applicable.

  Note: Refer to the Payment Information section for Payment Management System (PMS)
  subaccount information.

  Component/Project Funding: The NOFO provides for the funding of multiple components
  under this award. The approved component funding levels for this notice of award are:

   NOFO Component                        Amount
   Base funding                            $17,969,695
   State Rural Carveout                     $4,612,011

  Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
  agreement awarded by the Department of Health and Human Services (HHS) with funds made
  available under the Coronavirus Preparedness and Response Supplemental Appropriations Act,
  2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the
  “CARES Act”) (P.L. 116-136); the Paycheck Protection Program and Health Care Enhancement
  Act (P.L. 116-139); the Consolidated Appropriations Act and the Coronavirus Response and
  Relief Supplement Appropriations Act, 2021 (P.L. 116-260) and/or the American Rescue Plan of
  2021 [P.L. 117-2] agrees, as applicable to the award, to: 1) comply with existing and/or future
  directives and guidance from the Secretary regarding control of the spread of COVID-19; 2) in
  consultation and coordination with HHS, provide, commensurate with the condition of the
  individual, COVID-19 patient care regardless of the individual’s home jurisdiction and/or
  appropriate public health measures (e.g., social distancing, home isolation); and 3) assist the
  United States Government in the implementation and enforcement of federal orders related to
  quarantine and isolation.

  In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES Act,
  with respect to the reporting to the HHS Secretary of results of tests intended to detect SARS–
  CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in accordance with
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                                           #: 1132


  guidance and direction from HHS and/or CDC. HHS laboratory reporting guidance is posted at:
  https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-guidance.pdf.

  Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
  purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
  copies of and/or access to COVID-19 data collected with these funds, including but not limited
  to data related to COVID-19 testing. CDC will specify in further guidance and directives what is
  encompassed by this requirement.

  This award is contingent upon agreement by the recipient to comply with existing and future
  guidance from the HHS Secretary regarding control of the spread of COVID-19. In addition,
  recipient is expected to flow down these terms to any subaward, to the extent applicable to
  activities set out in such subaward.

  Financial Assistance Mechanism: Grant

  Pre-Award Costs: Pre-award costs dating back to March 15, 2021 – and directly related to the
  COVID-19 outbreak response are allowable.


   FUNDING RESTRICTIONS AND LIMITATIONS

  Indirect Costs:

  Indirect costs are approved based on the negotiated indirect cost rate agreement dated
  September 21, 2020, which calculates indirect costs as follows, a Provisional is approved at a
  rate of 19.6% of the base, which includes, salaries, wages, and all benefits. The effective dates
  of this indirect cost rate are from July 1, 2020 to June 30, 2024.

   REPORTING REQUIREMENTS

  Required Disclosures for Federal Awardee Performance and Integrity Information System
  (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
  manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
  information related to violations of federal criminal law involving fraud, bribery, or gratuity
  violations potentially affecting the federal award. Subrecipients must disclose, in a timely
  manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
  related to violations of federal criminal law involving fraud, bribery, or gratuity violations
  potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
  the HHS OIG at the following addresses:

  CDC, Office of Grants Services
  John McGee, Grants Management Specialist
  Centers for Disease Control and Prevention
  Global Health Services Branch
  2939 Flowers Road
  Atlanta, GA 30341
  Email: qsj4@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

  AND
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  U.S. Department of Health and Human Services
  Office of the Inspector General
  ATTN: Mandatory Grant Disclosures, Intake Coordinator
  330 Independence Avenue, SW
  Cohen Building, Room 5527
  Washington, DC 20201

  Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
  Email: MandatoryGranteeDisclosures@oig.hhs.gov

  Recipients must include this mandatory disclosure requirement in all subawards and contracts
  under this award.

  Failure to make required disclosures can result in any of the remedies described in 45 CFR
  75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
  180 and 376, and 31 U.S.C. 3321).

  CDC is required to report any termination of a federal award prior to the end of the period of
  performance due to material failure to comply with the terms and conditions of this award in the
  OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
  (45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
  failure to comply with the federal statutes, regulations, or terms and conditions of the federal
  award. (45 CFR 75.373(b))


   PAYMENT INFORMATION

  The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
  800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
  cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
  by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
  HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
  sensitive material and submitters may decline to give their names if they choose to remain
  anonymous.

  Payment Management System Subaccount: Funds awarded in support of approved activities
  have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
  must be used in support of approved activities in the NOFO and the approved application.

  The grant document number identified on the bottom of Page 1 of the Notice of Award must be
  known in order to draw down funds.


   PROGRAM OR FUNDING SPECIFIC CLOSEOUT REQUIREMENTS

  The final programmatic report format required is the following.

  Final Performance Progress and Evaluation Report: This report should include the
  information specified in the NOFO and is submitted 90 days following the end of the period of
  performance via www.grantsolutions.gov . At a minimum, the report will include the following:
          • Statement of progress made toward the achievement of originally stated aims.
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                                            #: 1134



          •   Description of results (positive or negative) considered significant.
          •   List of publications resulting from the project, with plans, if any, for further
              publication.

  Additional guidance may be provided by the GMS and found at:
  https://www.cdc.gov/grants/alreadyhavegrant/Reporting.html


   CDC Staff Contacts

  Grants Management Specialist: The GMS is the federal staff member responsible for the day-
  to-day management of grants and cooperative agreements. The GMS is the primary contact of
  recipients for business and administrative matters pertinent to grant awards.

  Program/Project Officer: The PO is the federal official responsible for monitoring the
  programmatic, scientific, and/or technical aspects of grants and cooperative agreements, as
  well as contributing to the effort of the award under cooperative agreements.

  Grants Management Officer: The GMO is the federal official responsible for the business and
  other non-programmatic aspects of grant awards. The GMO is the only official authorized to
  obligate federal funds and is responsible for signing the NoA, including revisions to the NoA that
  change the terms and conditions. The GMO serves as the counterpart to the business officer of
  the recipient organization.
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                  DEPARTMENT OF HEALTH AND HUMAN
                                             #: 1135SERVICES      Notice of Award
                                                                                                     Award# 6 NH75OT000066-01-01
                  Centers for Disease Control and Prevention
                                                                                                     FAIN# NH75OT000066
                                                                                                     Federal Award Date: 11/22/2022



Recipient Information                                                         Federal Award Information
1. Recipient Name                                11. Award Number
    PUBLIC HEALTH AND ENVIRONMENT,                  6 NH75OT000066-01-01
                                                 12. Unique Federal Award Identification Number (FAIN)
    COLORADO DEPARTMENT OF
                                                    NH75OT000066
    4300 E Cherry Creek South Dr                 13. Statutory Authority
    Colorado Department of Public Health and        317(K)(2) OF PHSA 42USC 247B(K)(2)
    Environme
    Denver, CO 80246-1523                        14. Federal Award Project Title
2. Congressional
   [NO DATA]     District of Recipient              National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk and
   01                                               Underserved, Including Racial and Ethnic Minority Populations and Rural Communities
3. Payment System Identifier (ID)
   1840644739A4                                  15. Assistance Listing Number
4. Employer Identification Number (EIN)             93.391
   840644739
                                                 16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)           Activities to Support State, Tribal, Local and Territorial (STLT) Health Department Response to Public
   878208826                                        Health or Healthcare Crises
6. Recipient’s Unique Entity Identifier (UEI)    17. Award Action Type
   Y3WEW9MQ6NH5                                     No Cost Extension
7. Project Director or Principal Investigator    18. Is the Award R&D?
                                                    No
    Dr. Kristen Fedak
    Health Equity Branch Deputy Chief                         Summary Federal Award Financial Information
    kristen.good@state.co.us
                                                 19. Budget Period Start Date           06/01/2021 - End Date 05/31/2023
    413-374-2641
                                                 20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                     20a. Direct Cost Amount                                                                   ($453,267.00)
    Ms. Jannette. Scarpino                           20b. Indirect Cost Amount                                                                  $453,267.00
    CFO
                                                 21. Authorized Carryover                                                                              $0.00
    jannette.scarpino@state.co.us
    303-692-2200                                 22. Offset                                                                                            $0.00
                                                 23. Total Amount of Federal Funds Obligated this budget period                              $22,581,706.00
Federal Agency Information
                                                 24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                 25. Total Federal and Non-Federal Approved this Budget Period                               $22,581,706.00
9. Awarding Agency Contact Information           26. Period of Perfomance Start Date 06/01/2021 - End Date 05/31/2024
 Jennifer Allen
                                                 27. Total Amount of the Federal Award including Approved
 GMS
                                                     Cost Sharing or Matching this Period of Performance                                     $22,581,706.00
 trd3@cdc.gov
 404-498-0976
                                                 28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 Mr. Jeffrey Brock
                                                 29. Grants Management Officer – Signature
 Team Lead
                                                      Ms. Ester Edward
 DPHPI/HDSDB
                                                      Grants Management Officer
 ihu8@cdc.gov
 404 498-3078


30. Remarks




                                                                                                                                              Page 1
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                 DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1136SERVICES      Notice of Award
                 Centers for Disease Control and Prevention                                          Award# 6 NH75OT000066-01-01
                                                                                                     FAIN# NH75OT000066
                                                                                                     Federal Award Date: 11/22/2022



Recipient Information                                      33. Approved Budget
                                                           (Excludes Direct Assistance)
Recipient Name                                              I. Financial Assistance from the Federal Awarding Agency Only
 PUBLIC HEALTH AND ENVIRONMENT,                             II. Total project costs including grant funds and all other financial participation
 COLORADO DEPARTMENT OF                                    a. Salaries and Wages                                                    $5,187,488.00
 4300 E Cherry Creek South Dr
                                                           b. Fringe Benefits                                                       $1,630,848.00
 Colorado Department of Public Health and
 Environme                                                        c. Total Personnel Costs                                          $6,818,336.00
 Denver, CO 80246-1523                                     d. Equipment                                                                    $0.00
Congressional District of Recipient
 [NO DATA]
 01                                                        e. Supplies                                                                $61,954.00
Payment Account Number and Type                            f. Travel                                                                 $237,631.00
 1840644739A4
Employer Identification Number (EIN) Data                  g. Construction                                                                 $0.00
 840644739                                                 h. Other                                                                     $2,303.00
Universal Numbering System (DUNS)
                                                           i. Contractual                                                          $12,712,287.00
 878208826
Recipient’s Unique Entity Identifier (UEI)                 j. TOTAL DIRECT COSTS                                                  $19,832,511.00
 Y3WEW9MQ6NH5
                                                           k. INDIRECT COSTS                                                       $2,749,195.00

 31. Assistance Type                                       l. TOTAL APPROVED BUDGET                                               $22,581,706.00
 Project Grant
                                                           m. Federal Share                                                       $22,581,706.00
 32. Type of Award
 Other                                                     n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.         ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE    APPROPRIATION
    1-9390H06         21NH75OT000066C5              OT                41.51       93.391                                  $0.00   75-2122-0140




                                                                                                                                        Page 2
            Case 1:25-cv-00121-MSM-LDA
                                     Document 4-10 Filed 04/01/25 Page 50 of 498 PageID
                  DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1137 SERVICES Notice of Award
                                                                                             Award# 6 NH75OT000066-01-01
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH75OT000066
                                                                                             Federal Award Date: 11/22/2022




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
    Case 1:25-cv-00121-MSM-LDA          Document 4-10   Filed 04/01/25   Page 51 of 498 PageID
                                              #: 1138
                                    AWARD ATTACHMENTS
PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF 6 NH75OT000066-01-01
1. Terms & Conditions - NCE - NH75OT000066
Case 1:25-cv-00121-MSM-LDA             Document 4-10         Filed 04/01/25      Page 52 of 498 PageID
                                             #: 1139




  No Cost Extension: The purpose of this amendment is to approve a 12-month No Cost
  Extension per the request submitted by your organization dated November 10, 2022 . The
  budget and project period end dates have been extended from May 31, 2023 to May 31,
  2024.

  Annual Federal Financial Report (FFR SF-425): Annual financial reporting is required every
  twelve-month period. Due to the approved extension period, the final budget period has been
  extended and an additional annual financial report will be required. A completed FFR SF-425
  covering the budget period of June 1, 2022 to May 31, 2023 must be submitted by August
  31, 2023.

  Recipients must submit all closeout reports identified in this section within 90 days of the period
  of performance end date. The reporting timeframe is the full period of performance. Failure to
  submit timely and accurate final reports may affect future funding to the organization or awards
  under the direction of the same Project Director/Principal Investigator (PD/PI).

  Final Performance Progress and Evaluation Report: This report should include the
  information specified in the NOFO and is submitted 90 days following the end of the period of
  performance via www.grantsolutions.gov. At a minimum, the report will include the following:

      1. Statement of progress made toward the achievement of originally stated aims.
      2. Description of results (positive or negative) considered significant.
      3. List of publications resulting from the project, with plans, if any, for further publication.

  Additional guidance may be provided by the GMS and found at:
  https://www.cdc.gov/grants/alreadyhavegrant/Reporting.html

  Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds
  authorized and actually expended during the timeframe covered by the report. The Final FFR,
  SF-425 is required and must be submitted no later than 90 days after the period of performance
  end date.

  The final report must indicate the exact balance of unobligated funds and may not reflect any
  unliquidated obligations. Should the amount not match with the final expenditures reported to
  the Department of Health and Human Services’ PMS, you will be required to update your
  reports to PMS accordingly. Remaining unobligated funds will be de-obligated and returned to
  the U.S. Treasury.

  Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed
  Tangible Personal Property Report SF-428 and Final Report SF-428B addendum must be
  submitted, along with any Supplemental Sheet SF-428S detailing all major equipment acquired
  or furnished under this project with a unit acquisition cost of $5,000 or more. Electronic
  versions of the forms can be downloaded by visiting:
  https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html#sortby=1

  If no equipment was acquired under an award, a negative report is required.

  The recipient must identify each item of equipment that it wishes to retain for continued use in
Case 1:25-cv-00121-MSM-LDA           Document 4-10       Filed 04/01/25      Page 53 of 498 PageID
                                           #: 1140


  accordance with 45 CFR Part 75. The awarding agency may exercise its rights to require the
  transfer of equipment purchased under the assistance award. CDC will notify the recipient if
  transfer to title will be required and provide disposition instruction on all major equipment.

  Equipment with a unit acquisition cost of less than $5,000 that is no longer to be used in
  projects or programs currently or previously sponsored by the Federal Government may be
  retained, sold, or otherwise disposed of, with no further obligation to the Federal Government.

  Please be advised that the recipient must exercise proper stewardship over Federal funds by
  ensuring that all costs charged to their cooperative agreement are allowable, allocable,
  necessary and reasonable.

  All other terms and conditions issued with the original award remain in effect throughout the
  budget period unless otherwise changed, in writing, by the Grants Management Officer.

   PLEASE REFERENCE THE NOFO AND AWARD NUMBER ON ALL CORRESPONDENCE
          Case 1:25-cv-00121-MSM-LDA   Document 4-10 Filed 04/01/25 Page 54 of 498 PageID
                  DEPARTMENT OF HEALTH AND HUMAN
                                             #: 1141SERVICES      Notice of Award
                                                                                                                       Award# 6 NH75OT000066-01-02
                  Centers for Disease Control and Prevention
                                                                                                                       FAIN# NH75OT000066
                                                                                                                       Federal Award Date: 01/20/2023



Recipient Information                                                                           Federal Award Information
1. Recipient Name                                               11. Award Number
    Public Health and Environment, Colorado                         6 NH75OT000066-01-02
                                                                12. Unique Federal Award Identification Number (FAIN)
    Department of
                                                                    NH75OT000066
    4300 E Cherry Creek South Dr                                13. Statutory Authority
    Colorado Department of Public Health and                         317(K)(2) OF PHSA 42USC 247B(K)(2)
    Environme
    Denver, CO 80246-1523                                       14. Federal Award Project Title
2. Congressional
   [NO DATA]     District of Recipient                              National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk and
   01                                                               Underserved, Including Racial and Ethnic Minority Populations and Rural Communities
3. Payment System Identifier (ID)
   1840644739A4                                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)                             93.391
   840644739
                                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)                            Activities to Support State, Tribal, Local and Territorial (STLT) Health Department Response to Public
   878208826                                                         Health or Healthcare Crises
6. Recipient’s Unique Entity Identifier (UEI)                   17. Award Action Type
   Y3WEW9MQ6NH5                                                     Administrative Action
7. Project Director or Principal Investigator                   18. Is the Award R&D?
                                                                    No
    Dr. Kristen Fedak
    Health Equity Branch Deputy Chief                                        Summary Federal Award Financial Information
    kristen.good@state.co.us
                                                                19. Budget Period Start Date             06/01/2021 - End Date 05/31/2024
    413-374-2641
                                                                20. Total Amount of Federal Funds Obligated by this Action                                              $0.00
8. Authorized Official
                                                                    20a. Direct Cost Amount                                                                             $0.00
    Ms. Jannette. Scarpino                                           20b. Indirect Cost Amount                                                                          $0.00
    CFO
                                                                21. Authorized Carryover                                                                                $0.00
    jannette.scarpino@state.co.us
    303-692-2200                                                22. Offset                                                                                              $0.00
                                                                23. Total Amount of Federal Funds Obligated this budget period                                 $22,581,706.00
Federal Agency Information
                                                                24. Total Approved Cost Sharing or Matching, where applicable                                           $0.00
 CDC Office of Financial Resources
                                                                25. Total Federal and Non-Federal Approved this Budget Period                                  $22,581,706.00
9. Awarding Agency Contact Information                          26. Period of Perfomance Start Date 06/01/2021 - End Date 05/31/2024
 Jennifer Allen
                                                                27. Total Amount of the Federal Award including Approved
 GMS
                                                                    Cost Sharing or Matching this Period of Performance                                        $22,581,706.00
 trd3@cdc.gov
 404-498-0976
                                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information                               ADDITIONAL COSTS
 Nathan Griffin
                                                                29. Grants Management Officer – Signature
 Program Officer
                                                                      Mrs. Erica Stewart
 scq8@cdc.gov
                                                                      Team Lead, Grants Management Officer
 111-111-1111



30. Remarks
 According to the Central Contractor Registration system, your organization does not have an active registration, UEI Number Y3WEW9MQ6NH5. Please contact the
 Central Contractor Registration system (https://www.sam.gov) to confirm your registration status with CCR. Your organization will not be able to receive financial
 assistance until the registration is current.



                                                                                                                                                                Page 1
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                 DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1142SERVICES      Notice of Award
                 Centers for Disease Control and Prevention                                          Award# 6 NH75OT000066-01-02
                                                                                                     FAIN# NH75OT000066
                                                                                                     Federal Award Date: 01/20/2023



Recipient Information                                      33. Approved Budget
                                                           (Excludes Direct Assistance)
Recipient Name                                              I. Financial Assistance from the Federal Awarding Agency Only
 Public Health and Environment, Colorado                    II. Total project costs including grant funds and all other financial participation
 Department of                                             a. Salaries and Wages                                                    $5,187,488.00
 4300 E Cherry Creek South Dr
                                                           b. Fringe Benefits                                                       $1,630,848.00
 Colorado Department of Public Health and
 Environme                                                        c. Total Personnel Costs                                          $6,818,336.00
 Denver, CO 80246-1523                                     d. Equipment                                                                    $0.00
Congressional District of Recipient
 [NO DATA]
 01                                                        e. Supplies                                                                $61,954.00
Payment Account Number and Type                            f. Travel                                                                 $237,631.00
 1840644739A4
Employer Identification Number (EIN) Data                  g. Construction                                                                 $0.00
 840644739                                                 h. Other                                                                     $2,303.00
Universal Numbering System (DUNS)
                                                           i. Contractual                                                          $12,712,287.00
 878208826
Recipient’s Unique Entity Identifier (UEI)                 j. TOTAL DIRECT COSTS                                                  $19,832,511.00
 Y3WEW9MQ6NH5
                                                           k. INDIRECT COSTS                                                       $2,749,195.00

 31. Assistance Type                                       l. TOTAL APPROVED BUDGET                                               $22,581,706.00
 Project Grant
                                                           m. Federal Share                                                       $22,581,706.00
 32. Type of Award
 Other                                                     n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.         ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE    APPROPRIATION
    1-9390H06         21NH75OT000066C5              OT                41.51       93.391                                  $0.00   75-2122-0140




                                                                                                                                        Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1143 SERVICES Notice of Award
                                                                                             Award# 6 NH75OT000066-01-02
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH75OT000066
                                                                                             Federal Award Date: 01/20/2023




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                                   #: 1144
                                        AWARD ATTACHMENTS
Public Health and Environment, Colorado Department of                          6 NH75OT000066-01-02
1. Notification of Expired CCR BP and PP correction
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                                                #: 1145

 REVISED AWARD INFORMATION

According to the Central Contractor Registration system, your organization does not have an
active registration, UEI Number Y3WEW9MQ6NH5. Please contact the Central Contractor
Registration system (https://www.sam.gov) to confirm your registration status with CCR. Your
organization will not be able to receive financial assistance until the registration is current.

Administrative Correction: The purpose of this Notice of Award to correct the budget period start date from
5/31/2023 to 5/31/2024..

Stewardship: The recipient must exercise proper stewardship over Federal funds by ensuring that all costs
charged to your cooperative agreement are allowable, allocable, and reasonable and that they address the
highest priority needs as they relate to this program.

All the other terms and conditions issued with the original award remain in effect throughout the budget period
unless otherwise changed, in writing, by the Grants Management Officer.
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                DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1146SERVICES      Notice of Award
                                                                                                    Award# 6 NH75OT000066-01-03
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH75OT000066
                                                                                                    Federal Award Date: 02/27/2024



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH75OT000066-01-03
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH75OT000066
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Colorado Department of Public Health and        317(K)(2) OF PHSA 42USC 247B(K)(2)
   Environme-DUP
   Denver, CO 80246-1523                        14. Federal Award Project Title
2. Congressional
   321-321-3214  District of Recipient             National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk and
   01                                              Underserved, Including Racial and Ethnic Minority Populations and Rural Communities
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.391
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Activities to Support State, Tribal, Local and Territorial (STLT) Health Department Response to Public
   878208826                                       Health or Healthcare Crises
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    No Cost Extension
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Dr. Kristen Fedak
   Health Equity Branch Deputy Chief                         Summary Federal Award Financial Information
   kristen.good@state.co.us
                                                19. Budget Period Start Date           06/01/2021 - End Date 05/31/2026
   413-374-2641
                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                           $0.00
   Ms. Jannette Scarpino                            20b. Indirect Cost Amount                                                                         $0.00
   CFO
                                                21. Authorized Carryover                                                                              $0.00
   jannette.scarpino@state.co.us
   303-692-2127                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $22,581,706.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $22,581,706.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 06/01/2021 - End Date 05/31/2026
 Charlena Gatlin
                                                27. Total Amount of the Federal Award including Approved
 Internal Reviewer
                                                    Cost Sharing or Matching this Period of Performance                                     $22,581,706.00
 tie3@cdc.gov
 678-475-4966
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Nathan Griffin
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Ms. Ester Edward
 scq8@cdc.gov
                                                     Grants Management Officer
 111-111-1111



30. Remarks




                                                                                                                                             Page 1
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                 DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1147SERVICES      Notice of Award
                 Centers for Disease Control and Prevention                                          Award# 6 NH75OT000066-01-03
                                                                                                     FAIN# NH75OT000066
                                                                                                     Federal Award Date: 02/27/2024



Recipient Information                                      33. Approved Budget
                                                           (Excludes Direct Assistance)
Recipient Name                                              I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                              II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                      a. Salaries and Wages                                                    $5,187,488.00
 4300 E Cherry Creek South Dr
                                                           b. Fringe Benefits                                                       $1,630,848.00
 Colorado Department of Public Health and
 Environme-DUP                                                    c. Total Personnel Costs                                          $6,818,336.00
 Denver, CO 80246-1523                                     d. Equipment                                                                    $0.00
Congressional District of Recipient
 321-321-3214
 01                                                        e. Supplies                                                                $61,954.00
Payment Account Number and Type                            f. Travel                                                                 $237,631.00
 1840644739A4
Employer Identification Number (EIN) Data                  g. Construction                                                                 $0.00
 840644739                                                 h. Other                                                                     $2,303.00
Universal Numbering System (DUNS)
                                                           i. Contractual                                                          $12,712,287.00
 878208826
Recipient’s Unique Entity Identifier (UEI)                 j. TOTAL DIRECT COSTS                                                  $19,832,511.00
 Y3WEW9MQ6NH5
                                                           k. INDIRECT COSTS                                                       $2,749,195.00

 31. Assistance Type                                       l. TOTAL APPROVED BUDGET                                               $22,581,706.00
 Project Grant
                                                           m. Federal Share                                                       $22,581,706.00
 32. Type of Award
 Other                                                     n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.         ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE    APPROPRIATION
    1-9390H06         21NH75OT000066C5              OT                41.51       93.391                                  $0.00   75-2122-0140




                                                                                                                                        Page 2
            Case 1:25-cv-00121-MSM-LDA
                                     Document 4-10 Filed 04/01/25 Page 61 of 498 PageID
                  DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1148 SERVICES Notice of Award
                                                                                             Award# 6 NH75OT000066-01-03
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH75OT000066
                                                                                             Federal Award Date: 02/27/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                       #: 1149
                             AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                 6 NH75OT000066-01-03
1. Terms and Conditions
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                                          #: 1150




   ADDITIONAL TERMS AND CONDITIONS OF AWARD

  The General Terms and Conditions for non-research grants and cooperative agreements have
  been updated, effective January 23, 2024, to reflect current regulations and requirements for
  federal financial assistance.

  No Cost Extension: The purpose of this amendment is to approve a 24 month No Cost
  Extension per the request submitted by your organization dated January 17, 2024 . The budget
  and project period end dates have been extended from May 31, 2024 to May 31, 2026.

  Annual Federal Financial Report (FFR SF-425): Annual financial reporting is required every
  twelve-month period. Based on the approved no-cost extension, an additional annual financial
  report will be required. A completed FFR SF-425 covering the budget period of June 1, 2023 to
  May 31, 2024 must be submitted by August 31, 2024.

  Closeout Requirements: Recipients must submit all closeout reports within 120 days of the
  period of performance end date. Standard closeout reporting requirements are identified in the
  General Terms and Conditions, which are published on the CDC website at
  https://www.cdc.gov/grants/federal-regulations-policies/index.html
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                DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1151SERVICES      Notice of Award
                                                                                                    Award# 6 NH75OT000066-01-04
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH75OT000066
                                                                                                    Federal Award Date: 03/24/2025



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
    COLORADO DEPARTMENT OF PUBLIC                  6 NH75OT000066-01-04
                                                12. Unique Federal Award Identification Number (FAIN)
    HEALTH & ENVIRONMENT
                                                   NH75OT000066
    4300 E Cherry Creek South Dr                13. Statutory Authority
    Colorado Department of Public Health and       317(K)(2) OF PHSA 42USC 247B(K)(2)
    Environme-DUP
    Denver, CO 80246-1523                       14. Federal Award Project Title
2. Congressional
   321-321-3214  District of Recipient             National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk and
   01                                              Underserved, Including Racial and Ethnic Minority Populations and Rural Communities
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.391
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Activities to Support State, Tribal, Local and Territorial (STLT) Health Department Response to Public
   878208826                                       Health or Healthcare Crises
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Terminate
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Dr. Kristen Fedak
    Health Equity Branch Deputy Chief                        Summary Federal Award Financial Information
    kristen.good@state.co.us
                                                19. Budget Period Start Date           06/01/2021 - End Date 03/24/2025
    413-374-2641
                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                           $0.00
    Ms. Jannette Scarpino                           20b. Indirect Cost Amount                                                                         $0.00
    CFO
                                                21. Authorized Carryover                                                                              $0.00
    jannette.scarpino@state.co.us
    303-692-2127                                22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $22,581,706.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $22,581,706.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 06/01/2021 - End Date 03/24/2025
 Mr. Derick Wheeler , II
                                                27. Total Amount of the Federal Award including Approved
 Grants Management Specialist
                                                    Cost Sharing or Matching this Period of Performance                                     $22,581,706.00
 tie2@cdc.gov
 678-475-4972
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Nathan Griffin
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Mrs. Erica Stewart
 scq8@cdc.gov
                                                     Team Lead, Grants Management Officer
 111-111-1111



30. Remarks
 Department Authority




                                                                                                                                             Page 1
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                 DEPARTMENT OF HEALTH AND HUMAN
                                            #: 1152SERVICES      Notice of Award
                 Centers for Disease Control and Prevention                                 Award# 6 NH75OT000066-01-04
                                                                                            FAIN# NH75OT000066
                                                                                            Federal Award Date: 03/24/2025



Recipient Information                             33. Approved Budget
                                                  (Excludes Direct Assistance)
Recipient Name                                     I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                     II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                             a. Salaries and Wages                                                    $5,187,488.00
 4300 E Cherry Creek South Dr
                                                   b. Fringe Benefits                                                      $1,630,848.00
 Colorado Department of Public Health and
 Environme-DUP                                         c. Total Personnel Costs                                            $6,818,336.00
 Denver, CO 80246-1523                            d. Equipment                                                                    $0.00
Congressional District of Recipient
 321-321-3214
 01                                                e. Supplies                                                               $61,954.00
Payment Account Number and Type                    f. Travel                                                                $237,631.00
 1840644739A4
Employer Identification Number (EIN) Data          g. Construction                                                                $0.00
 840644739                                         h. Other                                                                    $2,303.00
Universal Numbering System (DUNS)
                                                  i. Contractual                                                          $12,712,287.00
 878208826
Recipient’s Unique Entity Identifier (UEI)         j. TOTAL DIRECT COSTS                                                 $19,832,511.00
 Y3WEW9MQ6NH5
                                                   k. INDIRECT COSTS                                                      $2,749,195.00

 31. Assistance Type                               l. TOTAL APPROVED BUDGET                                              $22,581,706.00
 Project Grant
                                                   m. Federal Share                                                      $22,581,706.00
 32. Type of Award
 Other                                             n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO. DOCUMENT NO. ADMINISTRATIVE CODE OBJECT CLASS ASSISTANCE LISTING AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-9390H06  21NH75OT000066C5     OT              41.51           93.391                                  $0.00 75-2122-0140




                                                                                                                               Page 2
            Case 1:25-cv-00121-MSM-LDA
                                     Document 4-10 Filed 04/01/25 Page 66 of 498 PageID
                  DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1153 SERVICES Notice of Award
                                                                                             Award# 6 NH75OT000066-01-04
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH75OT000066
                                                                                             Federal Award Date: 03/24/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                       #: 1154
                             AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                 6 NH75OT000066-01-04
1. Terms
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                                               #: 1155


  TERMS AND CONDITIONS OF AWARD



  Termination: The purpose of this amendment is to terminate this award which is funded by COVID-19
  supplemental appropriations. The termination of this award is for cause. HHS regulations permit
  termination if “the non-Federal entity fails to comply with the terms and conditions of the award”, or
  separately, “for cause.” The end of the pandemic provides cause to terminate COVID-related grants and
  cooperative agreements. These grants and cooperative agreements were issued for a limited purpose: to
  ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and cooperative
  agreements are no longer necessary as their limited purpose has run out. Termination of this award is
  effective as of the date set out in your Notice of Award.

  No additional activities can be conducted, and no additional costs may be incurred. Unobligated award
  balances will be de-obligated by CDC.

  Closeout: In order to facilitate an orderly closeout, we are requesting that you submit all closeout
  reports identified below within thirty (30) days of the date of this NoA. Submit the documentation as a
  “Grant Closeout” amendment in GrantSolutions. The reporting timeframe is the full period of
  performance. Please note, if you fail to submit timely and accurate reports, CDC may also pursue other
  enforcement actions per 45 CFR Part 75.371.

  Final Performance/Progress Report: This report should include the information specified in the Notice
  of Funding Opportunity (NOFO). At a minimum, the report will include the following:

          • Statement of progress made toward the achievement of originally stated aims.
          • Description of results (positive or negative) considered significant.
          • List of publications resulting from the project, with plans, if any, for further publication.

  Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds authorized and
  expended during the timeframe covered by the report. The final report must indicate the exact balance
  of unobligated funds and may not reflect any unliquidated obligations. Should the amount not match
  with the final expenditures reported to the Payment Management System (PMS), you will be required to
  update your reports to PMS accordingly.

  Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed SF-428 detailing all
  major equipment acquired with a unit acquisition cost of $10,000 or more. If no equipment was
  acquired under the award, a negative report is required
           Case 1:25-cv-00121-MSM-LDA                                                 Document 4-10                             Filed 04/01/25                                Page 69 of 498 PageID
1. DATE ISSUED            MM/DD/YYYY       1a. SUPERSEDES AWARD NOTICE dated                #: 1156
                                             except that any additions or restrictions previously imposed                         DEPARTMENT OF HEALTH AND HUMAN SERVICES
     09/04/2020
                                             remain in effect unless specifically rescinded
2. CFDA NO.
                                                                                                                                     Centers for Disease Control and Prevention
   93.283 - Centers for Disease Control and Prevention Investigations and Technical Assistance                                                           CDC Office of Financial Resources

3. ASSISTANCE TYPE Cooperative Agreement                                                                                                                              2939 Brandywine Road
4. GRANT NO. 1 NU50CK000562-01-00                         5. TYPE OF AWARD                                                                                              Atlanta, GA 30341
    Formerly                                                  Other

4a. FAIN      NU50CK000562                               5a. ACTION TYPE New
6. PROJECT PERIOD                   MM/DD/YYYY                                         MM/DD/YYYY                                                                NOTICE OF AWARD
                 From               09/30/2020                Through                  09/29/2025                                                AUTHORIZATION (Legislation/Regulations)
7. BUDGET PERIOD                    MM/DD/YYYY                                         MM/DD/YYYY                                             301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
                 From               09/30/2020               Through                   09/29/2021
 8. TITLE OF PROJECT (OR PROGRAM)
     Advancing the Centers of Excellence in Newcomer Health


9a. GRANTEE NAME AND ADDRESS                                                                                        9b. GRANTEE PROJECT DIRECTOR
      PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF                                                                Ms. Lori Kennedy
      4300 CHERRY CREEK SOUTH DR                                                                                           4300 CHERRY CREEK SOUTH DR
      Colorado Department of Public Health and Environme                                                                   Colorado Department of Public Health and Environme
      DENVER, CO 80246-1523                                                                                                DENVER, CO 80246-1523
                                                                                                                           Phone: 303-692-2624
10a. GRANTEE AUTHORIZING OFFICIAL                                                                                  10b. FEDERAL PROJECT OFFICER
      Mr. Travis Yoder                                                                                                     Nekeia Gray
      4300 CHERRY CREEK SOUTH DR                                                                                           1600 Clifton Rd
      DENVER, CO 80246-1523                                                                                                Atlanta, GA 30333
      Phone: 303-692-2023                                                                                                  Phone: 404-639-0712


                                                                                      ALL AMOUNTS ARE SHOWN IN USD
11. APPROVED BUDGET (Excludes Direct Assistance)                                                                  12. AWARD COMPUTATION
 I Financial Assistance from the Federal Awarding Agency Only                                                       a. Amount of Federal Financial Assistance (from item 11m)                                                                  829,413.00
 II Total project costs including grant funds and all other financial participation                  I              b. Less Unobligated Balance From Prior Budget Periods                                                                              0.00
                                                                                                                    c. Less Cumulative Prior Award(s) This Budget Period                                                                               0.00
     a.     Salaries and Wages           ………………..................                              300,687.04
                                                                                                                    d. AMOUNT OF FINANCIAL ASSISTANCE THIS ACTION                                                                              829,413.00
     b.     Fringe Benefits              ………………..................                                   99,226.08
                                                                                                                   13. Total Federal Funds Awarded to Date for Project Period                                                                  829,413.00
     c.        Total Personnel Costs                     .…...….……                             399,913.12          14. RECOMMENDED FUTURE SUPPORT
                                                                                                                    (Subject to the availability of funds and satisfactory progress of the project):
     d.     Equipment                   …………………………….                                                       0.00

                                                                                                         320.56      YEAR                TOTAL DIRECT COSTS                                YEAR                     TOTAL DIRECT COSTS
     e.     Supplies                    …………………………….
                                                                                                                    a. 2                                                              d. 5
     f.     Travel                      …………………………….                                                43,174.83
                                                                                                                    b. 3                                                              e. 6
     g.     Construction                …………………………….                                                       0.00     c. 4                                                               f. 7

     h.     Other                       …………………………….                                                       0.00    15. PROGRAM INCOME SHALL BE USED IN ACCORD WITH ONE OF THE FOLLOWING
                                                                                                                    ALTERNATIVES:

     i.     Contractual                 …………………….………                                           291,504.81                  a.
                                                                                                                           b.
                                                                                                                                   DEDUCTION
                                                                                                                                   ADDITIONAL COSTS                                                                                        b
                                                                                                                           c.      MATCHING
     j.         TOTAL DIRECT COSTS                                                             734,913.32                  d.      OTHER RESEARCH (Add / Deduct Option)
                                                                                                                           e.      OTHER (See REMARKS)
     k.     INDIRECT COSTS                                                                      94,499.68
                                                                                                                   16. THIS AWARD IS BASED ON AN APPLICATION SUBMITTED TO, AND AS APPROVED BY, THE FEDERAL AWARDING AGENCY
                                                                                                                   ON THE ABOVE TITLED PROJECT AND IS SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY
                                                                                                                   OR BY REFERENCE IN THE FOLLOWING:
     l.     TOTAL APPROVED BUDGET                                                               829,413.00
                                                                                                                           a.                                  .
                                                                                                                                   The grant program legislation
                                                                                                                           b.      The grant program regulations.
                                                                                                                           c.      This award notice including terms and conditions, if any, noted below under REMARKS.
     m.     Federal Share                                                                      829,413.00                  d.      Federal administrative requirements, cost principles and audit requirements applicable to this grant.
                                                                                                                   In the event there are conflicting or otherwise inconsistent policies applicable to the grant, the above order of precedence shall
     n.     Non-Federal Share                                                                              0.00    prevail. Acceptance of the grant terms and conditions is acknowledged by the grantee when funds are drawn or otherwise
                                                                                                                   obtained from the grant payment system.

     REMARKS           (Other Terms and Conditions Attached -                   Yes                                 No)




          GRANTS MANAGEMENT OFFICIAL:
          Brownie Anderson-Rana, Grants Management Officer
          2939 Flowers Road
          Mailstop TV2
          Atlanta, GA 30341-5509
          Phone: 770-488-2771

17.OBJ CLASS                41.51           18a. VENDOR CODE              1840644739A4              18b. EIN                    840644739                        19. DUNS                 878208826                   20. CONG. DIST.             01
            FY-ACCOUNT NO.                                  DOCUMENT NO.                                          ADMINISTRATIVE CODE                                     AMT ACTION FIN ASST                                APPROPRIATION
 21. a.              0-9390CEK              b.               20NU50CK000562                         c.                          CK                               d.                                $250,000.00 e.                          75-20-0949

 22. a.              0-939ZSDH              b.               20NU50CK000562                         c.                          CK                               d.                                $110,000.00 e.                          75-20-0951

 23. a.              0-939ZSLX              b.               20NU50CK000562                         c.                          CK                               d.                                $170,000.00 e.                          75-20-0949
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                                                                        PAGE 2 of 2               DATE ISSUED
 NOTICE OF AWARD (Continuation Sheet)                                                             09/04/2020
                                                                        GRANT NO.          1 NU50CK000562-01-00

    FY-ACCOUNT NO.                DOCUMENT NO.            ADMINISTRATIVE CODE           AMT ACTION FIN ASST        APPROPRIATION
24.a. 0-939ZTHN            b.   20NU50CK000562       c.   CK                       d.   $220,000.00           e.    75-20-0949
25.a. 0-939ZTSX            b.   20NU50CK000562       c.   CK                       d.   $79,413.00            e.    75-20-0949




Direct Assistance
            BUDGET CATEGORIES             PREVIOUS AMOUNT (A)            AMOUNT THIS ACTION (B)               TOTAL (A + B)
Personnel                                                       $0.00                        $0.00                            $0.00
Fringe Benefits                                                 $0.00                        $0.00                            $0.00
Travel                                                          $0.00                        $0.00                            $0.00
Equipment                                                       $0.00                        $0.00                            $0.00
Supplies                                                        $0.00                        $0.00                            $0.00
Contractual                                                     $0.00                        $0.00                            $0.00
Construction                                                    $0.00                        $0.00                            $0.00
Other                                                           $0.00                        $0.00                            $0.00
Total                                                           $0.00                        $0.00                            $0.00




                  2
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                                         #: 1158
                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                       1 NU50CK000562-01-00
1. Terms and Conditions
2. Summary Statement
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   AWARD INFORMATION

  Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
  and Conditions for Non-research awards at
  https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease
  Control and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO)
  number CK20-2002, entitled Advancing the Centers of Excellence in Newcomer Health, and
  application dated June 9, 2020, as may be amended, which are hereby made a part of this Non-
  research award, hereinafter referred to as the Notice of Award (NoA).

  Approved Funding: Funding in the amount of $829,413 is approved for the Year 01 budget
  period, which is September 30, 2020 through September 29, 2021. All future year funding will be
  based on satisfactory programmatic progress and the availability of funds.

  The federal award amount is subject to adjustment based on total allowable costs incurred
  and/or the value of any third party in-kind contribution when applicable.

  Note: Refer to the Payment Information section for Payment Management System (PMS)
  subaccount information.

  Financial Assistance Mechanism: Cooperative Agreement

  Substantial Involvement by CDC: This is a cooperative agreement and CDC will have
  substantial programmatic involvement after the award is made. Substantial involvement is in
  addition to all post-award monitoring, technical assistance, and performance reviews
  undertaken in the normal course of stewardship of federal funds.

  CDC program staff will assist, coordinate, or participate in carrying out effort under the award,
  and recipients agree to the responsibilities therein, as detailed in the NOFO.

  Regarding award guidance and monitoring, CDC will support recipients in implementing the
  requirements of the cooperative agreement, selecting or prioritizing prevention/activities and
  meeting identified outcomes

  Provide guidance and coordination to recipients to improve the quality and effectiveness of work
  plans, evaluation strategies, products and services, and collaborative activities with other
  organizations

  Provide requirements and expectations for standardized and other data reporting, monitoring,
  and evaluation

  Summary Statement Response Requirement: The review comments on the strengths and
  weaknesses of the proposal are provided as part of this award. A response to the weaknesses
  in these statements must be submitted in GrantSolutions as a Grant Note no later than 30 days
  from the budget period start date. Failure to submit the required information by the due date,
  October 30, 2020, will cause delay in programmatic progress and will adversely affect the future
  funding of this project.


  Expanded Authority: The recipient is permitted the following expanded authority in the
  administration of the award.
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   ☒ Carryover of unobligated balances from one budget period to a subsequent budget period.
      Unobligated funds may be used for purposes within the scope of the project as originally
      approved. Recipients will report use, or intended use, of unobligated funds in Section 12
      “Remarks” of the annual Federal Financial Report. If the GMO determines that some or all of
      the unobligated funds are not necessary to complete the project, the GMO may restrict the
      recipient’s authority to automatically carry over unobligated balances in the future, use the
      balance to reduce or offset CDC funding for a subsequent budget period, or use a
      combination of these actions.

  Program Income: Any program income generated under this grant or cooperative agreement
  will be used in accordance with the Addition alternative.

  Addition alternative: Under this alternative, program income is added to the funds committed to
  the project/program and is used to further eligible project/program objectives.

  Note: The disposition of program income must have written prior approval from the GMO.

   FUNDING RESTRICTIONS AND LIMITATIONS

  Indirect Costs:

  Indirect costs are approved based on the negotiated indirect cost rate agreement dated April 17,
  2020, which calculates indirect costs as follows, a Provisional is approved at a rate of 19.8% of
  the base, which includes, on-site, total direct costs excluding capital expenditures, subawards
  and pass-through. In addition, a Provisional rate is approved at 2.3% of the base which includes
  subawards less capital expenditures and pass-through funds. The effective dates of this
  indirect cost rate are from July 1, 2020 to June 30, 2023.

   REPORTING REQUIREMENTS

  Performance Progress and Monitoring: Performance information collection initiated under
  this grant/cooperative agreement has been approved by the Office of Management and Budget
  under OMB Number 0920-1132, “Performance Progress and Monitoring Report”,
  Expiration Date 10/31/2022. The components of the PPMR are available for download at:
  https://www.cdc.gov/grants/alreadyhavegrant/Reporting.html .

  Required Disclosures for Federal Awardee Performance and Integrity Information System
  (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
  manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
  information related to violations of federal criminal law involving fraud, bribery, or gratuity
  violations potentially affecting the federal award. Subrecipients must disclose, in a timely
  manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
  related to violations of federal criminal law involving fraud, bribery, or gratuity violations
  potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
  the HHS OIG at the following addresses:
  CDC, Office of Grants Services
  Yolanda Sledge, Grants Management Specialist
  Centers for Disease Control and Prevention
  Branch 1
  Atlanta, GA 30341


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  Fax: 770-488-2868 (Include “Mandatory Grant Disclosures” in subject line)
  Email: yis0@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

  AND

  U.S. Department of Health and Human Services
  Office of the Inspector General
  ATTN: Mandatory Grant Disclosures, Intake Coordinator
  330 Independence Avenue, SW
  Cohen Building, Room 5527
  Washington, DC 20201

  Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
  Email: MandatoryGranteeDisclosures@oig.hhs.gov

  Recipients must include this mandatory disclosure requirement in all subawards and contracts
  under this award.

  Failure to make required disclosures can result in any of the remedies described in 45 CFR
  75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
  180 and 376, and 31 U.S.C. 3321).

  CDC is required to report any termination of a federal award prior to the end of the period of
  performance due to material failure to comply with the terms and conditions of this award in the
  OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
  (45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
  failure to comply with the federal statutes, regulations, or terms and conditions of the federal
  award. (45 CFR 75.373(b))

   PAYMENT INFORMATION

  The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
  800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
  cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
  by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
  HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
  sensitive material and submitters may decline to give their names if they choose to remain
  anonymous.

  Payment Management System Subaccount: Funds awarded in support of approved activities
  have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
  must be used in support of approved activities in the NOFO and the approved application.

  The grant document number identified on the bottom of Page 1 of the Notice of Award must be
  known in order to draw down funds.

   CDC Staff Contacts

  Grants Management Specialist: The GMS is the federal staff member responsible for the day-
  to-day management of grants and cooperative agreements. The GMS is the primary contact of
  recipients for business and administrative matters pertinent to grant awards.


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  GMS Contact:
  Yolanda Sledge, Grants Management Specialist
  Centers for Disease Control and Prevention
  Branch 1
  Atlanta, GA 30341
  Telephone: 770.488.2787
  Fax: 770-488-2868
  Email: yis0@cdc.gov

  Program/Project Officer: The PO is the federal official responsible for monitoring the
  programmatic, scientific, and/or technical aspects of grants and cooperative agreements, as
  well as contributing to the effort of the award under cooperative agreements.

  Grants Management Officer: The GMO is the federal official responsible for the business and
  other non-programmatic aspects of grant awards. The GMO is the only official authorized to
  obligate federal funds and is responsible for signing the NoA, including revisions to the NoA that
  change the terms and conditions. The GMO serves as the counterpart to the business officer of
  the recipient organization.




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                                    SUMMARY STATEMENT
                            NOTICE OF FUNDING OPPORTUNITY
                                            CK20-2002
                   “Advancing the Centers of Excellence in Newcomer Health”


  Date of Review: 07/10/2020
  The Applicant Name: Colorado Department of Public Health


  OTHER RELEVANT COMMENTS
     •   The application has a strong approach, capacity, and infrastructure to conduct robust
         surveillance activities, using existing partnerships and their own rich data set.
     •   Concentrating on only one focus area allowed investigators to write a well-focused, easy
         to read and consistent proposal.
     •   The Applicant clearly understands the importance of collaborations (page 4).
     •   The Applicant provides an essential service for the overall program by maintaining the
         data repository.
     •   The CDPHE proposal covers only one of the 4 focus areas: “use of the multi-
         state/regional surveillance network to determine which health issues.” The NOFO called
         for proposals to include at least 2 of the 4 focus areas.
     •   It is encouraging that the Applicant emphasizes getting information to the target
         population, although the primary function of the group is to maintain and analyze the
         database (pages 4-5).

  CRITERIA
  1. Approach
  Summary of Strengths:
     •   The proposal addresses all required strategies and activities for the Surveillance and
         Epidemiology focus area only as presented in the NOFO Logic Model, the target
         population and health disparities.
     •   The workplan is detailed, coherent and align well with the proposed strategies and
         activities.
     •   The Applicant has very clear Surveillance and Epidemiology strategies and activities.
     •   The target population is clearly defined.
     •   The work plan explains methods and resources to be used to carry out the planned
         activities.
     •   The Applicant’s activities include analyzing data for many specific health conditions,
         both short and long term.
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                                           #: 1164



     •   The Applicant has identified several public health partners with data sets related to many
         of these conditions.
     •   The Applicant will use a multijurisdictional dataset, which they will maintain and
         expand.
     •   The Applicant will analyze newcomer health data by nationality, visa type, age, sex, and
         other relevant factors to be determined per analysis. The planned analyses will add rich
         information about newcomer health, including information about health risks specific to
         different newcomer groups.
     •   The Applicant will collaborate with existing partners to conduct analyses and will
         convene a health equity advisory board to evaluate plans and outputs.
     •   All required strategies and activities of the pillar addressed are noted. Within that
         pillar, the strategies and activities are fully supportive of the NOFO’s intended
         outcomes.
     •   The strategies and activities are feasible, and the work plan is reasonably complete.
     •   The target population is clearly and appropriately defined
     •   The application emphasizes quality improvement checks to better capture data from
         the right population only (page 3, “analyses will be conducted to understand whether
         newcomers are undercounted or uncounted in linked state datasets.”)

  Summary of Weaknesses:
     •   The NOFO called for proposals to include at least 2 of the 4 focus areas. This proposal
         included only one of the 4 Strategies and Activities (Surveillance and Epidemiology).
     •   The Applicant provides no description of the methodology of the Health Equity Advisory
         Board (page 3).
     •   The composition is described (page 5) and it is stated that the board will, “provide
         feedback and recommendations on analysis plans and dissemination outputs,” but
         meeting frequency, format and detailed role vis-à-vis the CoAg is unclear.


 2. Evaluation and Performance Measurement
  Summary of Strengths:
     •   All the elements sought above and in the NOFO are present in the proposal and are easy
         to find and the text is easy to read.
     •   The work plan details a clear sequence of activities and sub-activities for achieving these
         and includes clear and quantifiable metrics for assessing proposed activities. Terms are
         clearly defined. The organization has the ability to report on these measures, as they flow
         directly from the activities. Measures are well-aligned with activities around expanding
         collaborative partnerships and creating new analyses based on existing and new data.
     •   The Applicant proposes a series of activities targeting COVID-19, a current high-priority
         area.
     •   The proposal entails a midpoint Process Evaluation and a partner experience survey
         (page 6) as well as a partner webinar for performance feedback (page 7).
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     •   The proposal includes process indicators “increase in partners regularly submitting data,”
         and “number of partners able to access the dashboard” that go above and beyond the
         baseline requirement (page 6).
     •   The required outcome measures of the pillar are noted and interwoven with the work plan
         (page 14).

  Summary of Weaknesses:
     •   The Applicant’s Outcomes (page 2) do not seem to follow clearly from the project’s
         purposes, and the activities and sub-activities do not fully address how the outcomes will
         be achieved. For example, “improved knowledge about newcomer health among
         clinicians through analysis and dissemination efforts” (outcome 1). Which clinicians?
         What is their existing knowledge base? How will this knowledge be disseminated? How
         will surveillance data be used to support guideline development (outcome 6)? There is a
         gap between the analyses of newcomer health conditions, which are described in some
         detail, and how those analyses will be used in ways that meaningfully improve newcomer
         health outcomes.
     •   Performance measures for many sub-activities include sharing results, but it is unclear
         who these results will be shared with and what, if anything, will be done with them.
     •   Baseline data is not clearly presented.


  3. The Applicant’s Organizational Capacity to Implement the Approach
  Summary of Strengths:
     •   The project will be carried out by experienced an experienced team of investigators from
         very capable partners. All the required elements indicated above were provided in a
         concise, orderly, and easy to read text.
     •   Resumes and organizational charts are provided.
     •   The two organizations involved in this project have years of expertise and expertise in
         both data analysis and newcomer health issues. These organizations have a robust data
         repository they will use to carry out their planned activities, and they have existing
         partnerships with stakeholders including FQHCs to carry out LTHFU data activities.
     •   Key personnel are qualified and have relevant experience and training, and staffing
         appears sufficient.
     •   Organization has a strong existing partnership with 4 FQHCs, as well as partnerships
         with other Colorado Public Health branches. At the federal level, they have worked with
         CDC IRM, DHS ORR, and DOS PRM.
     •   The Applicant is working with seven multi-jurisdictional partners outside Colorado to
         add these datasets, which will strengthen analyses.
     •   The organization plans to incorporate overseas screening exam data, which would add a
         new dimension to the data and could lead to important knowledge about the etiology of
         some newcomer health issues.
     •   The current network is adequately described (page l).
     •   The team has a suitable server, data integrity/privacy protection and extensive experience
         managing a database (page 10).
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                                          #: 1166




  Summary of Weaknesses:
     •   An organizational chart for the program and the larger organization were not provided.
     •   There are no evidence of clear avenues or partnerships for dissemination of analyses
         results.
     •   The application states that they will work with the four FQHCs to collect data, but the
         narrative does not address how the resulting analyses will be shared with FQHCs or other
         healthcare providers in a way that provides meaningful information that can be applied to
         clinical practice.
     •   The authority for some proposed activities may be in doubt, “Investigate authority to
         conduct analyses on the children of newcomers identified in matched Vital Statistics
         births data” (page 17).
     •   Key positions are unfilled at this time (Analyst/Mapper, Evaluator/Manuscript Writer)
         and no obvious back up plan is presented if they cannot be filled.


  4. Budget Comments:

     •   The budget level appears to be about what you would expect for this type of project. The
         level of staffing, indirect and direct costs appear to be aligned with the strategies and
         activities and therefore justified.
     •   The Applicant is requesting $1,293,678.00 for the first year to fund a very thorough
         Surveillance and Epidemiology component, but a portion of those funds could have been
         used to address one of the other three components.
         Case 1:25-cv-00121-MSM-LDA Document 4-10 Filed 04/01/25 Page 80 of 498 PageID
                DEPARTMENT OF HEALTH AND HUMAN
                                          #: 1167SERVICES      Notice of Award
                                                                                                    Award# 6 NU50CK000562-01-01
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 01/12/2021



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                    6 NU50CK000562-01-01
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 CHERRY CREEK SOUTH DR                       NU50CK000562
   Colorado Department of Public Health and     13. Statutory Authority
                                                    301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   Environme
                                                14. Federal Award Project Title
   DENVER, CO 80246-1523                           Advancing the Centers of Excellence in Newcomer Health
   [NO DATA]
2. Congressional District of Recipient
    01
3. Payment System Identifier (ID)
    1840644739A4                                15. Assistance Listing Number
4. Employer Identification Number (EIN)             93.283
    840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
    878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                    Change in Key Personnel
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                    No
   Ms. Lori Kennedy
   lori.kennedy@state.co.us                                  Summary Federal Award Financial Information
   303-692-2624
                                                19. Budget Period Start Date          09/30/2020 - End Date 09/29/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                     $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                    $0.00
   Ms. Jannette Scarpino
                                                    20b. Indirect Cost Amount                                                                  $0.00
   Chief Financial Officer
   Jannette.Scarpino@state.co.us
                                                21. Authorized Carryover                                                                       $0.00

   303-692-2127                                 22. Offset                                                                                     $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                           $829,413.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                  $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                            $829,413.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date         09/30/2020 - End Date 09/29/2025
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                         $829,413.00


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 Nekeia Gray
                                                29. Grants Management Officer – Signature
 hvq6@cdc.gov
                                                     Freda Johnson
 404-639-0712




30. Remarks
 Change of Key Personnel- Approved




                                                                                                                                        Page 1
         Case 1:25-cv-00121-MSM-LDA  Document 4-10 Filed 04/01/25 Page 81 of 498 PageID
                 DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1168SERVICES      Notice of Award
                 Centers for Disease Control and Prevention                                        Award# 6 NU50CK000562-01-01
                                                                                                   FAIN# NU50CK000562
                                                                                                   Federal Award Date: 01/12/2021



Recipient Information                                    33. Approved Budget
                                                         (Excludes Direct Assistance)
Recipient Name                                            I. Financial Assistance from the Federal Awarding Agency Only
                                                          II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 CHERRY CREEK SOUTH DR                              a. Salaries and Wages                                                     $300,687.04
 Colorado Department of Public Health and                b. Fringe Benefits                                                         $99,226.08
 Environme
                                                              c. Total Personnel Costs                                             $399,913.12
 DENVER, CO 80246-1523
 [NO DATA]                                               d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                      e. Supplies                                                                   $320.56
Payment Account Number and Type                          f. Travel                                                                  $43,174.83
 1840644739A4
Employer Identification Number (EIN) Data                g. Construction                                                                 $0.00
 840644739                                               h. Other                                                                        $0.00
Universal Numbering System (DUNS)
                                                         i. Contractual                                                            $291,504.81
 878208826
Recipient’s Unique Entity Identifier                     j. TOTAL DIRECT COSTS                                                     $734,913.32
 Not Available
                                                         k. INDIRECT COSTS                                                          $94,499.68

 31. Assistance Type                                     l. TOTAL APPROVED BUDGET                                                  $829,413.00
 Cooperative Agreement
                                                         m. Federal Share                                                          $829,413.00
 32. Type of Award
 Other                                                   n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.        DOCUMENT NO.         ADMINISTRATIVE CODE      OBJECT CLASS      AMT ACTION FINANCIAL ASSISTANCE         APPROPRIATION
    0-9390CEK          20NU50CK000562               CK                   41.51                                       $0.00        75-20-0949
    0-939ZSDH          20NU50CK000562               CK                   41.51                                       $0.00        75-20-0951
    0-939ZSLX          20NU50CK000562               CK                   41.51                                       $0.00        75-20-0949
    0-939ZTHN          20NU50CK000562               CK                   41.51                                       $0.00        75-20-0949
    0-939ZTSX          20NU50CK000562               CK                   41.51                                       $0.00        75-20-0949




                                                                                                                                      Page 2
            Case 1:25-cv-00121-MSM-LDA
                                     Document 4-10 Filed 04/01/25 Page 82 of 498 PageID
                  DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1169 SERVICES Notice of Award
                                                                                             Award# 6 NU50CK000562-01-01
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 01/12/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                         #: 1170
                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                       6 NU50CK000562-01-01
1. Terms and Conditions
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                                          #: 1171




      ADDITIONAL TERMS AND CONDITIONS


     Key Personnel: The purpose of this amendment is to approve the Authorized
     Representative/Business Official, change from previously listed Joy Moore to
     Jannette Scarpino. This is in response to the request submitted by your organization
     dated December 28, 2020.


     All the other terms and conditions issued with the original award remain in effect
     throughout the budget period unless otherwise changed, in writing, by the Grants
     Management Officer.


     Please be advised that the recipient must exercise proper stewardship over Federal
     funds by ensuring that all costs charged to their cooperative agreement are allowable,
     allocable, necessary and reasonable.




     Grants Management Specialist Contact:
     Wayne Woods, Grants Management Specialist (GMS)
     Centers for Disease Control and Prevention
     Branch 1
     2920 Brandywine Road, M/S E-15
     Atlanta, GA 30341
     Telephone: 770-488-2948
     Email: kuv1@cdc.gov




     PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1172SERVICES      Notice of Award
                                                                                                    Award# 5 NU50CK000562-02-00
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 07/01/2021



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
                                                   5 NU50CK000562-02-00
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                    NU50CK000562
   Colorado Department of Public Health and     13. Statutory Authority
                                                   301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   Environme
   Denver, CO 80246-1523
   [NO DATA]
                                                14. Federal Award Project Title
2. Congressional District of Recipient             Advancing the Centers of Excellence in Newcomer Health
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                   Non-Competing Continuation
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Lori Kennedy
   lori.kennedy@state.co.us                                  Summary Federal Award Financial Information
   303-692-2624
                                                19. Budget Period Start Date          09/30/2021 - End Date 09/29/2022

                                                20. Total Amount of Federal Funds Obligated by this Action                                     $10,000.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                    $10,000.00
   Ms. Jannette Scarpino                            20b. Indirect Cost Amount                                                                      $0.00
   Chief Financial Officer
                                                21. Authorized Carryover                                                                           $0.00
   Jannette.Scarpino@state.co.us
   303-692-2127                                 22. Offset                                                                                          $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                                      $0.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                       $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                  $10,000.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date         09/30/2020 - End Date 09/29/2025
 Cathleen Franklin
 Grants Management Specialist                   27. Total Amount of the Federal Award including Approved
 qtm0@cdc.gov                                       Cost Sharing or Matching this Project Period                                   Not Available
 678-475-4552
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Nekeia Gray
                                                29. Grants Management Officer – Signature
 hvq6@cdc.gov
                                                     Ms. Freda Johnson
 404-639-0712
                                                     Grants Management Officer




30. Remarks




                                                                                                                                            Page 1
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             DEPARTMENT OF HEALTH AND HUMAN
                                        #: 1173SERVICES      Notice of Award
             Centers for Disease Control and Prevention                                            Award# 5 NU50CK000562-02-00
                                                                                                   FAIN# NU50CK000562
                                                                                                   Federal Award Date: 07/01/2021



Recipient Information                                    33. Approved Budget
                                                         (Excludes Direct Assistance)
Recipient Name                                            I. Financial Assistance from the Federal Awarding Agency Only
                                                          II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                            a. Salaries and Wages                                                      $10,000.00
 Colorado Department of Public Health and                b. Fringe Benefits                                                              $0.00
 Environme
                                                              c. Total Personnel Costs                                              $10,000.00
 Denver, CO 80246-1523
 [NO DATA]                                               d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                      e. Supplies                                                                     $0.00
Payment Account Number and Type                          f. Travel                                                                       $0.00
 1840644739A4
Employer Identification Number (EIN) Data                g. Construction                                                                 $0.00
 840644739                                               h. Other                                                                        $0.00
Universal Numbering System (DUNS)
                                                         i. Contractual                                                                  $0.00
 878208826
Recipient’s Unique Entity Identifier                     j. TOTAL DIRECT COSTS                                                      $10,000.00
 Not Available
                                                         k. INDIRECT COSTS                                                              $0.00

 31. Assistance Type                                     l. TOTAL APPROVED BUDGET                                                   $10,000.00
 Cooperative Agreement
                                                         m. Federal Share                                                           $10,000.00
 32. Type of Award
 Other                                                   n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.          DOCUMENT NO.       ADMINISTRATIVE CODE      OBJECT CLASS      AMT ACTION FINANCIAL ASSISTANCE         APPROPRIATION
    1-939ZTSX            20NU50CK000562             CK                   41.51                                    $10,000.00      75-21-0949




                                                                                                                                      Page 2
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                                     Document 4-10 Filed 04/01/25 Page 87 of 498 PageID
                  DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1174 SERVICES Notice of Award
                                                                                             Award# 5 NU50CK000562-02-00
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 07/01/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                         #: 1175
                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                       5 NU50CK000562-02-00
1. Terms and Conditions
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                                          #: 1176


  ADDITIONAL AWARD INFORMATION

  Incorporation: In addition to the federal laws, regulations, policies, and CDC General
  Terms and Conditions for Non-research awards at
  https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease
  Control and Prevention (CDC) hereby incorporates Notice of Funding Opportunity
  (NOFO) number CK20-2002, entitled Advancing the Centers of Excellence in Newcomer
  Health, which are hereby made a part of this Non-research award, hereinafter referred to
  as the Notice of Award (NOA).

  Approved Funding: Funding in the amount $10,000 is approved for the Year 02 budget
  period, which is September 30, 2021 through September 29, 2022. All further year funding
  will be base on satisfactory programmatic progress and the availability of funds.

  The federal award amount is subject to adjustment based on total allowable costs
  incurred and/or the value of any third- party in-kind contribution when applicable.

  Note: Refer to the Payment Information section for Payment Management System (PMS)
  subaccount information.

  Financial Assistance Mechanism: Cooperative Agreement

  Substantial Involvement by CDC: This is a cooperative agreement and CDC will have
  substantial programmatic involvement after the award is made. Substantial involvement
  is in addition to all post-award monitoring, technical assistance, and performance reviews
  undertaken in the normal course of stewardship of federal funds.

  CDC program staff will assist, coordinate, or participate in carrying out effort under the
  award, and recipients agree to the responsibilities therein, as detailed in the NOFO.

  Regarding award guidance and monitoring, CDC will support recipients in the
  implementing the requirements of the cooperative agreement, selecting or prioritizing
  prevention/activities and meeting identified outcomes.

  Provide guidance and coordination to recipients to improve the quality and effectiveness of
  work plan, evaluation strategies, products and services, and collaborative activities with other
  organizations.

  Provides requirements and expectations for standardized and other data reporting,
  monitoring and evaluation.

  Budget Revision Requirement: The recipient must submit a revised budget with a
  narrative justification within 30 days of receipt of the Notice of Award. If the date falls
  on a weekend or holiday, the submission will be due the following business day.
  Failure to submit the required information in a timely manner may adversely affect the
  future funding of this project. If the information cannot be provided by the due date,
  you are required to contact the GMS/GMO identified in the Awarding Agency Contact
  Information section on the first page before the due date.

  Expanded Authority: The recipient is permitted the following expanded authority in the
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                                          #: 1177



  administration of the award.

      Carryover of unobligated balances from one budget period to a subsequent budget
      period. Unobligated funds may be used for purposes within the scope of the project as
      originally approved. Recipients will report use, or intended use, of unobligated funds in
      Section 12 "Remarks" of the annual Federal Financial Report. If the GMO determines
      that some or all of the unobligated funds are not necessary to complete the project, the
      GMO may restrict the recipient's authority to automatically carry over unobligated
      balances in the future, use the balance to reduce or offset CDC funding for a subsequent
      budget period, or use a combination of these actions.

  Program Income: Any program income generated under this grant or cooperative
  agreement will be used in accordance with the Addition alternative.

  Addition alternative: Under this alternative, program income is added to the funds
  committed to the project/program and is used to further eligible project/program objectives.

  Note: The disposition of program income must have written prior approval from the GMO.

  FUNDING RESTRICTIONS AND LIMITATIONS

  Indirect Costs:
  Indirect costs are approved based on the negotiated indirect cost rate agreement dated
  September 21, 2020, which calculates indirect costs as follows, a Provisional is approved
  at a rate of 19.60% of the base, which includes, on-site, total direct costs excluding capital
  expenditures, subawards and pass-through. In addition, a Provisional rate is approved at
  3.1% of the base which includes subawards less capital expenditures and pass-through
  funds. The effective dates of this indirect cost rate are from July 1, 2021 to June 30, 2024.

  REPORTING REQUIREMENTS

  Required Disclosures for Federal Awardee Performance and Integrity Information
  System (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose
  in a timely manner, in writing to the CDC, with a copy to the HHS Office of Inspector
  General (OIG), all information related to violations of federal criminal law involving fraud,
  bribery, or gratuity violations potentially affecting the federal award. Subrecipients must
  disclose, in a timely manner in writing to the prime recipient (pass through entity) and the
  HHS OIG, all information related to violations of federal criminal law involving fraud, bribery,
  or gratuity violations potentially affecting the federal award. Disclosures must be sent in
  writing to the CDC and to the HHS OIG at the following addresses:

  CDC, Office of Grants Services
  Cathleen Franklin, Grants Management
  Specialist Centers for Disease Control and
  Prevention Branch 1
  2939 Flowers Road, MS-TV-2 Atlanta, GA 30341
  Email: qtmO@cdc.gov (Include "Mandatory Grant Disclosures" in subject line)

  AND
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                                         #: 1178



  U.S. Department of Health and Human Services
  Office of the Inspector General
  ATTN: Mandatory Grant Disclosures, Intake Coordinator
  3301ndependenceAvenue,SVv
  Cohen Building, Room 5527
  Vvashington, DC 20201

  Fax: (202)-205-0604 (Include "Mandatory Grant Disclosures" in subject line) or
  Email: MandatoryGranteeDisclosures@oig.hhs.gov

  Recipients must include this mandatory disclosure requirement in all subawards and
  contracts under this award.

  Failure to make required disclosures can result in any of the remedies described in 45 CFR
  75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR
  parts 180 and 376, and 31 U.S.C. 3321).

  CDC is required to report any termination of a federal award prior to the end of the period
  of performance due to material failure to comply with the terms and conditions of this award
  in the OMS-designated integrity and performance system accessible through SAM
  (currently FAPIIS). (45 CFR 75.372(b)) CDC must also notify the recipient if the federal
  award is terminated for failure to comply with the federal statutes, regulations, or terms and
  conditions of the federal award. (45 CFR 75.373(b))

  PAYMENT INFORMATION

  The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-
  TIPS [1- 800-447-8477]) for receiving information concerning fraud, waste, or abuse under
  grants and cooperative agreements. Information also may be submitted by e-mail to
  hhstips@oig.hhs.gov or by mail to Office of the Inspector General, Department of Health
  and Human Services, Attn: HOTLINE, 330 Independence Ave., SW, Washington DC
  20201. Such reports are treated as sensitive material and submitters may decline to give
  their names if they choose to remain anonymous.

  Payment Management System Subaccount: Funds awarded in support of approved activities
  have been obligated in a subaccount in the PMS, herein identified as the “ P Account”. Funds
  must be used in support of approved activities in the NOFO and the approved application.

  The grant document number identified on the bottom of Page 2 of the Notice of Award must be
  known in order to draw down funds.

  CDC STAFF CONTACTS

  Grants Management Specialist: The GMS is the federal staff member responsible for the
  day-to-day management of grants and cooperative agreements. The GMS is the primary
  contact of recipients for business and administrative matters pertinent to grant awards.

  Program/Project Officer: The PO is the federal official responsible for monitoring the
  programmatic, scientific, and/or technical aspects of grants and cooperative
  agreements, as well as contributing to the effort of the award under cooperative
  agreements.
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                                       #: 1179


  Grants Management Officer: The GMO is the federal official responsible for the business
  and other non-programmatic aspects of grant awards. The GMO is the only official
  authorized to obligate federal funds and is responsible for signing the NoA, including
  revisions to the NoA that change the terms and conditions. The GMO serves as the
  counterpart to the business officer of the recipient organization.
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                DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1180SERVICES      Notice of Award
                                                                                                    Award# 6 NU50CK000562-01-02
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 08/26/2021



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NU50CK000562-01-02
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                    NU50CK000562
   Colorado Department of Public Health and     13. Statutory Authority
                                                   301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   Environme
   Denver, CO 80246-1523
   [NO DATA]
                                                14. Federal Award Project Title
2. Congressional District of Recipient             Advancing the Centers of Excellence in Newcomer Health
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                   Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Lori Kennedy
   lori.kennedy@state.co.us                                  Summary Federal Award Financial Information
   303-692-2624
                                                19. Budget Period Start Date          09/30/2020 - End Date 09/29/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                  $1,933,891.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                 $1,748,952.00
   Ms. Jannette Scarpino                            20b. Indirect Cost Amount                                                                $184,939.00
   Chief Financial Officer
                                                21. Authorized Carryover                                                                           $0.00
   Jannette.Scarpino@state.co.us
   303-692-2127                                 22. Offset                                                                                         $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                               $829,413.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                      $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $2,763,304.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date         09/30/2020 - End Date 09/29/2025
 Cathleen Franklin
 Grants Management Specialist                   27. Total Amount of the Federal Award including Approved
 qtm0@cdc.gov                                       Cost Sharing or Matching this Project Period                                   Not Available
 678-475-4552
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Nekeia Gray
                                                29. Grants Management Officer – Signature
 hvq6@cdc.gov
                                                     Ms. Freda Johnson
 404-639-0712
                                                     Grants Management Officer




30. Remarks




                                                                                                                                            Page 1
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                                  Document 4-10 Filed 04/01/25 Page 94 of 498 PageID
             DEPARTMENT OF HEALTH AND HUMAN
                                        #: 1181SERVICES      Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NU50CK000562-01-02
                                                                                                 FAIN# NU50CK000562
                                                                                                 Federal Award Date: 08/26/2021



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
                                                        II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                           a. Salaries and Wages                                                    $854,797.04
 Colorado Department of Public Health and               b. Fringe Benefits                                                       $282,082.08
 Environme
                                                             c. Total Personnel Costs                                           $1,136,879.12
 Denver, CO 80246-1523
 [NO DATA]                                              d. Equipment                                                                   $0.00
Congressional District of Recipient
 01                                                     e. Supplies                                                                  $320.56
Payment Account Number and Type                         f. Travel                                                                 $43,174.83
 1840644739A4
Employer Identification Number (EIN) Data               g. Construction                                                                $0.00
 840644739                                              h. Other                                                                  $55,267.00
Universal Numbering System (DUNS)
                                                        i. Contractual                                                          $1,248,223.81
 878208826
Recipient’s Unique Entity Identifier                    j. TOTAL DIRECT COSTS                                                  $2,483,865.32
 Not Available
                                                        k. INDIRECT COSTS                                                        $279,438.68

 31. Assistance Type                                    l. TOTAL APPROVED BUDGET                                               $2,763,304.00
 Cooperative Agreement
                                                        m. Federal Share                                                       $2,763,304.00
 32. Type of Award
 Other                                                  n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.           DOCUMENT NO.      ADMINISTRATIVE CODE     OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE          APPROPRIATION
     1-9390EX2           20NU50CK000562C3           CK                  41.51                                   $933,891.00     75-2024-0943
    1-9390GR3            20NU50CK000562C5           CK                  41.51                                 $1,000,000.00     75-2124-0943




                                                                                                                                    Page 2
            Case 1:25-cv-00121-MSM-LDA
                                     Document 4-10 Filed 04/01/25 Page 95 of 498 PageID
                  DEPARTMENT OF HEALTH AND HUMAN
                                           #: 1182 SERVICES Notice of Award
                                                                                             Award# 6 NU50CK000562-01-02
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 08/26/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
    Case 1:25-cv-00121-MSM-LDA     Document 4-10   Filed 04/01/25   Page 96 of 498 PageID
                                         #: 1183
                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                       6 NU50CK000562-01-02
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA           Document 4-10       Filed 04/01/25      Page 97 of 498 PageID
                                           #: 1184



   AWARD INFORMATION

  Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
  and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
  policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby
  incorporates Notice of Funding Opportunity (NOFO) number CK20-2002, titled Advancing the
  Centers of Excellence in Newcomer Health and application dated August 16, 2021, as may be
  amended, which are hereby made a part of this Non-research award, hereinafter referred to as
  the Notice of Award (NoA).

  Approved Funding: Funding in the amount of $1,933,891.00 is approved for budget period,
  September 30, 2020 thru September 29, 2021.

  Recipients have until September 29, 2022 to expend all funds awarded herein.

  The federal award amount is subject to adjustment based on total allowable costs incurred
  and/or the value of any third party in-kind contribution when applicable.

  Note: Refer to the Payment Information section for Payment Management System (PMS)
  subaccount information.

  Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
  agreement awarded by the Department of Health and Human Services (HHS) with funds made
  available under the Coronavirus Preparedness and Response Supplemental Appropriations Act,
  2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the
  “CARES Act”) (P.L. 116-136); the Paycheck Protection Program and Health Care Enhancement
  Act (P.L. 116-139); the Consolidated Appropriations Act and the Coronavirus Response and
  Relief Supplement Appropriations Act, 2021 (P.L. 116-260) and/or the American Rescue Plan of
  2021 [P.L. 117-2] agrees, as applicable to the award, to: 1) comply with existing and/or future
  directives and guidance from the Secretary regarding control of the spread of COVID-19; 2) in
  consultation and coordination with HHS, provide, commensurate with the condition of the
  individual, COVID-19 patient care regardless of the individual’s home jurisdiction and/or
  appropriate public health measures (e.g., social distancing, home isolation); and 3) assist the
  United States Government in the implementation and enforcement of federal orders related to
  quarantine and isolation.

  In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES Act,
  with respect to the reporting to the HHS Secretary of results of tests intended to detect SARS–
  CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in accordance with
  guidance and direction from HHS and/or CDC. HHS laboratory reporting guidance is posted at:
  https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-guidance.pdf.

  Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
  purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
  copies of and/or access to COVID-19 data collected with these funds, including but not limited
  to data related to COVID-19 testing. CDC will specify in further guidance and directives what is
  encompassed by this requirement.
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                                          #: 1185


  This award is contingent upon agreement by the recipient to comply with existing and future
  guidance from the HHS Secretary regarding control of the spread of COVID-19. In addition,
  recipient is expected to flow down these terms to any subaward, to the extent applicable to
  activities set out in such subaward.

   REPORTING REQUIREMENTS

  Required Disclosures for Federal Awardee Performance and Integrity Information System
  (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
  manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
  information related to violations of federal criminal law involving fraud, bribery, or gratuity
  violations potentially affecting the federal award. Subrecipients must disclose, in a timely
  manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
  related to violations of federal criminal law involving fraud, bribery, or gratuity violations
  potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
  the HHS OIG at the following addresses:

  CDC, Office of Grants Services
  Cathleen Franklin, Grants Management Specialist
  Contractor: Cherokee National Operational Solutions
  Centers for Disease Control and Prevention
  Branch 1
  2939 Flowers Road, MS-TV-2 Atlanta, GA 30341
  Email: qtm0@cdc.gov (Include "Mandatory Grant Disclosures" in subject line)

  AND

  U.S. Department of Health and Human Services
  Office of the Inspector General
  ATTN: Mandatory Grant Disclosures, Intake Coordinator
  330 Independence Avenue, SW
  Cohen Building, Room 5527
  Washington, DC 20201

  Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
  Email: MandatoryGranteeDisclosures@oig.hhs.gov

  Recipients must include this mandatory disclosure requirement in all subawards and contracts
  under this award.

  Failure to make required disclosures can result in any of the remedies described in 45 CFR
  75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
  180 and 376, and 31 U.S.C. 3321).

  CDC is required to report any termination of a federal award prior to the end of the period of
  performance due to material failure to comply with the terms and conditions of this award in the
  OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
  (45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
  failure to comply with the federal statutes, regulations, or terms and conditions of the federal
  award. (45 CFR 75.373(b))
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   PAYMENT INFORMATION

  The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
  800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
  cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
  by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
  HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
  sensitive material and submitters may decline to give their names if they choose to remain
  anonymous.

  Payment Management System Subaccount: Funds awarded in support of approved activities
  have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
  must be used in support of approved activities in the NOFO and the approved application.

  The grant document number identified on the bottom of Page 2 of the Notice of Award must be
  known in order to draw down funds.

  Stewardship: The recipient must exercise proper stewardship over Federal funds by
  ensuring that all costs charged to your cooperative agreement are allowable, allocable, and
  reasonable and that they address the highest priority needs as they relate to this program.

  All the other terms and conditions issued with the original award remain in effect throughout
  the budget period unless otherwise changed, in writing, by the Grants Management Officer.


   CDC Staff Contacts

  Grants Management Specialist: The GMS is the federal staff member responsible for the day-
  to-day management of grants and cooperative agreements. The GMS is the primary contact of
  recipients for business and administrative matters pertinent to grant awards.

  Program/Project Officer: The PO is the federal official responsible for monitoring the
  programmatic, scientific, and/or technical aspects of grants and cooperative agreements, as
  well as contributing to the effort of the award under cooperative agreements.

  Grants Management Officer: The GMO is the federal official responsible for the business and
  other non-programmatic aspects of grant awards. The GMO is the only official authorized to
  obligate federal funds and is responsible for signing the NoA, including revisions to the NoA that
  change the terms and conditions. The GMO serves as the counterpart to the business officer of
  the recipient organization.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1187         Notice of Award
                                                                                                    Award# 6 NU50CK000562-01-03
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 09/29/2021



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NU50CK000562-01-03
   PUBLIC HEALTH AND ENVIRONMENT,               12. Unique Federal Award Identification Number (FAIN)
   COLORADO DEPARTMENT OF                          NU50CK000562
   4300 E Cherry Creek South Dr                 13. Statutory Authority
                                                   301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   Colorado Department of Public Health and
   Environme
   Denver, CO 80246-1523
                                                14. Federal Award Project Title
2. Congressional District of Recipient             Advancing the Centers of Excellence in Newcomer Health
   [NO DATA]
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                   NGA Revision
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Lori Kennedy
   lori.kennedy@state.co.us                                  Summary Federal Award Financial Information
   303-692-2624
                                                19. Budget Period Start Date          09/30/2020 - End Date 09/29/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                         $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                        $0.00
   Ms. Jannette Scarpino                            20b. Indirect Cost Amount                                                                      $0.00
   Chief Financial Officer
                                                21. Authorized Carryover                                                                           $0.00
   Jannette.Scarpino@state.co.us
   303-692-2127                                 22. Offset                                                                                         $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $2,763,304.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                      $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $2,763,304.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date         09/30/2020 - End Date 09/29/2025
 Cathleen Franklin
 Grants Management Specialist                   27. Total Amount of the Federal Award including Approved
 qtm0@cdc.gov                                       Cost Sharing or Matching this Project Period                                   Not Available
 678-475-4552
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Nekeia Gray
                                                29. Grants Management Officer – Signature
 hvq6@cdc.gov
                                                     Ms. Freda Johnson
 404-639-0712
                                                     Grants Management Officer




30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1188         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NU50CK000562-01-03
                                                                                                 FAIN# NU50CK000562
                                                                                                 Federal Award Date: 09/29/2021



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
                                                        II. Total project costs including grant funds and all other financial participation
 PUBLIC HEALTH AND ENVIRONMENT,
 COLORADO DEPARTMENT OF                                 a. Salaries and Wages                                                    $854,797.04
 4300 E Cherry Creek South Dr                           b. Fringe Benefits                                                       $282,082.08
 Colorado Department of Public Health and
                                                             c. Total Personnel Costs                                           $1,136,879.12
 Environme
 Denver, CO 80246-1523                                  d. Equipment                                                                   $0.00
Congressional  District of Recipient
 [NO DATA]
 01                                                     e. Supplies                                                                  $320.56
Payment Account Number and Type                         f. Travel                                                                 $43,174.83
 1840644739A4
Employer Identification Number (EIN) Data               g. Construction                                                                $0.00
 840644739                                              h. Other                                                                  $55,267.00
Universal Numbering System (DUNS)
                                                        i. Contractual                                                          $1,248,223.81
 878208826
Recipient’s Unique Entity Identifier                    j. TOTAL DIRECT COSTS                                                  $2,483,865.32
 Not Available
                                                        k. INDIRECT COSTS                                                        $279,438.68

 31. Assistance Type                                    l. TOTAL APPROVED BUDGET                                               $2,763,304.00
 Cooperative Agreement
                                                        m. Federal Share                                                       $2,763,304.00
 32. Type of Award
 Other                                                  n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.           DOCUMENT NO.      ADMINISTRATIVE CODE     OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE         APPROPRIATION
     1-9390EX2           20NU50CK000562C3           CK                  41.51                                      $0.00       75-2024-0943
    1-9390GR3            20NU50CK000562C5           CK                  41.51                                      $0.00       75-2124-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1189
                                                                                             Award# 6 NU50CK000562-01-03
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 09/29/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                      PageID #: 1190
                              AWARD ATTACHMENTS
PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF 6 NU50CK000562-01-03
1. Terms and Conditions
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                                            PageID #: 1191




 ADDITIONAL TERMS AND CONDITIONS OF AWARD

 HHS Non-Discrimination Legal Requirements for Recipients of Federal Financial Assistance
 The purpose of this Notice of Award amendment is to notify you that the Centers for Disease Control
 and Prevention (CDC) incorporated Department of Health and Human Services (HHS) non-discrimination
 legal requirements for recipients of federal financial assistance into the CDC General Terms and
 Conditions within your Notice of Award. The new requirements are effective immediately. The
 requirements are in the General Requirements section of the General Terms and Conditions, and are
 also listed below.

 You must administer your project in compliance with federal civil rights laws that prohibit discrimination
 on the basis of race, color, national origin, disability, age and, in some circumstances, religion,
 conscience, and sex (including gender identity, sexual orientation, and pregnancy). This includes taking
 reasonable steps to provide meaningful access to persons with limited English proficiency and providing
 programs that are accessible to and usable by persons with disabilities. The HHS Office for Civil Rights
 provides guidance on complying with civil rights laws enforced by HHS. See https://www.hhs.gov/civil-
 rights/for-providers/provider-obligations/index.html and https://www.hhs.gov/civil-rights/for-
 individuals/nondiscrimination/index.html.

     •   You must take reasonable steps to ensure that your project provides meaningful access to
         persons with limited English proficiency. For guidance on meeting your legal obligation to take
         reasonable steps to ensure meaningful access to your programs or activities by limited English
         proficient individuals, see https://www.hhs.gov/civil-rights/for-individuals/special-
         topics/limited-english-proficiency/fact-sheet-guidance/index.html and https://www.lep.gov/.
     •   For information on your specific legal obligations for serving qualified individuals with
         disabilities, including providing program access, reasonable modifications, and taking
         appropriate steps to provide effective communication, see
         http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
     •    HHS funded health and education programs must be administered in an environment free of
         sexual harassment, see https://www.hhs.gov/civil-rights/for-individuals/sex-
         discrimination/index.html.
     •   For guidance on administering your project in compliance with applicable federal religious
         nondiscrimination laws and applicable federal conscience protection and associated anti-
         discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html
         and https://www.hhs.gov/conscience/religious-freedom/index.html.

All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.

PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1192         Notice of Award
                                                                                                    Award# 6 NU50CK000562-02-01
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 04/28/2022



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NU50CK000562-02-01
    Public Health and Environment, Colorado     12. Unique Federal Award Identification Number (FAIN)
    Department of                                  NU50CK000562
    4300 E Cherry Creek South Dr                13. Statutory Authority
                                                   301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
    Colorado Department of Public Health and
    Environme
    Denver, CO 80246-1523
                                                14. Federal Award Project Title
2. Congressional District of Recipient             Advancing the Centers of Excellence in Newcomer Health
   [NO DATA]
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Administrative Action
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Ms. Lori Kennedy
    lori.kennedy@state.co.us                                 Summary Federal Award Financial Information
    303-692-2624
                                                19. Budget Period Start Date          09/30/2021 - End Date 09/29/2022

                                                20. Total Amount of Federal Funds Obligated by this Action                                          $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                         $0.00
    Ms. Jannette Scarpino                           20b. Indirect Cost Amount                                                                      $0.00
    Chief Financial Officer
                                                21. Authorized Carryover                                                                           $0.00
    Jannette.Scarpino@state.co.us
    303-692-2127                                22. Offset                                                                                          $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                                 $10,000.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                       $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                  $10,000.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date         09/30/2020 - End Date 09/29/2025
 Ms. Joelle Cadet
 Grants Management Specialist                   27. Total Amount of the Federal Award including Approved
 qrx2@cdc.gov                                       Cost Sharing or Matching this Project Period                                   Not Available
 (404) 498-4349
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Nekeia Gray
                                                29. Grants Management Officer – Signature
 hvq6@cdc.gov
                                                     Ms. Freda Johnson
 404-639-0712
                                                     Grants Management Officer




30. Remarks




                                                                                                                                            Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1193         Notice of Award
             Centers for Disease Control and Prevention                                              Award# 6 NU50CK000562-02-01
                                                                                                     FAIN# NU50CK000562
                                                                                                     Federal Award Date: 04/28/2022



Recipient Information                                      33. Approved Budget
                                                           (Excludes Direct Assistance)
Recipient Name                                              I. Financial Assistance from the Federal Awarding Agency Only
                                                            II. Total project costs including grant funds and all other financial participation
 Public Health and Environment, Colorado
 Department of                                             a. Salaries and Wages                                                      $10,000.00
 4300 E Cherry Creek South Dr                              b. Fringe Benefits                                                              $0.00
 Colorado Department of Public Health and
                                                                  c. Total Personnel Costs                                            $10,000.00
 Environme
 Denver, CO 80246-1523                                     d. Equipment                                                                    $0.00
Congressional  District of Recipient
 [NO DATA]
 01                                                        e. Supplies                                                                     $0.00
Payment Account Number and Type                            f. Travel                                                                       $0.00
 1840644739A4
Employer Identification Number (EIN) Data                  g. Construction                                                                 $0.00
 840644739                                                 h. Other                                                                        $0.00
Universal Numbering System (DUNS)
                                                           i. Contractual                                                                  $0.00
 878208826
Recipient’s Unique Entity Identifier (UEI)                 j. TOTAL DIRECT COSTS                                                      $10,000.00
 Y3WEW9MQ6NH5
                                                           k. INDIRECT COSTS                                                              $0.00

 31. Assistance Type                                       l. TOTAL APPROVED BUDGET                                                   $10,000.00
 Cooperative Agreement
                                                           m. Federal Share                                                           $10,000.00
 32. Type of Award
 Other                                                     n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.       DOCUMENT NO.           ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE    APPROPRIATION
   1-939ZTSX         20NU50CK000562                 CK                41.51       93.283                                  $0.00    75-21-0949
    0-9390EX2       20NU50CK000562C3                CK                41.51       93.283                                  $0.00   75-2024-0943
   1-9390GR3        20NU50CK000562C5                CK                41.51       93.283                                  $0.00   75-2124-0943




                                                                                                                                        Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1194
                                                                                             Award# 6 NU50CK000562-02-01
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 04/28/2022




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                        PageID #: 1195
                               AWARD ATTACHMENTS
Public Health and Environment, Colorado Department of                 6 NU50CK000562-02-01
1. Terms and Conditions -
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Administrative Correction: The purpose of the amendment is to extend the performance period for all
listed COVID document numbers to align with the liquidation extensions in Payment Management
Systems. No action is required from the recipient.

YR1 and YR2 COVID Document Numbers
20NU50CK000562C3
20NU50CK000562C5


All other terms and conditions of this award remains in effect throughout the budget period unless
otherwise changed, in writing, by the Grants Management Officer.

PLEASE REFERENCE AWARD NUMBERS ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1197         Notice of Award
                                                                                                    Award# 6 NU50CK000562-02-02
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 05/04/2022



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NU50CK000562-02-02
    Public Health and Environment, Colorado     12. Unique Federal Award Identification Number (FAIN)
    Department of                                  NU50CK000562
    4300 E Cherry Creek South Dr                13. Statutory Authority
                                                   301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
    Colorado Department of Public Health and
    Environme
    Denver, CO 80246-1523
                                                14. Federal Award Project Title
2. Congressional District of Recipient             Advancing the Centers of Excellence in Newcomer Health (CDC-RFA-CK20-2002)
   [NO DATA]
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Ms. Lori Kennedy
    lori.kennedy@state.co.us                                 Summary Federal Award Financial Information
    303-692-2624
                                                19. Budget Period Start Date          09/30/2021 - End Date 09/29/2022

                                                20. Total Amount of Federal Funds Obligated by this Action                                  $2,000,000.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                 $1,751,904.00
    Ms. Jannette Scarpino                           20b. Indirect Cost Amount                                                                $248,096.00
    Chief Financial Officer
                                                21. Authorized Carryover                                                                           $0.00
    Jannette.Scarpino@state.co.us
    303-692-2127                                22. Offset                                                                                          $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                                 $10,000.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                       $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $2,010,000.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date         09/30/2020 - End Date 09/29/2025
 Ms. Joelle Cadet
 Grants Management Specialist                   27. Total Amount of the Federal Award including Approved
 qrx2@cdc.gov                                       Cost Sharing or Matching this Project Period                                   Not Available
 (404) 498-4349
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Nekeia Gray
                                                29. Grants Management Officer – Signature
 hvq6@cdc.gov
                                                     Ms. Freda Johnson
 404-639-0712
                                                     Grants Management Officer




30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1198         Notice of Award
             Centers for Disease Control and Prevention                                              Award# 6 NU50CK000562-02-02
                                                                                                     FAIN# NU50CK000562
                                                                                                     Federal Award Date: 05/04/2022



Recipient Information                                      33. Approved Budget
                                                           (Excludes Direct Assistance)
Recipient Name                                              I. Financial Assistance from the Federal Awarding Agency Only
                                                            II. Total project costs including grant funds and all other financial participation
 Public Health and Environment, Colorado
 Department of                                             a. Salaries and Wages                                                     $810,917.00
 4300 E Cherry Creek South Dr                              b. Fringe Benefits                                                        $264,303.00
 Colorado Department of Public Health and
                                                                  c. Total Personnel Costs                                          $1,075,220.00
 Environme
 Denver, CO 80246-1523                                     d. Equipment                                                                    $0.00
Congressional  District of Recipient
 [NO DATA]
 01                                                        e. Supplies                                                                $16,465.00
Payment Account Number and Type                            f. Travel                                                                  $16,086.00
 1840644739A4
Employer Identification Number (EIN) Data                  g. Construction                                                                 $0.00
 840644739                                                 h. Other                                                                   $76,692.00
Universal Numbering System (DUNS)
                                                           i. Contractual                                                            $577,441.00
 878208826
Recipient’s Unique Entity Identifier (UEI)                 j. TOTAL DIRECT COSTS                                                   $1,761,904.00
 Y3WEW9MQ6NH5
                                                           k. INDIRECT COSTS                                                         $248,096.00

 31. Assistance Type                                       l. TOTAL APPROVED BUDGET                                                $2,010,000.00
 Cooperative Agreement
                                                           m. Federal Share                                                        $2,010,000.00
 32. Type of Award
 Other                                                     n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.       DOCUMENT NO.           ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE      APPROPRIATION
   1-939ZTSX         20NU50CK000562                 CK                41.51       93.283                                    $0.00    75-21-0949
    0-9390EX2       20NU50CK000562C3                CK                41.51       93.283                                    $0.00   75-2024-0943
   1-9390GR3        20NU50CK000562C5                CK                41.51       93.283                                    $0.00   75-2124-0943
    2-9390JEC        20NU50CK000562                 CK                41.51       93.283                            $2,000,000.00    75-22-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1199
                                                                                             Award# 6 NU50CK000562-02-02
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 05/04/2022




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                               AWARD ATTACHMENTS
Public Health and Environment, Colorado Department of                 6 NU50CK000562-02-02
1. Terms and Conditions -
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 AWARD INFORMATION


Incorporation: In addition to the federal laws, regulations, policies, and CDC General
Terms and Conditions for Non-research awards at
https://www.cdc.gov/grants/federal-regulations-policies/index.html, the
Centers for Disease Control and Prevention (CDC) hereby incorporates Notice of
Funding Opportunity (NOFO) number CK20-2002, titled, Advancing the Centers of
Excellence in Newcomer Health, which are hereby made a part of this Non-research
award, hereinafter referred to as the Notice of Award (NoA).

Supplemental Component Funding: Additional funding in the amount $2,000,000
is approved for budget period 09/30/2021 through 09/29/2022.


Required Disclosures for Federal Awardee Performance and Integrity Information
System (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must
disclose in a timely manner, in writing to the CDC, with a copy to the HHS Office of
Inspector General (OIG), all information related to violations of federal criminal law
involving fraud, bribery, or gratuity violations potentially affecting the federal award.
Subrecipients must disclose, in a timely manner in writing to the prime recipient (pass
through entity) and the HHS OIG, all information related to violations of federal criminal
law involving fraud, bribery, or gratuity violations potentially affecting the federal award.
Disclosures must be sent in writing to the CDC and to the HHS OIG at the following
addresses:

CDC, Office of Grants Services
Joëlle Cadet, Grants Management Specialist
Centers for Disease Control and
Prevention Branch 1
2939 Flowers Road, MS-TV2
Atlanta, GA 30341
Email: qrx2@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosure, Intake Coordinator
330 Independent Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in
subject line) or Email: MandatoryGranteeDisclosures@oig.hhs.gov


Recipients must include this mandatory disclosure requirement in all subawards and
contracts under this award.
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Failure to make required disclosures can result in any of the remedies described in 45
CFR 75.371. Remedies for noncompliance, including suspension or debarment (See 2
CFR parts 180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the
period of performance due to material failure to comply with the terms and conditions
of this award in the OMB-designated integrity and performance system accessible
through SAM (currently FAPIIS). (45 CFR 75.372(b)) CDC must also notify the
recipient if the federal award is terminated for failure to comply with the federal
statutes, regulations, or terms and conditions of the federal award. (45 CFR
75.373(b))


PAYMENT INFORMATION



The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-
HHS-TIPS [1- 800-447-8477]) for receiving information concerning fraud, waste, or
abuse under grants and cooperative agreements. Information also may be submitted by
e-mail to hhstips@oig.hhs.gov or by mail to Office of the Inspector General,
Department of Health and Human Services, Attn: HOTLINE, 330 Independence Ave.,
SW, Washington DC 20201. Such reports are treated as sensitive material and
submitters may decline to give their names if they choose to remain anonymous.

Payment Management System Subaccount: Funds awarded in support of
approved activities have been obligated in a subaccount in the PMS, herein identified
as the “P Account”. Funds must be used in support of approved activities in the
NOFO and the approved application.

The grant document number identified on the bottom of Page 2 of the Notice of
Award must be known in order to draw down funds.




Stewardship: The recipient must exercise proper stewardship over Federal funds by
ensuring that all costs charged to your cooperative agreement are allowable, allocable,
and reasonable and that they address the highest priority needs as they relate to this
program.

All the other terms and conditions issued with the original award remain in effect
throughout the budget period unless otherwise changed, in writing, by the Grants
Management Officer.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1203         Notice of Award
                                                                                                    Award# 6 NU50CK000562-02-03
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 08/04/2022



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
    PUBLIC HEALTH AND ENVIRONMENT,                 6 NU50CK000562-02-03
                                                12. Unique Federal Award Identification Number (FAIN)
    COLORADO DEPARTMENT OF
                                                   NU50CK000562
    4300 E Cherry Creek South Dr                13. Statutory Authority
    Colorado Department of Public Health and       301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
    Environme
    Denver, CO 80246-1523                       14. Federal Award Project Title
2. Congressional
   [NO DATA]     District of Recipient             Advancing the Centers of Excellence in Newcomer Health (CDC-RFA-CK20-2002)
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Ms. Lori Kennedy
    lori.kennedy@state.co.us                                 Summary Federal Award Financial Information
    303-692-2624
                                                19. Budget Period Start Date          09/30/2021 - End Date 09/29/2022

                                                20. Total Amount of Federal Funds Obligated by this Action                               $500,000.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                              $466,418.00
    Ms. Jannette Scarpino                           20b. Indirect Cost Amount                                                             $33,582.00
    Chief Financial Officer
                                                21. Authorized Carryover                                                                       $0.00
    Jannette.Scarpino@state.co.us
    303-692-2127                                22. Offset                                                                                     $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                          $2,010,000.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                  $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                           $2,510,000.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 09/30/2020 - End Date 09/29/2025
 Ms. Joelle Cadet
                                                27. Total Amount of the Federal Award including Approved
 Grants Management Specialist
                                                    Cost Sharing or Matching this Period of Performance                                 $5,273,304.00
 qrx2@cdc.gov
 (404) 498-4349
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Nekeia Gray
                                                29. Grants Management Officer – Signature
 hvq6@cdc.gov
                                                     Ms. Freda Johnson
 404-639-0712
                                                     Grants Management Officer




30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1204         Notice of Award
             Centers for Disease Control and Prevention                                              Award# 6 NU50CK000562-02-03
                                                                                                     FAIN# NU50CK000562
                                                                                                     Federal Award Date: 08/04/2022



Recipient Information                                      33. Approved Budget
                                                           (Excludes Direct Assistance)
Recipient Name                                              I. Financial Assistance from the Federal Awarding Agency Only
 PUBLIC HEALTH AND ENVIRONMENT,                             II. Total project costs including grant funds and all other financial participation
 COLORADO DEPARTMENT OF                                    a. Salaries and Wages                                                    $1,039,372.00
 4300 E Cherry Creek South Dr
                                                           b. Fringe Benefits                                                        $339,693.00
 Colorado Department of Public Health and
 Environme                                                        c. Total Personnel Costs                                          $1,379,065.00
 Denver, CO 80246-1523                                     d. Equipment                                                                    $0.00
Congressional District of Recipient
 [NO DATA]
 01                                                        e. Supplies                                                                $22,574.00
Payment Account Number and Type                            f. Travel                                                                  $16,086.00
 1840644739A4
Employer Identification Number (EIN) Data                  g. Construction                                                                 $0.00
 840644739                                                 h. Other                                                                   $84,422.00
Universal Numbering System (DUNS)
                                                           i. Contractual                                                            $726,175.00
 878208826
Recipient’s Unique Entity Identifier (UEI)                 j. TOTAL DIRECT COSTS                                                   $2,228,322.00
 Y3WEW9MQ6NH5
                                                           k. INDIRECT COSTS                                                         $281,678.00

 31. Assistance Type                                       l. TOTAL APPROVED BUDGET                                                $2,510,000.00
 Cooperative Agreement
                                                           m. Federal Share                                                        $2,510,000.00
 32. Type of Award
 Other                                                     n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.       DOCUMENT NO.           ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE      APPROPRIATION
   1-939ZTSX         20NU50CK000562                 CK                41.51       93.283                                    $0.00    75-21-0949
    0-9390EX2       20NU50CK000562C3                CK                41.51       93.283                                    $0.00   75-2024-0943
   1-9390GR3        20NU50CK000562C5                CK                41.51       93.283                                    $0.00   75-2124-0943
    2-9390JEC        20NU50CK000562                 CK                41.51       93.283                                    $0.00    75-22-0943
    2-9390EX2       20NU50CK000562C3                CK                41.51       93.283                              $500,000.00   75-2024-0943




                                                                                                                                        Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1205
                                                                                             Award# 6 NU50CK000562-02-03
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 08/04/2022




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                     AWARD ATTACHMENTS
PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF 6 NU50CK000562-02-03
1. Terms and Conditions - YR02 Supplement
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 AWARD INFORMATION

Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number CDC-RFA-CK20-2002, entitled Advancing the
Centers of Excellence in Newcomer Health, as may be amended, which are hereby made a part
of this Non-research award, hereinafter referred to as the Notice of Award (NoA).

Approved Funding: Funding in the amount of $500,000 is approved for the Year 02 budget
period, which is September 30, 2021 through September 29, 2022.

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third-party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.

Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
agreement awarded by the Department of Health and Human Services (HHS) with funds made
available under the Coronavirus Preparedness and Response Supplemental Appropriations Act,
2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the
“CARES Act”) (P.L. 116-136); the Paycheck Protection Program and Health Care Enhancement
Act (P.L. 116-139); the Consolidated Appropriations Act and the Coronavirus Response and
Relief Supplement Appropriations Act, 2021 (P.L. 116-260) and/or the American Rescue Plan of
2021 [P.L. 117-2] agrees, as applicable to the award, to: 1) comply with existing and/or future
directives and guidance from the Secretary regarding control of the spread of COVID-19; 2) in
consultation and coordination with HHS, provide, commensurate with the condition of the
individual, COVID-19 patient care regardless of the individual’s home jurisdiction and/or
appropriate public health measures (e.g., social distancing, home isolation); and 3) assist the
United States Government in the implementation and enforcement of federal orders related to
quarantine and isolation.

In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES Act,
with respect to the reporting to the HHS Secretary of results of tests intended to detect SARS–
CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in accordance with
guidance and direction from HHS and/or CDC. HHS laboratory reporting guidance is posted at:
https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-guidance.pdf.

Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
copies of and/or access to COVID-19 data collected with these funds, including but not limited
to data related to COVID-19 testing. CDC will specify in further guidance and directives what is
encompassed by this requirement.

This award is contingent upon agreement by the recipient to comply with existing and future
guidance from the HHS Secretary regarding control of the spread of COVID-19. In addition,
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recipient is expected to flow down these terms to any subaward, to the extent applicable to
activities set out in such subaward.

Indirect Costs: Indirect costs are approved based on the negotiated indirect cost rate
agreement dated October 15, 2021, which calculates indirect costs as follows, a Provisional is
approved at a rate of 17.4% of the base, which includes, grants and contracts awarded by the
state department to local units of government, hospitals,universities, and private organizations
less capital expenditures and pass-through fundsl. The effective dates of this indirect cost rate
are from July 1, 2022 to June 30, 2025.

 REPORTING REQUIREMENTS

Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
the HHS OIG at the following addresses:

CDC, Office of Grants Services
Joëlle Cadet, Grants Management Specialist
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road
Atlanta, GA 30341
Telephone: 404-498-4349
Email: qrx2@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
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OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
(45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award. (45 CFR 75.373(b))

 PAYMENT INFORMATION

The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
sensitive material and submitters may decline to give their names if they choose to remain
anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified beginning on the bottom of Page 2 of the Notice of Award
must be known in order to draw down funds.


 CDC STAFF CONTACTS

The CDC contact information may be identified on Page 1 of the Notice of Award.

Grants Management Specialist: The GMS is the federal staff member responsible for the day-
to-day management of grants and cooperative agreements. The GMS is the primary contact of
recipients for business and administrative matters pertinent to grant awards.

Program/Project Officer: The PO is the federal official responsible for monitoring the
programmatic, scientific, and/or technical aspects of grants and cooperative agreements, as
well as contributing to the effort of the award under cooperative agreements.

Grants Management Officer: The GMO is the federal official responsible for the business and
other non-programmatic aspects of grant awards. The GMO is the only official authorized to
obligate federal funds and is responsible for signing the NoA, including revisions to the NoA that
change the terms and conditions. The GMO serves as the counterpart to the business officer of
the recipient organization.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1210         Notice of Award
                                                                                                    Award# 5 NU50CK000562-03-00
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 08/25/2022



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
    PUBLIC HEALTH AND ENVIRONMENT,                 5 NU50CK000562-03-00
                                                12. Unique Federal Award Identification Number (FAIN)
    COLORADO DEPARTMENT OF
                                                   NU50CK000562
    4300 E Cherry Creek South Dr                13. Statutory Authority
    Colorado Department of Public Health and       301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
    Environme
    Denver, CO 80246-1523                       14. Federal Award Project Title
2. Congressional
   [NO DATA]     District of Recipient             Advancing the Centers of Excellence in Newcomer Health
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Non-Competing Continuation
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Ms. Lori Kennedy
    lori.kennedy@state.co.us                                 Summary Federal Award Financial Information
    303-692-2624
                                                19. Budget Period Start Date          09/30/2022 - End Date 09/29/2023

                                                20. Total Amount of Federal Funds Obligated by this Action                               $848,424.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                              $778,524.00
    Ms. Jannette Scarpino                           20b. Indirect Cost Amount                                                             $69,900.00
    Chief Financial Officer
                                                21. Authorized Carryover                                                                       $0.00
    Jannette.Scarpino@state.co.us
    303-692-2127                                22. Offset                                                                                     $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                                 $0.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                  $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                            $848,424.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 09/30/2020 - End Date 09/29/2025
 Ms. Joelle Cadet
                                                27. Total Amount of the Federal Award including Approved
 Grants Management Specialist
                                                    Cost Sharing or Matching this Period of Performance                                 $6,121,728.00
 qrx2@cdc.gov
 (404) 498-4349
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Nekeia Gray
                                                29. Grants Management Officer – Signature
 hvq6@cdc.gov
                                                     Ms. Freda Johnson
 404-639-0712
                                                     Grants Management Officer




30. Remarks




                                                                                                                                        Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1211         Notice of Award
             Centers for Disease Control and Prevention                                              Award# 5 NU50CK000562-03-00
                                                                                                     FAIN# NU50CK000562
                                                                                                     Federal Award Date: 08/25/2022



Recipient Information                                      33. Approved Budget
                                                           (Excludes Direct Assistance)
Recipient Name                                              I. Financial Assistance from the Federal Awarding Agency Only
 PUBLIC HEALTH AND ENVIRONMENT,                             II. Total project costs including grant funds and all other financial participation
 COLORADO DEPARTMENT OF                                    a. Salaries and Wages                                                     $516,063.00
 4300 E Cherry Creek South Dr
                                                           b. Fringe Benefits                                                        $170,302.00
 Colorado Department of Public Health and
 Environme                                                        c. Total Personnel Costs                                           $686,365.00
 Denver, CO 80246-1523                                     d. Equipment                                                                    $0.00
Congressional District of Recipient
 [NO DATA]
 01                                                        e. Supplies                                                                 $6,999.00
Payment Account Number and Type                            f. Travel                                                                   $5,365.00
 1840644739A4
Employer Identification Number (EIN) Data                  g. Construction                                                                 $0.00
 840644739                                                 h. Other                                                                   $21,786.00
Universal Numbering System (DUNS)
                                                           i. Contractual                                                             $58,009.00
 878208826
Recipient’s Unique Entity Identifier (UEI)                 j. TOTAL DIRECT COSTS                                                     $778,524.00
 Y3WEW9MQ6NH5
                                                           k. INDIRECT COSTS                                                          $69,900.00

 31. Assistance Type                                       l. TOTAL APPROVED BUDGET                                                  $848,424.00
 Cooperative Agreement
                                                           m. Federal Share                                                          $848,424.00
 32. Type of Award
 Other                                                     n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.       DOCUMENT NO.           ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE      APPROPRIATION
   1-939ZTSX         20NU50CK000562                 CK                41.51       93.283                                    $0.00    75-21-0949
    2-9390EX2       20NU50CK000562C3                CK                41.51       93.283                                    $0.00   75-2024-0943
   1-9390GR3        20NU50CK000562C5                CK                41.51       93.283                                    $0.00   75-2124-0943
    2-9390JEC        20NU50CK000562                 CK                41.51       93.283                              $598,424.00    75-22-0943
   2-939ZSLX         20NU50CK000562                 CK                41.51       93.283                              $250,000.00    75-22-0949
    1-9390EX2       20NU50CK000562C3                CK                41.51       93.283                                    $0.00   75-2024-0943




                                                                                                                                        Page 2
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                                        Document 4-10 Filed 04/01/25 Page 125 of 498
                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1212
                                                                                             Award# 5 NU50CK000562-03-00
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 08/25/2022




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                      PageID #: 1213
                              AWARD ATTACHMENTS
PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF 5 NU50CK000562-03-00
1. Terms and Conditions
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 AWARD INFORMATION

Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html , the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number CK20-2002, Colorado Department of Public
Health and Environment, as may be amended, which are hereby made a part of this Non-
research award, hereinafter referred to as the Notice of Award (NoA).

Approved Funding: Funding in the amount of $848,424 is approved for the Year 03 budget
period, which is September 30, 2022 through September 29, 2023. All future year funding will
be based on satisfactory programmatic progress and the availability of funds.

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third-party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.

Financial Assistance Mechanism: Cooperative Agreement

Substantial Involvement by CDC: This is a cooperative agreement and CDC will have
substantial programmatic involvement after the award is made. Substantial involvement is in
addition to all post-award monitoring, technical assistance, and performance reviews
undertaken in the normal course of stewardship of federal funds.

CDC program staff will assist, coordinate, or participate in carrying out effort under the award,
and recipients agree to the responsibilities therein, as detailed in the NOFO.

Expanded Authority: The recipient is permitted the following expanded authority in the
administration of the award.

 ☒ Carryover of unobligated balances from one budget period to a subsequent budget period.
    Unobligated funds may be used for purposes within the scope of the project as originally
    approved. Recipients will report use, or intended use, of unobligated funds in Section 12
    “Remarks” of the annual Federal Financial Report. If the GMO determines that some or all of
    the unobligated funds are not necessary to complete the project, the GMO may restrict the
    recipient’s authority to automatically carry over unobligated balances in the future, use the
    balance to reduce or offset CDC funding for a subsequent budget period, or use a
    combination of these actions.

Program Income: Any program income generated under this grant or cooperative agreement
will be used in accordance with the Addition alternative.

Addition alternative: Under this alternative, program income is added to the funds committed to
the project/program and is used to further eligible project/program objectives.
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 FUNDING RESTRICTIONS AND LIMITATIONS


Indirect Costs: Indirect costs are approved based on the negotiated indirect cost rate
agreement dated October 15, 2021, which calculates indirect costs as follows, a Provisional is
approved at a rate of 17.4% of the base, excluding capital expenditures (buildings, individual
items of equipment, and alterations and renovations), subawards and pass-through. 2) Grant
and Contracts awarded by this state department to local units of government, hospitals,
universities, and private organizations less capital expenditures and pass-through funds. The
effective dates of this indirect cost rate are from July 1, 2022 to June 30, 2025.

 REPORTING REQUIREMENTS


Performance Progress and Monitoring: Performance information collection initiated under
this grant/cooperative agreement has been approved by the Office of Management and Budget
under OMB Number 0920-1132, “Performance Progress and Monitoring Report”,
Expiration Date 10/31/2022. The components of the PPMR are available for download at:
https://www.cdc.gov/grants/alreadyhavegrant/Reporting.html .

Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
the HHS OIG at the following addresses:

CDC, Office of Grants Services
Joëlle Cadet, Grants Management Specialist
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road
Atlanta, GA 30341
Telephone: 404.498.4349
Email: qrx2@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov
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Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
(45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award. (45 CFR 75.373(b))

 PAYMENT INFORMATION


The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
sensitive material and submitters may decline to give their names if they choose to remain
anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified on the bottom of Page 2 of the Notice of Award must be
known to draw down funds.

 CDC Staff Contacts


Grants Management Specialist: The GMS is the federal staff member responsible for the day-
to-day management of grants and cooperative agreements. The GMS is the primary contact of
recipients for business and administrative matters pertinent to grant awards.

Program/Project Officer: The PO is the federal official responsible for monitoring the
programmatic, scientific, and/or technical aspects of grants and cooperative agreements, as
well as contributing to the effort of the award under cooperative agreements.

Grants Management Officer: The GMO is the federal official responsible for the business and
other non-programmatic aspects of grant awards. The GMO is the only official authorized to
obligate federal funds and is responsible for signing the NoA, including revisions to the NoA that
change the terms and conditions. The GMO serves as the counterpart to the business officer of
the recipient organization.
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                                       Document 4-10 Filed 04/01/25 Page 130 of 498
                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1217         Notice of Award
                                                                                                    Award# 5 NU50CK000562-04-00
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 08/16/2023



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
    COLORADO DEPARTMENT OF PUBLIC                  5 NU50CK000562-04-00
                                                12. Unique Federal Award Identification Number (FAIN)
    HEALTH & ENVIRONMENT
                                                   NU50CK000562
    4300 E Cherry Creek South Dr                13. Statutory Authority
    Colorado Department of Public Health and       301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
    Environme-DUP
    Denver, CO 80246-1523                       14. Federal Award Project Title
2. Congressional
   321-321-3214  District of Recipient             Advancing the Centers of Excellence in Newcomer Health
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Non-Competing Continuation
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Ms. Lori Kennedy
    lori.kennedy@state.co.us                                 Summary Federal Award Financial Information
    303-692-2624
                                                19. Budget Period Start Date          09/30/2023 - End Date 09/29/2024

                                                20. Total Amount of Federal Funds Obligated by this Action                               $103,500.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                              $103,500.00
    Ms. Jannette4 Scarpino                          20b. Indirect Cost Amount                                                                  $0.00
    N/A
                                                21. Authorized Carryover                                                                       $0.00
    jannette.scarpino@state.co.us
    303-692-2127                                22. Offset                                                                                     $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                                 $0.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                  $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                            $103,500.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 09/30/2020 - End Date 09/29/2025
 Ms. Joelle Cadet
                                                27. Total Amount of the Federal Award including Approved
 Grants Management Specialist
                                                    Cost Sharing or Matching this Period of Performance                                 $6,225,228.00
 qrx2@cdc.gov
 (404) 498-4349
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Terry Comans
                                                29. Grants Management Officer – Signature
 twc1@cdc.gov
                                                     Karen Zion1
 404-639-4445
                                                     Grants Management Officer




30. Remarks




                                                                                                                                        Page 1
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                                    Document 4-10 Filed 04/01/25 Page 131 of 498
             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1218         Notice of Award
             Centers for Disease Control and Prevention                                           Award# 5 NU50CK000562-04-00
                                                                                                  FAIN# NU50CK000562
                                                                                                  Federal Award Date: 08/16/2023



Recipient Information                                   33. Approved Budget
                                                        (Excludes Direct Assistance)
Recipient Name                                           I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                           II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                   a. Salaries and Wages                                                            $0.00
 4300 E Cherry Creek South Dr
                                                        b. Fringe Benefits                                                               $0.00
 Colorado Department of Public Health and
 Environme-DUP                                                c. Total Personnel Costs                                                   $0.00
 Denver, CO 80246-1523                                  d. Equipment                                                                     $0.00
Congressional District of Recipient
 321-321-3214
 01                                                     e. Supplies                                                                      $0.00
Payment Account Number and Type                         f. Travel                                                                        $0.00
 1840644739A4
Employer Identification Number (EIN) Data               g. Construction                                                                  $0.00
 840644739                                              h. Other                                                                   $103,500.00
Universal Numbering System (DUNS)
                                                        i. Contractual                                                                   $0.00
 878208826
Recipient’s Unique Entity Identifier (UEI)               j. TOTAL DIRECT COSTS                                                    $103,500.00
 Y3WEW9MQ6NH5
                                                        k. INDIRECT COSTS                                                               $0.00

 31. Assistance Type                                     l. TOTAL APPROVED BUDGET                                                 $103,500.00
 Cooperative Agreement
                                                        m. Federal Share                                                          $103,500.00
 32. Type of Award
 Other                                                  n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.      DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE        APPROPRIATION
    1-939ZTSX        20NU50CK000562             CK                41.51       93.283                                    $0.00      75-21-0949
    3-939ZTSX        20NU50CK000562             CK                41.51       93.283                              $103,500.00      75-23-0949
     2-9390JEC       20NU50CK000562             CK                41.51       93.283                                    $0.00      75-22-0943
    2-939ZSLX        20NU50CK000562             CK                41.51       93.283                                    $0.00      75-22-0949




                                                                                                                                     Page 2
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                                        Document 4-10 Filed 04/01/25 Page 132 of 498
                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1219
                                                                                             Award# 5 NU50CK000562-04-00
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 08/16/2023




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                     PageID #: 1220
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                 5 NU50CK000562-04-00
1. BP4 Terms and Conditions
    Case 1:25-cv-00121-MSM-LDA             Document 4-10 Filed 04/01/25            Page 134 of 498
                                            PageID #: 1221




 AWARD INFORMATION

Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms and
Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number CDC-RFA-CK20-2002, entitled the Centers of
Excellence in Newcomer Health, as may be amended, which are hereby made a part of this Non-
research award, hereinafter referred to as the Notice of Award (NoA).

Approved Funding: Funding in the amount of $103,500 is approved for Year 04 budget period
September 30, 2023 through September 30, 2024. All future year funding will be based on satisfactory
programmatic progress and the availability of funds.

The federal award amount is subject to adjustment based on total allowable costs incurred and/or the
value of any third-party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS) subaccount
information.

Financial Assistance Mechanism: Cooperative Agreement

Substantial Involvement by CDC: This is a cooperative agreement and CDC will have substantial
programmatic involvement after the award is made. Substantial involvement is in addition to all post-
award monitoring, technical assistance, and performance reviews undertaken in the normal course of
stewardship of federal funds.

CDC program staff will assist, coordinate, or participate in carrying out effort under the award, and
recipients agree to the responsibilities therein, as detailed in the NOFO.

CDC will provide technical assistance in identifying disparities in immunization, setting program
priorities, work plan development, and subject matter expertise. CDC will assist in the review of
immunization messages and materials both for technical accuracy and for compliance with proven
health education and communication strategies. CDC will share information, practices, lessons learned,
and evaluation results through meetings, conference calls, and electronic communication. CDC will
monitor the recipient's performance of program activities and progress toward program goals.

Budget Revision Requirement: By October 30, 2023 the recipient must submit a revised budget with
a narrative justification. Failure to submit the required information in a timely manner may adversely
affect the future funding of this project. If the information cannot be provided by the due date, you are
required to contact the GMS/GMO identified in the CDC Staff Contacts section of this notice before the
due date.

Expanded Authority: The recipient is permitted the following expanded authority in the administration
of the award.

☒ Carryover of unobligated balances from one budget period to a subsequent budget period.
Unobligated funds may be used for purposes within the scope of the project as originally approved.
Recipients will report use, or intended use, of unobligated funds in Section 12 “Remarks” of the annual
Federal Financial Report. If the GMO determines that some or all of the unobligated funds are not
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necessary to complete the project, the GMO may restrict the recipient’s authority to automatically carry
over unobligated balances in the future, use the balance to reduce or offset CDC funding for a
subsequent budget period, or use a combination of these actions.

Program Income: Any program income generated under this grant or cooperative agreement will be
used in accordance with the Addition alternative.

Addition alternative: Under this alternative, program income is added to the funds committed to the
project/program and is used to further eligible project/program objectives.

Note: The disposition of program income must have written prior approval from the GMO.

 FUNDING RESTRICTIONS AND LIMITATIONS

 Indirect Costs: Indirect costs are approved based on the negotiated indirect cost rate
 agreement dated May 16, 2023, which calculates indirect costs as follows, a Provisional is
 approved at a rate of 13.40% for all programs and 1.10% all subawards of the base, which
 includes, 1) Total direct cost excluding capital expenditures ( buildings, individual items of
 equipment , and alterations and renovations), subawards and pass-through. 2) Grants and
 contracts awarded by this state department to local units of government, hospitals,
 universities, and private organizations less capital expenditures and pass-through funds. 3)
 On-Site is defined as programs administered at 8100 Lowry Boulevard, and 4300 Cherry
 Creek Dr. South. 4) Off-site is defined as programs administered at locations other than the
 above locations. The effective dates of this indirect cost rate are from July 1, 2023 to June
 30, 2026.

 REPORTING REQUIREMENTS

Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely manner,
in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all information related
to violations of federal criminal law involving fraud, bribery, or gratuity violations potentially affecting
the federal award. Subrecipients must disclose, in a timely manner in writing to the prime recipient
(pass through entity) and the HHS OIG, all information related to violations of federal criminal law
involving fraud, bribery, or gratuity violations potentially affecting the federal award. Disclosures must
be sent in writing to the CDC and to the HHS OIG at the following addresses:

CDC, Office of Grants Services
Joëlle Cadet, Grants Management Specialist
Contractor: Chenega Enterprise Systems and Solutions (ChESS)
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road, MS-TV-2
Atlanta, GA 30341
Email: qrx2@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

AND
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U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts under
this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the OMB-
designated integrity and performance system accessible through SAM (currently FAPIIS). (45 CFR
75.372(b)) CDC must also notify the recipient if the federal award is terminated for failure to comply
with the federal statutes, regulations, or terms and conditions of the federal award. (45 CFR 75.373(b))

The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1- 800-
447-8477]) for receiving information concerning fraud, waste, or abuse under grants and cooperative
agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or by mail to Office
of the Inspector General, Department of Health and Human Services, Attn: HOTLINE, 330
Independence Ave., SW, Washington DC 20201. Such reports are treated as sensitive material and
submitters may decline to give their names if they choose to remain anonymous.


 PAYMENT INFORMATION

Payment Management System Subaccount: Funds awarded in support of approved activities have
been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds must be used
in support of approved activities in the NOFO and the approved application.

The grant document number identified beginning on the bottom of Page 2 of the Notice of Award must
be known to draw down funds.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1224         Notice of Award
                                                                                                    Award# 6 NU50CK000562-04-01
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 11/21/2023



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NU50CK000562-04-01
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NU50CK000562
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Colorado Department of Public Health and        301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   Environme-DUP
   Denver, CO 80246-1523                        14. Federal Award Project Title
2. Congressional
   321-321-3214  District of Recipient             Advancing the Centers of Excellence in Newcomer Health
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Budget Revision
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Lori Kennedy
   lori.kennedy@state.co.us                                  Summary Federal Award Financial Information
   303-692-2624
                                                19. Budget Period Start Date          09/30/2023 - End Date 09/29/2024

                                                20. Total Amount of Federal Funds Obligated by this Action                                     $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                               ($6,226.00)
   Ms. Jannette4 Scarpino                           20b. Indirect Cost Amount                                                              $6,226.00
   N/A
                                                21. Authorized Carryover                                                                       $0.00
   jannette.scarpino@state.co.us
   303-692-2127                                 22. Offset                                                                                     $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                           $103,500.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                  $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                            $103,500.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 09/30/2020 - End Date 09/29/2025
 Sharlene Sanders
                                                27. Total Amount of the Federal Award including Approved
 GMS
                                                    Cost Sharing or Matching this Period of Performance                                 $6,225,228.00
 qxl2@cdc.gov
 678-475-4650
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Adamma Ibe
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Karen Zion1
 qag9@cdc.gov
                                                     Grants Management Officer
 111-111-1111



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1225         Notice of Award
             Centers for Disease Control and Prevention                                           Award# 6 NU50CK000562-04-01
                                                                                                  FAIN# NU50CK000562
                                                                                                  Federal Award Date: 11/21/2023



Recipient Information                                   33. Approved Budget
                                                        (Excludes Direct Assistance)
Recipient Name                                           I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                           II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                   a. Salaries and Wages                                                      $15,574.00
 4300 E Cherry Creek South Dr
                                                        b. Fringe Benefits                                                          $5,141.00
 Colorado Department of Public Health and
 Environme-DUP                                                c. Total Personnel Costs                                             $20,715.00
 Denver, CO 80246-1523                                  d. Equipment                                                                    $0.00
Congressional District of Recipient
 321-321-3214
 01                                                     e. Supplies                                                                     $0.00
Payment Account Number and Type                         f. Travel                                                                  $10,054.00
 1840644739A4
Employer Identification Number (EIN) Data               g. Construction                                                                 $0.00
 840644739                                              h. Other                                                                   $11,136.00
Universal Numbering System (DUNS)
                                                        i. Contractual                                                             $55,369.00
 878208826
Recipient’s Unique Entity Identifier (UEI)               j. TOTAL DIRECT COSTS                                                     $97,274.00
 Y3WEW9MQ6NH5
                                                        k. INDIRECT COSTS                                                           $6,226.00

 31. Assistance Type                                     l. TOTAL APPROVED BUDGET                                                 $103,500.00
 Cooperative Agreement
                                                        m. Federal Share                                                          $103,500.00
 32. Type of Award
 Other                                                  n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.      DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE       APPROPRIATION
    1-939ZTSX        20NU50CK000562             CK                41.51       93.283                                  $0.00       75-21-0949
    3-939ZTSX        20NU50CK000562             CK                41.51       93.283                                  $0.00       75-23-0949
     2-9390JEC       20NU50CK000562             CK                41.51       93.283                                  $0.00       75-22-0943
    2-939ZSLX        20NU50CK000562             CK                41.51       93.283                                  $0.00       75-22-0949




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1226
                                                                                             Award# 6 NU50CK000562-04-01
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 11/21/2023




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                               AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                 6 NU50CK000562-04-01
1. Terms and Conditions_0562
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ADDITIONAL TERMS AND CONDITIONS OF THIS AWARD

Revised Budget: The purpose of this amended Notice of Award is to approve the revised budget that
was submitted by your organization dated October 27, 2023. Funds have been distributed as indicated
in the approved budget of this Notice of Award.

Stewardship: The recipient must exercise proper stewardship over Federal funds by ensuring that all
cost charged to their cooperative agreement are allowable, allocable and reasonable and that they
address the highest priority needs as they relate to this program.

All other terms and conditions issued with the original award remain in effect throughout the budget
period unless otherwise changed, in writing, by the Grants Management Officer.

PLEASE REFERENCE YOUR AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1229         Notice of Award
                                                                                                    Award# 6 NU50CK000562-04-02
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 04/24/2024



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NU50CK000562-04-02
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NU50CK000562
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Colorado Department of Public Health and        301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   Environme-DUP
   Denver, CO 80246-1523                        14. Federal Award Project Title
2. Congressional
   321-321-3214  District of Recipient             Advancing the Centers of Excellence in Newcomer Health
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Administrative Action
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Lori Kennedy
   lori.kennedy@state.co.us                                  Summary Federal Award Financial Information
   303-692-2624
                                                19. Budget Period Start Date          09/30/2023 - End Date 09/29/2024

                                                20. Total Amount of Federal Funds Obligated by this Action                                     $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                    $0.00
   Ms. Jannette4 Scarpino                           20b. Indirect Cost Amount                                                                  $0.00
   N/A
                                                21. Authorized Carryover                                                                       $0.00
   jannette.scarpino@state.co.us
   303-692-2127                                 22. Offset                                                                                     $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                           $103,500.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                  $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                            $103,500.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 09/30/2020 - End Date 09/29/2025
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                 $6,225,228.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Adamma Ibe
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Karen Zion1
 qag9@cdc.gov
                                                     Grants Management Officer
 111-111-1111



30. Remarks




                                                                                                                                        Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1230         Notice of Award
             Centers for Disease Control and Prevention                                              Award# 6 NU50CK000562-04-02
                                                                                                     FAIN# NU50CK000562
                                                                                                     Federal Award Date: 04/24/2024



Recipient Information                                      33. Approved Budget
                                                           (Excludes Direct Assistance)
Recipient Name                                              I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                              II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                      a. Salaries and Wages                                                      $15,574.00
 4300 E Cherry Creek South Dr
                                                           b. Fringe Benefits                                                          $5,141.00
 Colorado Department of Public Health and
 Environme-DUP                                                    c. Total Personnel Costs                                            $20,715.00
 Denver, CO 80246-1523                                     d. Equipment                                                                    $0.00
Congressional District of Recipient
 321-321-3214
 01                                                        e. Supplies                                                                     $0.00
Payment Account Number and Type                            f. Travel                                                                  $10,054.00
 1840644739A4
Employer Identification Number (EIN) Data                  g. Construction                                                                 $0.00
 840644739                                                 h. Other                                                                   $11,136.00
Universal Numbering System (DUNS)
                                                           i. Contractual                                                             $55,369.00
 878208826
Recipient’s Unique Entity Identifier (UEI)                 j. TOTAL DIRECT COSTS                                                      $97,274.00
 Y3WEW9MQ6NH5
                                                           k. INDIRECT COSTS                                                           $6,226.00

 31. Assistance Type                                       l. TOTAL APPROVED BUDGET                                                  $103,500.00
 Cooperative Agreement
                                                           m. Federal Share                                                          $103,500.00
 32. Type of Award
 Other                                                     n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.       DOCUMENT NO.           ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE    APPROPRIATION
   1-939ZTSX         20NU50CK000562                 CK                41.51       93.283                                  $0.00    75-21-0949
   3-939ZTSX         20NU50CK000562                 CK                41.51       93.283                                  $0.00    75-23-0949
    2-9390JEC        20NU50CK000562                 CK                41.51       93.283                                  $0.00    75-22-0943
   2-939ZSLX         20NU50CK000562                 CK                41.51       93.283                                  $0.00    75-22-0949
    2-9390EX2       20NU50CK000562C3                CK                41.51       93.283                                  $0.00   75-2024-0943
    1-9390EX2       20NU50CK000562C3                CK                41.51       93.283                                  $0.00   75-2024-0943
   1-9390GR3        20NU50CK000562C5                CK                41.51       93.283                                  $0.00   75-2124-0943




                                                                                                                                        Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1231
                                                                                             Award# 6 NU50CK000562-04-02
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 04/24/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                      PageID #: 1232
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NU50CK000562-04-02
1. Terms and Conditions
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Administrative Correction: The purpose of this amendment is to extend the period of usage
for all listed COVID document numbers to align with the liquidation extensions in Payment
Management Systems. No action is required from the recipient.

COVID Document Numbers
20NU50CK000562C3
20NU50CK000562C5

All other terms and conditions of this award remains in effect throughout the budget period
unless otherwise changed, in writing, by the Grants Management Officer.

PLEASE REFERENCE AWARD NUMBERS ON ALL CORRESPONDENCE
                Case 1:25-cv-00121-MSM-LDA
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1234         Notice of Award
                                                                                                    Award# 5 NU50CK000562-05-00
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 08/08/2024



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   5 NU50CK000562-05-00
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NU50CK000562
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Colorado Department of Public Health and        301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   Environme-DUP
   Denver, CO 80246-1523                        14. Federal Award Project Title
2. Congressional
   321-321-3214  District of Recipient             Advancing the Centers of Excellence in Newcomer Health
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Non-Competing Continuation
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Lori Kennedy
   lori.kennedy@state.co.us                                  Summary Federal Award Financial Information
   303-692-2624
                                                19. Budget Period Start Date          09/30/2024 - End Date 09/29/2025

                                                20. Total Amount of Federal Funds Obligated by this Action                                $10,000.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                               $10,000.00
   Ms. Jannette Scarpino.                           20b. Indirect Cost Amount                                                                  $0.00
   N/A
                                                21. Authorized Carryover                                                                       $0.00
   jannette.scarpino@state.co.us
   303-692-2127                                 22. Offset                                                                                     $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                                 $0.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                  $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                             $10,000.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 09/30/2020 - End Date 09/29/2025
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                 $6,235,228.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Adamma Ibe
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Karen Zion1
 qag9@cdc.gov
                                                     Grants Management Officer
 111-111-1111



30. Remarks




                                                                                                                                        Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1235         Notice of Award
             Centers for Disease Control and Prevention                                              Award# 5 NU50CK000562-05-00
                                                                                                     FAIN# NU50CK000562
                                                                                                     Federal Award Date: 08/08/2024



Recipient Information                                      33. Approved Budget
                                                           (Excludes Direct Assistance)
Recipient Name                                              I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                              II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                      a. Salaries and Wages                                                           $0.00
 4300 E Cherry Creek South Dr
                                                           b. Fringe Benefits                                                              $0.00
 Colorado Department of Public Health and
 Environme-DUP                                                    c. Total Personnel Costs                                                 $0.00
 Denver, CO 80246-1523                                     d. Equipment                                                                    $0.00
Congressional District of Recipient
 321-321-3214
 01                                                        e. Supplies                                                                     $0.00
Payment Account Number and Type                            f. Travel                                                                       $0.00
 1840644739A4
Employer Identification Number (EIN) Data                  g. Construction                                                                 $0.00
 840644739                                                 h. Other                                                                   $10,000.00
Universal Numbering System (DUNS)
                                                           i. Contractual                                                                  $0.00
 878208826
Recipient’s Unique Entity Identifier (UEI)                 j. TOTAL DIRECT COSTS                                                      $10,000.00
 Y3WEW9MQ6NH5
                                                           k. INDIRECT COSTS                                                              $0.00

 31. Assistance Type                                       l. TOTAL APPROVED BUDGET                                                   $10,000.00
 Cooperative Agreement
                                                           m. Federal Share                                                           $10,000.00
 32. Type of Award
 Other                                                     n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.       DOCUMENT NO.           ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE      APPROPRIATION
   1-939ZTSX         20NU50CK000562                 CK                41.51       93.283                                    $0.00    75-21-0949
   3-939ZTSX         20NU50CK000562                 CK                41.51       93.283                                    $0.00    75-23-0949
    2-9390JEC        20NU50CK000562                 CK                41.51       93.283                                    $0.00    75-22-0943
   2-939ZSLX         20NU50CK000562                 CK                41.51       93.283                                    $0.00    75-22-0949
    2-9390EX2       20NU50CK000562C3                CK                41.51       93.283                                    $0.00   75-2024-0943
    1-9390EX2       20NU50CK000562C3                CK                41.51       93.283                                    $0.00   75-2024-0943
   1-9390GR3        20NU50CK000562C5                CK                41.51       93.283                                    $0.00   75-2124-0943
   4-939ZSMA         20NU50CK000562                 CK                41.51       93.283                               $10,000.00    75-24-0949




                                                                                                                                        Page 2
                  Case 1:25-cv-00121-MSM-LDA
                                        Document 4-10 Filed 04/01/25 Page 149 of 498
                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1236
                                                                                             Award# 5 NU50CK000562-05-00
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 08/08/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                      PageID #: 1237
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  5 NU50CK000562-05-00
1. Terms and Conditions
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 AWARD INFORMATION

Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number CDC-RFA-CK20-2002, entitled Centers of
Excellence in Newcomer Health, and application dated March 12, 2024, as may be amended,
which are hereby made a part of this Non-research award, hereinafter referred to as the Notice
of Award (NOA).

Total Approved Funding is included in Summary Federal Award Financial Information on
page 1 of the NOA. All future year funding will be based on satisfactory programmatic progress
and the availability of funds.

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third-party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.

Financial Assistance Mechanism: Cooperative Agreement

Summary Statement/Technical Review: Within 5 days of this Notice of Award’s (NOA) issue
date, the Summary Statement/Technical Review will be accessible to the recipient in
GrantSolutions Grant Notes. Contact the assigned Program Officer indicated in the NOA with
any questions regarding this document or any follow up requirements and timelines set forth
therein.

Substantial Involvement by CDC: This is a cooperative agreement and CDC will have
substantial programmatic involvement after the award is made. Substantial involvement is in
addition to all post- award monitoring, technical assistance, and performance reviews
undertaken in the normal course of stewardship of federal funds.

CDC program staff will assist, coordinate, or participate in carrying out effort under the award,
and recipients agree to the responsibilities therein, as detailed in the NOFO.

CDC will provide technical assistance in identifying disparities in immunization, setting program
priorities, work plan development, and subject matter expertise. CDC will assist in the review of
immunization messages and materials both for technical accuracy and for compliance with
proven health education and communication strategies. CDC will share information, practices,
lessons learned, and evaluation results through meetings, conference calls, and electronic
communication. CDC will monitor the recipient's performance of program activities and progress
toward program goals.

Budget Revision Requirement: By October 30, 2024, the recipient must submit a revised
budget based on the awarded amount with a narrative justification. Submit the revised budget
as an amendment in GrantSolutions. Failure to submit the required information in a timely
manner may adversely affect the future funding of this project. If the information cannot be
provided by the due date, you are required to contact the GMS/GMO identified in the CDC Staff
Contacts section of this notice before the due date.
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Expanded Authority: The recipient is permitted the following expanded authority in the
administration of the award.

☒ Carryover of unobligated balances from one budget period to a subsequent budget period.
Unobligated funds may be used for purposes within the scope of the project as originally
approved. Recipients will report use, or intended use, of unobligated funds in Section 12
“Remarks” of the annual Federal Financial Report. If the GMO determines that some or all of
the unobligated funds are not necessary to complete the project, the GMO may restrict the
recipient’s authority to automatically carry over unobligated balances in the future, use the
balance to reduce or offset CDC funding for a subsequent budget period, or use a combination
of these actions.

Program Income: Any program income generated under this grant or cooperative agreement
will be used in accordance with the Addition alternative.

Addition alternative: Under this alternative, program income is added to the funds committed to
the project/program and is used to further eligible project/program objectives.

Note: The disposition of program income must have written prior approval from the GMO.

 FUNDING RESTRICTIONS AND LIMITATIONS

Administrative Requirement: The recipient must respond to the information below in the
budget revision or as a grant note:

             •   Personnel: Provide names of TBD staff upon selection.


Indirect Costs: Indirect costs are approved based on the negotiated indirect cost rate
agreement dated January 10, 2024, which calculates indirect costs as follows, a Provisional is
approved at a rate of 4.20% of the base, which includes, total direct costs excluding capital
expenditures, that portion of each subaward in excess of $25,000 and flow-through funds. The
effective dates of this indirect cost rate are from July 1, 2024, to June 30, 2027.

 REPORTING REQUIREMENTS

Performance Progress and Monitoring: Performance information collection initiated under
this grant/cooperative agreement has been approved by the Office of Management and Budget
under OMB Number 0920-1132, “Performance Progress and Monitoring Report”,
Expiration Date 10/31/2022. The components of the PPMR are available for download at:
https://www.cdc.gov/grants/alreadyhavegrant/Reporting.html.

 PAYMENT INFORMATION

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified on the bottom of Page 2 of the Notice of Award must be
known in order to draw down funds.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1240         Notice of Award
                                                                                                    Award# 6 NU50CK000562-05-01
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 10/23/2024



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NU50CK000562-05-01
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NU50CK000562
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Colorado Department of Public Health and        301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   Environme-DUP
   Denver, CO 80246-1523                        14. Federal Award Project Title
2. Congressional
   321-321-3214  District of Recipient             Advancing the Centers of Excellence in Newcomer Health
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Budget Revision
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Lori Kennedy
   lori.kennedy@state.co.us                                  Summary Federal Award Financial Information
   303-692-2624
                                                19. Budget Period Start Date          09/30/2024 - End Date 09/29/2025

                                                20. Total Amount of Federal Funds Obligated by this Action                                     $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                 ($405.00)
   Ms. Jannette Scarpino.                           20b. Indirect Cost Amount                                                                $405.00
   N/A
                                                21. Authorized Carryover                                                                       $0.00
   jannette.scarpino@state.co.us
   303-692-2127                                 22. Offset                                                                                     $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                            $10,000.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                  $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                             $10,000.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 09/30/2020 - End Date 09/29/2025
 Regina Mobley
                                                27. Total Amount of the Federal Award including Approved
 Grants Management Specialist
                                                    Cost Sharing or Matching this Period of Performance                                 $6,235,228.00
 tlz7@cdc.gov
 678-754-4986
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Adamma Ibe
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible1
 qag9@cdc.gov
                                                     Grants Management Officer
 111-111-1111



30. Remarks




                                                                                                                                        Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1241         Notice of Award
             Centers for Disease Control and Prevention                                   Award# 6 NU50CK000562-05-01
                                                                                          FAIN# NU50CK000562
                                                                                          Federal Award Date: 10/23/2024



Recipient Information                           33. Approved Budget
                                                (Excludes Direct Assistance)
Recipient Name                                   I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                   II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                            a. Salaries and Wages                                                          $0.00
 4300 E Cherry Creek South Dr
                                                 b. Fringe Benefits                                                             $0.00
 Colorado Department of Public Health and
 Environme-DUP                                        c. Total Personnel Costs                                                  $0.00
 Denver, CO 80246-1523                           d. Equipment                                                                   $0.00
Congressional District of Recipient
 321-321-3214
 01                                              e. Supplies                                                                    $0.00
Payment Account Number and Type                  f. Travel                                                                      $0.00
 1840644739A4
Employer Identification Number (EIN) Data        g. Construction                                                                $0.00
 840644739                                       h. Other                                                                   $9,595.00
Universal Numbering System (DUNS)
                                                 i. Contractual                                                                 $0.00
 878208826
Recipient’s Unique Entity Identifier (UEI)       j. TOTAL DIRECT COSTS                                                      $9,595.00
 Y3WEW9MQ6NH5
                                                 k. INDIRECT COSTS                                                           $405.00

 31. Assistance Type                             l. TOTAL APPROVED BUDGET                                                  $10,000.00
 Cooperative Agreement
                                                 m. Federal Share                                                          $10,000.00
 32. Type of Award
 Other                                           n. Non-Federal Share                                                          $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO. DOCUMENT NO. ADMINISTRATIVE CODE OBJECT CLASS ASSISTANCE LISTING AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
   1-939ZTSX    20NU50CK000562      CK              41.51           93.283                                  $0.00  75-21-0949
   3-939ZTSX    20NU50CK000562      CK              41.51           93.283                                  $0.00  75-23-0949
    2-9390JEC   20NU50CK000562      CK              41.51           93.283                                  $0.00  75-22-0943
   2-939ZSLX    20NU50CK000562      CK              41.51           93.283                                  $0.00  75-22-0949
    2-9390EX2  20NU50CK000562C3     CK              41.51           93.283                                  $0.00 75-2024-0943
    1-9390EX2  20NU50CK000562C3     CK              41.51           93.283                                  $0.00 75-2024-0943
   1-9390GR3   20NU50CK000562C5     CK              41.51           93.283                                  $0.00 75-2124-0943
   4-939ZSMA    20NU50CK000562      CK              41.51           93.283                                  $0.00  75-24-0949




                                                                                                                             Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1242
                                                                                             Award# 6 NU50CK000562-05-01
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 10/23/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NU50CK000562-05-01
1. Terms and Conditions
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 ADDITIONAL TERMS AND CONDITIONS OF AWARD

Revised Budget: The purpose of this amended Notice of Award is to approve the revised
budget request submitted by your organization dated September 30, 2024 . Funds have been
distributed as indicated in the approved budget of this Notice of Award.

All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.

Please be advised that recipient must exercise proper stewardship over Federal funds by
ensuring that all costs charged to their cooperative agreement are allowable, allocable,
necessary, and reasonable.

PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1245         Notice of Award
                                                                                                    Award# 6 NU50CK000562-05-02
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NU50CK000562
                                                                                                    Federal Award Date: 03/24/2025



Recipient Information                                                        Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NU50CK000562-05-02
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NU50CK000562
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Colorado Department of Public Health and        301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   Environme-DUP
   Denver, CO 80246-1523                        14. Federal Award Project Title
2. Congressional
   321-321-3214  District of Recipient             Advancing the Centers of Excellence in Newcomer Health
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.283
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Centers for Disease Control and Prevention Investigations and Technical Assistance
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Administrative Action
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Lori Kennedy
   lori.kennedy@state.co.us                                  Summary Federal Award Financial Information
   303-692-2624
                                                19. Budget Period Start Date          09/30/2024 - End Date 03/24/2025

                                                20. Total Amount of Federal Funds Obligated by this Action                                     $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                    $0.00
   Ms. Jannette Scarpino.                           20b. Indirect Cost Amount                                                                  $0.00
   N/A
                                                21. Authorized Carryover                                                                       $0.00
   jannette.scarpino@state.co.us
   303-692-2127                                 22. Offset                                                                                     $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                            $10,000.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                  $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                             $10,000.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 09/30/2020 - End Date 03/24/2025
 Regina Mobley
                                                27. Total Amount of the Federal Award including Approved
 Grants Management Specialist
                                                    Cost Sharing or Matching this Period of Performance                                 $6,235,228.00
 tlz7@cdc.gov
 678-754-4986
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Adamma Ibe
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Percy Jernigan
 qag9@cdc.gov
 111-111-1111



30. Remarks
 Department Authority




                                                                                                                                        Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1246         Notice of Award
             Centers for Disease Control and Prevention                                   Award# 6 NU50CK000562-05-02
                                                                                          FAIN# NU50CK000562
                                                                                          Federal Award Date: 03/24/2025



Recipient Information                           33. Approved Budget
                                                (Excludes Direct Assistance)
Recipient Name                                   I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                   II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                            a. Salaries and Wages                                                          $0.00
 4300 E Cherry Creek South Dr
                                                 b. Fringe Benefits                                                             $0.00
 Colorado Department of Public Health and
 Environme-DUP                                        c. Total Personnel Costs                                                  $0.00
 Denver, CO 80246-1523                           d. Equipment                                                                   $0.00
Congressional District of Recipient
 321-321-3214
 01                                              e. Supplies                                                                    $0.00
Payment Account Number and Type                  f. Travel                                                                      $0.00
 1840644739A4
Employer Identification Number (EIN) Data        g. Construction                                                                $0.00
 840644739                                       h. Other                                                                   $9,595.00
Universal Numbering System (DUNS)
                                                 i. Contractual                                                                 $0.00
 878208826
Recipient’s Unique Entity Identifier (UEI)       j. TOTAL DIRECT COSTS                                                      $9,595.00
 Y3WEW9MQ6NH5
                                                 k. INDIRECT COSTS                                                           $405.00

 31. Assistance Type                             l. TOTAL APPROVED BUDGET                                                  $10,000.00
 Cooperative Agreement
                                                 m. Federal Share                                                          $10,000.00
 32. Type of Award
 Other                                           n. Non-Federal Share                                                          $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO. DOCUMENT NO. ADMINISTRATIVE CODE OBJECT CLASS ASSISTANCE LISTING AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
   1-9390GR3   20NU50CK000562C5     CK              41.51           93.283                                  $0.00 75-2124-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1247
                                                                                             Award# 6 NU50CK000562-05-02
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000562
                                                                                             Federal Award Date: 03/24/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                      PageID #: 1248
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NU50CK000562-05-02
1. Terms and Conditions
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TERMS AND CONDITIONS OF AWARD



Termination: The purpose of this amendment is to terminate the use of any remaining COVID-19 funding
associated with this award. The termination of this funding is for cause. HHS regulations permit
termination if “the non-Federal entity fails to comply with the terms and conditions of the award”, or
separately, “for cause.” The end of the pandemic provides cause to terminate COVID-related grants and
cooperative agreements. These grants and cooperative agreements were issued for a limited purpose: to
ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and cooperative
agreements are no longer necessary as their limited purpose has run out. Termination of use of funding
under the listed document number(s) is effective as of the date set out in your Notice of Award.

Impacted document numbers are included on page 2 of this Notice of Award (NoA).

No additional activities can be conducted, and no additional costs may be incurred, as it relates to these
funds. Unobligated award balances of COVID-19 funding will be de-obligated by CDC. Award activities
under other funding may continue consistent with the terms and conditions of the award.

Final Federal Financial Report (FFR, SF-425): Within 30 days please submit final FFR’s for impacted
document numbers. The FFR should only include those funds authorized and expended during the
timeframe covered by the report. The final report must indicate the exact balance of unobligated funds
and may not reflect any unliquidated obligations. Should the amount not match with the final
expenditures reported to the Payment Management System (PMS), you will be required to update your
reports to PMS accordingly.

All other terms and conditions of this award remain in effect.
                    Case 1:25-cv-00121-MSM-LDA                                             Document 4-10 Filed 04/01/25                                                                Page 163 of 498
1. DATE ISSUED            MM/DD/YYYY        1a. SUPERSEDES AWARD NOTICE dated               PageID #: 1250
                                              except that any additions or restrictions previously imposed                      DEPARTMENT OF HEALTH AND HUMAN SERVICES
     06/25/2019
                                              remain in effect unless specifically rescinded
2. CFDA NO.
                                                                                                                                   Centers for Disease Control and Prevention
   93.268 - Immunization Cooperative Agreements                                                                                                          CDC Office of Financial Resources

3. ASSISTANCE TYPE Cooperative Agreement                                                                                                                              2939 Brandywine Road
4. GRANT NO. 1 NH23IP922600-01-00                         5. TYPE OF AWARD                                                                                              Atlanta, GA 30341
    Formerly                                                  Demonstration

4a. FAIN      NH23IP922600                                5a. ACTION TYPE New
6. PROJECT PERIOD                    MM/DD/YYYY                                        MM/DD/YYYY                                                                NOTICE OF AWARD
                  From               07/01/2019               Through                  06/30/2024                                         AUTHORIZATION (Legislation/Regulations)
7. BUDGET PERIOD                     MM/DD/YYYY                                        MM/DD/YYYY                             Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C.
                  From               07/01/2019              Through                   06/30/2020                                    Sections 247b, 247b(k)(2) and 247c), as amended.
 8. TITLE OF PROJECT (OR PROGRAM)
     CDC-RFA-IP19-1901 Immunization and Vaccines for Children


9a. GRANTEE NAME AND ADDRESS                                                                                      9b. GRANTEE PROJECT DIRECTOR
      PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF                                                              Ms. Lynn Trefren
      4300 CHERRY CREEK SOUTH DR                                                                                         4300 CHERRY CREEK SOUTH DR
      DENVER, CO 80246-1523                                                                                              DENVER, CO 80246-1523
                                                                                                                         Phone: (303) 692-6242


10a. GRANTEE AUTHORIZING OFFICIAL                                                                                10b. FEDERAL PROJECT OFFICER
      Mr. John Chase                                                                                                     Maribeth Eckert
      4300 Cherry Creek Drive South                                                                                      1600 Clifton Rd
      Grants Administration                                                                                              Atlanta, GA 30333
      Denver, CO 80246-1523                                                                                              Phone: 404-639-8800
      Phone: 303-692-2023

                                                                                      ALL AMOUNTS ARE SHOWN IN USD
11. APPROVED BUDGET (Excludes Direct Assistance)                                                                12. AWARD COMPUTATION
 I Financial Assistance from the Federal Awarding Agency Only                                                     a. Amount of Federal Financial Assistance (from item 11m)                                                                5,785,549.00
 II Total project costs including grant funds and all other financial participation                  I            b. Less Unobligated Balance From Prior Budget Periods                                                                                0.00
                                                                                                                  c. Less Cumulative Prior Award(s) This Budget Period                                                                                 0.00
     a.     Salaries and Wages            ………………..................                            2,375,557.00
                                                                                                                  d. AMOUNT OF FINANCIAL ASSISTANCE THIS ACTION                                                                            5,785,549.00
     b.      Fringe Benefits              ………………..................                             783,934.00
                                                                                                                 13. Total Federal Funds Awarded to Date for Project Period                                                                5,785,549.00
     c.          Total Personnel Costs                   .…...….……                           3,159,491.00        14. RECOMMENDED FUTURE SUPPORT
                                                                                                                  (Subject to the availability of funds and satisfactory progress of the project):
     d.     Equipment                    …………………………….                                               30,000.00

                                                                                                20,793.00          YEAR                  TOTAL DIRECT COSTS                                YEAR                     TOTAL DIRECT COSTS
     e.     Supplies                     …………………………….
                                                                                                                  a. 2                                                                d. 5
     f.     Travel                       …………………………….                                               45,071.00
                                                                                                                  b. 3                                                                e. 6
     g.     Construction                 …………………………….                                                    0.00     c. 4                                                                 f. 7

     h.     Other                        …………………………….                                           184,244.00       15. PROGRAM INCOME SHALL BE USED IN ACCORD WITH ONE OF THE FOLLOWING
                                                                                                                  ALTERNATIVES:

     i.     Contractual                  …………………….………                                         1,594,920.00               a.
                                                                                                                         b.
                                                                                                                                   DEDUCTION
                                                                                                                                   ADDITIONAL COSTS                                                                                        b
                                                                                                                         c.        MATCHING
     j.          TOTAL DIRECT COSTS                                                           5,034,519.00               d.        OTHER RESEARCH (Add / Deduct Option)
                                                                                                                         e.        OTHER (See REMARKS)
     k.     INDIRECT COSTS                                                                     751,030.00
                                                                                                                 16. THIS AWARD IS BASED ON AN APPLICATION SUBMITTED TO, AND AS APPROVED BY, THE FEDERAL AWARDING AGENCY
                                                                                                                 ON THE ABOVE TITLED PROJECT AND IS SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY
                                                                                                                 OR BY REFERENCE IN THE FOLLOWING:
     l.     TOTAL APPROVED BUDGET                                                             5,785,549.00
                                                                                                                         a.                                    .
                                                                                                                                   The grant program legislation
                                                                                                                         b.        The grant program regulations.
                                                                                                                         c.        This award notice including terms and conditions, if any, noted below under REMARKS.
     m.      Federal Share                                                                   5,785,549.00                d.        Federal administrative requirements, cost principles and audit requirements applicable to this grant.
                                                                                                                 In the event there are conflicting or otherwise inconsistent policies applicable to the grant, the above order of precedence shall
     n.      Non-Federal Share                                                                           0.00    prevail. Acceptance of the grant terms and conditions is acknowledged by the grantee when funds are drawn or otherwise
                                                                                                                 obtained from the grant payment system.

     REMARKS            (Other Terms and Conditions Attached -                  Yes                               No)




          GRANTS MANAGEMENT OFFICIAL:
          Erica Stewart, Grants Management Officer
          2939 Flowers Rd
          TV-2
          Atlanta, GA 30341
          Phone: 770-488-2769

17.OBJ CLASS                 41.51           18a. VENDOR CODE             1840644739A4              18b. EIN                  840644739                          19. DUNS                 878208826                   20. CONG. DIST.             01
            FY-ACCOUNT NO.                                   DOCUMENT NO.                                       ADMINISTRATIVE CODE                                       AMT ACTION FIN ASST                                APPROPRIATION
 21. a.                9-93909KZ             b.               19NH23IP922600                        c.                        IP                                 d.                              $3,447,981.00 e.                              75-X-0951

 22. a.              9-9390BKG               b.               19NH23IP922600                        c.                        IP                                 d.                                $595,560.00 e.                    75-75-X-0512-009

 23. a.                9-9390BKJ             b.               19NH23IP922600                        c.                        IP                                 d.                                  $52,310.00 e.                   75-75-X-0512-009
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                                                                          PAGE 2 of 3               DATE ISSUED
 NOTICE OF AWARD (Continuation Sheet)                                                               06/25/2019
                                                                          GRANT NO.          1 NH23IP922600-01-00

    FY-ACCOUNT NO.               DOCUMENT NO.             ADMINISTRATIVE CODE         AMT ACTION FIN ASST           APPROPRIATION
24.a. 9-9390BKM            b.   19NH23IP922600       c.   IP                     d.   $749,372.00             e.   75-75-X-0512-009
25.a. 9-939ZRWL            b.   19NH23IP922600       c.   IP                     d.   $268,621.00             e.   75-19-0951
26.a. 9-939ZRYH            b.   19NH23IP922600       c.   IP                     d.   $671,705.00             e.   75-19-0951




Direct Assistance
            BUDGET CATEGORIES               PREVIOUS AMOUNT (A)            AMOUNT THIS ACTION (B)                  TOTAL (A + B)
Personnel                                                         $0.00                      $0.00                              $0.00
Fringe Benefits                                                   $0.00                      $0.00                              $0.00
Travel                                                            $0.00                 $10,000.00                         $10,000.00
Equipment                                                         $0.00                      $0.00                              $0.00
Supplies                                                          $0.00                      $0.00                              $0.00
Contractual                                                       $0.00                      $0.00                              $0.00
Construction                                                      $0.00                      $0.00                              $0.00
Other                                                             $0.00                      $0.00                              $0.00
Total                                                             $0.00                 $10,000.00                         $10,000.00




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                                                                       PAGE 3 of 3         DATE ISSUED
    NOTICE OF AWARD (Continuation Sheet)                                                   06/25/2019
                                                                       GRANT NO.     1 NH23IP922600-01-00


    Federal Financial Report Cycle
    Reporting Period Start Date   Reporting Period End Date   Reporting Type           Reporting Period Due Date
    07/01/2019                    06/30/2020                  Annual                   09/28/2020
    07/01/2020                    06/30/2021                  Annual                   09/28/2021
    07/01/2021                    06/30/2022                  Annual                   09/28/2022
    07/01/2022                    06/30/2023                  Annual                   09/28/2023
    07/01/2023                    06/30/2024                  Annual                   09/28/2024
‍




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                                      PageID #: 1253
                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      1 NH23IP922600-01-00
1. Terms and Conditions
        Case 1:25-cv-00121-MSM-LDA             Document 4-10 Filed 04/01/25             Page 167 of 498
                                                PageID #: 1254
 AWARD INFORMATION
Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms and Conditions
for Non-research awards at https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for
Disease Control and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO) number
IP19-1901, entitled Immunization and Vaccines for Children, and application dated Mar 29, 2019 as may be
amended, which are hereby made a part of this Non-research award, hereinafter referred to as the Notice of
Award (NOA).

Approved Funding: Funding in the amount of $5,785,549 is approved for the Year 2019 budget period, which
is July 1, 2019 through June 30, 2020. All future year funding will be based on satisfactory programmatic
progress and the availability of funds.

The federal award amount is subject to adjustment based on total allowable costs incurred and/or the value of
any third party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS) subaccount
information.

The NOFO provides for the funding of multiple components under this award. The approved component
funding levels for this notice of award are:

                                       Funding Type           Amount
                                       Project BB1              $ 374,090
                                       Project CC3               $239,052
                                       Core Funding            $5,172,407

Approved But Unfunded: Travel to the following CDC Sponsored or co-sponsored meetings is approved but
not funded at this time: National Immunization Conference (NIC), Immunization Awardee Meetings, Influenza
Immunization Summit, and the Public Health Informatics Conference.

Note: Refer to the Payment Information section for draw down and Payment Management System (PMS)
subaccount information.

Financial Assistance Mechanism: Cooperative Agreement

Substantial Involvement by CDC: This is a cooperative agreement and CDC will have substantial
programmatic involvement after the award is made. Substantial involvement is in addition to all post-award
monitoring, technical assistance, and performance reviews undertaken in the normal course of stewardship of
federal funds.

CDC program staff will assist, coordinate, or participate in carrying out effort under the award, and recipients
agree to the responsibilities therein, as detailed in the NOFO and below.
    Provide guidance, trainings, tools, and technical assistance to award recipient on program area
       components.

      Host conference calls for sharing information from CDC and between award recipients.

      Work with award recipients on planning and implementation of required and proposed activities.

      Monitor award recipient vaccine spend plan and replenishment providing regular feedback and working
       with award recipient to address barriers.

      Analyze and report results of surveys regarding national, state and selected local level vaccination
       coverage.
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                                               PageID #: 1255
      Analyze and report result of surveys of award recipient plans and activities related to preparedness.

      Collaboration with external partners to promote IIS in national health IT settings.

      Develop and support improvements in IIS data quality and program measures to assess IIS
       performance.

      Use IIS submitted data to develop methods to estimate national vaccination coverage and calculate
       vaccination coverage estimates for routinely recommended childhood vaccines.

      Use IIS submitted data to monitor seasonal or pandemic influenza vaccination among ages that are
       available in the IIS data.

      Assist, as needed, in the development of data collection and reporting methods for school-enterer
       vaccination coverage surveys.

      Provide VFC policy guidance via the VFC Operations Guide, periodic trainings and conference calls,
       including use of the CDC developed quality assurance site visit tools, to assist award recipient
       implement their VFC program in accordance with federal requirements.

      Provide subject matter guidance in all program component areas.

Direct Assistance (DA): DA is awarded in the amount of $ 10,000 in this budget period.

Summary/Technical Review Response Requirement: The review comments on the strengths and
weaknesses of the proposal are provided as part of this award. A response to the weaknesses in these
statements must be submitted in GrantSolutions Grant Notes and approved, in writing, by the Grants
Management Specialist/Grants Management Officer (GMS/GMO) noted in the CDC Staff Contacts section of
this NOA, no later than 60 days from the budget period start date. Failure to submit the required information by
the due date, September 3, 2019, will cause delay in programmatic progress and will adversely affect the
future funding of this project.

Budget Revision Requirement: By September 3, 2019 the recipient must submit a revised budget with a
narrative justification in GrantSolutions Grant Notes. Failure to submit the required information in a timely
manner may adversely affect the future funding of this project. If the information cannot be provided by the
due date, you are required to contact the GMS/GMO identified in the CDC Staff Contacts section of this notice
before the due date.

Program Income: Any program income generated under this grant or cooperative agreement will be used in
accordance with the Addition alternative.

Addition alternative: Under this alternative, program income is added to the funds committed to the
project/program and is used to further eligible project/program objectives.

Note: The disposition of program income must have written prior approval from the GMO.


 FUNDING RESTRICTIONS AND LIMITATIONS

Notice of Funding Opportunity (NOFO) Restrictions:

      Recipients may not use funds for research.

      Recipients may not use funds for clinical care except as allowed by law.

      Recipients may use funds only for reasonable program purposes, including personnel, travel, supplies,
        Case 1:25-cv-00121-MSM-LDA              Document 4-10 Filed 04/01/25               Page 169 of 498
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       and services.

      Generally, recipients may not use funds to purchase furniture or equipment. Any such proposed
       spending must be clearly identified in the budget.

      Reimbursement of pre-award costs generally is not allowed, unless the CDC provides written approval
       to the recipient.

      Other than for normal and recognized executive-legislative relationships, no funds may be used for:

              publicity or propaganda purposes, for the preparation, distribution, or use of any material
               designed to support or defeat the enactment of legislation before any legislative body

              the salary or expenses of any grant or contract recipient, or agent acting for such recipient,
               related to any activity designed to influence the enactment of legislation, appropriations,
               regulation, administrative action, or Executive order proposed or pending before any legislative
               body

              See Additional Requirement (AR) 12 for detailed guidance on this prohibition and additional
               guidance on lobbying for CDC recipients.

      The direct and primary recipient in a cooperative agreement program must perform a substantial role in
       carrying out project outcomes and not merely serve as a conduit for an award to another party or
       provider who is ineligible.

      In accordance with the United States Protecting Life in Global Health Assistance policy, all non-
       governmental organization (NGO) applicants acknowledge that foreign NGOs that receive funds
       provided through this award, either as a prime recipient or subrecipient, are strictly prohibited,
       regardless of the source of funds, from performing abortions as a method of family planning or
       engaging in any activity that promotes abortion as a method of family planning, or to provide financial
       support to any other foreign non-governmental organization that conducts such activities. See
       Additional Requirement (AR) 35 for applicability (https://www.cdc.gov/grants/additionalrequirements/ar-
       35.html).

Indirect Costs:

Indirect costs are not approved for this award, because indirect costs were not requested or an approved
Indirect Cost Rate Agreement has not been established. To have indirect costs approved for this grant, submit
an approved indirect cost rate agreement to the grants management specialist no later than September 30,
2019.

 REPORTING REQUIREMENTS

Performance Progress and Monitoring: Performance information collection initiated under this
grant/cooperative agreement has been approved by the Office of Management and Budget under OMB
Number 0920-1132, “Performance Progress and Monitoring Report”, Expiration Date 8/31/2019. The
components of the PPMR are available for download at:
https://www.cdc.gov/grants/alreadyhavegrant/Reporting.html .

Required Disclosures for Federal Awardee Performance and Integrity Information System (FAPIIS):
Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely manner, in writing to the
CDC, with a copy to the HHS Office of Inspector General (OIG), all information related to violations of federal
criminal law involving fraud, bribery, or gratuity violations potentially affecting the federal award. Subrecipients
must disclose, in a timely manner in writing to the prime recipient (pass through entity) and the HHS OIG, all
information related to violations of federal criminal law involving fraud, bribery, or gratuity violations potentially
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affecting the federal award. Disclosures must be sent in writing to the CDC and to the HHS OIG at the
following addresses:

CDC, Office of Grants Services
Freda Johnson, Grants Management Officer/Specialist
Centers for Disease Control and Prevention
Infectious Disease Services Branch
2939 Flowers Road, MS TV2
Atlanta, GA 30341
Fax: 770-488-2640 (Include “Mandatory Grant Disclosures” in subject line)
Email: WVE2@CDC.GOV (Include “Mandatory Grant Disclosures” in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts under this
award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR 75.371. Remedies
for noncompliance, including suspension or debarment (See 2 CFR parts 180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of performance due
to material failure to comply with the terms and conditions of this award in the OMB-designated integrity and
performance system accessible through SAM (currently FAPIIS). (45 CFR 75.372(b)) CDC must also notify
the recipient if the federal award is terminated for failure to comply with the federal statutes, regulations, or
terms and conditions of the federal award. (45 CFR 75.373(b))

 PAYMENT INFORMATION

The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-800-447-
8477]) for receiving information concerning fraud, waste, or abuse under grants and cooperative agreements.
Information also may be submitted by e-mail to hhstips@oig.hhs.gov or by mail to Office of the Inspector
General, Department of Health and Human Services, Attn: HOTLINE, 330 Independence Ave., SW, Washington
DC 20201. Such reports are treated as sensitive material and submitters may decline to give their names if they
choose to remain anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities have been
obligated in a newly established subaccount in the PMS, herein identified as the “P Account”. Funds must be
used in support of approved activities in the NOFO and the approved application. All award funds must be
tracked and reported separately.

The grant document number identified on the bottom of Page 1 of the Notice of Award must be known in order
to draw down funds.

Subaccount Title: 19NH23IP922600

 CDC Staff Contacts
Grants Management Specialist: The GMS is the federal staff member responsible for the day-to-day
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management of grants and cooperative agreements. The GMS is the primary contact of recipients for
business and administrative matters pertinent to grant awards.

GMS Contact:
Freda Johnson, Grants Management Specialist
Centers for Disease Control and Prevention
Infectious Disease Services Branch
2939 Flowers Road, MS TV2
Atlanta, GA 30341
Telephone: 770-488-3107
Fax: 770-488-2640
Email: Fjohnson5@cdc.gov

Program/Project Officer: The PO is the federal official responsible for monitoring the programmatic, scientific,
and/or technical aspects of grants and cooperative agreements, as well as contributing to the effort of the
award under cooperative agreements.



Grants Management Officer: The GMO is the federal official responsible for the business and other non-
programmatic aspects of grant awards. The GMO is the only official authorized to obligate federal funds and is
responsible for signing the NOA, including revisions to the NOA that change the terms and conditions. The
GMO serves as the counterpart to the business officer of the recipient organization. GMO contact information
is located on Page 1 of this NOA.
                     Case 1:25-cv-00121-MSM-LDA                                            Document 4-10 Filed 04/01/25                                                                Page 172 of 498
1. DATE ISSUED            MM/DD/YYYY        1a. SUPERSEDES AWARD NOTICE dated 07/10/2020    PageID #: 1259
                                              except that any additions or restrictions previously imposed                      DEPARTMENT OF HEALTH AND HUMAN SERVICES
     09/23/2020
                                              remain in effect unless specifically rescinded
2. CFDA NO.
                                                                                                                                   Centers for Disease Control and Prevention
   93.268 - Immunization Cooperative Agreements                                                                                                          CDC Office of Financial Resources

3. ASSISTANCE TYPE Cooperative Agreement                                                                                                                              2939 Brandywine Road
4. GRANT NO. 6 NH23IP922600-02-02                          5. TYPE OF AWARD                                                                                             Atlanta, GA 30341
    Formerly                                                   Demonstration

4a. FAIN      NH23IP922600                                5a. ACTION TYPE Post Award Amendment
6. PROJECT PERIOD                    MM/DD/YYYY                                        MM/DD/YYYY                                                                NOTICE OF AWARD
                  From               07/01/2019               Through                  06/30/2024                                         AUTHORIZATION (Legislation/Regulations)
7. BUDGET PERIOD                     MM/DD/YYYY                                        MM/DD/YYYY                             Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C.
                  From               07/01/2020               Through                  06/30/2021                                    Sections 247b, 247b(k)(2) and 247c), as amended.
 8. TITLE OF PROJECT (OR PROGRAM)
     CDC-RFA-IP19-1901 Immunization and Vaccines for Children


9a. GRANTEE NAME AND ADDRESS                                                                                      9b. GRANTEE PROJECT DIRECTOR
      PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF                                                              Ms. Lynn Trefren
      4300 E Cherry Creek South Dr                                                                                       4300 CHERRY CREEK SOUTH DR
      Denver, CO 80246-1523                                                                                              DENVER, CO 80246-1523
                                                                                                                         Phone: (303) 692-6242


10a. GRANTEE AUTHORIZING OFFICIAL                                                                                10b. FEDERAL PROJECT OFFICER
      Ms. Joy Moore                                                                                                      Hilary Oliphant
      4300 CHERRY CREEK SOUTH DR                                                                                         4770 Buford Highway
      Colorado Dept of Public Health                                                                                     Chamblee, GA 30341
      DENVER, CO 80246-1523                                                                                              Phone: 770-488-3973
      Phone: 303-692-2966

                                                                                      ALL AMOUNTS ARE SHOWN IN USD
11. APPROVED BUDGET (Excludes Direct Assistance)                                                                12. AWARD COMPUTATION
 I Financial Assistance from the Federal Awarding Agency Only                                                     a. Amount of Federal Financial Assistance (from item 11m)                                                                 9,625,306.00
 II Total project costs including grant funds and all other financial participation                  I            b. Less Unobligated Balance From Prior Budget Periods                                                                        498,373.00
                                                                                                                  c. Less Cumulative Prior Award(s) This Budget Period                                                                      5,856,069.00
     a.      Salaries and Wages           ………………..................                            2,811,412.00
                                                                                                                  d. AMOUNT OF FINANCIAL ASSISTANCE THIS ACTION                                                                            3,270,864.00
     b.      Fringe Benefits              ………………..................                             930,559.00
                                                                                                                 13. Total Federal Funds Awarded to Date for Project Period                                                                17,426,270.00
     c.         Total Personnel Costs                    .…...….……                           3,741,971.00        14. RECOMMENDED FUTURE SUPPORT
                                                                                                                  (Subject to the availability of funds and satisfactory progress of the project):
     d.      Equipment                   …………………………….                                               22,500.00

                                                                                               132,918.00          YEAR                  TOTAL DIRECT COSTS                                YEAR                     TOTAL DIRECT COSTS
     e.     Supplies                     …………………………….
                                                                                                                  a. 3                                                                d. 6
     f.      Travel                      …………………………….                                               93,899.00
                                                                                                                  b. 4                                                                e. 7
     g.      Construction                …………………………….                                                    0.00     c. 5                                                                 f. 8

     h.      Other                       …………………………….                                           292,188.00       15. PROGRAM INCOME SHALL BE USED IN ACCORD WITH ONE OF THE FOLLOWING
                                                                                                                  ALTERNATIVES:

     i.     Contractual                  …………………….………                                         4,196,075.00               a.
                                                                                                                         b.
                                                                                                                                   DEDUCTION
                                                                                                                                   ADDITIONAL COSTS                                                                                        b
                                                                                                                         c.        MATCHING
     j.          TOTAL DIRECT COSTS                                                           8,479,551.00               d.        OTHER RESEARCH (Add / Deduct Option)
                                                                                                                         e.        OTHER (See REMARKS)
     k.      INDIRECT COSTS                                                                   1,145,755.00
                                                                                                                 16. THIS AWARD IS BASED ON AN APPLICATION SUBMITTED TO, AND AS APPROVED BY, THE FEDERAL AWARDING AGENCY
                                                                                                                 ON THE ABOVE TITLED PROJECT AND IS SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY
                                                                                                                 OR BY REFERENCE IN THE FOLLOWING:
     l.      TOTAL APPROVED BUDGET                                                            9,625,306.00
                                                                                                                         a.                                    .
                                                                                                                                   The grant program legislation
                                                                                                                         b.        The grant program regulations.
                                                                                                                         c.        This award notice including terms and conditions, if any, noted below under REMARKS.
     m.      Federal Share                                                                   9,625,306.00                d.        Federal administrative requirements, cost principles and audit requirements applicable to this grant.
                                                                                                                 In the event there are conflicting or otherwise inconsistent policies applicable to the grant, the above order of precedence shall
     n.      Non-Federal Share                                                                           0.00    prevail. Acceptance of the grant terms and conditions is acknowledged by the grantee when funds are drawn or otherwise
                                                                                                                 obtained from the grant payment system.

     REMARKS           (Other Terms and Conditions Attached -                   Yes                               No)
          Supplemental Funding: Financial Assistance in the amount of $3,270,864




          GRANTS MANAGEMENT OFFICIAL:
          Brownie Anderson-Rana, Grants Management Officer
          2939 Flowers Road
          Mailstop TV2
          Atlanta, GA 30341-5509
          Phone: 770-488-2771

17.OBJ CLASS                 41.51           18a. VENDOR CODE             1840644739A4              18b. EIN                  840644739                          19. DUNS                 878208826                   20. CONG. DIST.             01
             FY-ACCOUNT NO.                                  DOCUMENT NO.                                       ADMINISTRATIVE CODE                                       AMT ACTION FIN ASST                                APPROPRIATION
 21. a.               0-9390BKG              b.               19NH23IP922600                        c.                        IP                                 d.                                $105,731.00 e.                    75-75-X-0512-009

 22. a.               0-9390FG3              b.              20NH23IP922600C3                       c.                        IP                                 d.                              $3,165,133.00 e.                          75-2024-0943

 23. a.                                      b.                                                     c.                                                           d.                                                   e.
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 NOTICE OF AWARD (Continuation Sheet)                                                   09/23/2020
                                                              GRANT NO.          6 NH23IP922600-02-02




Direct Assistance
            BUDGET CATEGORIES   PREVIOUS AMOUNT (A)            AMOUNT THIS ACTION (B)           TOTAL (A + B)
Personnel                                             $0.00                        $0.00                        $0.00
Fringe Benefits                                       $0.00                        $0.00                        $0.00
Travel                                                $0.00                        $0.00                        $0.00
Equipment                                             $0.00                        $0.00                        $0.00
Supplies                                              $0.00                        $0.00                        $0.00
Contractual                                           $0.00                        $0.00                        $0.00
Construction                                          $0.00                        $0.00                        $0.00
Other                                                 $0.00                        $0.00                        $0.00
Total                                                 $0.00                        $0.00                        $0.00




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                                                                       PAGE 3 of 3         DATE ISSUED
    NOTICE OF AWARD (Continuation Sheet)                                                   09/23/2020
                                                                       GRANT NO.     6 NH23IP922600-02-02


    Federal Financial Report Cycle
    Reporting Period Start Date   Reporting Period End Date   Reporting Type           Reporting Period Due Date
    07/01/2019                    06/30/2020                  Annual                   09/28/2020
    07/01/2020                    06/30/2021                  Annual                   09/28/2021
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                                  AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NH23IP922600-02-02
1. Revised Terms and Conditions
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 AWARD INFORMATION

Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms and
Conditions for Non-research awards at
https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease Control
and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO) number IP19-
1901, entitled, Immunization and Vaccines for Children, which are hereby made a part of this
Non-research award, hereinafter referred to as the Notice of Award (NoA).


 Supplemental Component Funding: Additional funding in the amount $3,270,864
 is approved for the Year 02 budget period, which is July1, 2020 through June 30,
 2021.

 The NOFO provides for the funding of multiple components under this award. The approved
 component funding levels for this notice of award are:

  NOFO Component                                                        Amount

  COVID-19                                                              $3,165,133

  VFC FA Operations                                                     $105,731


 Recipients have until July 5, 2021 to expend all COVID-19 funds awarded herein

 Overtime: Because overtime costs are a very likely and reasonable expense during the
 response to COVID-19, CDC will allow recipients to include projected overtime in their
 budgets. Recipients should be careful to estimate costs based on current real-time needs and
 will still be required to follow federal rules and regulations in accounting for the employees’
 time and effort.

 Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
 agreement awarded by the Department of Health and Human Services (HHS) with funds made
 available under the Coronavirus Preparedness and Response Supplemental Appropriations
 Act, 2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the
 “CARES Act”) (P.L. 116-136); and/or the Paycheck Protection Program and Health Care
 Enhancement Act (P.L. 116-139) agrees, as applicable to the award, to: 1) comply with existing
 and/or future directives and guidance from the Secretary regarding control of the spread of
 COVID-19; 2) in consultation and coordination with HHS, provide, commensurate with the
 condition of the individual, COVID-19 patient care regardless of the individual’s home
 jurisdiction and/or appropriate public health measures (e.g., social distancing, home isolation);
 and 3) assist the United States Government in the implementation and enforcement of federal
 orders related to quarantine and isolation.

 In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES
 Act, with respect to the reporting to the HHS Secretary of results of tests intended to detect
 SARS– CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in
 accordance with guidance and direction from HHS and/or CDC. HHS laboratory reporting
 guidance is posted at: https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-
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reporting-guidance.pdf.

Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
copies of and/or access to COVID-19 data collected with these funds, including but not limited
to data related to COVID-19 testing. CDC will specify in further guidance and directives what is
encompassed by this requirement.

This award is contingent upon agreement by the recipient to comply with existing and
future guidance from the HHS Secretary regarding control of the spread of COVID-19. In
addition, recipient is expected to flow down these terms to any subaward, to the extent
applicable to activities set out in such subaward.

Unallowable Costs:
   • Research
   • Clinical care
   • Publicity and propaganda (lobbying):
         o Other than for normal and recognized executive-legislative relationships,
             no funds may be used for:
                  publicity or propaganda purposes, for the preparation, distribution, or use of
                     any material designed to support or defeat the enactment of legislation
                     before any legislative body
                  the salary or expenses of any grant or contract recipient, or agent acting
                     for such recipient, related to any activity designed to influence the
                     enactment of legislation, appropriations, regulation, administrative action,
                     or Executive order proposed or pending before any legislative body
         o See Additional Requirement (AR) 12 for detailed guidance on this prohibition
             and additional guidance on lobbying for CDC recipients:
             https://www.cdc.gov/grants/documents/Anti-
             Lobbying_Restrictions_for_CDC_Grantees_July_2012.pdf

   •   All unallowable costs cited in CDC-RFA-CK19-1904 remain in effect, unless specifically
       amended in this guidance, in accordance with 45 CFR Part 75 – Uniform Administrative
       Requirements, Cost Principles, And Audit Requirements for HHS Awards.

COVID-19 and VFC Funding Budget Revision Requirement: The recipient must submit a
revised budget with a narrative justification and workplan within 30 days after the receipt of this
Notice of Award. Failure to submit the required information in a timely manner may adversely
affect the future funding of this project. If the information cannot be provided by the due date,
you are required to contact the GMS/GMO identified in the CDC Staff Contacts section of this
notice before the due date. A separate narrative and workplan must be submitted in
accordance with the COVID-19 guidance and must also be uploaded in GMM as an
amendment with a SF424A.

  REPORTING REQUIREMENTS


Required Disclosures for Federal Awardee Performance and Integrity Information
System (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a
timely manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG),
all information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
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related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
the HHS OIG at the following addresses:

CDC, Office of Grants Services
Wayne Woods, Grants Management Specialist
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road, M/S TV2
Atlanta, GA 30341
Email: kuv1@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures,
Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201
Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line)
or Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and
contracts under this award.
Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in
the OMB-designated integrity and performance system accessible through SAM (currently
FAPIIS). (45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is
terminated for failure to comply with the federal statutes, regulations, or terms and
conditions of the federal award. (45 CFR 75.373(b))

 PAYMENT INFORMATION


The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS
[1- 800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants
and cooperative agreements. Information also may be submitted by e-mail to
hhstips@oig.hhs.gov or by mail to Office of the Inspector General, Department of Health and
Human Services, Attn: HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such
reports are treated as sensitive material and submitters may decline to give their names if they
choose to remain anonymous.

Payment Management System Subaccount: Funds awarded in support of approved
activities have been obligated in a subaccount in the PMS, herein identified as the “P
Account”. Funds must be used in support of approved activities in the NOFO and the
approved application.
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The grant document number identified on the bottom of Page 1 of the Notice of Award must
be known in order to draw down funds.

 Component: CORE
 Document Number: 19NH23IP922600

 Component: COVID-19
 Document Number: 20NH23IP922600C3


 CDC Staff Contacts


Grants Management Specialist:
Wayne Woods, Grants Management Specialist (GMS)
Centers for Disease Control and Prevention
Branch 1
2920 Brandywine Road, M/S TV1
Atlanta, GA 30341
Telephone: 770-488-2948
Email: kuv1@cdc.gov

Stewardship: The recipient must exercise proper stewardship over Federal funds by ensuring
that all costs charged to your cooperative agreement are allowable, allocable, and reasonable
and that they address the highest priority needs as they relate to this program.

All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN     SERVICES
                                               #: 1267         Notice of Award
                                                                                                     Award# 6 NH23IP922600-02-03
                Centers for Disease Control and Prevention
                                                                                                     FAIN# NH23IP922600
                                                                                                     Federal Award Date: 11/25/2020



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                    6 NH23IP922600-02-03
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                     NH23IP922600
   Denver, CO 80246-1523                        13. Statutory Authority
                                                    Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as amen
   [NO DATA]
                                                14. Federal Award Project Title
                                                   CDC-RFA-IP19-1901 Immunization and Vaccines for Children

2. Congressional District of Recipient
    01
3. Payment System Identifier (ID)
    1840644739A4                                15. Assistance Listing Number
4. Employer Identification Number (EIN)             93.268
    840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
    878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                    Budget Revision
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                    No
   Ms. Lynn Trefren
   LYNN.TREFREN@STATE.CO.US                                  Summary Federal Award Financial Information
   (303) 692-6242
                                                19. Budget Period Start Date           07/01/2020 - End Date 06/30/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                        $443.00
   Ms. Joy Moore
                                                    20b. Indirect Cost Amount                                                                     ($443.00)
   Interim Chief Financial Officer
   joy.moore@state.co.us
                                                21. Authorized Carryover                                                                       $498,373.00

   303-692-2966                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                               $9,126,933.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                $9,126,933.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                            $17,426,270.00


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Kathy Raible
 hbo1@cdc.gov
 770-488-3973



30. Remarks
 Revised Budget- Approved




                                                                                                                                             Page 1
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                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN     SERVICES
                                                #: 1268         Notice of Award
                 Centers for Disease Control and Prevention                                     Award# 6 NH23IP922600-02-03
                                                                                                FAIN# NH23IP922600
                                                                                                Federal Award Date: 11/25/2020



Recipient Information                                 33. Approved Budget
                                                      (Excludes Direct Assistance)
Recipient Name                                         I. Financial Assistance from the Federal Awarding Agency Only
                                                       II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                         a. Salaries and Wages                                                    $2,745,689.00
 Denver, CO 80246-1523                                 b. Fringe Benefits                                                       $908,032.00
 [NO DATA]
                                                           c. Total Personnel Costs                                            $3,653,721.00
                                                      d. Equipment                                                               $22,500.00
Congressional District of Recipient
 01                                                    e. Supplies                                                              $132,918.00
Payment Account Number and Type                        f. Travel                                                                 $93,899.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                 $287,775.00
Universal Numbering System (DUNS)
                                                      i. Contractual                                                           $4,289,181.00
 878208826
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                  $8,479,994.00
 Not Available
                                                       k. INDIRECT COSTS                                                      $1,145,312.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $9,625,306.00
 Cooperative Agreement
                                                      m. Federal Share                                                        $9,625,306.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.         DOCUMENT NO.      ADMINISTRATIVE CODE      OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE         APPROPRIATION
    0-9390BKG           19NH23IP922600             IP                  41.51                                      $0.00      75-75-X-0512-009
     0-9390FG3         20NH23IP922600C3            IP                  41.51                                      $0.00        75-2024-0943




                                                                                                                                   Page 2
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                  DEPARTMENT OF HEALTH AND  HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1269
                                                                                             Award# 6 NH23IP922600-02-03
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 11/25/2020




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NH23IP922600-02-03
1. Terms and Conditions
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   ADDITIONAL TERMS AND CONDITIONS

  PURPOSE: The purpose of this amended notice of award is to approve the Budget Revision as
  submitted on November 03, 2020. The activities have been reviewed and found to be
  appropriate and consistent with program objectives. Therefore, the request is incorporated by
  reference.

  These funds have been approved by cost categories as follows:

          Budget Category        Original        Requested        Revised
                                 Awarded         Redirection      Award
                                 Budget

          Salaries and Wages     $2,811,412      -$65,723         $2,745,689
          Fringe Benefits        $930,559        -$22,527         $908,032
          Consultants            $0              $0               $0
          Equipment              $22,500         $0               $22,500
          Supplies               $132,918        $0               $132,918
          Travel                 $93,899         $0               $93,899
          Other                  $292,188        -$4,413          $287,775
          Contractual            $4,196,075      $93,106          $4,289,181
          Total Direct Costs     $8,479,551      $443             $8,479,994

          Indirect costs         $1,145,755      -$443            $1,145,312
          Total Award            $9,625,306      $0               $9,625,306


  All the other terms and conditions issued with the original award remain in effect throughout
  the budget period unless otherwise changed, in writing, by the Grants Management Officer.

  Please be advised that grantee must exercise proper stewardship over Federal funds by ensuring
  that all costs charged to their cooperative agreement are allowable, allocable, necessary and
  reasonable.


  Grants Management Specialist:
  Wayne Woods, Grants Management Specialist (GMS)
  Centers for Disease Control and Prevention
  Branch 1
  2920 Brandywine Road, M/S E-15
  Atlanta, GA 30341
  Telephone: 770-488-2948
  Email: kuv1@cdc.gov


  PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN     SERVICES
                                               #: 1272         Notice of Award
                                                                                                            Award# 6 NH23IP922600-02-04
                Centers for Disease Control and Prevention
                                                                                                            FAIN# NH23IP922600
                                                                                                            Federal Award Date: 12/16/2020



Recipient Information                                                                Federal Award Information
1. Recipient Name                                      11. Award Number
                                                           6 NH23IP922600-02-04
   Colorado Dept of Public Health                      12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                            NH23IP922600
   Denver, CO 80246-1523                               13. Statutory Authority
                                                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as amen
   [NO DATA]
                                                       14. Federal Award Project Title
                                                          CDC-RFA-IP19-1901 Immunization and Vaccines for Children

2. Congressional District of Recipient
    01
3. Payment System Identifier (ID)
    1840644739A4                                       15. Assistance Listing Number
4. Employer Identification Number (EIN)                    93.268
    840644739
                                                       16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)                 Immunization Cooperative Agreements
    878208826
6. Recipient’s Unique Entity Identifier                17. Award Action Type
                                                           Supplement
7. Project Director or Principal Investigator          18. Is the Award R&D?
                                                           No
   Ms. Lynn Trefren
   LYNN.TREFREN@STATE.CO.US                                         Summary Federal Award Financial Information
   (303) 692-6242
                                                       19. Budget Period Start Date           07/01/2020 - End Date 06/30/2021

                                                       20. Total Amount of Federal Funds Obligated by this Action                                   $2,215,322.00
8. Authorized Official
                                                           20a. Direct Cost Amount                                                                  $1,990,231.00
   Ms. Joy Moore
                                                           20b. Indirect Cost Amount                                                                  $225,091.00
   Interim Chief Financial Officer
   joy.moore@state.co.us
                                                       21. Authorized Carryover                                                                       $498,373.00

   303-692-2966                                        22. Offset                                                                                            $0.00
                                                       23. Total Amount of Federal Funds Obligated this budget period                               $9,126,933.00
Federal Agency Information
                                                       24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                       25. Total Federal and Non-Federal Approved this Budget Period                               $11,342,255.00
9. Awarding Agency Contact Information
                                                       26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                          27. Total Amount of the Federal Award including Approved
 770-488-2948                                              Cost Sharing or Matching this Project Period                                            $19,641,592.00


                                                       28. Authorized Treatment of Program Income
10.Program Official Contact Information                     ADDITIONAL COSTS
 Hilary Oliphant
                                                       29. Grants Management Officer – Signature
 Public Health Advisor
                                                            Freda Johnson
 hbo1@cdc.gov
 770-488-3973



30. Remarks
 Supplemental Funding in the Amount of $2,215,322.00




                                                                                                                                                    Page 1
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                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN     SERVICES
                                                #: 1273         Notice of Award
                 Centers for Disease Control and Prevention                                     Award# 6 NH23IP922600-02-04
                                                                                                FAIN# NH23IP922600
                                                                                                Federal Award Date: 12/16/2020



Recipient Information                                 33. Approved Budget
                                                      (Excludes Direct Assistance)
Recipient Name                                         I. Financial Assistance from the Federal Awarding Agency Only
                                                       II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                         a. Salaries and Wages                                                    $3,228,417.00
 Denver, CO 80246-1523                                 b. Fringe Benefits                                                      $1,067,332.00
 [NO DATA]
                                                           c. Total Personnel Costs                                            $4,295,749.00
                                                      d. Equipment                                                                $22,500.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $132,918.00
Payment Account Number and Type                        f. Travel                                                                  $93,899.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                  $351,978.00
Universal Numbering System (DUNS)
                                                      i. Contractual                                                           $5,573,181.00
 878208826
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                  $10,470,225.00
 Not Available
                                                       k. INDIRECT COSTS                                                       $1,370,403.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $11,840,628.00
 Cooperative Agreement
                                                      m. Federal Share                                                        $11,840,628.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.         DOCUMENT NO.      ADMINISTRATIVE CODE      OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE          APPROPRIATION
     1-9390FG3         20NH23IP922600C3            IP                  41.51                                 $2,215,322.00     75-2024-0943




                                                                                                                                    Page 2
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                  DEPARTMENT OF HEALTH AND  HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1274
                                                                                             Award# 6 NH23IP922600-02-04
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 12/16/2020




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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        DEPARTMENT OF HEALTH AND  HUMAN
                               PageID      SERVICES Notice of Award
                                      #: 1275
                                                                               Award# 6 NH23IP922600-02-04
        Centers for Disease Control and Prevention
                                                                               FAIN# NH23IP922600
                                                                               Federal Award Date: 12/16/2020



    35. Terms And Conditions
‍
    Federal Financial Report Cycle
    Reporting Period Start Date   Reporting Period End Date   Reporting Type   Reporting Period Due Date
    07/01/2019                    06/30/2020                  Annual           09/28/2020
    07/01/2020                    06/30/2021                  Annual           09/28/2021
‍




                                                                                                                Page 4
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                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NH23IP922600-02-04
1. Terms and Conditions
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 AWARD INFORMATION

Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms and
Conditions for Non-research awards at
https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease Control
and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO) number IP19-
1901, entitled, Immunization and Vaccines for Children, which are hereby made a part of this
Non-research award, hereinafter referred to as the Notice of Award (NoA).


 Supplemental Component Funding: Additional funding in the amount $2,215,322 is
 approved for the Year 02 budget period, which is July 1, 2020 through June 30, 2021.

 The NOFO provides for the funding of multiple components under this award. The approved
 component funding levels for this notice of award are:

  NOFO Component                                                         Amount

  COVID-19                                                               $2,215,322


 Recipients have until June 30, 2022 to expend all COVID-19 funds awarded in Year 2

 Overtime: Because overtime costs are a very likely and reasonable expense during the
 response to COVID-19, CDC will allow recipients to include projected overtime in their
 budgets. Recipients should be careful to estimate costs based on current real-time needs and
 will still be required to follow federal rules and regulations in accounting for the employees’
 time and effort.

 Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
 agreement awarded by the Department of Health and Human Services (HHS) with funds made
 available under the Coronavirus Preparedness and Response Supplemental Appropriations
 Act, 2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the
 “CARES Act”) (P.L. 116-136); and/or the Paycheck Protection Program and Health Care
 Enhancement Act (P.L. 116-139) agrees, as applicable to the award, to: 1) comply with existing
 and/or future directives and guidance from the Secretary regarding control of the spread of
 COVID-19; 2) in consultation and coordination with HHS, provide, commensurate with the
 condition of the individual, COVID-19 patient care regardless of the individual’s home
 jurisdiction and/or appropriate public health measures (e.g., social distancing, home isolation);
 and 3) assist the United States Government in the implementation and enforcement of federal
 orders related to quarantine and isolation.

 In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES
 Act, with respect to the reporting to the HHS Secretary of results of tests intended to detect
 SARS– CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in
 accordance with guidance and direction from HHS and/or CDC. HHS laboratory reporting
 guidance is posted at: https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-
 reporting-guidance.pdf.

 Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
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purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
copies of and/or access to COVID-19 data collected with these funds, including but not limited
to data related to COVID-19 testing. CDC will specify in further guidance and directives what
is encompassed by this requirement.

This award is contingent upon agreement by the recipient to comply with existing and
future guidance from the HHS Secretary regarding control of the spread of COVID-19. In
addition, recipient is expected to flow down these terms to any subaward, to the extent
applicable to activities set out in such subaward.

Unallowable Costs:
   • Research
   • Clinical care
   • Publicity and propaganda (lobbying):
         o Other than for normal and recognized executive-legislative relationships,
             no funds may be used for:
                  publicity or propaganda purposes, for the preparation, distribution, or use
                     of any material designed to support or defeat the enactment of legislation
                     before any legislative body
                  the salary or expenses of any grant or contract recipient, or agent acting
                     for such recipient, related to any activity designed to influence the
                     enactment of legislation, appropriations, regulation, administrative
                     action, or Executive order proposed or pending before any legislative
                     body
         o See Additional Requirement (AR) 12 for detailed guidance on this prohibition
             and additional guidance on lobbying for CDC recipients:
             https://www.cdc.gov/grants/documents/Anti-
             Lobbying_Restrictions_for_CDC_Grantees_July_2012.pdf

   •   All unallowable costs cited in CDC-RFA-IP19-1901 remain in effect, unless specifically
       amended in this guidance, in accordance with 45 CFR Part 75 – Uniform Administrative
       Requirements, Cost Principles, And Audit Requirements for HHS Awards.


ADMINISTRATIVE REQUIREMENTS

The recipient must respond to the comments in the technical review and/or OGS Budget
Comments in accordance with the recommendations provided in GrantSolutions as a Grant
Note within 45 days of receipt of the Notice of Award. If the information cannot be provided by
the due date, you are required to contact the GMS/GMO identified in the Awarding Agency
Contact Information section on the first page before the due date.

Required Disclosures for Federal Awardee Performance and Integrity Information
System (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a
timely manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG),
all information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
the HHS OIG at the following addresses:
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CDC, Office of Grants Services

Wayne Woods, Grants Management Specialist (GMS)
Centers for Disease Control and Prevention
Branch 1
2920 Brandywine Road, M/S E-15
Atlanta, GA 30341
Telephone: 770-488-2948
Email: kuv1@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures,
Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201
Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line)
or Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and
contracts under this award.
Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in
the OMB-designated integrity and performance system accessible through SAM (currently
FAPIIS). (45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is
terminated for failure to comply with the federal statutes, regulations, or terms and conditions
of the federal award. (45 CFR 75.373(b))

PAYMENT INFORMATION


The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS
[1- 800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants
and cooperative agreements. Information also may be submitted by e-mail to
hhstips@oig.hhs.gov or by mail to Office of the Inspector General, Department of Health and
Human Services, Attn: HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such
reports are treated as sensitive material and submitters may decline to give their names if they
choose to remain anonymous.

Payment Management System Subaccount: Funds awarded in support of approved
activities have been obligated in a subaccount in the PMS, herein identified as the “P
Account”. Funds must be used in support of approved activities in the NOFO and the
approved application.

The grant document number identified on the bottom of Page 1 of the Notice of Award must
be known in order to draw down funds.
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Stewardship: The recipient must exercise proper stewardship over Federal funds by
ensuring that all costs charged to your cooperative agreement are allowable, allocable,
and reasonable and that they address the highest priority needs as they relate to this
program.

All the other terms and conditions issued with the original award remain in effect
throughout the budget period unless otherwise changed, in writing, by the Grants
Management Officer.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN     SERVICES
                                               #: 1281         Notice of Award
                                                                                                     Award# 6 NH23IP922600-02-05
                Centers for Disease Control and Prevention
                                                                                                     FAIN# NH23IP922600
                                                                                                     Federal Award Date: 01/15/2021



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                    6 NH23IP922600-02-05
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                     NH23IP922600
   Denver, CO 80246-1523                        13. Statutory Authority
                                                    Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]
                                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
    01
3. Payment System Identifier (ID)
    1840644739A4                                15. Assistance Listing Number
4. Employer Identification Number (EIN)             93.268
    840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
    878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                    Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                    No
   Ms. Lynn Trefren
   LYNN.TREFREN@STATE.CO.US                                  Summary Federal Award Financial Information
   (303) 692-6242
                                                19. Budget Period Start Date           07/01/2020 - End Date 06/30/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                   $52,035,091.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                  $52,035,091.00
   Ms. Joy Moore
                                                    20b. Indirect Cost Amount                                                                          $0.00
   Interim Chief Financial Officer
   joy.moore@state.co.us
                                                21. Authorized Carryover                                                                        $498,373.00

   303-692-2966                                 22. Offset                                                                                             $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                               $11,342,255.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                          $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                $63,377,346.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                             $71,676,683.00


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Freda Johnson
 hbo1@cdc.gov
 770-488-3973



30. Remarks




                                                                                                                                              Page 1
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                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN     SERVICES
                                                #: 1282         Notice of Award
                 Centers for Disease Control and Prevention                                     Award# 6 NH23IP922600-02-05
                                                                                                FAIN# NH23IP922600
                                                                                                Federal Award Date: 01/15/2021



Recipient Information                                 33. Approved Budget
                                                      (Excludes Direct Assistance)
Recipient Name                                         I. Financial Assistance from the Federal Awarding Agency Only
                                                       II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                         a. Salaries and Wages                                                    $3,228,417.00
 Denver, CO 80246-1523                                 b. Fringe Benefits                                                      $1,067,332.00
 [NO DATA]
                                                           c. Total Personnel Costs                                            $4,295,749.00
                                                      d. Equipment                                                                $22,500.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $132,918.00
Payment Account Number and Type                        f. Travel                                                                  $93,899.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                               $52,387,069.00
Universal Numbering System (DUNS)
                                                      i. Contractual                                                           $5,573,181.00
 878208826
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                  $62,505,316.00
 Not Available
                                                       k. INDIRECT COSTS                                                       $1,370,403.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $63,875,719.00
 Cooperative Agreement
                                                      m. Federal Share                                                        $63,875,719.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.         DOCUMENT NO.      ADMINISTRATIVE CODE      OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE          APPROPRIATION
    1-9390GKL          20NH23IP922600C5            IP                  41.51                                $52,035,091.00     75-2124-0943




                                                                                                                                    Page 2
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                  DEPARTMENT OF HEALTH AND  HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1283
                                                                                             Award# 6 NH23IP922600-02-05
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 01/15/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                      PageID #: 1284
                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NH23IP922600-02-05
1. Terms and Conditions
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 AWARD INFORMATION

Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms and
Conditions for Non-research awards at
https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease Control
and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO) number IP19-
1901, entitled, Immunization and Vaccines for Children, which are hereby made a part of this
Non-research award, hereinafter referred to as the Notice of Award (NoA).


 Supplemental Component Funding: Additional funding in the amount $52,035,091 is
 approved for the Year 02 budget period, which is July 1, 2020 through June 30, 2021.

 The NOFO provides for the funding of multiple components under this award. The approved
 component funding levels for this notice of award are:

  NOFO Component                                                         Amount

  COVID-19                                                               $52,035,091



 Recipients have until June 30, 2024 to expend all COVID-19 funds herein and previously
 funded.

 Overtime: Because overtime costs are a very likely and reasonable expense during the
 response to COVID-19, CDC will allow recipients to include projected overtime in their
 budgets. Recipients should be careful to estimate costs based on current real-time needs and
 will still be required to follow federal rules and regulations in accounting for the employees’
 time and effort.

 Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
 agreement awarded by the Department of Health and Human Services (HHS) with funds made
 available under the Coronavirus Preparedness and Response Supplemental Appropriations Act,
 2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the “CARES
 Act”) (P.L. 116-136); the Paycheck Protection Program and Health Care Enhancement Act (P.L.
 116-139); and/or the Consolidated Appropriations Act, 2021, Division M – Coronavirus
 Response and Relief Supplemental Appropriations Act, 2021 (P.L. 116-266), agrees, as
 applicable to the award, to: 1) comply with existing and/or future directives and guidance from
 the Secretary regarding control of the spread of COVID-19; 2) in consultation and coordination
 with HHS, provide, commensurate with the condition of the individual, COVID-19 patient care
 regardless of the individual’s home jurisdiction and/or appropriate public health measures (e.g.,
 social distancing, home isolation); and 3) assist the United States Government in the
 implementation and enforcement of federal orders related to quarantine and isolation.

 In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES Act,
 with respect to the reporting to the HHS Secretary of results of tests intended to detect SARS–
 CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in accordance with
 guidance and direction from HHS and/or CDC. HHS laboratory reporting guidance is posted at:
 https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-guidance.pdf.

 Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
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purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
copies of and/or access to COVID-19 data collected with these funds, including but not limited to
data related to COVID-19 testing. CDC will specify in further guidance and directives what is
encompassed by this requirement.


Unallowable Costs:
   • Research
   • Clinical care
   • Publicity and propaganda (lobbying):
        o Other than for normal and recognized executive-legislative relationships, no
            funds may be used for:
                ▪ publicity or propaganda purposes, for the preparation, distribution, or use
                    of any material designed to support or defeat the enactment of legislation
                    before any legislative body
                ▪ the salary or expenses of any grant or contract recipient, or agent acting
                    for such recipient, related to any activity designed to influence the
                    enactment of legislation, appropriations, regulation, administrative action,
                    or Executive order proposed or pending before any legislative body
        o See Additional Requirement (AR) 12 for detailed guidance on this prohibition and
            additional guidance on lobbying for CDC recipients:
            https://www.cdc.gov/grants/documents/Anti-
            Lobbying_Restrictions_for_CDC_Grantees_July_2012.pdf

   •   All unallowable costs cited in CDC-RFA-IP19-1901 remain in effect, unless specifically
       amended in this guidance, in accordance with 45 CFR Part 75 – Uniform Administrative
       Requirements, Cost Principles, And Audit Requirements for HHS Awards.

COVID-19 Funding Budget Revision Requirement: The recipient must submit a revised
budget with a narrative justification within 45 days of receipt of the Notice of Award. Failure to
submit the required information in a timely manner may adversely affect the future funding of
this project. If the information cannot be provided by the due date, you are required to
contact the GMS/GMO identified in the Awarding Agency Contact Information section on the
first page before the due date.

ADMINISTRATIVE REQUIREMENTS
The recipient must respond to the comments in the technical review and/or OGS Budget
Comments in accordance with the recommendations provided in GrantSolutions as a Grant
Note within 45 days of receipt of the Notice of Award. If the information cannot be provided by
the due date, you are required to contact the GMS/GMO identified in the Awarding Agency
Contact Information section on the first page before the due date.

REPORTING REQUIREMENTS
Required Disclosures for Federal Awardee Performance and Integrity Information
System (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a
timely manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG),
all information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
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the HHS OIG at the following addresses:

CDC, Office of Grants Services
Wayne Woods, Grants Management Specialist
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road, MS-TV-2
Atlanta, GA 30341
Email: kuv1@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures,
Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201
Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line)
or Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and
contracts under this award.
Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in
the OMB-designated integrity and performance system accessible through SAM (currently
FAPIIS). (45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is
terminated for failure to comply with the federal statutes, regulations, or terms and conditions
of the federal award. (45 CFR 75.373(b))

PAYMENT INFORMATION


The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS
[1- 800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants
and cooperative agreements. Information also may be submitted by e-mail to
hhstips@oig.hhs.gov or by mail to Office of the Inspector General, Department of Health and
Human Services, Attn: HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such
reports are treated as sensitive material and submitters may decline to give their names if they
choose to remain anonymous.

Payment Management System Subaccount: Funds awarded in support of approved
activities have been obligated in a subaccount in the PMS, herein identified as the “P
Account”. Funds must be used in support of approved activities in the NOFO and the
approved application.

The grant document number identified on the bottom of Page 1 of the Notice of Award must
be known in order to draw down funds.
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Stewardship: The recipient must exercise proper stewardship over Federal funds by
ensuring that all costs charged to your cooperative agreement are allowable, allocable,
and reasonable and that they address the highest priority needs as they relate to this
program.

All the other terms and conditions issued with the original award remain in effect
throughout the budget period unless otherwise changed, in writing, by the Grants
Management Officer.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN     SERVICES
                                               #: 1289         Notice of Award
                                                                                                     Award# 6 NH23IP922600-02-06
                Centers for Disease Control and Prevention
                                                                                                     FAIN# NH23IP922600
                                                                                                     Federal Award Date: 01/19/2021



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                    6 NH23IP922600-02-06
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                     NH23IP922600
   Denver, CO 80246-1523                        13. Statutory Authority
                                                    Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]
                                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
    01
3. Payment System Identifier (ID)
    1840644739A4                                15. Assistance Listing Number
4. Employer Identification Number (EIN)             93.268
    840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
    878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                    PD/PI Key Personnel
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                    No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2020 - End Date 06/30/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                             $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                   ($498,373.00)
   Ms. Joy Moore
                                                    20b. Indirect Cost Amount                                                                          $0.00
   Interim Chief Financial Officer
   joy.moore@state.co.us
                                                21. Authorized Carryover                                                                               $0.00

   303-692-2966                                 22. Offset                                                                                             $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                               $63,377,346.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                          $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                $63,377,346.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                             $71,676,683.00


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Freda Johnson
 hbo1@cdc.gov
 770-488-3973



30. Remarks
 Change of Key Personnel- Approved




                                                                                                                                              Page 1
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                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN     SERVICES
                                                #: 1290         Notice of Award
                 Centers for Disease Control and Prevention                                     Award# 6 NH23IP922600-02-06
                                                                                                FAIN# NH23IP922600
                                                                                                Federal Award Date: 01/19/2021



Recipient Information                                 33. Approved Budget
                                                      (Excludes Direct Assistance)
Recipient Name                                         I. Financial Assistance from the Federal Awarding Agency Only
                                                       II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                         a. Salaries and Wages                                                    $3,228,417.00
 Denver, CO 80246-1523                                 b. Fringe Benefits                                                      $1,067,332.00
 [NO DATA]
                                                           c. Total Personnel Costs                                            $4,295,749.00
                                                      d. Equipment                                                               $22,500.00
Congressional District of Recipient
 01                                                    e. Supplies                                                              $132,918.00
Payment Account Number and Type                        f. Travel                                                                 $93,899.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                $0.00
 840644739                                             h. Other                                                               $52,387,069.00
Universal Numbering System (DUNS)
                                                      i. Contractual                                                           $5,074,808.00
 878208826
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                 $62,006,943.00
 Not Available
                                                       k. INDIRECT COSTS                                                      $1,370,403.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                              $63,377,346.00
 Cooperative Agreement
                                                      m. Federal Share                                                       $63,377,346.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.         DOCUMENT NO.      ADMINISTRATIVE CODE      OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE         APPROPRIATION
    1-9390GKL          20NH23IP922600C5            IP                  41.51                                      $0.00       75-2124-0943




                                                                                                                                   Page 2
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                  DEPARTMENT OF HEALTH AND  HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1291
                                                                                             Award# 6 NH23IP922600-02-06
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 01/19/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NH23IP922600-02-06
1. Terms and Conditions
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   ADDITIONAL TERMS AND CONDITIONS


  Key Personnel: The purpose of this amendment is to approve the Project
  Director/Principle Investigator, change from previously listed Lynn Trefren to
  Heather Roth. This is in response to the request submitted by your organization dated
  December 16, 2020.


  All the other terms and conditions issued with the original award remain in effect
  throughout the budget period unless otherwise changed, in writing, by the Grants
  Management Officer.


  Please be advised that the recipient must exercise proper stewardship over Federal
  funds by ensuring that all costs charged to their cooperative agreement are allowable,
  allocable, necessary and reasonable.




  Grants Management Specialist Contact:
  Wayne Woods, Grants Management Specialist (GMS)
  Centers for Disease Control and Prevention
  Branch 1
  2920 Brandywine Road, M/S E-15
  Atlanta, GA 30341
  Telephone: 770-488-2948
  Email: kuv1@cdc.gov




  PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN     SERVICES
                                               #: 1294         Notice of Award
                                                                                                     Award# 6 NH23IP922600-02-07
                Centers for Disease Control and Prevention
                                                                                                     FAIN# NH23IP922600
                                                                                                     Federal Award Date: 03/18/2021



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                    6 NH23IP922600-02-07
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                     NH23IP922600
   Denver, CO 80246-1523                        13. Statutory Authority
                                                    Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]
                                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
    01
3. Payment System Identifier (ID)
    1840644739A4                                15. Assistance Listing Number
4. Employer Identification Number (EIN)             93.268
    840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
    878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                    Budget Revision
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                    No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2020 - End Date 06/30/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                             $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                  ($5,998,073.00)
   Ms. Joy Moore
                                                    20b. Indirect Cost Amount                                                                 $5,998,073.00
   Interim Chief Financial Officer
   joy.moore@state.co.us
                                                21. Authorized Carryover                                                                               $0.00

   303-692-2966                                 22. Offset                                                                                             $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                               $63,377,346.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                          $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                $63,377,346.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                             $71,676,683.00


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Freda Johnson
 hbo1@cdc.gov
 770-488-3973



30. Remarks




                                                                                                                                              Page 1
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                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN     SERVICES
                                                #: 1295         Notice of Award
                 Centers for Disease Control and Prevention                                     Award# 6 NH23IP922600-02-07
                                                                                                FAIN# NH23IP922600
                                                                                                Federal Award Date: 03/18/2021



Recipient Information                                 33. Approved Budget
                                                      (Excludes Direct Assistance)
Recipient Name                                         I. Financial Assistance from the Federal Awarding Agency Only
                                                       II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                         a. Salaries and Wages                                                   $14,284,608.00
 Denver, CO 80246-1523                                 b. Fringe Benefits                                                      $4,715,875.00
 [NO DATA]
                                                           c. Total Personnel Costs                                           $19,000,483.00
                                                      d. Equipment                                                               $35,429.00
Congressional District of Recipient
 01                                                    e. Supplies                                                              $249,369.00
Payment Account Number and Type                        f. Travel                                                                 $93,899.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                $0.00
 840644739                                             h. Other                                                                $1,043,221.00
Universal Numbering System (DUNS)
                                                      i. Contractual                                                          $35,586,469.00
 878208826
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                 $56,008,870.00
 Not Available
                                                       k. INDIRECT COSTS                                                      $7,368,476.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                              $63,377,346.00
 Cooperative Agreement
                                                      m. Federal Share                                                       $63,377,346.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.         DOCUMENT NO.      ADMINISTRATIVE CODE      OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE         APPROPRIATION
    1-9390GKL          20NH23IP922600C5            IP                  41.51                                      $0.00       75-2124-0943




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                  DEPARTMENT OF HEALTH AND  HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1296
                                                                                             Award# 6 NH23IP922600-02-07
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 03/18/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NH23IP922600-02-07
1. Terms and Conditions
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   ADDITIONAL TERMS AND CONDITIONS

  Revised Budget: The purpose of this amended Notice of Award is to approve the revised
  budget submitted by your organization dated March 12, 2021. Funds have been distributed as
  indicated in the approved budget of this Notice of Award.

  All the other terms and conditions issued with the original award remain in effect throughout
  the budget period unless otherwise changed, in writing, by the Grants Management Officer.

  Please be advised that grantee must exercise proper stewardship over Federal funds by ensuring
  that all costs charged to their cooperative agreement are allowable, allocable, necessary, and
  reasonable.

  PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN     SERVICES
                                               #: 1299         Notice of Award
                                                                                                                    Award# 6 NH23IP922600-02-08
                Centers for Disease Control and Prevention
                                                                                                                    FAIN# NH23IP922600
                                                                                                                    Federal Award Date: 03/31/2021



Recipient Information                                                                         Federal Award Information
1. Recipient Name                                             11. Award Number
                                                                   6 NH23IP922600-02-08
   Colorado Dept of Public Health                             12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                                    NH23IP922600
   Denver, CO 80246-1523                                      13. Statutory Authority
                                                                   Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]
                                                                   amended.
                                                              14. Federal Award Project Title
2. Congressional District of Recipient                             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
    01
3. Payment System Identifier (ID)
    1840644739A4                                              15. Assistance Listing Number
4. Employer Identification Number (EIN)                            93.268
    840644739
                                                              16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)                          Immunization Cooperative Agreements
    878208826
6. Recipient’s Unique Entity Identifier                       17. Award Action Type
                                                                   Supplement
7. Project Director or Principal Investigator                 18. Is the Award R&D?
                                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                                 Summary Federal Award Financial Information
   303-692-2289
                                                              19. Budget Period Start Date             07/01/2020 - End Date 06/30/2021

                                                              20. Total Amount of Federal Funds Obligated by this Action                                    $52,035,091.00
8. Authorized Official
                                                                  20a. Direct Cost Amount                                                                   $52,035,091.00
   Ms. Joy Moore
                                                                   20b. Indirect Cost Amount                                                                          $0.00
   Interim Chief Financial Officer
   joy.moore@state.co.us
                                                              21. Authorized Carryover                                                                                $0.00

   303-692-2966                                               22. Offset                                                                                              $0.00
                                                              23. Total Amount of Federal Funds Obligated this budget period                                $63,377,346.00
Federal Agency Information
                                                              24. Total Approved Cost Sharing or Matching, where applicable                                           $0.00
 CDC Office of Financial Resources
                                                              25. Total Federal and Non-Federal Approved this Budget Period                                $115,412,437.00
9. Awarding Agency Contact Information
                                                              26. Project Period Start Date            07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                                 27. Total Amount of the Federal Award including Approved
 770-488-2948                                                     Cost Sharing or Matching this Project Period                                             $123,711,774.00


                                                              28. Authorized Treatment of Program Income
10.Program Official Contact Information                              ADDITIONAL COSTS
 Hilary Oliphant
                                                              29. Grants Management Officer – Signature
 Public Health Advisor
                                                                    Freda Johnson
 hbo1@cdc.gov
 770-488-3973



30. Remarks
 This funding is related to the activities under COVID-19 Vaccination Supplement 4 (April 2021)




                                                                                                                                                              Page 1
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                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN     SERVICES
                                                #: 1300         Notice of Award
                 Centers for Disease Control and Prevention                                     Award# 6 NH23IP922600-02-08
                                                                                                FAIN# NH23IP922600
                                                                                                Federal Award Date: 03/31/2021



Recipient Information                                 33. Approved Budget
                                                      (Excludes Direct Assistance)
Recipient Name                                         I. Financial Assistance from the Federal Awarding Agency Only
                                                       II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                         a. Salaries and Wages                                                   $14,284,608.00
 Denver, CO 80246-1523                                 b. Fringe Benefits                                                      $4,715,875.00
 [NO DATA]
                                                           c. Total Personnel Costs                                           $19,000,483.00
                                                      d. Equipment                                                                $35,429.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $249,369.00
Payment Account Number and Type                        f. Travel                                                                  $93,899.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                               $53,078,312.00
Universal Numbering System (DUNS)
                                                      i. Contractual                                                          $35,586,469.00
 878208826
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                 $108,043,961.00
 Not Available
                                                       k. INDIRECT COSTS                                                       $7,368,476.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                              $115,412,437.00
 Cooperative Agreement
                                                      m. Federal Share                                                       $115,412,437.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.         DOCUMENT NO.      ADMINISTRATIVE CODE      OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE          APPROPRIATION
    1-9390GKL          20NH23IP922600C5            IP                  41.51                                $22,375,089.00     75-2124-0943
    1-9390GWA          20NH23IP922600C6            IP                  41.51                                $29,660,002.00      75-X-0943




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                  DEPARTMENT OF HEALTH AND  HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1301
                                                                                             Award# 6 NH23IP922600-02-08
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 03/31/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NH23IP922600-02-08
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA           Document 4-10 Filed 04/01/25            Page 216 of 498
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  ADDITIONAL TERMS AND CONDITIONS OF AWARD
 Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
 and Conditions for Non-research awards at
 https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease
 Control and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO)
 number IP19- 1901, entitled, Immunization and Vaccines for Children, which are hereby
 made a part of this Non-research award, hereinafter referred to as the Notice of Award
 (NoA).


 Supplemental Component Funding: Additional funding in the amount $52,035,091 is
 approved for the Year 02 budget period, which is July 1, 2020 through June 30, 2021.

 Recipients have until June 30, 2024 to expend all COVID-19 funds herein and
 previously funded,

 Overtime: Because overtime costs are a very likely and reasonable expense during the
 response to COVID-19, CDC will allow recipients to include projected overtime in their
 budgets. Recipients should be careful to estimate costs based on current real-time needs
 and will still be required to follow federal rules and regulations in accounting for the
 employees' time and effort.

 Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
 agreement awarded by the Department of Health and Human Services (HHS) with funds
 made available under the Coronavirus Preparedness and Response Supplemental
 Appropriations Act, 2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security
 Act, 2020 (the "CARES Act") (P.L. 116-136); the Paycheck Protection Program and Health
 Care Enhancement Act (P.L. 116-139); and/or the Consolidated Appropriations Act, 2021,
 Division M - Coronavirus Response and Relief Supplemental Appropriations Act, 2021 (P.L.
 116-260), the American Rescue Plan Act of 2021 (P.L. 117-2) agrees, as applicable to the
 award, to: 1) comply with existing and/or future directives and guidance from the Secretary
 regarding control of the spread of COVID-19; 2) in consultation and coordination with HHS,
 provide, commensurate with the condition of the individual, COVID-19 patient care regardless
 of the individual's home jurisdiction and/or appropriate public health measures (e.g., social
 distancing, home isolation); and 3) assist the United States Government in the
 implementation and enforcement of federal orders related to quarantine and isolation.

 In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES
 Act, with respect to the reporting to the HHS Secretary of results of tests intended to detect
 SARS- CoV-2 or to diagnose a possible case of COVID-19. Such reporting shall be in
 accordance with guidance and direction from HHS and/or CDC. HHS laboratory reporting
 guidance is posted at: https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-
 reporting-guidance.pdf.

 Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
 purpose of this award, and the underlying funding, the recipient is expected to provide to
 CDC copies of and/or access to COVID-19 data collected with these funds, including but not
 limited to data related to COVID-19 testing. CDC will specify in further guidance and
 directives what is encompassed by this requirement.
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 Unallowable Costs:
    • Research
   • Clinical care
    • Publicity and propaganda (lobbying):
         o Other than for normal and recognized executive-legislative relationships, no
            funds may be used for:
                 • publicity or propaganda purposes, for the preparation, distribution, or use
                    of any material designed to support or defeat the enactment of legislation
                    before any legislative body
                 • the salary or expenses of any grant or contract recipient, or agent acting
                    for such recipient, related to any activity designed to influence the
                    enactment of legislation, appropriations, regulation, administrative
                    action, or Executive order proposed or pending before any legislative
                    body
         o See Additional Requirement (AR) 12 for detailed guidance on this prohibition
            and additional guidance on lobbying for CDC recipients:
            https://www.cdc.gov/grants/documents/Anti-
            Lobbying_Restrictions_for_CDC_Grantees_July_2012.pdf

    •   All unallowable costs cited in CDC-RFA-IP19-1901 remain in effect, unless specifically
        amended in this guidance, in accordance with 45 CFR Part 75 - Uniform Administrative
        Requirements, Cost Principles, And Audit Requirements for HHS Awards.

 COVID-19 Funding Budget Revision Requirement: The recipient must submit a revised
 budget with a narrative justification within 60 days of receipt of the Notice of Award. If the
 date falls on a weekend or holiday, the submission will be due the following business day.
 Failure to submit the required information in a timely manner may adversely affect the future
 funding of this project. If the information cannot be provided by the due date, you are
 required to contact the GMS/GMO identified in the Awarding Agency Contact Information
 section on the first page before the due date.

  REPORTING REQUIREMENTS


 Required Disclosures for Federal Awardee Performance and Integrity Information
 System (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in
 a timely manner, in writing to the CDC, with a copy to the HHS Office of Inspector General
 (OIG), all information related to violations of federal criminal law involving fraud, bribery, or
 gratuity violations potentially affecting the federal award. Subrecipients must disclose, in a
 timely manner in writing to the prime recipient (pass through entity) and the HHS OIG, all
 information related to violations of federal criminal law involving fraud, bribery, or gratuity
 violations potentially affecting the federal award. Disclosures must be sent in writing to the
 CDC and to the HHS OIG at the following addresses:

 CDC, Office of Grants Services
 Wayne Woods, Grants Management Specialist Centers for Disease Control and Prevention
 Branch 1
 2939 Flowers Road, MS-TV-2 Atlanta, GA 30341
 Email: kuv1@cdc.gov (Include "Mandatory Grant Disclosures" in subject line)

 AND
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 U.S. Department of Health and Human Services Office of the Inspector General
 ATTN: Mandatory Grant Disclosures, Intake Coordinator 3301Independence Avenue, SW
 Cohen Building, Room 5527 Washington, DC 20201
 Fax: (202)-205-0604 (Include "Mandatory Grant Disclosures" in subject line) or Email:
 MandatoryGranteeDisclosures@oig.hhs.gov

 Recipients must include this mandatory disclosure requirement in all subawards and
 contracts under this award.
 Failure to make required disclosures can result in any of the remedies described in 45 CFR
 75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
 180 and 376, and 31 U.S.C. 3321).

 CDC is required to report any termination of a federal award prior to the end of the period of
 performance due to material failure to comply with the terms and conditions of this award in
 the OMB-designated integrity and performance system accessible through SAM (currently
 FAPIIS). (45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is
 terminated for failure to comply with the federal statutes, regulations, or terms and conditions
 of the federal award. (45 CFR 75.373(b))

    PAYMENT INFORMATION

 The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-
 TIPS [1- 800-447-8477]) for receiving information concerning fraud, waste, or abuse under
 grants and cooperative agreements. Information also may be submitted by e-mail to
 hhstips@oig.hhs.gov or by mail to Office of the Inspector General, Department of Health and
 Human Services, Attn: HOTLINE, 330 Independence Ave., SW, Washington DC 20201.
 Such reports are treated as sensitive material and submitters may decline to give their
 names if they choose to remain anonymous.

 Payment Management System Subaccount: Funds awarded in support of approved
 activities have been obligated in a subaccount in the PMS, herein identified as the "P
 Account". Funds must be used in support of approved activities in the NOFO and the
 approved application.

 The grant document number identified on the bottom of Page 2 of the Notice of Award must
 be known to draw down funds.

 Stewardship: The recipient must exercise proper stewardship over Federal funds by
 ensuring that all costs charged to your cooperative agreement are allowable, allocable, and
 reasonable and that they address the highest priority needs as they relate to this program.

 All the other terms and conditions issued with the original award remain in effect throughout
 the budget period unless otherwise changed, in writing, by the Grants Management Officer.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1306         Notice of Award
                                                                                                    Award# 6 NH23IP922600-02-09
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 05/03/2021



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NH23IP922600-02-09
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                    NH23IP922600
   Denver, CO 80246-1523                        13. Statutory Authority
                                                   Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]
                                                   amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                   Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2020 - End Date 06/30/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                   $4,227,851.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                  $4,227,851.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                         $0.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                             $115,412,437.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                              $119,640,288.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                    Not Available


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
  Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Kathy Raible
 hbo1@cdc.gov
 770-488-3973



30. Remarks




                                                                                                                                              Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1307         Notice of Award
             Centers for Disease Control and Prevention                                        Award# 6 NH23IP922600-02-09
                                                                                               FAIN# NH23IP922600
                                                                                               Federal Award Date: 05/03/2021



Recipient Information                                33. Approved Budget
                                                     (Excludes Direct Assistance)
Recipient Name                                        I. Financial Assistance from the Federal Awarding Agency Only
                                                      II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                         a. Salaries and Wages                                                  $14,284,608.00
 Denver, CO 80246-1523                                b. Fringe Benefits                                                      $4,715,875.00
 [NO DATA]
                                                           c. Total Personnel Costs                                          $19,000,483.00
                                                      d. Equipment                                                               $35,429.00
Congressional District of Recipient
 01                                                   e. Supplies                                                               $249,369.00
Payment Account Number and Type                       f. Travel                                                                  $93,899.00
 1840644739A4
Employer Identification Number (EIN) Data             g. Construction                                                                 $0.00
 840644739                                            h. Other                                                               $57,306,163.00
Universal Numbering System (DUNS)
                                                      i. Contractual                                                         $35,586,469.00
 878208826
Recipient’s Unique Entity Identifier                  j. TOTAL DIRECT COSTS                                                 $112,271,812.00
 Not Available
                                                      k. INDIRECT COSTS                                                       $7,368,476.00

 31. Assistance Type                                  l. TOTAL APPROVED BUDGET                                              $119,640,288.00
 Cooperative Agreement
                                                      m. Federal Share                                                      $119,640,288.00
 32. Type of Award
 Demonstration                                        n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.          DOCUMENT NO.       ADMINISTRATIVE CODE     OBJECT CLASS    AMT ACTION FINANCIAL ASSISTANCE         APPROPRIATION
    1-9390GZB         20NH23IP922600VWCC6            IP                 41.51                               $4,227,851.00      75-X-0943




                                                                                                                                   Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1308
                                                                                             Award# 6 NH23IP922600-02-09
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 05/03/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NH23IP922600-02-09
1. Revised Terms & Conditions
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  ADDITIONAL TERMS AND CONDITIONS OF AWARD
 Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
 and Conditions for Non-research awards at
 https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease
 Control and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO)
 number IP19- 1901, entitled, Immunization and Vaccines for Children, which are hereby
 made a part of this Non-research award, hereinafter referred to as the Notice of Award
 (NoA).

 Supplemental Component Funding: Additional funding in the amount $4,227,851 is
 approved for the Year 02 budget period, which is July 1, 2020 through June 30, 2021.

 Recipients have until June 30, 2024 to expend all COVID-19 funds herein and
 previously funded,

 Overtime: Because overtime costs are a very likely and reasonable expense during the
 response to COVID-19, CDC will allow recipients to include projected overtime in their
 budgets. Recipients should be careful to estimate costs based on current real-time needs
 and will still be required to follow federal rules and regulations in accounting for the
 employees' time and effort.

 Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
 agreement awarded by the Department of Health and Human Services (HHS) with funds
 made available under the Coronavirus Preparedness and Response Supplemental
 Appropriations Act, 2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security
 Act, 2020 (the "CARES Act") (P.L. 116-136); the Paycheck Protection Program and Health
 Care Enhancement Act (P.L. 116-139); and/or the Consolidated Appropriations Act, 2021,
 Division M - Coronavirus Response and Relief Supplemental Appropriations Act, 2021 (P.L.
 116-260), the American Rescue Plan Act of 2021 (P.L. 117-2) agrees, as applicable to the
 award, to: 1) comply with existing and/or future directives and guidance from the Secretary
 regarding control of the spread of COVID-19; 2) in consultation and coordination with HHS,
 provide, commensurate with the condition of the individual, COVID-19 patient care regardless
 of the individual's home jurisdiction and/or appropriate public health measures (e.g., social
 distancing, home isolation); and 3) assist the United States Government in the
 implementation and enforcement of federal orders related to quarantine and isolation.

 In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES
 Act, with respect to the reporting to the HHS Secretary of results of tests intended to detect
 SARS- CoV-2 or to diagnose a possible case of COVID-19. Such reporting shall be in
 accordance with guidance and direction from HHS and/or CDC. HHS laboratory reporting
 guidance is posted at: https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-
 reporting-guidance.pdf.

 Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
 purpose of this award, and the underlying funding, the recipient is expected to provide to
 CDC copies of and/or access to COVID-19 data collected with these funds, including but not
 limited to data related to COVID-19 testing. CDC will specify in further guidance and
 directives what is encompassed by this requirement.
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 Unallowable Costs:
    • Research
   • Clinical care
    • Publicity and propaganda (lobbying):
         o Other than for normal and recognized executive-legislative relationships, no
            funds may be used for:
                 • publicity or propaganda purposes, for the preparation, distribution, or use
                    of any material designed to support or defeat the enactment of legislation
                    before any legislative body
                 • the salary or expenses of any grant or contract recipient, or agent acting
                    for such recipient, related to any activity designed to influence the
                    enactment of legislation, appropriations, regulation, administrative
                    action, or Executive order proposed or pending before any legislative
                    body
         o See Additional Requirement (AR) 12 for detailed guidance on this prohibition
            and additional guidance on lobbying for CDC recipients:
            https://www.cdc.gov/grants/documents/Anti-
            Lobbying_Restrictions_for_CDC_Grantees_July_2012.pdf

    •   All unallowable costs cited in CDC-RFA-IP19-1901 remain in effect, unless specifically
        amended in this guidance, in accordance with 45 CFR Part 75 - Uniform Administrative
        Requirements, Cost Principles, And Audit Requirements for HHS Awards.

 COVID-19 Funding Budget Revision Requirement: The recipient must submit a revised
 budget with a narrative justification by May 31, 2021. If the date falls on a weekend or
 holiday, the submission will be due the following business day. Failure to submit the required
 information in a timely manner may adversely affect the future funding of this project. If the
 information cannot be provided by the due date, you are required to contact the GMS/GMO
 identified in the Awarding Agency Contact Information section on the first page before the
 due date.

  REPORTING REQUIREMENTS


 Required Disclosures for Federal Awardee Performance and Integrity Information
 System (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in
 a timely manner, in writing to the CDC, with a copy to the HHS Office of Inspector General
 (OIG), all information related to violations of federal criminal law involving fraud, bribery, or
 gratuity violations potentially affecting the federal award. Subrecipients must disclose, in a
 timely manner in writing to the prime recipient (pass through entity) and the HHS OIG, all
 information related to violations of federal criminal law involving fraud, bribery, or gratuity
 violations potentially affecting the federal award. Disclosures must be sent in writing to the
 CDC and to the HHS OIG at the following addresses:

 CDC, Office of Grants Services
 Wayne Woods, Grants Management Specialist
 Centers for Disease Control and Prevention
 Branch 1
 2939 Flowers Road, MS-TV-2
 Atlanta, GA 30341
 Email: kuv1@cdc.gov (Include "Mandatory Grant Disclosures" in subject line
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 AND
 U.S. Department of Health and Human Services
 Office of the Inspector General
 ATTN: Mandatory Grant Disclosures, Intake Coordinator
 3301Independence Avenue, SW
 Cohen Building, Room 5527
 Washington, DC 20201
 Fax: (202)-205-0604 (Include "Mandatory Grant Disclosures" in subject line) or Email:
 MandatoryGranteeDisclosures@oig.hhs.gov

 Recipients must include this mandatory disclosure requirement in all subawards and
 contracts under this award.
 Failure to make required disclosures can result in any of the remedies described in 45 CFR
 75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
 180 and 376, and 31 U.S.C. 3321).

 CDC is required to report any termination of a federal award prior to the end of the period of
 performance due to material failure to comply with the terms and conditions of this award in
 the OMB-designated integrity and performance system accessible through SAM (currently
 FAPIIS). (45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is
 terminated for failure to comply with the federal statutes, regulations, or terms and conditions
 of the federal award. (45 CFR 75.373(b))

    PAYMENT INFORMATION

 The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-
 TIPS [1- 800-447-8477]) for receiving information concerning fraud, waste, or abuse under
 grants and cooperative agreements. Information also may be submitted by e-mail to
 hhstips@oig.hhs.gov or by mail to Office of the Inspector General, Department of Health and
 Human Services, Attn: HOTLINE, 330 Independence Ave., SW, Washington DC 20201.
 Such reports are treated as sensitive material and submitters may decline to give their
 names if they choose to remain anonymous.

 Payment Management System Subaccount: Funds awarded in support of approved
 activities have been obligated in a subaccount in the PMS, herein identified as the "P
 Account". Funds must be used in support of approved activities in the NOFO and the
 approved application.

 The grant document number identified on the bottom of Page 2 of the Notice of Award must
 be known to draw down funds.

 Stewardship: The recipient must exercise proper stewardship over Federal funds by
 ensuring that all costs charged to your cooperative agreement are allowable, allocable, and
 reasonable and that they address the highest priority needs as they relate to this program.

 All the other terms and conditions issued with the original award remain in effect throughout
 the budget period unless otherwise changed, in writing, by the Grants Management Officer.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1313         Notice of Award
                                                                                                    Award# 6 NH23IP922600-02-10
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 05/25/2021



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NH23IP922600-02-10
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                    NH23IP922600
   Denver, CO 80246-1523                        13. Statutory Authority
                                                   Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]
                                                   amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                   Deob/Reob
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2020 - End Date 06/30/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                 ($30,580,009.00)
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                ($30,580,009.00)
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                         $0.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                             $119,640,288.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $89,060,279.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                    Not Available


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
  Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Kathy Raible
 hbo1@cdc.gov
 770-488-3973



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1314         Notice of Award
             Centers for Disease Control and Prevention                                           Award# 6 NH23IP922600-02-10
                                                                                                  FAIN# NH23IP922600
                                                                                                  Federal Award Date: 05/25/2021



Recipient Information                                   33. Approved Budget
                                                        (Excludes Direct Assistance)
Recipient Name                                           I. Financial Assistance from the Federal Awarding Agency Only
                                                         II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                           a. Salaries and Wages                                                    $14,284,608.00
 Denver, CO 80246-1523                                   b. Fringe Benefits                                                       $4,715,875.00
 [NO DATA]
                                                             c. Total Personnel Costs                                            $19,000,483.00
                                                        d. Equipment                                                                 $35,429.00
Congressional District of Recipient
 01                                                      e. Supplies                                                                $249,369.00
Payment Account Number and Type                          f. Travel                                                                   $93,899.00
 1840644739A4
Employer Identification Number (EIN) Data                g. Construction                                                                  $0.00
 840644739                                               h. Other                                                                $57,237,815.00
Universal Numbering System (DUNS)
                                                        i. Contractual                                                            $5,074,808.00
 878208826
Recipient’s Unique Entity Identifier                     j. TOTAL DIRECT COSTS                                                   $81,691,803.00
 Not Available
                                                         k. INDIRECT COSTS                                                        $7,368,476.00

 31. Assistance Type                                     l. TOTAL APPROVED BUDGET                                                $89,060,279.00
 Cooperative Agreement
                                                        m. Federal Share                                                         $89,060,279.00
 32. Type of Award
 Demonstration                                           n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.           DOCUMENT NO.      ADMINISTRATIVE CODE      OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE           APPROPRIATION
    1-9390GKL            20NH23IP922600C5            IP                  41.51                               ($30,580,009.00)     75-2124-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1315
                                                                                             Award# 6 NH23IP922600-02-10
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 05/25/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                  AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NH23IP922600-02-10
1. Revised Terms and Conditions
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                                          PageID #: 1317




 ADDITIONAL TERMS AND CONDITIONS OF AWARD


Administrative Action: The purpose of this amended Notice of Award (NoA) is to respond to the
requirement under P.L.117-2, The American Rescue Plan Act of 2021, regarding the 10% legislative
mandated funding to Underserved Populations. This is an internal administrative change which does
not affect the amount of the current award.


De-obligation of Funds: The purpose of this amended Notice of Award is to de-obligate funds in the
amount of $30,580,009 from to Commitment Accounting Number (CAN) 9390GKL and Document
Number 20NH231IP922634C5.

Funding will be re-obligated in a subsequent action to CAN 9390GUU and Document Number
20NH231IP922634UDSPC5. Funding amount is not impacted by this action.

Stewardship: Please be advised that recipients must exercise proper stewardship over Federal funds by
ensuring that all costs charged to their cooperative agreement are allowable, allocable, necessary, and
reasonable.

All the other terms and conditions issued with the original award remain in effect throughout the budget
period unless otherwise changed, in writing, by the Grants Management Officer.

Grants Management Specialist Contact:

Wayne Woods, Grants Management Specialist (GMS)
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road
Atlanta, GA 30341
Telephone: 770-488-2948
Email: kuv1@cdc.gov


PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1318         Notice of Award
                                                                                                    Award# 6 NH23IP922600-02-11
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 06/22/2021



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NH23IP922600-02-11
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                    NH23IP922600
   Denver, CO 80246-1523                        13. Statutory Authority
                                                   Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]
                                                   amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                   Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2020 - End Date 06/30/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                  $30,580,009.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                 $30,580,009.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                         $0.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $89,060,279.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                              $119,640,288.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                    Not Available


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Kathy Raible
 hbo1@cdc.gov
 770-488-3973



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1319         Notice of Award
             Centers for Disease Control and Prevention                                         Award# 6 NH23IP922600-02-11
                                                                                                FAIN# NH23IP922600
                                                                                                Federal Award Date: 06/22/2021



Recipient Information                                 33. Approved Budget
                                                      (Excludes Direct Assistance)
Recipient Name                                         I. Financial Assistance from the Federal Awarding Agency Only
                                                       II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                          a. Salaries and Wages                                                   $14,284,608.00
 Denver, CO 80246-1523                                 b. Fringe Benefits                                                       $4,715,875.00
 [NO DATA]
                                                           c. Total Personnel Costs                                            $19,000,483.00
                                                       d. Equipment                                                                $35,429.00
Congressional District of Recipient
 01                                                    e. Supplies                                                                $249,369.00
Payment Account Number and Type                        f. Travel                                                                   $93,899.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                  $0.00
 840644739                                             h. Other                                                                $57,306,163.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                          $35,586,469.00
 878208826
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                  $112,271,812.00
 Not Available
                                                       k. INDIRECT COSTS                                                        $7,368,476.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $119,640,288.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $119,640,288.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.          DOCUMENT NO.        ADMINISTRATIVE CODE     OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE         APPROPRIATION
    1-9390GUU         20NH23IP922600UDSPC5            IP                 41.51                               $30,580,009.00     75-2124-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1320
                                                                                             Award# 6 NH23IP922600-02-11
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 06/22/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                      PageID #: 1321
                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NH23IP922600-02-11
1. Terms and Conditions
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 ADDITIONAL TERMS AND CONDITIONS OF AWARD

Administrative Action: The purpose of this amended Notice of Award (NoA) is to respond to
the requirement under P.L.116-260, Consolidated Appropriations Act and the Coronavirus
Response and Relief Supplement Appropriations Act of 2021, regarding the 10% legislative
mandated funding to Underserved Populations. This is an internal administrative change which
does not affect the amount of the current award.

Re-obligation of Funds: Funds in the amount of $30,580,009 are re-obligated to
Commitment Accounting Number (CAN) 9390GUU and Document Number
20NH23IP922600UDSPC5. This action does not increase nor decrease the approved funding
amount. This CAN and Document Number should be used to fund and track activities which
serve the Underserved Communities.

Stewardship: Please be advised that recipients must exercise proper stewardship over Federal
funds by ensuring that all costs charged to their cooperative agreement are allowable, allocable,
necessary, and reasonable.

All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.

PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1323         Notice of Award
                                                                                                    Award# 5 NH23IP922600-03-00
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 07/01/2021



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                   5 NH23IP922600-03-00
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                    NH23IP922600
   Denver, CO 80246-1523                        13. Statutory Authority
                                                   Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]
                                                   amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                   Non-Competing Continuation
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2021 - End Date 06/30/2022

                                                20. Total Amount of Federal Funds Obligated by this Action                                   $5,809,059.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                  $5,072,481.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                  $736,578.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                                        $0.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                $5,809,059.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                    Not Available


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Kathy Raible
 hbo1@cdc.gov
 770-488-3973



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1324         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 5 NH23IP922600-03-00
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 07/01/2021



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
                                                        II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                          a. Salaries and Wages                                                     $2,053,252.00
 Denver, CO 80246-1523                                 b. Fringe Benefits                                                         $677,573.00
 [NO DATA]
                                                            c. Total Personnel Costs                                             $2,730,825.00
                                                       d. Equipment                                                                      $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                                $162,294.00
Payment Account Number and Type                        f. Travel                                                                  $125,371.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                   $0.00
 840644739                                             h. Other                                                                   $379,047.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                            $1,674,944.00
 878208826
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                    $5,072,481.00
 Not Available
                                                       k. INDIRECT COSTS                                                          $736,578.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                                 $5,809,059.00
 Cooperative Agreement
                                                       m. Federal Share                                                         $5,809,059.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                             $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.          DOCUMENT NO.     ADMINISTRATIVE CODE      OBJECT CLASS      AMT ACTION FINANCIAL ASSISTANCE          APPROPRIATION
     1-93909KZ           19NH23IP922600            IP                  41.51                                  $3,666,882.00       75-X-0951
    1-9390BKG            19NH23IP922600            IP                  41.51                                    $995,566.00    75-75-X-0512-009
     1-9390BKJ           19NH23IP922600            IP                  41.51                                     $56,790.00    75-75-X-0512-009
    1-9390BKM            19NH23IP922600            IP                  41.51                                    $823,985.00    75-75-X-0512-009
    1-939ZRWL            19NH23IP922600            IP                  41.51                                    $265,836.00       75-21-0951




                                                                                                                                     Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1325
                                                                                             Award# 5 NH23IP922600-03-00
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 07/01/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      5 NH23IP922600-03-00
1. Terms and Conditions
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 AWARD INFORMATION

Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at
https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease
Control and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO)
number IP19-1901, entitled Immunization and Vaccines for Children, and application dated May
7, 2021 as may be amended, which are hereby made a part of this Non-research award,
hereinafter referred to as the Notice of Award (NoA).

Approved Funding: Funding in the amount of $5,809,059 is approved for the Year 03 budget
period, which is July 1, 2021 through June 30, 2022. All future year funding will be based on
satisfactory programmatic progress and the availability of funds.

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third-party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.

Component/Project Funding: The NOFO provides for the funding of multiple components
under this award. The approved component funding levels for this notice of award are:

 NOFO Component                    Amount
 CORE                              $5,648,357
 CC3                               $106,749
 CC4                               $53,953

Note: Refer to the Payment Information section for draw down and Payment Management
System (PMS) subaccount information.

Financial Assistance Mechanism: Cooperative Agreement

Substantial Involvement by CDC: This is a cooperative agreement and CDC will have
substantial programmatic involvement after the award is made. Substantial involvement is in
addition to all post-award monitoring, technical assistance, and performance reviews
undertaken in the normal course of stewardship of federal funds.

CDC program staff will assist, coordinate, or participate in carrying out effort under the award,
and recipients agree to the responsibilities therein, as detailed in the NOFO.

      • Provide guidance, trainings, tools, and technical assistance to award recipient on
        program area components.
      • Host conference calls for sharing information from CDC and between award recipient.
      • Work with award recipients on planning and implementation of required and proposed
        activities.
      • Monitor award recipient vaccine spend plan and replenishment providing regular
        feedback and working with award recipient to address barriers.
      • Analyze and report results of surveys regarding national, state and selected local level
        vaccination coverage.
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       • Analyze and report result of surveys of award recipient plans and activities related to
         preparedness.
       • Collaboration with external partners to promote IIS in national health IT settings.
       • Develop and support improvements in IIS data quality and program measures to
         assess IIS performance.
       • Use IIS submitted data to develop methods to estimate national vaccination coverage
         and calculate vaccination coverage estimates for routinely recommended childhood
         vaccines.
       • Use IIS submitted data to monitor seasonal or pandemic influenza vaccination among
         ages that are available in the IIS data.
       • Assist, as needed, in the development of data collection and reporting methods for
         school- enterer vaccination coverage surveys.
       • Provide VFC policy guidance via the VFC Operations Guide, periodic trainings and
         conference calls, including use of the CDC developed quality assurance site visit tools,
         to assist award recipient implement their VFC program in accordance with federal
         requirements.
       • Provide subject matter guidance in all program component areas.

Budget Revision Requirement: By July 30, 2021, the recipient must submit a revised budget
with a narrative justification. Failure to submit the required information in a timely manner may
adversely affect the future funding of this project. If the information cannot be provided by the
due date, you are required to contact the GMS/GMO identified in the CDC Staff Contacts
section of this notice before the due date.

Program Income: Any program income generated under this grant or cooperative agreement
will be used in accordance with the Addition alternative.

Addition alternative: Under this alternative, program income is added to the funds committed to
the project/program and is used to further eligible project/program objectives.

Note: The disposition of program income must have written prior approval from the GMO.

 FUNDING RESTRICTIONS AND LIMITATIONS

Notice of Funding Opportunity (NOFO) Restrictions:

   •    Recipients may not use funds for research.
   •    Recipients may not use funds for clinical care except as allowed by law.
   •    Recipients may use funds only for reasonable program purposes, including personnel,
        travel, supplies, and services.
   •    Generally, recipients may not use funds to purchase furniture or equipment. Any such
        proposed spending must be clearly identified in the budget.
   •    Reimbursement of pre-award costs generally is not allowed, unless the CDC provides
        written approval to the recipient.
   •    Other than for normal and recognized executive-legislative relationships, no funds may
        be used for:

           a. publicity or propaganda purposes, for the preparation, distribution, or use of any
              material designed to support or defeat the enactment of legislation before any
              legislative body
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           b. the salary or expenses of any grant or contract recipient, or agent acting for such
              recipient, related to any activity designed to influence the enactment of
              legislation, appropriations, regulation, administrative action, or Executive order
              proposed or pending before any legislative body
           c. See Additional Requirement (AR) 12 for detailed guidance on this prohibition and
              additional guidance on lobbying for CDC recipients.

      • The direct and primary recipient in a cooperative agreement program must perform a
        substantial role in carrying out project outcomes and not merely serve as a conduit for
        an award to another party or provider who is ineligible.
      • In accordance with the United States Protecting Life in Global Health Assistance policy,
        all non-governmental organization (NGO) applicants acknowledge that foreign NGOs
        that receive funds provided through this award, either as a prime recipient or
        subrecipient, are strictly prohibited, regardless of the source of funds, from performing
        abortions as a method of family planning or engaging in any activity that promotes
        abortion as a method of family planning, or to provide financial support to any other
        foreign non-governmental organization that conducts such activities. See Additional
        Requirement (AR) 35 for applicability https://www.cdc.gov/grants/additional-
        requirements/ar-35.html

Indirect Costs: Indirect costs are approved based on the negotiated indirect cost rate
agreement dated April 17, 2020, which calculates indirect costs as follows, a Provisional is
approved at a rate of 19.80% for Onsite and 1.9% for subawards of the base, which is based on
the terms referenced in the negotiated indirect cost rate agreement. The effective dates of this
indirect cost rate are from July 1, 2020 to June 30, 2023.

 REPORTING REQUIREMENTS

Performance Progress and Monitoring: Performance information collection initiated under
this grant/cooperative agreement has been approved by the Office of Management and Budget
under OMB Number 0920-1132, “Performance Progress and Monitoring Report”,
Expiration Date 10/31/2022. The components of the PPMR are available for download at:
https://www.cdc.gov/grants/alreadyhavegrant/Reporting.html .

Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
the HHS OIG at the following addresses:

CDC, Office of Grants Services
Wayne Woods, Grants Management Specialist
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road, MS-TV-2
Atlanta, GA 30341
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Email: kuv1@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201
Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
(45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award. (45 CFR 75.373(b))

 PAYMENT INFORMATION

The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
sensitive material and submitters may decline to give their names if they choose to remain
anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified on the bottom of Page 2 of the Notice of Award must be
known in order to draw down funds.

 CDC Staff Contacts

Grants Management Specialist: The GMS is the federal staff member responsible for the day-
to-day management of grants and cooperative agreements. The GMS is the primary contact of
recipients for business and administrative matters pertinent to grant awards.
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Program/Project Officer: The PO is the federal official responsible for monitoring the
programmatic, scientific, and/or technical aspects of grants and cooperative agreements, as
well as contributing to the effort of the award under cooperative agreements.

Grants Management Officer: The GMO is the federal official responsible for the business and
other non-programmatic aspects of grant awards. The GMO is the only official authorized to
obligate federal funds and is responsible for signing the NoA, including revisions to the NoA that
change the terms and conditions. The GMO serves as the counterpart to the business officer of
the recipient organization.


Contact information can be found on Page 1 of the Notice of Award.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1332         Notice of Award
                                                                                                    Award# 6 NH23IP922600-02-12
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 07/19/2021



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NH23IP922600-02-12
   Colorado Dept of Public Health               12. Unique Federal Award Identification Number (FAIN)
   4300 E Cherry Creek South Dr                    NH23IP922600
   Denver, CO 80246-1523                        13. Statutory Authority
                                                   Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]
                                                   amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                   Budget Revision
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2020 - End Date 06/30/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                 ($4,969,179.00)
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                $4,969,179.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                             $119,640,288.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                              $119,640,288.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                    Not Available


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Kathy Raible
 hbo1@cdc.gov
 770-488-3973



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1333         Notice of Award
             Centers for Disease Control and Prevention                                         Award# 6 NH23IP922600-02-12
                                                                                                FAIN# NH23IP922600
                                                                                                Federal Award Date: 07/19/2021



Recipient Information                                 33. Approved Budget
                                                      (Excludes Direct Assistance)
Recipient Name                                         I. Financial Assistance from the Federal Awarding Agency Only
                                                       II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                          a. Salaries and Wages                                                  $18,945,008.00
 Denver, CO 80246-1523                                 b. Fringe Benefits                                                      $6,253,807.00
 [NO DATA]
                                                           c. Total Personnel Costs                                           $25,198,815.00
                                                       d. Equipment                                                             $362,249.00
Congressional District of Recipient
 01                                                    e. Supplies                                                              $448,007.00
Payment Account Number and Type                        f. Travel                                                                 $93,899.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                $0.00
 840644739                                             h. Other                                                                $1,138,558.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                         $80,061,105.00
 878208826
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                $107,302,633.00
 Not Available
                                                       k. INDIRECT COSTS                                                     $12,337,655.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                             $119,640,288.00
 Cooperative Agreement
                                                       m. Federal Share                                                     $119,640,288.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.          DOCUMENT NO.        ADMINISTRATIVE CODE     OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE       APPROPRIATION
    1-9390GUU         20NH23IP922600UDSPC5            IP                 41.51                                      $0.00     75-2124-0943




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                                         PageID      SERVICES Notice of Award
                                                #: 1334
                                                                                             Award# 6 NH23IP922600-02-12
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 07/19/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NH23IP922600-02-12
1. Terms and Conditions
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 ADDITIONAL TERMS AND CONDITIONS

Revised Budget / Redirection: The purpose of this amended Notice of Award is to approve the revised
budget / redirection request submitted by your organization dated May 28, 2021 . Funds have been
distributed as indicated in the approved budget of this Notice of Award.


All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.

Please be advised that recipient must exercise proper stewardship over Federal funds by ensuring that
all costs charged to their cooperative agreement are allowable, allocable, necessary, and reasonable.


Grants Management Specialist:
Wayne Woods, Grants Management Specialist (GMS)
Centers for Disease Control and Prevention
Branch 1
2920 Brandywine Road, M/S E-15
Atlanta, GA 30341
Telephone: 770-488-2948
Email: kuv1@cdc.gov


PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
                Case 1:25-cv-00121-MSM-LDA
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1337         Notice of Award
                                                                                                    Award# 6 NH23IP922600-03-01
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 11/01/2021



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NH23IP922600-03-01
   PUBLIC HEALTH AND ENVIRONMENT,               12. Unique Federal Award Identification Number (FAIN)
   COLORADO DEPARTMENT OF                          NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
                                                   Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   Denver, CO 80246-1523
                                                   amended.
   [NO DATA]
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                   Carryover of Funds
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2021 - End Date 06/30/2022

                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                    $336,034.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                   $65,861.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                       $401,895.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                               $5,809,059.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                $5,809,059.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                    Not Available


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Kathy Raible
 hbo1@cdc.gov
 770-488-3973



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1338         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-03-01
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 11/01/2021



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
                                                        II. Total project costs including grant funds and all other financial participation
 PUBLIC HEALTH AND ENVIRONMENT,
 COLORADO DEPARTMENT OF                                a. Salaries and Wages                                                    $2,234,089.00
 4300 E Cherry Creek South Dr                          b. Fringe Benefits                                                        $737,248.00
 Denver, CO 80246-1523
                                                            c. Total Personnel Costs                                            $2,971,337.00
 [NO DATA]
                                                       d. Equipment                                                                     $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $162,294.00
Payment Account Number and Type                        f. Travel                                                                 $129,271.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                  $0.00
 840644739                                             h. Other                                                                  $450,669.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                           $1,694,944.00
 878208826
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                   $5,408,515.00
 Not Available
                                                       k. INDIRECT COSTS                                                         $802,439.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                                $6,210,954.00
 Cooperative Agreement
                                                       m. Federal Share                                                        $6,210,954.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.          DOCUMENT NO.     ADMINISTRATIVE CODE      OBJECT CLASS      AMT ACTION FINANCIAL ASSISTANCE         APPROPRIATION
     1-93909KZ           19NH23IP922600            IP                  41.51                                       $0.00         75-X-0951
    1-9390BKG            19NH23IP922600            IP                  41.51                                       $0.00      75-75-X-0512-009
     1-9390BKJ           19NH23IP922600            IP                  41.51                                       $0.00      75-75-X-0512-009
    1-9390BKM            19NH23IP922600            IP                  41.51                                       $0.00      75-75-X-0512-009
    1-939ZRWL            19NH23IP922600            IP                  41.51                                       $0.00         75-21-0951




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1339
                                                                                             Award# 6 NH23IP922600-03-01
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 11/01/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                      PageID #: 1340
                              AWARD ATTACHMENTS
PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF               6 NH23IP922600-03-01
1. Terms and Conditions
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 ADDITIONAL TERMS AND CONDITIONS

Carryover: The purpose of this amended Notice of Award is to approve carryover of unobligated funds
in the amount of $401,895 from budget period YR02 to budget period YR03. This is in response to a
request submitted by your organization dated October 7, 2021. These funds have been distributed as
indicated in the approved budget of this Notice of Award.

Unobligated funds in the amount of $401,895 have been applied to this award. Please note that if the
actual amount of available unobligated funds is less than the amount used in this action, then the total
approved budget may be reduced by the difference in a subsequent award action, thus reducing the
amount of the current award.

These funds are approved for the current fiscal year budget period only with no commitment for
continued support in future budget periods.

HHS Non-Discrimination Legal Requirements for Recipients of Federal Financial Assistance
The purpose of this Notice of Award amendment is to notify you that the Centers for Disease Control
and Prevention (CDC) incorporated Department of Health and Human Services (HHS) non-discrimination
legal requirements for recipients of federal financial assistance into the CDC General Terms and
Conditions within your Notice of Award. The new requirements are effective immediately. The
requirements are in the General Requirements section of the General Terms and Conditions, and are
also listed below.

You must administer your project in compliance with federal civil rights laws that prohibit discrimination
on the basis of race, color, national origin, disability, age and, in some circumstances, religion,
conscience, and sex (including gender identity, sexual orientation, and pregnancy). This includes taking
reasonable steps to provide meaningful access to persons with limited English proficiency and providing
programs that are accessible to and usable by persons with disabilities. The HHS Office for Civil Rights
provides guidance on complying with civil rights laws enforced by HHS. See https://www.hhs.gov/civil-
rights/for-providers/provider-obligations/index.html and https://www.hhs.gov/civil-rights/for-
individuals/nondiscrimination/index.html.

    •   You must take reasonable steps to ensure that your project provides meaningful access to
        persons with limited English proficiency. For guidance on meeting your legal obligation to take
        reasonable steps to ensure meaningful access to your programs or activities by limited English
        proficient individuals, see https://www.hhs.gov/civil-rights/for-individuals/special-
        topics/limited-english-proficiency/fact-sheet-guidance/index.html and https://www.lep.gov/.
    •   For information on your specific legal obligations for serving qualified individuals with
        disabilities, including providing program access, reasonable modifications, and taking
        appropriate steps to provide effective communication, see
        http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
    •    HHS funded health and education programs must be administered in an environment free of
        sexual harassment, see https://www.hhs.gov/civil-rights/for-individuals/sex-
        discrimination/index.html.
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   •   For guidance on administering your project in compliance with applicable federal religious
       nondiscrimination laws and applicable federal conscience protection and associated anti-
       discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html
       and https://www.hhs.gov/conscience/religious-freedom/index.html.



All other terms and conditions of the cooperative agreement remain unchanged and in full effect.

Please be advised that grantee must exercise proper stewardship over Federal funds by ensuring that all
costs charged to their cooperative agreement are allowable, allocable, and reasonable.


Grants Management Specialist:
Wayne Woods, Grants Management Specialist (GMS)
Centers for Disease Control and Prevention
Branch 1
2920 Brandywine Road, M/S E-15
Atlanta, GA 30341
Telephone: 770-488-2948
Email: kuv1@cdc.gov


PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1343         Notice of Award
                                                                                                    Award# 6 NH23IP922600-02-13
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 01/28/2022



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NH23IP922600-02-13
   Public Health and Environment, Colorado      12. Unique Federal Award Identification Number (FAIN)
   Department of                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
                                                   Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   Denver, CO 80246-1523
                                                   amended.
   [NO DATA]
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                   Budget Revision
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2020 - End Date 06/30/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                    ($24,947.00)
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                   $24,947.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                             $119,640,288.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                              $119,640,288.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                    Not Available


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Hilary Oliphant
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Kathy Raible
 hbo1@cdc.gov
 770-488-3973



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1344         Notice of Award
             Centers for Disease Control and Prevention                                         Award# 6 NH23IP922600-02-13
                                                                                                FAIN# NH23IP922600
                                                                                                Federal Award Date: 01/28/2022



Recipient Information                                 33. Approved Budget
                                                      (Excludes Direct Assistance)
Recipient Name                                         I. Financial Assistance from the Federal Awarding Agency Only
                                                       II. Total project costs including grant funds and all other financial participation
 Public Health and Environment, Colorado
 Department of                                         a. Salaries and Wages                                                  $17,682,385.00
 4300 E Cherry Creek South Dr                          b. Fringe Benefits                                                      $5,837,142.00
 Denver, CO 80246-1523
                                                           c. Total Personnel Costs                                           $23,519,527.00
 [NO DATA]
                                                       d. Equipment                                                             $398,897.00
Congressional District of Recipient
 01                                                    e. Supplies                                                              $430,433.00
Payment Account Number and Type                        f. Travel                                                                $107,091.00
 1840644739A4
Employer Identification Number (EIN)                   g. Construction                                                                $0.00
 840644739                                             h. Other                                                                $1,207,795.00
Data Universal Numbering System (DUNS)
                                                       i. Contractual                                                         $81,613,943.00
 878208826
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                $107,277,686.00
                                                       k. INDIRECT COSTS                                                     $12,362,602.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                             $119,640,288.00
 Cooperative Agreement
                                                       m. Federal Share                                                     $119,640,288.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                           $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.          DOCUMENT NO.        ADMINISTRATIVE CODE     OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE       APPROPRIATION
    1-9390GUU         20NH23IP922600UDSPC5            IP                 41.51                                      $0.00     75-2124-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1345
                                                                                             Award# 6 NH23IP922600-02-13
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 01/28/2022




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                               AWARD ATTACHMENTS
Public Health and Environment, Colorado Department of                 6 NH23IP922600-02-13
1. Terms and Conditions
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 ADDITIONAL TERMS AND CONDITIONS

Revised Budget: The purpose of this amended Notice of Award is to approve the revised budget
submitted by your organization dated January 18, 2022. Funds have been distributed as indicated in the
approved budget of this Notice of Award.


All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.

Please be advised that recipient must exercise proper stewardship over Federal funds by ensuring that
all costs charged to their cooperative agreement are allowable, allocable, necessary, and reasonable.



Grants Management Specialist:
Wayne Woods, Grants Management Specialist (GMS)
Centers for Disease Control and Prevention
Branch 1
2920 Brandywine Road, MS-TV-2
Atlanta, GA 30341
Telephone: 770-488-2948
Email: kuv1@cdc.gov
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1348         Notice of Award
                                                                                                    Award# 6 NH23IP922600-03-02
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 04/28/2022



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NH23IP922600-03-02
   Public Health and Environment, Colorado      12. Unique Federal Award Identification Number (FAIN)
   Department of                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
                                                   Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   Denver, CO 80246-1523
                                                   amended.
   [NO DATA]
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Administrative Action
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2021 - End Date 06/30/2022

                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                           $0.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                         $0.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                       $401,895.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                               $5,809,059.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                $5,809,059.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date          07/01/2019 - End Date 06/30/2024
 Wayne Woods
 kuv1@cdc.gov                                   27. Total Amount of the Federal Award including Approved
 770-488-2948                                       Cost Sharing or Matching this Project Period                                    Not Available


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1349         Notice of Award
             Centers for Disease Control and Prevention                                           Award# 6 NH23IP922600-03-02
                                                                                                  FAIN# NH23IP922600
                                                                                                  Federal Award Date: 04/28/2022



Recipient Information                                   33. Approved Budget
                                                        (Excludes Direct Assistance)
Recipient Name                                           I. Financial Assistance from the Federal Awarding Agency Only
                                                         II. Total project costs including grant funds and all other financial participation
 Public Health and Environment, Colorado
 Department of                                          a. Salaries and Wages                                                    $1,973,939.00
 4300 E Cherry Creek South Dr                           b. Fringe Benefits                                                        $651,398.00
 Denver, CO 80246-1523
                                                             c. Total Personnel Costs                                            $2,625,337.00
 [NO DATA]
                                                        d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                     e. Supplies                                                               $358,294.00
Payment Account Number and Type                         f. Travel                                                                 $129,271.00
 1840644739A4
Employer Identification Number (EIN) Data               g. Construction                                                                 $0.00
 840644739                                              h. Other                                                                  $600,669.00
Universal Numbering System (DUNS)
                                                        i. Contractual                                                           $1,694,944.00
 878208826
Recipient’s Unique Entity Identifier (UEI)              j. TOTAL DIRECT COSTS                                                   $5,408,515.00
 Y3WEW9MQ6NH5
                                                        k. INDIRECT COSTS                                                         $802,439.00

 31. Assistance Type                                    l. TOTAL APPROVED BUDGET                                                $6,210,954.00
 Cooperative Agreement
                                                        m. Federal Share                                                        $6,210,954.00
 32. Type of Award
 Demonstration                                          n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.        DOCUMENT NO.         ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ         19NH23IP922600                IP               41.51     93.268                                  $0.00     75-X-0951
   1-9390BKG          19NH23IP922600                IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    1-9390BKJ         19NH23IP922600                IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-9390BKM          19NH23IP922600                IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-939ZRWL          19NH23IP922600                IP               41.51     93.268                                  $0.00    75-21-0951
   0-9390EWQ         19NH23IP922600C3               IP               41.51     93.268                                  $0.00   75-2024-0943
    1-9390FG3        20NH23IP922600C3               IP               41.51     93.268                                  $0.00   75-2024-0943
   1-9390GKL         20NH23IP922600C5               IP               41.51     93.268                                  $0.00   75-2124-0943
   1-9390GUU       20NH23IP922600UDSPC5             IP               41.51     93.268                                  $0.00   75-2124-0943
   1-9390GWA         20NH23IP922600C6               IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6              IP               41.51     93.268                                  $0.00     75-X-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1350
                                                                                             Award# 6 NH23IP922600-03-02
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 04/28/2022




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                        PageID #: 1351
                               AWARD ATTACHMENTS
Public Health and Environment, Colorado Department of                 6 NH23IP922600-03-02
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA            Document 4-10 Filed 04/01/25            Page 265 of 498
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 ADDITIONAL TERMS AND CONDITIONS

Revised Budget: The purpose of this amended Notice of Award is to approve the revised
budget submitted by your organization dated March 17, 2022. Funds have been distributed as
indicated in the approved budget of this Notice of Award.

Administrative Correction: The purpose of this amendment is to extend the period of usage
for all listed COVID document numbers to align with the liquidation extensions in Payment
Management Systems. No action is required from the recipient.


COVID Document Numbers
 19NH23IP922600C3
 20NH23IP922600C3
 20NH23IP922600C5
 20NH23IP922600UDSPC5
 20NH23IP922600C6
 20NH23IP922600VWCC6



All other terms and conditions of this award remains in effect throughout the budget period
unless otherwise changed, in writing, by the Grants Management Officer.

PLEASE REFERENCE AWARD NUMBERS ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1353         Notice of Award
                                                                                                    Award# 5 NH23IP922600-04-00
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 07/06/2022



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   Public Health and Environment, Colorado         5 NH23IP922600-04-00
                                                12. Unique Federal Award Identification Number (FAIN)
   Department of
                                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]                                       amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Non-Competing Continuation
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2022 - End Date 06/30/2023

                                                20. Total Amount of Federal Funds Obligated by this Action                                   $6,215,817.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                  $6,010,817.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                  $738,912.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                     $533,912.00
                                                23. Total Amount of Federal Funds Obligated this budget period                                        $0.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                $6,215,817.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 07/01/2019 - End Date 06/30/2024
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $139,964,501.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




                                                                                                                                              Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1354         Notice of Award
             Centers for Disease Control and Prevention                                           Award# 5 NH23IP922600-04-00
                                                                                                  FAIN# NH23IP922600
                                                                                                  Federal Award Date: 07/06/2022



Recipient Information                                   33. Approved Budget
                                                        (Excludes Direct Assistance)
Recipient Name                                           I. Financial Assistance from the Federal Awarding Agency Only
 Public Health and Environment, Colorado                 II. Total project costs including grant funds and all other financial participation
 Department of                                          a. Salaries and Wages                                                    $2,198,157.00
 4300 E Cherry Creek South Dr
                                                        b. Fringe Benefits                                                        $737,478.00
 Denver, CO 80246-1523
 [NO DATA]                                                   c. Total Personnel Costs                                            $2,935,635.00
                                                        d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                     e. Supplies                                                               $133,147.00
Payment Account Number and Type                         f. Travel                                                                  $63,796.00
 1840644739A4
Employer Identification Number (EIN) Data               g. Construction                                                                 $0.00
 840644739                                              h. Other                                                                  $380,536.00
Universal Numbering System (DUNS)
                                                        i. Contractual                                                           $2,497,703.00
 878208826
Recipient’s Unique Entity Identifier (UEI)              j. TOTAL DIRECT COSTS                                                   $6,010,817.00
 Y3WEW9MQ6NH5
                                                        k. INDIRECT COSTS                                                         $738,912.00

 31. Assistance Type                                    l. TOTAL APPROVED BUDGET                                                $6,749,729.00
 Cooperative Agreement
                                                        m. Federal Share                                                        $6,749,729.00
 32. Type of Award
 Other                                                  n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.        DOCUMENT NO.         ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ         19NH23IP922600                IP               41.51     93.268                                    $0.00     75-X-0951
   1-9390BKG          19NH23IP922600                IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    1-9390BKJ         19NH23IP922600                IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-9390BKM          19NH23IP922600                IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-939ZRWL          19NH23IP922600                IP               41.51     93.268                                    $0.00    75-21-0951
   0-9390EWQ         19NH23IP922600C3               IP               41.51     93.268                                    $0.00   75-2024-0943
    1-9390FG3        20NH23IP922600C3               IP               41.51     93.268                                    $0.00   75-2024-0943
   1-9390GKL         20NH23IP922600C5               IP               41.51     93.268                                    $0.00   75-2124-0943
   1-9390GUU       20NH23IP922600UDSPC5             IP               41.51     93.268                                    $0.00   75-2124-0943
   1-9390GWA         20NH23IP922600C6               IP               41.51     93.268                                    $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6              IP               41.51     93.268                                    $0.00     75-X-0943
   2-9390BKG          19NH23IP922600                IP               41.51     93.268                              $779,224.00 75-75-X-0512-009
    2-9390BKJ         19NH23IP922600                IP               41.51     93.268                               $65,186.00 75-75-X-0512-009
   2-9390BKM          19NH23IP922600                IP               41.51     93.268                              $862,893.00 75-75-X-0512-009
    2-9390K3F         19NH23IP922600                IP               41.51     93.268                            $3,695,542.00     75-X-0951
   2-9390K3G          19NH23IP922600                IP               41.51     93.268                              $554,263.00     75-X-0951
   2-939ZRWL          19NH23IP922600                IP               41.51     93.268                              $258,709.00    75-22-0951




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1355
                                                                                             Award# 5 NH23IP922600-04-00
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 07/06/2022




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                       $0.00                             $0.00
Fringe Benefits                                                  $0.00                       $0.00                             $0.00
Travel                                                           $0.00                   $2,301.00                         $2,301.00
Equipment                                                        $0.00                       $0.00                             $0.00
Supplies                                                         $0.00                       $0.00                             $0.00
Contractual                                                      $0.00                       $0.00                             $0.00
Construction                                                     $0.00                       $0.00                             $0.00
Other                                                            $0.00                       $0.00                             $0.00
Total                                                            $0.00                   $2,301.00                         $2,301.00




                                                                                                                               Page 3
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                                        PageID #: 1356
                               AWARD ATTACHMENTS
Public Health and Environment, Colorado Department of                 5 NH23IP922600-04-00
1. Terms and Conditions
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                                        PageID #: 1357



 AWARD INFORMATION


Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number IP19-1901, entitled Immunization and Vaccines
for Children, and application dated March 28, 2022, as may be amended, which are hereby
made a part of this Non-research award, hereinafter referred to as the Notice of Award (NoA).

Approved Funding: Funding in the amount of $6,749,729 is approved for the Year 04 budget
period, which is July 1,2022 through June 30, 2023. This amount includes carryover and/or
offset, please see Use of Unobligated Funds below. All future year funding will be based on
satisfactory programmatic progress and the availability of funds.

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third-party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.

Component/Project Funding: The NOFO provides for the funding of multiple components
under this award. The approved component funding levels for this notice of award are:


 NOFO Component                   Amount
 CORE                             $6,215,817
 AA1                              $
 CC3                              $113,370
 CC4                              $

HHS Non-Discrimination Legal Requirements for Recipients of Federal Financial
Assistance: This is to notify you that the Centers for Disease Control and Prevention (CDC)
incorporated Department of Health and Human Services (HHS) non-discrimination legal
requirements for recipients of federal financial assistance into the CDC General Terms and
Conditions within your Notice of Award. The new requirements are effective immediately. The
requirements are in the General Requirements section of the General Terms and Conditions,
and are also listed below.

You must administer your project in compliance with federal civil rights laws that prohibit
discrimination on the basis of race, color, national origin, disability, age and, in some
circumstances, religion, conscience, and sex (including gender identity, sexual orientation, and
pregnancy). This includes taking reasonable steps to provide meaningful access to persons with
limited English proficiency and providing programs that are accessible to and usable by persons
with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-
obligations/index.html and https://www.hhs.gov/civil-rights/for-
individuals/nondiscrimination/index.html.
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   •   You must take reasonable steps to ensure that your project provides meaningful access
       to persons with limited English proficiency. For guidance on meeting your legal
       obligation to take reasonable steps to ensure meaningful access to your programs or
       activities by limited English proficient individuals, see https://www.hhs.gov/civil-rights/for-
       individuals/special-topics/limited-english-proficiency/fact-sheet-guidance/index.html and
       https://www.lep.gov/.
   •    For information on your specific legal obligations for serving qualified individuals with
       disabilities, including providing program access, reasonable modifications, and taking
       appropriate steps to provide effective communication, see
       http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
   •    HHS funded health and education programs must be administered in an environment
       free of sexual harassment, see https://www.hhs.gov/civil-rights/for-individuals/sex-
       discrimination/index.html.
   •   For guidance on administering your project in compliance with applicable federal
       religious nondiscrimination laws and applicable federal conscience protection and
       associated anti-discrimination laws, see https://www.hhs.gov/conscience/conscience-
       protections/index.html and https://www.hhs.gov/conscience/religious-
       freedom/index.html.

Financial Assistance Mechanism: Cooperative Agreement

Substantial Involvement by CDC: This is a cooperative agreement and CDC will have
substantial programmatic involvement after the award is made. Substantial involvement is in
addition to all post-award monitoring, technical assistance, and performance reviews
undertaken in the normal course of stewardship of federal funds.

CDC program staff will assist, coordinate, or participate in carrying out effort under the award,
and recipients agree to the responsibilities therein, as detailed in the NOFO.

   •   Provide guidance, trainings, tools, and technical assistance to award recipient on
       program area components.
   •   Host conference calls for sharing information from CDC and between award recipient.
   •   Work with award recipients on planning and implementation of required and proposed
       activities.
   •   Monitor award recipient vaccine spend plan and replenishment providing regular
       feedback and working with award recipient to address barriers.
   •   Analyze and report results of surveys regarding national, state and selected local level
       vaccination coverage.
   •   Analyze and report result of surveys of award recipient plans and activities related to
       preparedness.
   •   Collaboration with external partners to promote IIS in national health IT settings.
   •   Develop and support improvements in IIS data quality and program measures to
       assess IIS performance.
   •   Use IIS submitted data to develop methods to estimate national vaccination coverage
       and calculate vaccination coverage estimates for routinely recommended childhood
       vaccines.
   •   Use IIS submitted data to monitor seasonal or pandemic influenza vaccination among
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       ages that are available in the IIS data.
   •   Assist, as needed, in the development of data collection and reporting methods for
       school- enterer vaccination coverage surveys.
   •   Provide VFC policy guidance via the VFC Operations Guide, periodic trainings and
       conference calls, including use of the CDC developed quality assurance site visit tools,
       to assist award recipients implement their VFC program in accordance with federal
       requirements.
   •   Provide subject matter guidance in all program component areas.

Direct Assistance (DA): DA is awarded in the amount of $2,301 for this budget period.

Use of Unobligated Funds: This NoA includes use of Year 02 unobligated funds in the amount
of $533,912 which has been applied as an offset to the currently approved funding level for this
budget period. The use of unobligated funds is approved based on the Year 02 Federal
Financial Report (FFR) dated September 30, 2021. The amount of this NoA will be subject to
reduction if the final amount of unobligated funds is less than the amount of unobligated funds
reported on the referenced FFR.

Budget Revision Requirement: By September 1, 2022, the recipient must submit a revised
budget with a narrative justification.

A revised budget is needed in the amount of $144,106, which is the amount of additional funds
awarded under this Notice of Award. These additional funds were placed in the “Other” cost
category under the CORE award. Please submit the revised budget as an amendment in
GrantSolutions.

Administrative Requirement: The recipient must respond to the OGS Budget Comments in
accordance with the recommendations provided as a Grant Note in GrantSolutions by
September 1, 2022. If the date falls on a weekend or holiday, the submission will be due the
following business day.

Failure to submit the required information in a timely manner may adversely affect the future
funding of this project. If the information cannot be provided by the due date, you are required
to contact the GMS/GMO identified in the CDC Staff Contacts section of this notice before the
due date.

Program Income: Any program income generated under this grant or cooperative agreement
will be used in accordance with the Addition alternative.

Addition alternative: Under this alternative, program income is added to the funds committed to
the project/program and is used to further eligible project/program objectives.

Note: The disposition of program income must have written prior approval from the GMO.

 FUNDING RESTRICTIONS AND LIMITATIONS


Notice of Funding Opportunity (NOFO) Restrictions:

   •   Recipients may not use funds for research.
   •   Recipients may not use funds for clinical care except as allowed by law. This restriction
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       does not prohibit the use of IP19-1901 funding for vaccination activities, including
       the direct administration of vaccines.
   •   Recipients may use funds only for reasonable program purposes, including personnel,
       travel, supplies, and services.
   •   Generally, recipients may not use funds to purchase furniture or equipment. Any such
       proposed spending must be clearly identified in the budget.
   •   Reimbursement of pre-award costs generally is not allowed, unless the CDC provides
       written approval to the recipient.
   •   Other than for normal and recognized executive-legislative relationships, no funds may
       be used for:

           a. publicity or propaganda purposes, for the preparation, distribution, or use of any
              material designed to support or defeat the enactment of legislation before any
              legislative body
           b. the salary or expenses of any grant or contract recipient, or agent acting for such
              recipient, related to any activity designed to influence the enactment of
              legislation, appropriations, regulation, administrative action, or Executive order
              proposed or pending before any legislative body
           c. See Additional Requirement (AR) 12 for detailed guidance on this prohibition and
              additional guidance on lobbying for CDC recipients.

   •   The direct and primary recipient in a cooperative agreement program must perform a
       substantial role in carrying out project outcomes and not merely serve as a conduit for
       an award to another party or provider who is ineligible.
   •   In accordance with the United States Protecting Life in Global Health Assistance policy,
       all non-governmental organization (NGO) applicants acknowledge that foreign NGOs
       that receive funds provided through this award, either as a prime recipient or
       subrecipient, are strictly prohibited, regardless of the source of funds, from performing
       abortions as a method of family planning or engaging in any activity that promotes
       abortion as a method of family planning, or to provide financial support to any other
       foreign non-governmental organization that conducts such activities. See Additional
       Requirement (AR) 35 for applicability
       https://www.cdc.gov/grants/additionalrequirements/ar-35.html

Indirect Costs: Indirect costs are approved based on the negotiated indirect cost rate
agreement dated October 15, 2021, which calculates indirect costs as follows, a Provisional is
approved at a rate of 17.40% of the base, which includes, direct salaries/wages including all
fringe benefits and contract payroll expenses. The effective dates of this indirect cost rate are
from July 1, 2022 to June 30, 2025.

 REPORTING REQUIREMENTS


Performance Progress and Monitoring: Performance information collection initiated under
this grant/cooperative agreement has been approved by the Office of Management and Budget
under OMB Number 0920-1132, “Performance Progress and Monitoring Report”,
Expiration Date 10/31/2022. The components of the PPMR are available for download at:
https://www.cdc.gov/grants/already-have-grant/Reporting.html .
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Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
the HHS OIG at the following addresses:

CDC, Office of Grants Services
Wayne Woods, Grants Management Officer/Specialist
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road, MS-TV2
Atlanta, GA 30341
Email: kuv1@cdc.gov (include “Mandatory Grant Disclosures in subject line)


AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
(45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award. (45 CFR 75.373(b))

 PAYMENT INFORMATION


The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
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by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
sensitive material and submitters may decline to give their names if they choose to remain
anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified beginning on the bottom of Page 2 of the Notice of Award
must be known in order to draw down funds.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1363         Notice of Award
                                                                                                    Award# 6 NH23IP922600-04-01
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 08/31/2022



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   PUBLIC HEALTH AND ENVIRONMENT,                  6 NH23IP922600-04-01
                                                12. Unique Federal Award Identification Number (FAIN)
   COLORADO DEPARTMENT OF
                                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]                                       amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2022 - End Date 06/30/2023

                                                20. Total Amount of Federal Funds Obligated by this Action                                   $1,284,246.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                  $1,095,721.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                  $188,525.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                     $533,912.00
                                                23. Total Amount of Federal Funds Obligated this budget period                               $6,215,817.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                $7,500,063.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 07/01/2019 - End Date 06/30/2024
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $141,248,747.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1364         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-04-01
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 08/31/2022



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 PUBLIC HEALTH AND ENVIRONMENT,                         II. Total project costs including grant funds and all other financial participation
 COLORADO DEPARTMENT OF                                a. Salaries and Wages                                                    $2,198,157.00
 4300 E Cherry Creek South Dr
                                                       b. Fringe Benefits                                                        $737,478.00
 Denver, CO 80246-1523
 [NO DATA]                                                  c. Total Personnel Costs                                            $2,935,635.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $133,147.00
Payment Account Number and Type                        f. Travel                                                                  $63,796.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                  $392,783.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                           $3,581,177.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                   $7,106,538.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                         $927,437.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                                $8,033,975.00
 Cooperative Agreement
                                                       m. Federal Share                                                        $8,033,975.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                    $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                    $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                    $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                    $0.00   75-2124-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                    $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                    $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                    $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                    $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                               $20,781.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                            $1,263,465.00     75-X-0943




                                                                                                                                    Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1365
                                                                                             Award# 6 NH23IP922600-04-01
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 08/31/2022




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                      PageID #: 1366
                              AWARD ATTACHMENTS
PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF               6 NH23IP922600-04-01
1. Terms and Conditions
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 AWARD INFORMATION

Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number IP19-1901, titled Vaccines for Children, which
are hereby made a part of this Non-research award, hereinafter referred to as the Notice of
Award (NoA).

Supplemental Component Funding: Additional funding in the amount of $1,284,246 is
approved for the Year 04 budget period, which is July 1, 2022 through June 30, 2023.

The NOFO provides for the funding of multiple components under this award. The approved
component funding levels for this notice of award are:

 NOFO Component                   Amount
 IIS Supplement                   $1,263,465
 Ukrainian Resettlement           $20,781
 Vaccination Supplement

Recipients have until June 30, 2024, to expend funds awarded under this supplement.
Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
agreement awarded by the Department of Health and Human Services (HHS) with funds made
available under the Coronavirus Preparedness and Response Supplemental Appropriations Act,
2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the
“CARES Act”) (P.L. 116-136); the Paycheck Protection Program and Health Care Enhancement
Act (P.L. 116-139); the Consolidated Appropriations Act and the Coronavirus Response and
Relief Supplement Appropriations Act, 2021 (P.L. 116-260) and/or the American Rescue Plan of
2021 [P.L. 117-2] agrees, as applicable to the award, to: 1) comply with existing and/or future
directives and guidance from the Secretary regarding control of the spread of COVID-19; 2) in
consultation and coordination with HHS, provide, commensurate with the condition of the
individual, COVID-19 patient care regardless of the individual’s home jurisdiction and/or
appropriate public health measures (e.g., social distancing, home isolation); and 3) assist the
United States Government in the implementation and enforcement of federal orders related to
quarantine and isolation.
In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES Act,
with respect to the reporting to the HHS Secretary of results of tests intended to detect SARS–
CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in accordance with
guidance and direction from HHS and/or CDC. HHS laboratory reporting guidance is posted at:
https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-guidance.pdf.

Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
copies of and/or access to COVID-19 data collected with these funds, including but not limited
to data related to COVID-19 testing. CDC will specify in further guidance and directives what is
encompassed by this requirement.
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This award is contingent upon agreement by the recipient to comply with existing and future
guidance from the HHS Secretary regarding control of the spread of COVID-19. In addition,
recipient is expected to flow down these terms to any subaward, to the extent applicable to
activities set out in such subaward.

Administrative Requirement: By October 31, 2022, the recipient must respond to the OGS
Budget Comments in accordance with the recommendations provided in GrantSolutions as a
Grant Note. If the date falls on a weekend or holiday, the submission will be due the following
business day. Failure to submit the required information in a timely manner may adversely affect
the future funding of this project. If the information cannot be provided by the due date, you are
required to contact the GMS/GMO identified in the Awarding Agency Contact Information
section on the first page before the due date.
 REPORTING REQUIREMENTS

Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
the HHS OIG at the following addresses:

CDC, Office of Grants Services
Wayne Woods, Grants Management Specialist
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road, MS-TV-2
Atlanta, GA 30341
Email: kuv1@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.
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Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
(45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award. (45 CFR 75.373(b)).

 PAYMENT INFORMATION

The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
sensitive material and submitters may decline to give their names if they choose to remain
anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified beginning on the bottom of Page 2 of the Notice of Award
must be known in order to draw down funds.

STEWARDSHIP: The recipient must exercise proper stewardship over Federal funds by
ensuring that all costs charged to your cooperative agreement are allowable, allocable, and
reasonable and that they address the highest priority needs as they relate to this program.

All other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1370         Notice of Award
                                                                                                    Award# 6 NH23IP922600-02-14
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 03/23/2023



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-02-14
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]                                       amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Budget Revision
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2020 - End Date 06/30/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                   ($927,537.00)
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                $1,425,910.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                       $498,373.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                            $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                             $119,640,288.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                              $119,640,288.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 07/01/2019 - End Date 06/30/2024
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $141,248,747.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1371         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-02-14
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 03/23/2023



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                   $14,983,836.00
 4300 E Cherry Creek South Dr
                                                       b. Fringe Benefits                                                       $4,946,621.00
 Denver, CO 80246-1523
 [NO DATA]                                                  c. Total Personnel Costs                                           $19,930,457.00
                                                       d. Equipment                                                               $77,563.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $840,646.00
Payment Account Number and Type                        f. Travel                                                                 $332,278.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                 $1,865,788.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                          $83,303,417.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                 $106,350,149.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                      $13,788,512.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                              $120,138,661.00
 Cooperative Agreement
                                                       m. Federal Share                                                      $120,138,661.00
 32. Type of Award
 Demonstration                                         n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.        DOCUMENT NO.        ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                  $0.00 75-2124-0943




                                                                                                                                    Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1372
                                                                                             Award# 6 NH23IP922600-02-14
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 03/23/2023




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                      PageID #: 1373
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-02-14
1. Terms and Conditions
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 ADDITIONAL TERMS AND CONDITIONS

Revised Budget: The purpose of this amended Notice of Award is to approve the revised budget
submitted by your organization dated February 23, 2023. Funds have been distributed as indicated in
the approved budget of this Notice of Award.

All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.

Please be advised that recipient must exercise proper stewardship over Federal funds by ensuring that
all costs charged to their cooperative agreement are allowable, allocable, necessary, and reasonable.


Grants Management Specialist:
Wayne Woods, Grants Management Specialist (GMS)
Centers for Disease Control and Prevention
Branch 1
2920 Brandywine Road, M/S TV-2
Atlanta, GA 30341
Telephone: 770-488-2948
Email: kuv1@cdc.gov


PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1375         Notice of Award
                                                                                                                        Award# 6 NH23IP922600-04-02
                Centers for Disease Control and Prevention
                                                                                                                        FAIN# NH23IP922600
                                                                                                                        Federal Award Date: 04/07/2023



Recipient Information                                                                             Federal Award Information
1. Recipient Name                                                 11. Award Number
    COLORADO DEPARTMENT OF PUBLIC                                      6 NH23IP922600-04-02
                                                                  12. Unique Federal Award Identification Number (FAIN)
    HEALTH & ENVIRONMENT
                                                                       NH23IP922600
    4300 E Cherry Creek South Dr                                  13. Statutory Authority
    Denver, CO 80246-1523                                              Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
    [NO DATA]                                                          amended.
                                                                  14. Federal Award Project Title
2. Congressional District of Recipient                                 CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                                   15. Assistance Listing Number
4. Employer Identification Number (EIN)                                93.268
   840644739
                                                                  16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)                              Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)                     17. Award Action Type
   Y3WEW9MQ6NH5                                                        Administrative Action
7. Project Director or Principal Investigator                     18. Is the Award R&D?
                                                                       No
    Ms. Heather Roth
    Heather.Roth@State.Co.Us                                                    Summary Federal Award Financial Information
    303-692-2289
                                                                  19. Budget Period Start Date             07/01/2022 - End Date 06/30/2023

                                                                  20. Total Amount of Federal Funds Obligated by this Action                                              $0.00
8. Authorized Official
                                                                      20a. Direct Cost Amount                                                                             $0.00
    Ms. Joy Moore                                                      20b. Indirect Cost Amount                                                                          $0.00
    Interim Chief Financial Officer
                                                                  21. Authorized Carryover                                                                                $0.00
    joy.moore@state.co.us
    303-692-2966                                                  22. Offset                                                                                       $533,912.00
                                                                  23. Total Amount of Federal Funds Obligated this budget period                                 $7,500,063.00
Federal Agency Information
                                                                  24. Total Approved Cost Sharing or Matching, where applicable                                           $0.00
 CDC Office of Financial Resources
                                                                  25. Total Federal and Non-Federal Approved this Budget Period                                  $7,500,063.00
9. Awarding Agency Contact Information                            26. Period of Perfomance Start Date 07/01/2019 - End Date 06/30/2024
 Wayne Woods
                                                                  27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                                      Cost Sharing or Matching this Period of Performance                                      $141,248,747.00
 770-488-2948


                                                                  28. Authorized Treatment of Program Income
10.Program Official Contact Information                                 ADDITIONAL COSTS
 Megan Schubnell
                                                                  29. Grants Management Officer – Signature
 Program Officer
                                                                        Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks
 This is an internal administrative correction. No action required of recipient.




                                                                                                                                                                  Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1376         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-04-02
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 04/07/2023



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                    $2,198,157.00
 4300 E Cherry Creek South Dr
                                                       b. Fringe Benefits                                                        $737,478.00
 Denver, CO 80246-1523
 [NO DATA]                                                  c. Total Personnel Costs                                            $2,935,635.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $133,147.00
Payment Account Number and Type                        f. Travel                                                                  $63,796.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                  $392,783.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                           $3,581,177.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                   $7,106,538.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                         $927,437.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                                $8,033,975.00
 Cooperative Agreement
                                                       m. Federal Share                                                        $8,033,975.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                  $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                  $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                  $0.00   75-2124-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1377
                                                                                             Award# 6 NH23IP922600-04-02
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 04/07/2023




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1378         Notice of Award
                                                                                                    Award# 5 NH23IP922600-05-00
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 07/12/2023



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   5 NH23IP922600-05-00
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]                                       amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Non-Competing Continuation
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2023 - End Date 06/30/2024

                                                20. Total Amount of Federal Funds Obligated by this Action                                   $5,389,953.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                  $5,808,771.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                  $652,327.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                   $1,071,145.00
                                                23. Total Amount of Federal Funds Obligated this budget period                                        $0.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                $5,389,953.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 07/01/2019 - End Date 06/30/2024
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $146,638,700.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




                                                                                                                                              Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1379         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 5 NH23IP922600-05-00
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 07/12/2023



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                    $1,937,338.00
 4300 E Cherry Creek South Dr
                                                       b. Fringe Benefits                                                        $639,749.00
 Denver, CO 80246-1523
 [NO DATA]                                                  c. Total Personnel Costs                                            $2,577,087.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $147,787.00
Payment Account Number and Type                        f. Travel                                                                 $105,288.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                  $138,495.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                           $2,840,114.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                   $5,808,771.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                         $652,327.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                                $6,461,098.00
 Cooperative Agreement
                                                       m. Federal Share                                                        $6,461,098.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                    $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                    $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                    $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                    $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                    $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                    $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                    $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                    $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                    $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                    $0.00   75-2124-0943
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                              $118,938.00     75-X-0951
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                              $934,246.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                               $60,015.00 75-75-X-0512-009
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                              $803,628.00 75-75-X-0512-009
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                            $3,144,562.00     75-X-0951
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                               $38,800.00   75-2223-0943
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                              $289,764.00    75-23-0951




                                                                                                                                    Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1380
                                                                                             Award# 5 NH23IP922600-05-00
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 07/12/2023




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                       $0.00                             $0.00
Fringe Benefits                                                  $0.00                       $0.00                             $0.00
Travel                                                           $0.00                   $9,176.00                         $9,176.00
Equipment                                                        $0.00                       $0.00                             $0.00
Supplies                                                         $0.00                       $0.00                             $0.00
Contractual                                                      $0.00                       $0.00                             $0.00
Construction                                                     $0.00                       $0.00                             $0.00
Other                                                            $0.00                       $0.00                             $0.00
Total                                                            $0.00                   $9,176.00                         $9,176.00




                                                                                                                               Page 3
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      DEPARTMENT OF HEALTH AND HUMAN
                             PageID      SERVICES Notice of Award
                                    #: 1381
                                                                                       Award# 5 NH23IP922600-05-00
      Centers for Disease Control and Prevention
                                                                                       FAIN# NH23IP922600
                                                                                       Federal Award Date: 07/12/2023



35. Terms And Conditions

Project Abstract Summary
  1. A statewide program to prevent vaccine-preventable diseases, raise immunization levels, prevent
     Hepatitis A & B and administer the Vaccines for Children Program.




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                                      PageID #: 1382
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  5 NH23IP922600-05-00
1. Terms and Conditions
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 AWARD INFORMATION


Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number IP19-1901, entitled Immunization and Vaccines
for Children, and application dated April 24, 2023, as may be amended, which are hereby made
a part of this Non-research award, hereinafter referred to as the Notice of Award (NoA).

Approved Funding: Funding in the amount of $6,461,098 is approved for the Year 05 budget
period, which is July 1, 2023, through June 30, 2024. This amount includes offset, please see
Use of Unobligated Funds below. All future year funding will be based on satisfactory
programmatic progress and the availability of funds.

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third-party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.

Component/Project Funding: The NOFO provides for the funding of multiple components
under this award. The approved component funding levels for this notice of award are:

 NOFO Component                    Amount
 CORE                              $5,991,995
 AA1                               $311,365
 CC3                               $118,938
 Ukraine                           $38,800

Financial Assistance Mechanism: Cooperative Agreement

Substantial Involvement by CDC: This is a cooperative agreement and CDC will have
substantial programmatic involvement after the award is made. Substantial involvement is in
addition to all post-award monitoring, technical assistance, and performance reviews
undertaken in the normal course of stewardship of federal funds.

CDC program staff will assist, coordinate, or participate in carrying out effort under the award,
and recipients agree to the responsibilities therein, as detailed in the NOFO.

   •   Provide guidance, trainings, tools, and technical assistance to award recipient on
       program area components.
   •   Host conference calls for sharing information from CDC and between award recipient.
   •   Work with award recipients on planning and implementation of required and proposed
       activities.
   •   Monitor award recipient vaccine spend plan and replenishment providing regular
       feedback and working with award recipient to address barriers.
   •   Analyze and report results of surveys regarding national, state and selected local level
       vaccination coverage.
   •   Analyze and report result of surveys of award recipient plans and activities related to
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       preparedness.
   •   Collaboration with external partners to promote IIS in national health IT settings.
   •   Develop and support improvements in IIS data quality and program measures to
       assess IIS performance.
   •   Use IIS submitted data to develop methods to estimate national vaccination coverage
       and calculate vaccination coverage estimates for routinely recommended childhood
       vaccines.
   •   Use IIS submitted data to monitor seasonal or pandemic influenza vaccination among
       ages that are available in the IIS data.
   •   Assist, as needed, in the development of data collection and reporting methods for
       school- enterer vaccination coverage surveys.
   •   Provide VFC policy guidance via the VFC Operations Guide, periodic trainings and
       conference calls, including use of the CDC developed quality assurance site visit tools,
       to assist award recipients implement their VFC program in accordance with federal
       requirements.
   •   Provide subject matter guidance in all program component areas.


Direct Assistance (DA): DA is awarded in the amount of $9,176 for this budget period.

Use of Unobligated Funds: This NoA includes use of Year 03 unobligated funds in the amount
of $1,071,145, which has been applied as an offset to the currently approved funding level for
this budget period. The use of unobligated funds is approved based on the Year 03Federal
Financial Report (FFR) dated September 28, 2022. The amount of this NoA will be subject to
reduction if the final amount of unobligated funds is less than the amount of unobligated funds
reported on the referenced FFR.

Budget Revision Requirement: Due to the availability of funds, recipient must submit a
revised budget (based on the awarded amount) with a narrative justification in GrantSolutions
as an amendment by September 30, 2023. Failure to submit the required information in a timely
manner may adversely affect the future funding of this project. If the information cannot be
provided by the due date, you are required to contact the GMS/GMO identified in the CDC Staff
Contacts section of this notice before the due date.

Missing Contractual Elements – The contracts listed in the budget are approved, however,
the recipient must provide name of vacant contractors upon selection, in GrantSolutions as a
Grant Note prior to beginning work on the contracts.

Program Income: Any program income generated under this grant or cooperative agreement
will be used in accordance with the Addition alternative.

Addition alternative: Under this alternative, program income is added to the funds committed to
the project/program and is used to further eligible project/program objectives.

Note: The disposition of program income must have written prior approval from the GMO.
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 FUNDING RESTRICTIONS AND LIMITATIONS


Notice of Funding Opportunity (NOFO) Restrictions:

   •   Recipients may not use funds for research.
   •   Recipients may not use funds for clinical care except as allowed by law. This restriction
       does not prohibit the use of IP19-1901 funding for vaccination activities, including
       the direct administration of vaccines.
   •   Recipients may use funds only for reasonable program purposes, including personnel,
       travel, supplies, and services.
   •   Generally, recipients may not use funds to purchase furniture or equipment. Any such
       proposed spending must be clearly identified in the budget.
   •   Reimbursement of pre-award costs generally is not allowed, unless the CDC provides
       written approval to the recipient.
   •   Other than for normal and recognized executive-legislative relationships, no funds may
       be used for:

           a. publicity or propaganda purposes, for the preparation, distribution, or use of any
              material designed to support or defeat the enactment of legislation before any
              legislative body
           b. the salary or expenses of any grant or contract recipient, or agent acting for such
              recipient, related to any activity designed to influence the enactment of
              legislation, appropriations, regulation, administrative action, or Executive order
              proposed or pending before any legislative body
           c. See Additional Requirement (AR) 12 for detailed guidance on this prohibition and
              additional guidance on lobbying for CDC recipients.

   •   The direct and primary recipient in a cooperative agreement program must perform a
       substantial role in carrying out project outcomes and not merely serve as a conduit for
       an award to another party or provider who is ineligible.
   •   In accordance with the United States Protecting Life in Global Health Assistance policy,
       all non-governmental organization (NGO) applicants acknowledge that foreign NGOs
       that receive funds provided through this award, either as a prime recipient or
       subrecipient, are strictly prohibited, regardless of the source of funds, from performing
       abortions as a method of family planning or engaging in any activity that promotes
       abortion as a method of family planning, or to provide financial support to any other
       foreign non-governmental organization that conducts such activities. See Additional
       Requirement (AR) 35 for applicability
       https://www.cdc.gov/grants/additionalrequirements/ar-35.html

Indirect Costs: Indirect costs are approved based on the negotiated indirect cost rate
agreement dated October 15, 2021, which calculates indirect costs as follows, a Provisional is
approved at a rate of 17.40% of the base, which includes, direct salaries/wages including all
fringe benefits and contract payroll expenses. The effective dates of this indirect cost rate are
from July 1, 2022 to June 30, 2025.
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 REPORTING REQUIREMENTS


Performance Progress and Monitoring: Performance information collection initiated under
this grant/cooperative agreement has been approved by the Office of Management and Budget
under OMB Number 0920-1132, “Performance Progress and Monitoring Report”,
Expiration Date 10/31/2022. The components of the PPMR are available for download at:
https://www.cdc.gov/grants/already-have-grant/Reporting.html .

Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
the HHS OIG at the following addresses:

CDC, Office of Grants Services
Wayne Woods, Grants Management Officer/Specialist
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road, MS-TV2
Atlanta, GA 30341
Email: kuv1@cdc.gov (include “Mandatory Grant Disclosures in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
(45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
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failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award. (45 CFR 75.373(b))


 PAYMENT INFORMATION


The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
sensitive material and submitters may decline to give their names if they choose to remain
anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified beginning on the bottom of Page 2 of the Notice of Award
must be known in order to draw down funds.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1388         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-01
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 08/28/2023



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-01
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2023 - End Date 12/31/2024

                                                20. Total Amount of Federal Funds Obligated by this Action                                   $4,889,097.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                  $4,599,933.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                  $289,164.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                   $1,071,145.00
                                                23. Total Amount of Federal Funds Obligated this budget period                               $5,389,953.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $10,279,050.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 07/01/2019 - End Date 12/31/2024
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $151,527,797.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




                                                                                                                                              Page 1
             Case 1:25-cv-00121-MSM-LDA
                                    Document 4-10 Filed 04/01/25 Page 302 of 498
             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1389         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-05-01
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 08/28/2023



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                    $2,477,994.00
 4300 E Cherry Creek South Dr
                                                       b. Fringe Benefits                                                        $853,781.00
 Denver, CO 80246-1523
 321-321-3214                                               c. Total Personnel Costs                                            $3,331,775.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $147,787.00
Payment Account Number and Type                        f. Travel                                                                 $139,008.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                 $1,432,852.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                           $5,357,282.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                  $10,408,704.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                         $941,491.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $11,350,195.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $11,350,195.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                    $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                    $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                    $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                    $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                    $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                    $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                    $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                    $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                    $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                    $0.00   75-2124-0943
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                    $0.00   75-2223-0943
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                                    $0.00    75-23-0951
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
    3-9390LR9          19NH23IP922600              IP               41.51     93.268                            $4,542,721.00     75-X-0140
   3-939ZRYH           19NH23IP922600              IP               41.51     93.268                              $346,376.00    75-23-0951




                                                                                                                                    Page 2
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                                        Document 4-10 Filed 04/01/25 Page 303 of 498
                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1390
                                                                                             Award# 6 NH23IP922600-05-01
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 08/28/2023




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                      PageID #: 1391
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-01
1. Terms and Conditions
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                                        PageID #: 1392


 AWARD INFORMATION


Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number CDC-RFA-IP19-1901, titled Immunization and
Vaccines for Children, as may be amended, which are hereby made a part of this Non-research
award, hereinafter referred to as the Notice of Award (NoA).

Supplemental Extension: This amendment approves a 6-month extension with additional
funds in the amount of $4,889,097. The budget and project period end dates have been
extended from June 30, 2024, to December 31, 2024.

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third-party in-kind contribution when applicable.
Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.
Component/Project Funding: The NOFO provides for the funding of multiple components
under this award. The approved component funding levels for this notice of award are:
  NOFO Component                    Amount
  HHS Bridge Access                 $3,688,320
  Vaccine Confidence                $346,376
  BY05 CORE - IIS                   $854,401

Summary Statement/Technical Review: Within 5 days of this Notice of Award’s (NoA) issue
date, the Summary Statement/Technical Review will be accessible to the recipient in
GrantSolutions Grant Notes. Contact the assigned Program Officer indicated in the NoA with
any questions regarding this document or any follow up requirements.

Budget Revision Requirement: By October 31, 2023, the recipient must submit a detailed
budget with a narrative justification and a detailed workplan as a budget revision amendment in
GrantSolutions. If the information cannot be provided by the due date, you are required to
contact the GMS/GMO identified in the CDC Staff Contacts section of this notice before the due
date.

A detailed budget is needed for the CORE-IIS component.

 REPORTING REQUIREMENTS


Annual Federal Financial Report (FFR SF-425): Annual financial reporting is required every
twelve-month period. Due to the approved extension period, the final budget period has been
extended and an additional annual financial report will be required. A completed FFR SF-425
covering the original final budget period of July 01, 2023, to June 30, 2024, must be submitted
by September 30, 2024.

Recipients must submit all closeout reports identified in this section within 90 days of the period
of performance end date. The reporting timeframe is the full period of performance. Failure to
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submit timely and accurate final reports may affect future funding to the organization or awards
under the direction of the same Project Director/Principal Investigator (PD/PI).

Final Performance Progress and Evaluation Report (PPER): This report should include the
information specified in the NOFO. At a minimum, the report will include the following:

•       Statement of progress made toward the achievement of originally stated aims.
•       Description of results (positive or negative) considered significant.
•       List of publications resulting from the project, with plans, if any, for further publication.

All manuscripts published as a result of the work supported in part or whole by the cooperative
grant must be submitted with the performance progress reports.

Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds
authorized and expended during the timeframe covered by the report. The Final FFR, SF-425 is
required and must be submitted no later than 90 days after the period of performance end date.
The final report must indicate the exact balance of unobligated funds and may not reflect any
unliquidated obligations. Should the amount not match with the final expenditures reported to
the Department of Health and Human Services’ PMS, you will be required to update your
reports to PMS accordingly. Remaining unobligated funds will be de-obligated and returned to
the U.S. Treasury.

Electronic versions of the form can be downloaded at:
https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html#sortby=1

Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed
Tangible Personal Property Report SF-428 and Final Report SF-428B addendum must be
submitted, along with any Supplemental Sheet SF-428S detailing all major equipment acquired
or furnished under this project with a unit acquisition cost of $5,000 or more. Electronic versions
of the forms can be downloaded by visiting: https://www.grants.gov/web/grants/forms/post-
award-reporting-forms.html#sortby=1

If no equipment was acquired under an award, a negative report is required.

The recipient must identify each item of equipment that it wishes to retain for continued use in
accordance with 45 CFR Part 75. The awarding agency may exercise its rights to require the
transfer of equipment purchased under the assistance award. CDC will notify the recipient if
transfer to title will be required and provide disposition instruction on all major equipment.

Equipment with a unit acquisition cost of less than $5,000 that is no longer to be used in
projects or programs currently or previously sponsored by the Federal Government may be
retained, sold, or otherwise disposed of, with no further obligation to the Federal Government.

    PAYMENT INFORMATION


The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
sensitive material and submitters may decline to give their names if they choose to remain
anonymous.
Case 1:25-cv-00121-MSM-LDA          Document 4-10 Filed 04/01/25          Page 307 of 498
                                     PageID #: 1394
Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified on the bottom of Page 2 of the Notice of Award must be
known to draw down funds.
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                                       Document 4-10 Filed 04/01/25 Page 308 of 498
                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1395         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-02
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 11/21/2023



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-02
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Budget Revision
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2023 - End Date 12/31/2024

                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                     $50,761.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                  ($50,761.00)
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                   $1,071,145.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $10,279,050.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $10,279,050.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 07/01/2019 - End Date 12/31/2024
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $151,527,797.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1396         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-05-02
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 11/21/2023



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                    $2,904,049.00
 4300 E Cherry Creek South Dr
                                                       b. Fringe Benefits                                                        $993,951.00
 Denver, CO 80246-1523
 321-321-3214                                               c. Total Personnel Costs                                            $3,898,000.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $150,332.00
Payment Account Number and Type                        f. Travel                                                                 $160,077.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                  $748,289.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                           $5,502,767.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                  $10,459,465.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                         $890,730.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $11,350,195.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $11,350,195.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                  $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                  $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
    3-9390LR9          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0140
   3-939ZRYH           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951




                                                                                                                                    Page 2
                  Case 1:25-cv-00121-MSM-LDA
                                        Document 4-10 Filed 04/01/25 Page 310 of 498
                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1397
                                                                                             Award# 6 NH23IP922600-05-02
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 11/21/2023




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                      PageID #: 1398
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-02
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA               Document 4-10 Filed 04/01/25               Page 312 of 498
                                          PageID #: 1399




 ADDITIONAL TERMS AND CONDITIONS

Revised Budget: The purpose of this amended Notice of Award is to approve the revised budget
submitted by your organization dated October 30, 2023. Funds have been distributed as indicated in the
approved budget of this Notice of Award.

All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.

Please be advised that recipient must exercise proper stewardship over Federal funds by ensuring that
all costs charged to their cooperative agreement are allowable, allocable, necessary, and reasonable.


Grants Management Specialist:
Wayne Woods, Grants Management Specialist (GMS)
Centers for Disease Control and Prevention
Branch 1
2920 Brandywine Road, M/S TV-2
Atlanta, GA 30341
Telephone: 770-488-2948
Email: kuv1@cdc.gov


PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
                Case 1:25-cv-00121-MSM-LDA
                                       Document 4-10 Filed 04/01/25 Page 313 of 498
                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1400         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-03
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 01/03/2024



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-03
   HEALTH & ENVIRONMENT
                                                12. Unique Federal Award Identification Number (FAIN)
                                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2023 - End Date 12/31/2024

                                                20. Total Amount of Federal Funds Obligated by this Action                                   $1,071,781.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                  $1,071,781.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                         $0.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                   $1,071,145.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $10,279,050.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $11,350,831.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 07/01/2019 - End Date 12/31/2024
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $152,599,578.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




                                                                                                                                              Page 1
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                                    Document 4-10 Filed 04/01/25 Page 314 of 498
             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1401         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-05-03
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 01/03/2024



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT
                                                       a. Salaries and Wages                                                    $2,904,049.00
 4300 E Cherry Creek South Dr
 Denver, CO 80246-1523                                 b. Fringe Benefits                                                        $993,951.00
 321-321-3214                                               c. Total Personnel Costs                                            $3,898,000.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $150,332.00
Payment Account Number and Type                        f. Travel                                                                 $160,077.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                 $1,820,070.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                           $5,502,767.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                  $11,531,246.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                         $890,730.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $12,421,976.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $12,421,976.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                    $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                    $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                    $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                    $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                    $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                    $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                    $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                    $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                    $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                    $0.00   75-2124-0943
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                    $0.00   75-2223-0943
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                                    $0.00 75-75-X-0512-009
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                                    $0.00    75-23-0951
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0951
    3-9390LR9          19NH23IP922600              IP               41.51     93.268                                    $0.00     75-X-0140
   3-939ZRYH           19NH23IP922600              IP               41.51     93.268                                    $0.00    75-23-0951
   4-9390MV2        20NH23IP922600IISC5            IP               41.51     93.268                            $1,071,781.00   75-2124-0943




                                                                                                                                    Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1402
                                                                                             Award# 6 NH23IP922600-05-03
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 01/03/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                      PageID #: 1403
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-03
1. Terms and Conditions
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                                       PageID #: 1404



 AWARD INFORMATION


Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number CDC-RFA-IP19-1901, entitled Immunization and
Vaccines for Children, as may be amended, which are hereby made a part of this Non-research
award, hereinafter referred to as the Notice of Award (NoA).

Supplemental Funding for Component Modernize IIS: Funding in the amount of $1,071,781
is approved for the Year 05 budget period, which is July 1, 2023, through December 31, 2024.
All future funding will be based on satisfactory programmatic progress and the availability of
funds.

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third-party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.

Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
agreement awarded by the Department of Health and Human Services (HHS) with funds made
available under the Coronavirus Preparedness and Response Supplemental Appropriations Act,
2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the
“CARES Act”) (P.L. 116-136); the Paycheck Protection Program and Health Care Enhancement
Act (P.L. 116-139); the Consolidated Appropriations Act and the Coronavirus Response and
Relief Supplement Appropriations Act, 2021 (P.L. 116-260) and/or the American Rescue Plan of
2021 [P.L. 117-2] agrees, as applicable to the award, to: 1) comply with existing and/or future
directives and guidance from the Secretary regarding control of the spread of COVID-19; 2) in
consultation and coordination with HHS, provide, commensurate with the condition of the
individual, COVID-19 patient care regardless of the individual’s home jurisdiction and/or
appropriate public health measures (e.g., social distancing, home isolation); and 3) assist the
United States Government in the implementation and enforcement of federal orders related to
quarantine and isolation.

In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES Act,
with respect to the reporting to the HHS Secretary of results of tests intended to detect SARS–
CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in accordance with
guidance and direction from HHS and/or CDC. HHS laboratory reporting guidance is posted at:
https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-guidance.pdf.
Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
copies of and/or access to COVID-19 data collected with these funds, including but not limited
to data related to COVID-19 testing. CDC will specify in further guidance and directives what is
encompassed by this requirement.

This award is contingent upon agreement by the recipient to comply with existing and future
guidance from the HHS Secretary regarding control of the spread of COVID-19. In addition,
recipient is expected to flow down these terms to any subaward, to the extent applicable to
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activities set out in such subaward.

Budget Revision Requirement: Within 30 days of this Notice of Award (NoA) issue date, the
recipient must submit a revised budget with a narrative justification. Failure to submit the
required information in a timely manner may adversely affect the future funding of this project. If
the information cannot be provided by the due date, you are required to contact the GMS/GMO
identified in the CDC Staff Contacts section of this notice before the due date.

BE SURE TO INCLUDE A DETAILED BUDGET AND THE REQUIRED ELEMENTS FOR
EACH SUBCONTRACT.

 REPORTING REQUIREMENTS


Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
the HHS OIG at the following addresses:

CDC, Office of Grants Services
Wayne Woods, Grants Management Officer/Specialist
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road, MS-TV2
Atlanta, GA 30341
Email: kuv1@cdc.gov (include “Mandatory Grant Disclosures in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).
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                                       PageID #: 1406


CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
(45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award. (45 CFR 75.373(b))

 PAYMENT INFORMATION


The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
sensitive material and submitters may decline to give their names if they choose to remain
anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified beginning on the bottom of Page 2 of the Notice of Award
must be known in order to draw down funds.
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                                       Document 4-10 Filed 04/01/25 Page 320 of 498
                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1407         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-04
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 02/27/2024



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-04
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2023 - End Date 12/31/2024

                                                20. Total Amount of Federal Funds Obligated by this Action                                     $249,950.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                    $248,212.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                     $1,738.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                   $1,071,145.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $11,350,831.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $11,600,781.00
9. Awarding Agency Contact Information          26. Period of Perfomance Start Date 07/01/2019 - End Date 12/31/2024
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $152,849,528.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1408         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-05-04
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 02/27/2024



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                    $2,904,049.00
 4300 E Cherry Creek South Dr
                                                       b. Fringe Benefits                                                        $993,951.00
 Denver, CO 80246-1523
 321-321-3214                                               c. Total Personnel Costs                                            $3,898,000.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $150,332.00
Payment Account Number and Type                        f. Travel                                                                 $160,077.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                 $1,820,070.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                           $5,750,979.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                  $11,779,458.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                         $892,468.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $12,671,926.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $12,671,926.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                   $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                   $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                   $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                   $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                   $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                   $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                   $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                   $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                   $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                   $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                   $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                   $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                   $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                   $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                   $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                   $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                   $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                   $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                   $0.00   75-2124-0943
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                   $0.00   75-2223-0943
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                                   $0.00     75-X-0951
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                                   $0.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                                   $0.00 75-75-X-0512-009
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                                   $0.00 75-75-X-0512-009
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                                   $0.00    75-23-0951
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                                   $0.00     75-X-0951
    3-9390LR9          19NH23IP922600              IP               41.51     93.268                                   $0.00     75-X-0140
   3-939ZRYH           19NH23IP922600              IP               41.51     93.268                                   $0.00    75-23-0951
   4-9390MV2        20NH23IP922600IISC5            IP               41.51     93.268                                   $0.00   75-2124-0943
   4-9390MPS           19NH23IP922600              IP               41.51     93.268                             $249,950.00     75-X-0951



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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1409
                                                                                             Award# 6 NH23IP922600-05-04
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 02/27/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-04
1. Terms and Conditions
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 AWARD INFORMATION


Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number CDC-RFA-IP19-1901, entitled Immunization and
Vaccines for Children, as may be amended, which are hereby made a part of this Non-research
award, hereinafter referred to as the Notice of Award (NoA).

Supplemental Funding for Varicella Outbreak: Funding in the amount of $249,950 is
approved for the Year 05 budget period, which is July 1, 2023, through December 31, 2024. All
future funding will be based on satisfactory programmatic progress and the availability of funds.

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third-party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.

 REPORTING REQUIREMENTS


Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
the HHS OIG at the following addresses:

CDC, Office of Grants Services
Wayne Woods, Grants Management Officer/Specialist
Centers for Disease Control and Prevention
Branch 1
2939 Flowers Road, MS-TV2
Atlanta, GA 30341
Email: kuv1@cdc.gov (include “Mandatory Grant Disclosures in subject line)


AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201
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Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
(45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award. (45 CFR 75.373(b))

 PAYMENT INFORMATION


The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
sensitive material and submitters may decline to give their names if they choose to remain
anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified beginning on the bottom of Page 2 of the Notice of Award
must be known in order to draw down funds.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1413         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-05
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 03/25/2024



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-05
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Budget Revision
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2023 - End Date 12/31/2024

                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                    $481,908.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                 ($481,908.00)
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                              $0.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                   $1,071,145.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $11,600,781.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $11,600,781.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 07/01/2019 - End Date 12/31/2024
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $152,849,528.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1414         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-05-05
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 03/25/2024



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                    $2,916,365.00
 4300 E Cherry Creek South Dr
                                                       b. Fringe Benefits                                                        $997,791.00
 Denver, CO 80246-1523
 321-321-3214                                               c. Total Personnel Costs                                            $3,914,156.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $191,932.00
Payment Account Number and Type                        f. Travel                                                                 $183,617.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                  $760,694.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                           $7,210,967.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                  $12,261,366.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                         $410,560.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $12,671,926.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $12,671,926.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                  $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                  $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
    3-9390LR9          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0140
   3-939ZRYH           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
   4-9390MV2        20NH23IP922600IISC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   4-9390MPS           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951



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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1415
                                                                                             Award# 6 NH23IP922600-05-05
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 03/25/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-05
1. Terms and Conditions
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 ADDITIONAL TERMS AND CONDITIONS

Revised Budget: The purpose of this amended Notice of Award is to approve the revised budget
submitted by your organization dated February 28, 2024. Funds have been distributed as indicated in
the approved budget of this Notice of Award.

All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.

Please be advised that recipient must exercise proper stewardship over Federal funds by ensuring that
all costs charged to their cooperative agreement are allowable, allocable, necessary, and reasonable.


Grants Management Specialist:
Wayne Woods, Grants Management Specialist (GMS)
Centers for Disease Control and Prevention
Branch 1
2920 Brandywine Road, M/S TV-2
Atlanta, GA 30341
Telephone: 770-488-2948
Email: kuv1@cdc.gov


PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1418         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-06
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 04/25/2024



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-06
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 E Cherry Creek South Dr                 13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Carryover of Funds
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2023 - End Date 12/31/2024

                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                 $60,154,791.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                $1,658,272.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                    $61,813,063.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                   $1,071,145.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $11,600,781.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $11,600,781.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 07/01/2019 - End Date 12/31/2024
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $152,849,528.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1419         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-05-06
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 04/25/2024



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                   $10,099,472.00
 4300 E Cherry Creek South Dr
                                                       b. Fringe Benefits                                                       $3,392,362.00
 Denver, CO 80246-1523
 321-321-3214                                               c. Total Personnel Costs                                           $13,491,834.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $605,200.00
Payment Account Number and Type                        f. Travel                                                                 $447,966.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                 $1,235,790.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                          $56,635,367.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                  $72,416,157.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                       $2,068,832.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $74,484,989.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $74,484,989.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                  $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                  $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
    3-9390LR9          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0140
   3-939ZRYH           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
   4-9390MV2        20NH23IP922600IISC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   4-9390MPS           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951



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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1420
                                                                                             Award# 6 NH23IP922600-05-06
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 04/25/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                      PageID #: 1421
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-06
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA               Document 4-10 Filed 04/01/25               Page 335 of 498
                                          PageID #: 1422




 ADDITIONAL TERMS AND CONDITIONS

Carryover: The purpose of this amended Notice of Award is to approve carryover of unobligated funds
in the amount of $61,813,063 from budget period YR04 to budget period YR05. This is in response to a
request submitted by your organization dated April 1, 2024. These funds have been distributed as
indicated in the approved budget of this Notice of Award.

Unobligated funds in the amount of $61,813,063 have been applied to this award. Please note that if the
actual amount of available unobligated funds is less than the amount used in this action, then the total
approved budget may be reduced by the difference in a subsequent award action, thus reducing the
amount of the current award.

Missing Contractual Elements – The contract(s) listed below are not approved and the recipient may
not begin the contracts until justified budgets are provided for each of the below contracts via
GrantSolutions as an AMENDMENT and GMO approval is provided via Notice of Award.

COVID 1 and 2

Contractor 1    TBD Media Campaign Vendor $830,145                FFR C3
                (Itemized costs for Contractor: $830,145)

Contractor 2    Local Public Health Agencies (LPHAs) $68,960 FFR C3
                (Itemized costs for Contractor: $68,960)

Contractor 3    Southern Ute Indian Tribe (SUIT)     $19,575     FFR C3
                (Itemized costs for Contractor: $19,575)

Contractor 4    Ute Mountain Ute Tribe (UMUT) $8,564)          FFR C3
                (Itemized costs for Contractor: $8,564)
COVID 3

Contractor 1    TBD - Electronic Health Record $500,000        FFR C5, C6, UDSPC5
                (Itemized costs for Contractor $500,000)

Contractor 2    TBD Media Campaign Vendor        $2,000,000 FFR C5, C6, UDSPC5
                (Itemized costs for Contractor $2,000,000- Fall 2024 Respiratory Virus Season Media
                Campaign)

Contractor 3    TBD Media Campaign Vendor $2,000,000 FFR C5, C6, UDSPC5
                (Itemized costs for Contractor $2,000,000 - Spring 2025 campaign)

COVID 4

Contractor 1 Regents of the University of Colorado - MI/BCT Project $895,000 FFR C5, C6, WVCC6
             (Itemized costs for Contractor $895,000)
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Contractor 2 TBD Community Based Organization Contracts $1,048,845 FFR C5, C6, WVCC6
             (Itemized costs for Contractor $1,048,845)

IIS Supplement

Contractor 1     Resultant, LLC $97,421 FFR IISC6
                 (Itemized costs for Contractor $97,421)


These funds are approved for the current fiscal year budget period only with no commitment for
continued support in future budget periods.

All other terms and conditions of the cooperative agreement remain unchanged and in full effect.

Please be advised that grantee must exercise proper stewardship over Federal funds by ensuring that all
costs charged to their cooperative agreement are allowable, allocable, and reasonable.


Grants Management Specialist:
Wayne Woods, Grants Management Specialist (GMS)
Centers for Disease Control and Prevention
Branch 1
2920 Brandywine Road, M/S E-15
Atlanta, GA 30341
Telephone: 770-488-2948
Email: kuv1@cdc.gov


PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1424         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-07
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 06/27/2024



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-07
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 Cherry Creek South Dr                   13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2023 - End Date 06/30/2025

                                                20. Total Amount of Federal Funds Obligated by this Action                                   $6,950,792.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                  $7,547,025.00
   Ms. Joy Moore                                    20b. Indirect Cost Amount                                                                  $209,823.00
   Interim Chief Financial Officer
                                                21. Authorized Carryover                                                                    $61,813,063.00
   joy.moore@state.co.us
   303-692-2966                                 22. Offset                                                                                   $1,877,201.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $11,600,781.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $18,551,573.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 07/01/2019 - End Date 06/30/2025
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $159,800,320.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible
 uvu4@cdc.gov
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1425         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-05-07
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 06/27/2024



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                   $12,830,711.00
 4300 Cherry Creek South Dr
                                                       b. Fringe Benefits                                                       $4,305,700.00
 Denver, CO 80246-1523
 321-321-3214                                               c. Total Personnel Costs                                           $17,136,411.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $734,738.00
Payment Account Number and Type                        f. Travel                                                                 $602,386.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                 $2,106,571.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                          $59,383,076.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                  $79,963,182.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                       $2,278,655.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $82,241,837.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $82,241,837.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                  $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                  $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
    3-9390LR9          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0140
   3-939ZRYH           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
   4-9390MV2        20NH23IP922600IISC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   4-9390MPS           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951



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          DEPARTMENT OF HEALTH AND HUMAN
                                 PageID      SERVICES Notice of Award
                                        #: 1426
                                                                                               Award# 6 NH23IP922600-05-07
          Centers for Disease Control and Prevention
                                                                                               FAIN# NH23IP922600
                                                                                               Federal Award Date: 06/27/2024


FY-ACCOUNT NO.     DOCUMENT NO.        ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.   AMT ACTION FINANCIAL ASSISTANCE      APPROPRIATION
   4-9390BKG       19NH23IP922600               IP               41.51       93.268                             $807,379.00 75-75-X-0512-009
    4-9390BKJ      19NH23IP922600               IP               41.51       93.268                              $68,531.00 75-75-X-0512-009
   4-9390BKM       19NH23IP922600               IP               41.51       93.268                           $1,004,675.00 75-75-X-0512-009
   4-9390MPT       19NH23IP922600               IP               41.51       93.268                           $3,922,914.00    75-X-0951
   4-9390MV2     19NH23IP922600IISC5            IP               41.51       93.268                             $534,988.00   75-2124-0943
   4-939ZRWL       19NH23IP922600               IP               41.51       93.268                             $311,071.00    75-24-0951
   4-939ZRYH       19NH23IP922600               IP               41.51       93.268                             $301,234.00    75-X-0951




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1427
                                                                                             Award# 6 NH23IP922600-05-07
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 06/27/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                       $0.00                             $0.00
Fringe Benefits                                                  $0.00                       $0.00                             $0.00
Travel                                                           $0.00                   $6,452.00                         $6,452.00
Equipment                                                        $0.00                       $0.00                             $0.00
Supplies                                                         $0.00                       $0.00                             $0.00
Contractual                                                      $0.00                       $0.00                             $0.00
Construction                                                     $0.00                       $0.00                             $0.00
Other                                                            $0.00                       $0.00                             $0.00
Total                                                            $0.00                   $6,452.00                         $6,452.00




                                                                                                                               Page 4
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                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-07
1. Terms and Conditions
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Supplemented Extension: The purpose of this amendment is to approve a 6-month extension
with supplemental funds per the request submitted by your organization dated April 4, 2024.
The budget and project period end dates have been extended from December 31, 2024, to June
30, 2025.

Additional funds in the amount of $7,756,848 are authorized and have been distributed as
indicated in the approved budget of this Notice of Award.

This amount includes offset, please see Use of Unobligated Funds below.

Approved Component/Project Funding: The NOFO provides for the funding of multiple
components under this award. For this NOA, the approved funding level for each component is
shown below:

 NOFO Component                   Amount
 CORE                             $7,221,860
 IIS                              $534,988


Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative agreement
awarded by the Department of Health and Human Services (HHS) with funds made available
under the Coronavirus Preparedness and Response Supplemental Appropriations Act, 2020 (P.L.
116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the “CARES Act”) (P.L.
116-136); the Paycheck Protection Program and Health Care Enhancement Act (P.L. 116-139);
the Consolidated Appropriations Act and the Coronavirus Response and Relief Supplement
Appropriations Act, 2021 (P.L. 116-260) and/or the American Rescue Plan of 2021 [P.L. 117-2]
agrees, as applicable to the award, to: 1) comply with existing and/or future directives and
guidance from the Secretary regarding control of the spread of COVID-19; 2) in consultation and
coordination with HHS, provide, commensurate with the condition of the individual, COVID-19
patient care regardless of the individual’s home jurisdiction and/or appropriate public health
measures (e.g., social distancing, home isolation); and 3) assist the United States Government in
the implementation and enforcement of federal orders related to quarantine and isolation.

Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
copies of and/or access to COVID-19 data collected with these funds, including but not limited to
data related to COVID-19 testing. CDC will specify in further guidance and directives what is
encompassed by this requirement.

This award is contingent upon agreement by the recipient to comply with existing and future
guidance from the HHS Secretary regarding control of the spread of COVID-19. In addition,
recipient is expected to flow down these terms to any subaward, to the extent applicable to
activities set out in such subaward.

Summary Statement/Technical Review: Within 5 days of this Notice of Award’s (NOA) issue
date, the Summary Statement/Technical Review will be accessible to the recipient in
GrantSolutions Grant Notes. Contact the assigned Program Officer indicated in the NOA with
any questions regarding this document or any follow up requirements and timelines set forth
therein.
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Direct Assistance (DA): The DA award amount is shown on page 3 of the NOA for $6,452 (DA
Travel- $2,292 and DA VCF Travel- $4,160) in this budget period.

Use of Unobligated Funds: This NOA includes use of Year 04 unobligated funds in the
amount of $806,056, which has been applied as an offset to the currently approved funding
level for this budget period. The use of unobligated funds is approved based on the Year 04
Federal Financial Report (FFR) dated October 31, 2023. The amount of this NOA will be subject
to reduction if the final amount of unobligated funds is less than the amount of unobligated funds
reported on the referenced FFR.

Budget Revision Requirement: By September 30, 2024, the recipient must submit a revised
budget with a narrative justification. Failure to submit the required information in a timely
manner may adversely affect the future funding of this project. If the information cannot be
provided by the due date, you are required to contact the GMS/GMO identified in the CDC Staff
Contacts section of this notice before the due date.

Administrative Requirements: The recipient must respond to the information below in the
budget revision:

              •   Personnel: Provide names of TBD staff upon selection

Missing Contractual/Consultant Elements – The contracts listed below is not approved and
the recipient may not begin the contract until a detailed budget is provided via GrantSolutions as
a Notification of a Contractor or Consultant Amendment and GMO approval is provided via
Notice of Award.

                                        CORE FUNDING

Contractor 1: Provide Funding Formula for LPHAs
Contractor 2: Envision – CIIS- $1,262,079
Contractor 3: TBD Media Campaign- $1,000,000

Provide the names of TBD Contractors upon selection.

                                      Adult IZ Framework

Provide the names of TBD Contractors upon selection.

 PAYMENT INFORMATION

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document numbers identified beginning on the bottom of Page 2 of the Notice of Award
must be known in order to draw down funds.
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 ADDITIONAL REPORTING REQUIREMENTS

Annual Federal Financial Report (FFR SF-425): Annual financial reporting is required every
twelve-month period. Due to the approved extension period, the final budget period has been
extended and an additional annual financial report will be required. A completed FFR SF-425
covering the original final budget period of July 1, 2023, to June 30, 2024, must be submitted by
September 30, 2024.

Recipients must submit all closeout reports identified in this section within 120 days of the
period of performance end date. The reporting timeframe is the full period of performance.
Failure to submit timely and accurate final reports may affect future funding to the organization
or awards under the direction of the same Project Director/Principal Investigator (PD/PI).

Final Performance Progress and Evaluation Report (PPER): This report should include the
information specified in the NOFO. At a minimum, the report will include the following:

        •   Statement of progress made toward the achievement of originally stated aims.
        •   Description of results (positive or negative) considered significant.
        •   List of publications resulting from the project, with plans, if any, for further
            publication.

All manuscripts published as a result of the work supported in part or whole by the cooperative
grant must be submitted with the performance progress reports.

Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds
authorized and actually expended during the timeframe covered by the report. The Final FFR,
SF-425 is required and must be submitted no later than 120 days after the period of
performance end date.

The final report must indicate the exact balance of unobligated funds and may not reflect any
unliquidated obligations. Should the amount not match with the final expenditures reported to
the Department of Health and Human Services’ PMS, you will be required to update your
reports to PMS accordingly. Remaining unobligated funds will be de-obligated and returned to
the U.S. Treasury.

Electronic versions of the form can be downloaded at:
https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html#sortby=1

Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed
Tangible Personal Property Report SF-428 and Final Report SF-428B addendum must be
submitted, along with any Supplemental Sheet SF-428S detailing all major equipment acquired
or furnished under this project with a unit acquisition cost of $5,000 or more. Electronic
versions of the forms can be downloaded by visiting:
https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html#sortby=1

If no equipment was acquired under an award, a negative report is required.

The recipient must identify each item of equipment that it wishes to retain for continued use in
accordance with 45 CFR Part 75. The awarding agency may exercise its rights to require the
transfer of equipment purchased under the assistance award. CDC will notify the recipient if
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transfer to title will be required and provide disposition instruction on all major equipment.

Equipment with a unit acquisition cost of less than $5,000 that is no longer to be used in
projects or programs currently or previously sponsored by the Federal Government may be
retained, sold, or otherwise disposed of, with no further obligation to the Federal Government.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1433         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-08
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 08/28/2024



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-08
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 Cherry Creek South Dr                   13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Robin Trujillo
   Deputy Chief                                              Summary Federal Award Financial Information
   robin.trujillo@state.co.us
                                                19. Budget Period Start Date           07/01/2023 - End Date 06/30/2025
   303-692-6242
                                                20. Total Amount of Federal Funds Obligated by this Action                                     $200,000.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                    $191,939.00
    Kurt Williams                                   20b. Indirect Cost Amount                                                                     $8,061.00
   Controller
                                                21. Authorized Carryover                                                                    $61,813,063.00
   kurt.williams@state.co.us
   303-810-4679                                 22. Offset                                                                                   $1,877,201.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $18,551,573.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $18,751,573.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 07/01/2019 - End Date 06/30/2025
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $160,000,320.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible1
 uvu4@cdc.gov
                                                     Grants Management Officer
 4047184709



30. Remarks




                                                                                                                                              Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1434         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-05-08
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 08/28/2024



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                   $12,830,711.00
 4300 Cherry Creek South Dr
                                                       b. Fringe Benefits                                                       $4,305,700.00
 Denver, CO 80246-1523
 321-321-3214                                               c. Total Personnel Costs                                           $17,136,411.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $736,677.00
Payment Account Number and Type                        f. Travel                                                                 $602,386.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                 $2,106,571.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                          $59,573,076.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                  $80,155,121.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                       $2,286,716.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $82,441,837.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $82,441,837.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                  $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                  $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
    3-9390LR9          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0140
   3-939ZRYH           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
   4-9390MV2        20NH23IP922600IISC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   4-9390MPS           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951



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          DEPARTMENT OF HEALTH AND HUMAN
                                 PageID      SERVICES Notice of Award
                                        #: 1435
                                                                                               Award# 6 NH23IP922600-05-08
          Centers for Disease Control and Prevention
                                                                                               FAIN# NH23IP922600
                                                                                               Federal Award Date: 08/28/2024


FY-ACCOUNT NO.     DOCUMENT NO.        ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.   AMT ACTION FINANCIAL ASSISTANCE      APPROPRIATION
   4-939ZRYH       19NH23IP922600               IP               41.51       93.268                                   $0.00    75-X-0951
   4-9390MPT       19NH23IP922600               IP               41.51       93.268                                   $0.00    75-X-0951
   4-9390MV2     19NH23IP922600IISC5            IP               41.51       93.268                                   $0.00   75-2124-0943
   4-939ZRWL       19NH23IP922600               IP               41.51       93.268                                   $0.00    75-24-0951
    4-9390BKJ      19NH23IP922600               IP               41.51       93.268                                   $0.00 75-75-X-0512-009
   4-9390BKG       19NH23IP922600               IP               41.51       93.268                                   $0.00 75-75-X-0512-009
   4-9390BKM       19NH23IP922600               IP               41.51       93.268                                   $0.00 75-75-X-0512-009
   4-9390NKD      19NH23IP922600C3              IP               41.51       93.268                             $200,000.00   75-2024-0140




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1436
                                                                                             Award# 6 NH23IP922600-05-08
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 08/28/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-08
1. Terms and Conditions
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 AWARD INFORMATION


Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number IP19-1901, entitled Immunization and Vaccines
for Children, and application dated August 14, 2024, as may be amended, which are hereby
made a part of this Non-research award, hereinafter referred to as the Notice of Award (NOA).

Supplemental Funding for Farmworker: Funding in the amount of $200,000 is approved for
Year 05 budget period, which is July 1, 2023, through June 30, 2025. All future year funding will
be based on satisfactory programmatic progress and the availability of funds.

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third-party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.

Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
agreement awarded by the Department of Health and Human Services (HHS) with funds made
available under the Coronavirus Preparedness and Response Supplemental Appropriations Act,
2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the
“CARES Act”) (P.L. 116-136); the Paycheck Protection Program and Health Care Enhancement
Act (P.L. 116-139); the Consolidated Appropriations Act and the Coronavirus Response and
Relief Supplement Appropriations Act, 2021 (P.L. 116-260) and/or the American Rescue Plan of
2021 [P.L. 117-2] agrees, as applicable to the award, to: 1) comply with existing and/or future
directives and guidance from the Secretary regarding control of the spread of COVID-19; 2) in
consultation and coordination with HHS, provide, commensurate with the condition of the
individual, COVID-19 patient care regardless of the individual’s home jurisdiction and/or
appropriate public health measures (e.g., social distancing, home isolation); and 3) assist the
United States Government in the implementation and enforcement of federal orders related to
quarantine and isolation.

Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
copies of and/or access to COVID-19 data collected with these funds, including but not limited
to data related to COVID-19 testing. CDC will specify in further guidance and directives what is
encompassed by this requirement.

This award is contingent upon agreement by the recipient to comply with existing and future
guidance from the HHS Secretary regarding control of the spread of COVID-19. In addition,
recipient is expected to flow down these terms to any subaward, to the extent applicable to
activities set out in such subaward.

Summary Statement/Technical Review: Within 5 days of this Notice of Award’s (NOA) issue
date, the Summary Statement/Technical Review will be accessible to the recipient in
GrantSolutions Grant Notes. Contact the assigned Program Officer indicated in the NOA with
any questions regarding this document or any follow up requirements and timelines set forth
therein.
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 REPORTING REQUIREMENTS


Performance Progress and Monitoring: Performance information collection initiated under
this grant/cooperative agreement has been approved by the Office of Management and Budget
under OMB Number 0920-1132, “Performance Progress and Monitoring Report”,
Expiration Date March 31, 2026. The components of the PPMR are available for download at:
https://www.cdc.gov/grants/already-have-grant/Reporting.html .


 PAYMENT INFORMATION


Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified beginning on the bottom of Page 2 of the Notice of Award
must be known in order to draw down funds.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1440         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-09
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 08/29/2024



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-09
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 Cherry Creek South Dr                   13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Change in Key Personnel
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Robin Trujillo
   Deputy Chief                                              Summary Federal Award Financial Information
   robin.trujillo@state.co.us
                                                19. Budget Period Start Date           07/01/2023 - End Date 06/30/2025
   303-692-6242
                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                           $0.00
    Kurt Williams                                   20b. Indirect Cost Amount                                                                         $0.00
   Controller
                                                21. Authorized Carryover                                                                    $61,813,063.00
   kurt.williams@state.co.us
   303-810-4679                                 22. Offset                                                                                   $1,877,201.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $18,551,573.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $18,551,573.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 07/01/2019 - End Date 06/30/2025
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $160,000,320.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible1
 uvu4@cdc.gov
                                                     Grants Management Officer
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1441         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-05-09
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 08/29/2024



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                   $20,013,818.00
 4300 Cherry Creek South Dr
                                                       b. Fringe Benefits                                                       $6,700,271.00
 Denver, CO 80246-1523
 321-321-3214                                               c. Total Personnel Costs                                           $26,714,089.00
                                                       d. Equipment                                                                     $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                              $1,149,945.00
Payment Account Number and Type                        f. Travel                                                                 $866,735.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                  $0.00
 840644739                                             h. Other                                                                 $2,581,667.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                         $108,997,476.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                 $140,309,912.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                       $2,286,716.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                              $142,596,628.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $82,241,837.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                  $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                  $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
    3-9390LR9          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0140
   3-939ZRYH           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
   4-9390MV2        20NH23IP922600IISC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   4-9390MPS           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951



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          DEPARTMENT OF HEALTH AND HUMAN
                                 PageID      SERVICES Notice of Award
                                        #: 1442
                                                                                               Award# 6 NH23IP922600-05-09
          Centers for Disease Control and Prevention
                                                                                               FAIN# NH23IP922600
                                                                                               Federal Award Date: 08/29/2024


FY-ACCOUNT NO.     DOCUMENT NO.        ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.   AMT ACTION FINANCIAL ASSISTANCE    APPROPRIATION
   4-939ZRYH       19NH23IP922600               IP               41.51       93.268                                 $0.00    75-X-0951
   4-9390MPT       19NH23IP922600               IP               41.51       93.268                                 $0.00    75-X-0951
   4-9390MV2     19NH23IP922600IISC5            IP               41.51       93.268                                 $0.00   75-2124-0943
   4-939ZRWL       19NH23IP922600               IP               41.51       93.268                                 $0.00    75-24-0951
    4-9390BKJ      19NH23IP922600               IP               41.51       93.268                                 $0.00 75-75-X-0512-009
   4-9390BKG       19NH23IP922600               IP               41.51       93.268                                 $0.00 75-75-X-0512-009
   4-9390BKM       19NH23IP922600               IP               41.51       93.268                                 $0.00 75-75-X-0512-009
   4-9390NKD      19NH23IP922600C3              IP               41.51       93.268                                 $0.00   75-2024-0140




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1443
                                                                                             Award# 6 NH23IP922600-05-09
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 08/29/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 4
        Case 1:25-cv-00121-MSM-LDA   Document 4-10 Filed 04/01/25   Page 357 of 498
                                      PageID #: 1444
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-09
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA               Document 4-10 Filed 04/01/25               Page 358 of 498
                                          PageID #: 1445



 ADDITIONAL TERMS AND CONDITIONS

Key Personnel: The purpose of this amendment is to approve the Authorized Organizational
Representative change from previously listed Jannette Scarpino to Kurt Williams. This is in response to
the request submitted by your organization dated August 22, 2024.

All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.


Please be advised that the recipient must exercise proper stewardship over Federal funds by ensuring
that all costs charged to their cooperative agreement are allowable, allocable, necessary and
reasonable.


PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
                Case 1:25-cv-00121-MSM-LDA
                                       Document 4-10 Filed 04/01/25 Page 359 of 498
                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1446         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-10
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 09/03/2024



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-10
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 Cherry Creek South Dr                   13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Robin Trujillo
   Deputy Chief                                              Summary Federal Award Financial Information
   robin.trujillo@state.co.us
                                                19. Budget Period Start Date           07/01/2023 - End Date 06/30/2025
   303-692-6242
                                                20. Total Amount of Federal Funds Obligated by this Action                                   $1,000,000.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                    $966,410.00
    Kurt Williams                                   20b. Indirect Cost Amount                                                                   $33,590.00
   Controller
                                                21. Authorized Carryover                                                                    $61,813,063.00
   kurt.williams@state.co.us
   303-810-4679                                 22. Offset                                                                                   $1,877,201.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $18,551,573.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $19,551,573.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 07/01/2019 - End Date 06/30/2025
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $161,000,320.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible1
 uvu4@cdc.gov
                                                     Grants Management Officer
 4047184709



30. Remarks




                                                                                                                                              Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1447         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-05-10
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 09/03/2024



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                   $20,074,628.00
 4300 Cherry Creek South Dr
                                                       b. Fringe Benefits                                                       $6,720,338.00
 Denver, CO 80246-1523
 321-321-3214                                               c. Total Personnel Costs                                           $26,794,966.00
                                                       d. Equipment                                                                     $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                              $1,157,159.00
Payment Account Number and Type                        f. Travel                                                                 $879,165.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                  $0.00
 840644739                                             h. Other                                                                 $2,583,109.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                         $109,861,923.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                 $141,276,322.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                       $2,756,976.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                              $144,033,298.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $83,241,837.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                  $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                  $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
    3-9390LR9          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0140
   3-939ZRYH           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
   4-9390MV2        20NH23IP922600IISC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   4-9390MPS           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951



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          DEPARTMENT OF HEALTH AND HUMAN
                                 PageID      SERVICES Notice of Award
                                        #: 1448
                                                                                               Award# 6 NH23IP922600-05-10
          Centers for Disease Control and Prevention
                                                                                               FAIN# NH23IP922600
                                                                                               Federal Award Date: 09/03/2024


FY-ACCOUNT NO.     DOCUMENT NO.        ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.   AMT ACTION FINANCIAL ASSISTANCE      APPROPRIATION
   4-939ZRYH       19NH23IP922600               IP               41.51       93.268                                   $0.00    75-X-0951
   4-9390MPT       19NH23IP922600               IP               41.51       93.268                                   $0.00    75-X-0951
   4-9390MV2     19NH23IP922600IISC5            IP               41.51       93.268                                   $0.00   75-2124-0943
   4-939ZRWL       19NH23IP922600               IP               41.51       93.268                                   $0.00    75-24-0951
    4-9390BKJ      19NH23IP922600               IP               41.51       93.268                                   $0.00 75-75-X-0512-009
   4-9390BKG       19NH23IP922600               IP               41.51       93.268                                   $0.00 75-75-X-0512-009
   4-9390BKM       19NH23IP922600               IP               41.51       93.268                                   $0.00 75-75-X-0512-009
   4-9390NKD      19NH23IP922600C3              IP               41.51       93.268                                   $0.00   75-2024-0140
   4-9390MFC      19NH23IP922600C5              IP               41.51       93.268                           $1,000,000.00   75-2124-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1449
                                                                                             Award# 6 NH23IP922600-05-10
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 09/03/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                                      PageID #: 1450
                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-10
1. Terms and Conditions
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 AWARD INFORMATION


Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
Notice of Funding Opportunity (NOFO) number IP19-1901, entitled Immunization and Vaccines
for Children, and application dated August 22, 2024, as may be amended, which are hereby
made a part of this Non-research award, hereinafter referred to as the Notice of Award (NOA).

Supplemental Funding for Vaccine Confidence: Funding in the amount of $1,000,000.00
is approved for Year 05 budget period, which is July 1, 2023, through June 30, 2025. All future
year funding will be based on satisfactory programmatic progress and the availability of funds.

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third-party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.

Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
agreement awarded by the Department of Health and Human Services (HHS) with funds made
available under the Coronavirus Preparedness and Response Supplemental Appropriations Act,
2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the
“CARES Act”) (P.L. 116-136); the Paycheck Protection Program and Health Care Enhancement
Act (P.L. 116-139); the Consolidated Appropriations Act and the Coronavirus Response and
Relief Supplement Appropriations Act, 2021 (P.L. 116-260) and/or the American Rescue Plan of
2021 [P.L. 117-2] agrees, as applicable to the award, to: 1) comply with existing and/or future
directives and guidance from the Secretary regarding control of the spread of COVID-19; 2) in
consultation and coordination with HHS, provide, commensurate with the condition of the
individual, COVID-19 patient care regardless of the individual’s home jurisdiction and/or
appropriate public health measures (e.g., social distancing, home isolation); and 3) assist the
United States Government in the implementation and enforcement of federal orders related to
quarantine and isolation.

Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
copies of and/or access to COVID-19 data collected with these funds, including but not limited
to data related to COVID-19 testing. CDC will specify in further guidance and directives what is
encompassed by this requirement.
This award is contingent upon agreement by the recipient to comply with existing and future
guidance from the HHS Secretary regarding control of the spread of COVID-19. In addition,
recipient is expected to flow down these terms to any subaward, to the extent applicable to
activities set out in such subaward.

Summary Statement/Technical Review: Within 5 days of this Notice of Award’s (NOA) issue
date, the Summary Statement/Technical Review will be accessible to the recipient in
GrantSolutions Grant Notes. Contact the assigned Program Officer indicated in the NOA with
any questions regarding this document or any follow up requirements and timelines set forth
therein.
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                                     PageID #: 1452


 REPORTING REQUIREMENTS


Performance Progress and Monitoring: Performance information collection initiated under
this grant/cooperative agreement has been approved by the Office of Management and Budget
under OMB Number 0920-1132, “Performance Progress and Monitoring Report”,
Expiration Date March 31, 2026. The components of the PPMR are available for download at:
https://www.cdc.gov/grants/already-have-grant/Reporting.html .


 PAYMENT INFORMATION


Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified beginning on the bottom of Page 2 of the Notice of Award
must be known in order to draw down funds.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1453         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-11
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 09/10/2024



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-11
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 Cherry Creek South Dr                   13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Release of Restrictions on NOA
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Robin Trujillo
   Deputy Chief                                              Summary Federal Award Financial Information
   robin.trujillo@state.co.us
                                                19. Budget Period Start Date           07/01/2023 - End Date 06/30/2025
   303-692-6242
                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                           $0.00
    Kurt Williams                                   20b. Indirect Cost Amount                                                                         $0.00
   Controller
                                                21. Authorized Carryover                                                                    $61,813,063.00
   kurt.williams@state.co.us
   303-810-4679                                 22. Offset                                                                                   $1,877,201.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $19,751,573.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $19,751,573.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 07/01/2019 - End Date 06/30/2025
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $161,000,320.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible1
 uvu4@cdc.gov
                                                     Grants Management Officer
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1454         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NH23IP922600-05-11
                                                                                                 FAIN# NH23IP922600
                                                                                                 Federal Award Date: 09/10/2024



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                   $12,891,521.00
 4300 Cherry Creek South Dr
                                                       b. Fringe Benefits                                                       $4,325,767.00
 Denver, CO 80246-1523
 321-321-3214                                               c. Total Personnel Costs                                           $17,217,288.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $743,891.00
Payment Account Number and Type                        f. Travel                                                                 $614,816.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                 $2,108,013.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                          $60,437,523.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                  $81,121,531.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                       $2,320,306.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $83,441,837.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $83,441,837.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.       ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
    1-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   1-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    1-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   1-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-21-0951
   0-9390EWQ          19NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
    1-9390FG3         20NH23IP922600C3             IP               41.51     93.268                                  $0.00   75-2024-0943
   1-9390GKL          20NH23IP922600C5             IP               41.51     93.268                                  $0.00   75-2124-0943
   1-9390GWA          20NH23IP922600C6             IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GZB       20NH23IP922600VWCC6             IP               41.51     93.268                                  $0.00     75-X-0943
   2-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   2-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    2-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-9390K3G           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   2-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-22-0951
   2-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
   2-9390K9M        20NH23IP922600IISC6            IP               41.51     93.268                                  $0.00     75-X-0943
   1-9390GUU       20NH23IP922600UDSPC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   3-9390K8W         20NH23IP922600UKR             IP               41.51     93.268                                  $0.00   75-2223-0943
    3-9390K3F          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
   3-9390BKM           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
    3-9390BKJ          19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-9390BKG           19NH23IP922600              IP               41.51     93.268                                  $0.00 75-75-X-0512-009
   3-939ZRWL           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
    3-93909KZ          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951
    3-9390LR9          19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0140
   3-939ZRYH           19NH23IP922600              IP               41.51     93.268                                  $0.00    75-23-0951
   4-9390MV2        20NH23IP922600IISC5            IP               41.51     93.268                                  $0.00   75-2124-0943
   4-9390MPS           19NH23IP922600              IP               41.51     93.268                                  $0.00     75-X-0951



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          DEPARTMENT OF HEALTH AND HUMAN
                                 PageID      SERVICES Notice of Award
                                        #: 1455
                                                                                               Award# 6 NH23IP922600-05-11
          Centers for Disease Control and Prevention
                                                                                               FAIN# NH23IP922600
                                                                                               Federal Award Date: 09/10/2024


FY-ACCOUNT NO.     DOCUMENT NO.        ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.   AMT ACTION FINANCIAL ASSISTANCE    APPROPRIATION
   4-939ZRYH       19NH23IP922600               IP               41.51       93.268                                 $0.00    75-X-0951
   4-9390MPT       19NH23IP922600               IP               41.51       93.268                                 $0.00    75-X-0951
   4-9390MV2     19NH23IP922600IISC5            IP               41.51       93.268                                 $0.00   75-2124-0943
   4-939ZRWL       19NH23IP922600               IP               41.51       93.268                                 $0.00    75-24-0951
    4-9390BKJ      19NH23IP922600               IP               41.51       93.268                                 $0.00 75-75-X-0512-009
   4-9390BKG       19NH23IP922600               IP               41.51       93.268                                 $0.00 75-75-X-0512-009
   4-9390BKM       19NH23IP922600               IP               41.51       93.268                                 $0.00 75-75-X-0512-009
   4-9390NKD      19NH23IP922600C3              IP               41.51       93.268                                 $0.00   75-2024-0140
   4-9390MFC      19NH23IP922600C5              IP               41.51       93.268                                 $0.00   75-2124-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1456
                                                                                             Award# 6 NH23IP922600-05-11
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 09/10/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-11
1. Terms and Conditions
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 ADDITIONAL TERMS AND CONDITIONS OF AWARD

Release of Contractual Restrictions: The purpose of this amended Notice of Award is to approve the
receipt of Missing Contractual Elements for Envision and to lift restrictions that were placed on the use
of this contractor. This approval is in response to the request submitted by your organization dated
August 30, 2024.

Stewardship: Please be advised that recipients must exercise proper stewardship over Federal funds by
ensuring that all costs charged to their cooperative agreement are allowable, allocable, necessary, and
reasonable.

All the other terms and conditions issued with the original award remain in effect throughout the budget
period unless otherwise changed, in writing, by the Grants Management Officer.



PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
                Case 1:25-cv-00121-MSM-LDA
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1459         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-12
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 10/16/2024



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-12
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 Cherry Creek South Dr                   13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Budget Revision
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
    Robin Trujillo
   Deputy Chief                                              Summary Federal Award Financial Information
   robin.trujillo@state.co.us
                                                19. Budget Period Start Date           07/01/2023 - End Date 06/30/2025
   303-692-6242
                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                    ($26,932.00)
   Mr. Kurt Williams                                20b. Indirect Cost Amount                                                                   $26,932.00
   Controller
                                                21. Authorized Carryover                                                                    $61,813,063.00
   kurt.williams@state.co.us
   303-810-4679                                 22. Offset                                                                                   $1,877,201.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $19,751,573.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $19,751,573.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 07/01/2019 - End Date 06/30/2025
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $161,000,320.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible1
 uvu4@cdc.gov
                                                     Grants Management Officer
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1460         Notice of Award
             Centers for Disease Control and Prevention                                        Award# 6 NH23IP922600-05-12
                                                                                               FAIN# NH23IP922600
                                                                                               Federal Award Date: 10/16/2024



Recipient Information                                33. Approved Budget
                                                     (Excludes Direct Assistance)
Recipient Name                                        I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                        II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                a. Salaries and Wages                                                     $12,891,982.00
 4300 Cherry Creek South Dr
                                                     b. Fringe Benefits                                                         $4,313,891.00
 Denver, CO 80246-1523
 321-321-3214                                             c. Total Personnel Costs                                             $17,205,873.00
                                                     d. Equipment                                                                       $0.00
Congressional District of Recipient
 01                                                  e. Supplies                                                                  $741,952.00
Payment Account Number and Type                      f. Travel                                                                    $623,833.00
 1840644739A4
Employer Identification Number (EIN) Data            g. Construction                                                                    $0.00
 840644739                                           h. Other                                                                   $1,536,323.00
Universal Numbering System (DUNS)
                                                     i. Contractual                                                            $60,986,618.00
 878208826
Recipient’s Unique Entity Identifier (UEI)           j. TOTAL DIRECT COSTS                                                     $81,094,599.00
 Y3WEW9MQ6NH5
                                                     k. INDIRECT COSTS                                                          $2,347,238.00

 31. Assistance Type                                 l. TOTAL APPROVED BUDGET                                                  $83,441,837.00
 Cooperative Agreement
                                                     m. Federal Share                                                          $83,441,837.00
 32. Type of Award
 Other                                               n. Non-Federal Share                                                               $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT         DOCUMENT NO.        ADMINISTRATIVE      OBJECT         ASSISTANCE           AMT ACTION FINANCIAL           APPROPRIATION
      NO.                                   CODE            CLASS            LISTING                 ASSISTANCE
   1-93909KZ         19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951
  1-9390BKG          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
   1-9390BKJ         19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
  1-9390BKM          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
  1-939ZRWL          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-21-0951
  0-9390EWQ         19NH23IP922600C3          IP             41.51            93.268                                   $0.00      75-2024-0943
   1-9390FG3        20NH23IP922600C3          IP             41.51            93.268                                   $0.00      75-2024-0943
  1-9390GKL         20NH23IP922600C5          IP             41.51            93.268                                   $0.00      75-2124-0943
  1-9390GWA         20NH23IP922600C6          IP             41.51            93.268                                   $0.00       75-X-0943
  1-9390GZB      20NH23IP922600VWCC6          IP             41.51            93.268                                   $0.00       75-X-0943
  2-9390BKG          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
   2-9390BKJ         19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
  2-9390BKM          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
   2-9390K3F         19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951
  2-9390K3G          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951
  2-939ZRWL          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-22-0951
  2-9390K8W        20NH23IP922600UKR          IP             41.51            93.268                                   $0.00      75-2223-0943
  2-9390K9M       20NH23IP922600IISC6         IP             41.51            93.268                                   $0.00       75-X-0943
  1-9390GUU      20NH23IP922600UDSPC5         IP             41.51            93.268                                   $0.00      75-2124-0943
  3-9390K8W        20NH23IP922600UKR          IP             41.51            93.268                                   $0.00      75-2223-0943
   3-9390K3F         19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951
  3-9390BKM          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
   3-9390BKJ         19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
  3-9390BKG          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
  3-939ZRWL          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-23-0951
   3-93909KZ         19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951
   3-9390LR9         19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0140
  3-939ZRYH          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-23-0951
  4-9390MV2       20NH23IP922600IISC5         IP             41.51            93.268                                   $0.00      75-2124-0943
  4-9390MPS          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951


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         DEPARTMENT OF HEALTH AND HUMAN
                                PageID      SERVICES Notice of Award
                                       #: 1461
                                                                            Award# 6 NH23IP922600-05-12
         Centers for Disease Control and Prevention
                                                                            FAIN# NH23IP922600
                                                                            Federal Award Date: 10/16/2024


FY-ACCOUNT     DOCUMENT NO.         ADMINISTRATIVE   OBJECT    ASSISTANCE   AMT ACTION FINANCIAL           APPROPRIATION
     NO.                                CODE          CLASS      LISTING         ASSISTANCE
 4-939ZRYH      19NH23IP922600            IP           41.51      93.268                           $0.00      75-X-0951
 4-9390MPT      19NH23IP922600            IP           41.51      93.268                           $0.00      75-X-0951
 4-9390MV2    19NH23IP922600IISC5         IP           41.51      93.268                           $0.00     75-2124-0943
 4-939ZRWL      19NH23IP922600            IP           41.51      93.268                           $0.00      75-24-0951
  4-9390BKJ     19NH23IP922600            IP           41.51      93.268                           $0.00   75-75-X-0512-009
 4-9390BKG      19NH23IP922600            IP           41.51      93.268                           $0.00   75-75-X-0512-009
 4-9390BKM      19NH23IP922600            IP           41.51      93.268                           $0.00   75-75-X-0512-009
 4-9390NKD     19NH23IP922600C3           IP           41.51      93.268                           $0.00     75-2024-0140
 4-9390MFC     19NH23IP922600C5           IP           41.51      93.268                           $0.00     75-2124-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1462
                                                                                             Award# 6 NH23IP922600-05-12
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 10/16/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-12
1. Terms and Conditions
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 ADDITIONAL TERMS AND CONDITIONS

Revised Budget: The purpose of this amended Notice of Award is to approve the revised budget
submitted by your organization dated September 24, 2024. Funds have been distributed as indicated in
the approved budget of this Notice of Award.

All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.

Please be advised that recipient must exercise proper stewardship over Federal funds by ensuring that
all costs charged to their cooperative agreement are allowable, allocable, necessary, and reasonable.



PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
                Case 1:25-cv-00121-MSM-LDA
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1465         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-13
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 01/08/2025



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-13
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 Cherry Creek South Dr                   13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Change PI/PD
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2023 - End Date 06/30/2025

                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                           $0.00
   Mr. Kurt Williams                                20b. Indirect Cost Amount                                                                         $0.00
   Controller
                                                21. Authorized Carryover                                                                    $61,813,063.00
   kurt.williams@state.co.us
   303-810-4679                                 22. Offset                                                                                   $1,877,201.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $19,751,573.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $19,751,573.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 07/01/2019 - End Date 06/30/2025
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $161,000,320.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Kathy Raible1
 uvu4@cdc.gov
                                                     Grants Management Officer
 4047184709



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1466         Notice of Award
             Centers for Disease Control and Prevention                                        Award# 6 NH23IP922600-05-13
                                                                                               FAIN# NH23IP922600
                                                                                               Federal Award Date: 01/08/2025



Recipient Information                                33. Approved Budget
                                                     (Excludes Direct Assistance)
Recipient Name                                        I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                        II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                a. Salaries and Wages                                                     $12,891,982.00
 4300 Cherry Creek South Dr
                                                     b. Fringe Benefits                                                         $4,313,891.00
 Denver, CO 80246-1523
 321-321-3214                                             c. Total Personnel Costs                                             $17,205,873.00
                                                     d. Equipment                                                                       $0.00
Congressional District of Recipient
 01                                                  e. Supplies                                                                  $741,952.00
Payment Account Number and Type                      f. Travel                                                                    $623,833.00
 1840644739A4
Employer Identification Number (EIN) Data            g. Construction                                                                    $0.00
 840644739                                           h. Other                                                                   $1,536,323.00
Universal Numbering System (DUNS)
                                                     i. Contractual                                                            $60,986,618.00
 878208826
Recipient’s Unique Entity Identifier (UEI)           j. TOTAL DIRECT COSTS                                                     $81,094,599.00
 Y3WEW9MQ6NH5
                                                     k. INDIRECT COSTS                                                          $2,347,238.00

 31. Assistance Type                                 l. TOTAL APPROVED BUDGET                                                  $83,441,837.00
 Cooperative Agreement
                                                     m. Federal Share                                                          $83,441,837.00
 32. Type of Award
 Other                                               n. Non-Federal Share                                                               $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT         DOCUMENT NO.        ADMINISTRATIVE      OBJECT         ASSISTANCE           AMT ACTION FINANCIAL           APPROPRIATION
      NO.                                   CODE            CLASS            LISTING                 ASSISTANCE
   1-93909KZ         19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951
  1-9390BKG          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
   1-9390BKJ         19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
  1-9390BKM          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
  1-939ZRWL          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-21-0951
  0-9390EWQ         19NH23IP922600C3          IP             41.51            93.268                                   $0.00      75-2024-0943
   1-9390FG3        20NH23IP922600C3          IP             41.51            93.268                                   $0.00      75-2024-0943
  1-9390GKL         20NH23IP922600C5          IP             41.51            93.268                                   $0.00      75-2124-0943
  1-9390GWA         20NH23IP922600C6          IP             41.51            93.268                                   $0.00       75-X-0943
  1-9390GZB      20NH23IP922600VWCC6          IP             41.51            93.268                                   $0.00       75-X-0943
  2-9390BKG          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
   2-9390BKJ         19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
  2-9390BKM          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
   2-9390K3F         19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951
  2-9390K3G          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951
  2-939ZRWL          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-22-0951
  2-9390K8W        20NH23IP922600UKR          IP             41.51            93.268                                   $0.00      75-2223-0943
  2-9390K9M       20NH23IP922600IISC6         IP             41.51            93.268                                   $0.00       75-X-0943
  1-9390GUU      20NH23IP922600UDSPC5         IP             41.51            93.268                                   $0.00      75-2124-0943
  3-9390K8W        20NH23IP922600UKR          IP             41.51            93.268                                   $0.00      75-2223-0943
   3-9390K3F         19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951
  3-9390BKM          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
   3-9390BKJ         19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
  3-9390BKG          19NH23IP922600           IP             41.51            93.268                                   $0.00    75-75-X-0512-009
  3-939ZRWL          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-23-0951
   3-93909KZ         19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951
   3-9390LR9         19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0140
  3-939ZRYH          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-23-0951
  4-9390MV2       20NH23IP922600IISC5         IP             41.51            93.268                                   $0.00      75-2124-0943
  4-9390MPS          19NH23IP922600           IP             41.51            93.268                                   $0.00       75-X-0951


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         DEPARTMENT OF HEALTH AND HUMAN
                                PageID      SERVICES Notice of Award
                                       #: 1467
                                                                            Award# 6 NH23IP922600-05-13
         Centers for Disease Control and Prevention
                                                                            FAIN# NH23IP922600
                                                                            Federal Award Date: 01/08/2025


FY-ACCOUNT     DOCUMENT NO.         ADMINISTRATIVE   OBJECT    ASSISTANCE   AMT ACTION FINANCIAL           APPROPRIATION
     NO.                                CODE          CLASS      LISTING         ASSISTANCE
 4-939ZRYH      19NH23IP922600            IP           41.51      93.268                           $0.00      75-X-0951
 4-9390MPT      19NH23IP922600            IP           41.51      93.268                           $0.00      75-X-0951
 4-9390MV2    19NH23IP922600IISC5         IP           41.51      93.268                           $0.00     75-2124-0943
 4-939ZRWL      19NH23IP922600            IP           41.51      93.268                           $0.00      75-24-0951
  4-9390BKJ     19NH23IP922600            IP           41.51      93.268                           $0.00   75-75-X-0512-009
 4-9390BKG      19NH23IP922600            IP           41.51      93.268                           $0.00   75-75-X-0512-009
 4-9390BKM      19NH23IP922600            IP           41.51      93.268                           $0.00   75-75-X-0512-009
 4-9390NKD     19NH23IP922600C3           IP           41.51      93.268                           $0.00     75-2024-0140
 4-9390MFC     19NH23IP922600C5           IP           41.51      93.268                           $0.00     75-2124-0943




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                                        Document 4-10 Filed 04/01/25 Page 381 of 498
                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1468
                                                                                             Award# 6 NH23IP922600-05-13
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 01/08/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-13
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA                Document 4-10 Filed 04/01/25               Page 383 of 498
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 ADDITIONAL TERMS AND CONDITIONS

Key Personnel: The purpose of this amendment is to approve the Program Director change from
previously listed Robin Trujillo to Heather Roth. This is in response to the request submitted by your
organization dated December 16, 2024.


All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.


Please be advised that the recipient must exercise proper stewardship over Federal funds by ensuring
that all costs charged to their cooperative agreement are allowable, allocable, necessary and
reasonable.


PLEASE REFERENCE AWARD NUMBER ON ALL CORRESPONDENCE
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN    SERVICES
                                               #: 1471         Notice of Award
                                                                                                    Award# 6 NH23IP922600-05-14
                Centers for Disease Control and Prevention
                                                                                                    FAIN# NH23IP922600
                                                                                                    Federal Award Date: 03/24/2025



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                   6 NH23IP922600-05-14
                                                12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                   NH23IP922600
   4300 Cherry Creek South Dr                   13. Statutory Authority
   Denver, CO 80246-1523                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   321-321-3214                                    amended.
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.268
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Administrative Action
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Heather Roth
   Heather.Roth@State.Co.Us                                  Summary Federal Award Financial Information
   303-692-2289
                                                19. Budget Period Start Date           07/01/2023 - End Date 03/24/2025

                                                20. Total Amount of Federal Funds Obligated by this Action                                            $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                           $0.00
   Mr. Kurt Williams                                20b. Indirect Cost Amount                                                                         $0.00
   Controller
                                                21. Authorized Carryover                                                                    $61,813,063.00
   kurt.williams@state.co.us
   303-810-4679                                 22. Offset                                                                                   $1,877,201.00
                                                23. Total Amount of Federal Funds Obligated this budget period                              $19,751,573.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                         $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                               $19,751,573.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 07/01/2019 - End Date 03/24/2025
 Wayne Woods
                                                27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                    Cost Sharing or Matching this Period of Performance                                    $161,000,320.00
 770-488-2948


                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Megan Schubnell
                                                29. Grants Management Officer – Signature
 Program Officer
                                                     Percy Jernigan
 uvu4@cdc.gov
 4047184709



30. Remarks
 Department Authority




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1472         Notice of Award
             Centers for Disease Control and Prevention                                        Award# 6 NH23IP922600-05-14
                                                                                               FAIN# NH23IP922600
                                                                                               Federal Award Date: 03/24/2025



Recipient Information                                33. Approved Budget
                                                     (Excludes Direct Assistance)
Recipient Name                                        I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                        II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                a. Salaries and Wages                                                     $12,891,982.00
 4300 Cherry Creek South Dr
                                                     b. Fringe Benefits                                                         $4,313,891.00
 Denver, CO 80246-1523
 321-321-3214                                             c. Total Personnel Costs                                             $17,205,873.00
                                                     d. Equipment                                                                       $0.00
Congressional District of Recipient
 01                                                  e. Supplies                                                                  $741,952.00
Payment Account Number and Type                      f. Travel                                                                    $623,833.00
 1840644739A4
Employer Identification Number (EIN) Data            g. Construction                                                                    $0.00
 840644739                                           h. Other                                                                   $1,536,323.00
Universal Numbering System (DUNS)
                                                     i. Contractual                                                            $60,986,618.00
 878208826
Recipient’s Unique Entity Identifier (UEI)           j. TOTAL DIRECT COSTS                                                     $81,094,599.00
 Y3WEW9MQ6NH5
                                                     k. INDIRECT COSTS                                                          $2,347,238.00

 31. Assistance Type                                 l. TOTAL APPROVED BUDGET                                                  $83,441,837.00
 Cooperative Agreement
                                                     m. Federal Share                                                          $83,441,837.00
 32. Type of Award
 Other                                               n. Non-Federal Share                                                               $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT         DOCUMENT NO.        ADMINISTRATIVE      OBJECT         ASSISTANCE           AMT ACTION FINANCIAL           APPROPRIATION
      NO.                                   CODE            CLASS            LISTING                 ASSISTANCE
  0-9390EWQ        19NH23IP922600C3           IP             41.51            93.268                                   $0.00      75-2024-0943
   1-9390FG3       20NH23IP922600C3           IP             41.51            93.268                                   $0.00      75-2024-0943
  1-9390GKL        20NH23IP922600C5           IP             41.51            93.268                                   $0.00      75-2124-0943
  1-9390GWA        20NH23IP922600C6           IP             41.51            93.268                                   $0.00       75-X-0943
  2-9390K9M       20NH23IP922600IISC6         IP             41.51            93.268                                   $0.00       75-X-0943
  1-9390GUU      20NH23IP922600UDSPC5         IP             41.51            93.268                                   $0.00      75-2124-0943




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1473
                                                                                             Award# 6 NH23IP922600-05-14
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 03/24/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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                              AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                  6 NH23IP922600-05-14
1. Terms and Conditions
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TERMS AND CONDITIONS OF AWARD



Termination: The purpose of this amendment is to terminate the use of any remaining COVID-19 funding
associated with this award. The termination of this funding is for cause. HHS regulations permit
termination if “the non-Federal entity fails to comply with the terms and conditions of the award”, or
separately, “for cause.” The end of the pandemic provides cause to terminate COVID-related grants and
cooperative agreements. These grants and cooperative agreements were issued for a limited purpose: to
ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and cooperative
agreements are no longer necessary as their limited purpose has run out. Termination of use of funding
under the listed document number(s) is effective as of the date set out in your Notice of Award.

Impacted document numbers are included on page 2 of this Notice of Award (NoA).

No additional activities can be conducted, and no additional costs may be incurred, as it relates to these
funds. Unobligated award balances of COVID-19 funding will be de-obligated by CDC. Award activities
under other funding may continue consistent with the terms and conditions of the award.

Final Federal Financial Report (FFR, SF-425): Within 30 days please submit final FFR’s for impacted
document numbers. The FFR should only include those funds authorized and expended during the
timeframe covered by the report. The final report must indicate the exact balance of unobligated funds
and may not reflect any unliquidated obligations. Should the amount not match with the final
expenditures reported to the Payment Management System (PMS), you will be required to update your
reports to PMS accordingly.

All other terms and conditions of this award remain in effect.
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                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN    SERVICES
                                                #: 1476         Notice of Award
                                                                                                                         Award# 6 NH23IP922600-05-15
                 Centers for Disease Control and Prevention
                                                                                                                         FAIN# NH23IP922600
                                                                                                                         Federal Award Date: 03/25/2025



Recipient Information                                                                              Federal Award Information
1. Recipient Name                                                 11. Award Number
    COLORADO DEPARTMENT OF PUBLIC                                      6 NH23IP922600-05-15
                                                                  12. Unique Federal Award Identification Number (FAIN)
    HEALTH & ENVIRONMENT
                                                                       NH23IP922600
    4300 Cherry Creek South Dr                                    13. Statutory Authority
    Denver, CO 80246-1523                                               Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
    321-321-3214                                                        amended.
                                                                  14. Federal Award Project Title
2. Congressional District of Recipient                                 CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01
3. Payment System Identifier (ID)
   1840644739A4                                                   15. Assistance Listing Number
4. Employer Identification Number (EIN)                                93.268
   840644739
                                                                  16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)                               Immunization Cooperative Agreements
   878208826
6. Recipient’s Unique Entity Identifier (UEI)                     17. Award Action Type
   Y3WEW9MQ6NH5                                                        Administrative Action
7. Project Director or Principal Investigator                     18. Is the Award R&D?
                                                                       No
    Ms. Heather Roth
    Heather.Roth@State.Co.Us                                                    Summary Federal Award Financial Information
    303-692-2289
                                                                   19. Budget Period Start Date             07/01/2023 - End Date 06/30/2025

                                                                   20. Total Amount of Federal Funds Obligated by this Action                                              $0.00
8. Authorized Official
                                                                       20a. Direct Cost Amount                                                                             $0.00
    Mr. Kurt Williams                                                   20b. Indirect Cost Amount                                                                          $0.00
    Controller
                                                                   21. Authorized Carryover                                                                      $61,813,063.00
    kurt.williams@state.co.us
    303-810-4679                                                   22. Offset                                                                                     $1,877,201.00
                                                                   23. Total Amount of Federal Funds Obligated this budget period                                $19,751,573.00
Federal Agency Information
                                                                   24. Total Approved Cost Sharing or Matching, where applicable                                           $0.00
 CDC Office of Financial Resources
                                                                   25. Total Federal and Non-Federal Approved this Budget Period                                 $19,751,573.00
9. Awarding Agency Contact Information                            26. Period of Performance Start Date 07/01/2019 - End Date 06/30/2025
 Wayne Woods
                                                                  27. Total Amount of the Federal Award including Approved
 kuv1@cdc.gov
                                                                      Cost Sharing or Matching this Period of Performance                                       $161,000,320.00
 770-488-2948


                                                                   28. Authorized Treatment of Program Income
10.Program Official Contact Information                                  ADDITIONAL COSTS
 Megan Schubnell
                                                                   29. Grants Management Officer – Signature
 Program Officer
                                                                         Percy Jernigan
 uvu4@cdc.gov
 4047184709



30. Remarks
 This is an internal administrative action. No action is required from the recipient.




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1477         Notice of Award
             Centers for Disease Control and Prevention                                     Award# 6 NH23IP922600-05-15
                                                                                            FAIN# NH23IP922600
                                                                                            Federal Award Date: 03/25/2025



Recipient Information                             33. Approved Budget
                                                  (Excludes Direct Assistance)
Recipient Name                                     I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                     II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                             a. Salaries and Wages                                                   $12,891,982.00
 4300 Cherry Creek South Dr
                                                  b. Fringe Benefits                                                       $4,313,891.00
 Denver, CO 80246-1523
 321-321-3214                                          c. Total Personnel Costs                                           $17,205,873.00
                                                  d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                               e. Supplies                                                               $741,952.00
Payment Account Number and Type                   f. Travel                                                                 $623,833.00
 1840644739A4
Employer Identification Number (EIN) Data         g. Construction                                                                 $0.00
 840644739                                        h. Other                                                                 $1,536,323.00
Universal Numbering System (DUNS)
                                                  i. Contractual                                                          $60,986,618.00
 878208826
Recipient’s Unique Entity Identifier (UEI)        j. TOTAL DIRECT COSTS                                                  $81,094,599.00
 Y3WEW9MQ6NH5
                                                  k. INDIRECT COSTS                                                       $2,347,238.00

 31. Assistance Type                              l. TOTAL APPROVED BUDGET                                               $83,441,837.00
 Cooperative Agreement
                                                  m. Federal Share                                                       $83,441,837.00
 32. Type of Award
 Other                                            n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO. DOCUMENT NO. ADMINISTRATIVE CODE OBJECT CLASS ASSISTANCE LISTING AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
   4-9390BKG   19NH23IP922600        IP             41.51           93.268                                  $0.00 75-75-X-0512-009




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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1478
                                                                                             Award# 6 NH23IP922600-05-15
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NH23IP922600
                                                                                             Federal Award Date: 03/25/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
                     Case 1:25-cv-00121-MSM-LDA                                            Document 4-10 Filed 04/01/25                                                              Page 392 of 498
1. DATE ISSUED            MM/DD/YYYY        1a. SUPERSEDES AWARD NOTICE dated               PageID #: 1479
                                              except that any additions or restrictions previously imposed                      DEPARTMENT OF HEALTH AND HUMAN SERVICES
     07/11/2019
                                              remain in effect unless specifically rescinded
2. CFDA NO.
                                                                                                                                   Centers for Disease Control and Prevention
   93.323 - Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)                                                                         CDC Office of Financial Resources

3. ASSISTANCE TYPE Cooperative Agreement                                                                                                                            2939 Brandywine Road
4. GRANT NO. 1 NU50CK000552-01-00                         5. TYPE OF AWARD                                                                                            Atlanta, GA 30341
    Formerly                                                  Other

4a. FAIN      NU50CK000552                                5a. ACTION TYPE New
6. PROJECT PERIOD                    MM/DD/YYYY                                        MM/DD/YYYY                                                              NOTICE OF AWARD
                  From               08/01/2019               Through                  07/31/2024                                              AUTHORIZATION (Legislation/Regulations)
7. BUDGET PERIOD                     MM/DD/YYYY                                        MM/DD/YYYY                                           301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
                  From               08/01/2019              Through                   07/31/2020
 8. TITLE OF PROJECT (OR PROGRAM)
     See attached document


9a. GRANTEE NAME AND ADDRESS                                                                                      9b. GRANTEE PROJECT DIRECTOR
      PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF                                                              Ms. Nicole Comstock
      4300 CHERRY CREEK SOUTH DR                                                                                         4300 Cherry Creek South Dr
      DENVER, CO 80246-1523                                                                                              Denver, CO 80246-1523
                                                                                                                         Phone: 303-692-2676


10a. GRANTEE AUTHORIZING OFFICIAL                                                                                10b. FEDERAL PROJECT OFFICER
      Mr. David Norris                                                                                                   Mrs. Janice Downing
      4300 Cherry Creek South Drive                                                                                      1600 Clifton Rd
      Prevention Services Division                                                                                       Atlanta, GA 30333
      Denver, CO 80246-1523                                                                                              Phone: 404-639-7808
      Phone: 303-692-2127

                                                                                      ALL AMOUNTS ARE SHOWN IN USD
11. APPROVED BUDGET (Excludes Direct Assistance)                                                                12. AWARD COMPUTATION
 I Financial Assistance from the Federal Awarding Agency Only                                                     a. Amount of Federal Financial Assistance (from item 11m)                                                              5,003,218.00
 II Total project costs including grant funds and all other financial participation                 I             b. Less Unobligated Balance From Prior Budget Periods                                                                            0.00
                                                                                                                  c. Less Cumulative Prior Award(s) This Budget Period                                                                             0.00
     a.      Salaries and Wages           ………………..................                            2,080,630.00
                                                                                                                  d. AMOUNT OF FINANCIAL ASSISTANCE THIS ACTION                                                                          5,003,218.00
     b.      Fringe Benefits              ………………..................                             682,275.00
                                                                                                                 13. Total Federal Funds Awarded to Date for Project Period                                                              5,003,218.00
     c.         Total Personnel Costs                    .…...….……                           2,762,905.00        14. RECOMMENDED FUTURE SUPPORT
                                                                                                                  (Subject to the availability of funds and satisfactory progress of the project):
     d.      Equipment                   …………………………….                                          123,331.00

                                                                                                84,297.00          YEAR                TOTAL DIRECT COSTS                                YEAR                     TOTAL DIRECT COSTS
     e.      Supplies                    …………………………….
                                                                                                                  a. 2                                                              d. 5
     f.      Travel                      …………………………….                                               87,596.00
                                                                                                                  b. 3                                                              e. 6
     g.      Construction                …………………………….                                                    0.00     c. 4                                                               f. 7

     h.      Other                       …………………………….                                               84,300.00    15. PROGRAM INCOME SHALL BE USED IN ACCORD WITH ONE OF THE FOLLOWING
                                                                                                                  ALTERNATIVES:

     i.     Contractual                  …………………….………                                         1,194,552.00               a.
                                                                                                                         b.
                                                                                                                                 DEDUCTION
                                                                                                                                 ADDITIONAL COSTS                                                                                        b
                                                                                                                         c.      MATCHING
     j.          TOTAL DIRECT COSTS                                                           4,336,981.00               d.      OTHER RESEARCH (Add / Deduct Option)
                                                                                                                         e.      OTHER (See REMARKS)
     k.      INDIRECT COSTS                                                                    666,237.00
                                                                                                                 16. THIS AWARD IS BASED ON AN APPLICATION SUBMITTED TO, AND AS APPROVED BY, THE FEDERAL AWARDING AGENCY
                                                                                                                 ON THE ABOVE TITLED PROJECT AND IS SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY
                                                                                                                 OR BY REFERENCE IN THE FOLLOWING:
     l.      TOTAL APPROVED BUDGET                                                            5,003,218.00
                                                                                                                         a.                                  .
                                                                                                                                 The grant program legislation
                                                                                                                         b.      The grant program regulations.
                                                                                                                         c.      This award notice including terms and conditions, if any, noted below under REMARKS.
     m.      Federal Share                                                                   5,003,218.00                d.      Federal administrative requirements, cost principles and audit requirements applicable to this grant.
                                                                                                                 In the event there are conflicting or otherwise inconsistent policies applicable to the grant, the above order of precedence shall
     n.      Non-Federal Share                                                                           0.00    prevail. Acceptance of the grant terms and conditions is acknowledged by the grantee when funds are drawn or otherwise
                                                                                                                 obtained from the grant payment system.

     REMARKS             (Other Terms and Conditions Attached -                 Yes                               No)
          The purpose of this action is to award $5,003,218. The award total includes $19,919 in hurricane funds.




          GRANTS MANAGEMENT OFFICIAL:
          Shirley K Byrd, Grants Management Officer
          2939 Flowers Rd
          Mailstop TV-2
          Atlanta, GA 30341-5509
          Phone: (770) 488-2591

17.OBJ CLASS                 41.51           18a. VENDOR CODE             1840644739A4              18b. EIN                  840644739                        19. DUNS                 878208826                   20. CONG. DIST.           01
             FY-ACCOUNT NO.                                  DOCUMENT NO.                                       ADMINISTRATIVE CODE                                     AMT ACTION FIN ASST                                APPROPRIATION
 21. a.                 9-921VV46            b.              19NU50CK000552                         c.                        CK                               d.                                $156,429.00 e.                           75-19-0949

 22. a.               9-921ZEYJ              b.              19NU50CK000552                         c.                        CK                               d.                                  $53,943.00 e.                          75-19-0949

 23. a.                 9-939014P            b.              19NU50CK000552                         c.                        CK                               d.                                $248,968.00 e.                           75-19-0949
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                                                                            PAGE 2 of 3                 DATE ISSUED
 NOTICE OF AWARD (Continuation Sheet)                                                                   07/11/2019
                                                                            GRANT NO.            1 NU50CK000552-01-00

   FY-ACCOUNT NO.                    DOCUMENT NO.                  ADMINISTRATIVE CODE          AMT ACTION FIN ASST         APPROPRIATION
24.a. 9-93901FW          b.     19NU50CK000552               c.     CK                     d.    $374,002.00           e.    75-19-0959
25.a. 9-93904SH          b.     19NU50CK000552               c.     CK                     d.    $175,740.00           e.    75-19-0956
26.a. 9-93905VH          b.     19NU50CK000552               c.     CK                     d.    $327,937.00           e.    75-19-0949
27.a. 9-93906EZ          b.     19NU50CK000552               c.     CK                     d.    $74,087.00            e.    75-19-0947
28.a. 9-93906N9          b.     19NU50CK000552               c.     CK                     d.    $807,511.00           e.    75-19-0949
29.a. 9-93907PM          b.     19NU50CK000552               c.     CK                     d.    $6,100.00             e.    75-X-0951
30.a. 9-93908MV          b.     19NU50CK000552               c.     CK                     d.    $761,028.00           e.    75-19-0949
31.a. 9-93909PE          b.     19NU50CK000552               c.     CK                     d.    $32,631.00            e.    75-X-0951
32.a. 9-93909QZ          b.     19NU50CK000552               c.     CK                     d.    $126,427.00           e.    75-X-0951
33.a. 9-93909R9          b.     19NU50CK000552               c.     CK                     d.    $10,000.00            e.    75-19-0949
34.a. 9-93909UW          b.     19NU50CK000552               c.     CK                     d.    $341,637.00           e.    75-X-0949
35.a. 9-9390AC3          b.     19NU50CK00055219HURR         c.     CK                     d.    $19,919.00            e.    75-1820-0943
36.a. 9-9390C0K          b.     19NU50CK000552               c.     CK                     d.    $111,135.00           e.    75-X-0943
37.a. 9-939ZSCE          b.     19NU50CK000552               c.     CK                     d.    $154,784.00           e.    75-19-0951
38.a. 9-939ZSKR          b.     19NU50CK000552               c.     CK                     d.    $28,122.00            e.    75-19-0949
39.a. 9-939ZVJC          b.     19NU50CK000552               c.     CK                     d.    $1,192,818.00         e.    75-19-0949




Direct Assistance
            BUDGET CATEGORIES               PREVIOUS AMOUNT (A)               AMOUNT THIS ACTION (B)                  TOTAL (A + B)
Personnel                                                         $0.00                            $0.00                              $0.00
Fringe Benefits                                                   $0.00                            $0.00                              $0.00
Travel                                                            $0.00                            $0.00                              $0.00
Equipment                                                         $0.00                            $0.00                              $0.00
Supplies                                                          $0.00                            $0.00                              $0.00
Contractual                                                       $0.00                            $0.00                              $0.00
Construction                                                      $0.00                            $0.00                              $0.00
Other                                                             $0.00                            $0.00                              $0.00
Total                                                             $0.00                            $0.00                              $0.00




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                                                                       PAGE 3 of 3         DATE ISSUED
    NOTICE OF AWARD (Continuation Sheet)                                                   07/11/2019
                                                                       GRANT NO.     1 NU50CK000552-01-00


    Federal Financial Report Cycle
    Reporting Period Start Date   Reporting Period End Date   Reporting Type           Reporting Period Due Date
    08/01/2019                    07/31/2020                  Annual                   10/29/2020
    08/01/2020                    07/31/2021                  Annual                   10/29/2021
    08/01/2021                    07/31/2022                  Annual                   10/29/2022
    08/01/2022                    07/31/2023                  Annual                   10/29/2023
    08/01/2023                    07/31/2024                  Annual                   10/29/2024
‍




              3
        Case 1:25-cv-00121-MSM-LDA   Document 4-10 Filed 04/01/25    Page 395 of 498
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                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      1 NU50CK000552-01-00
1. Terms and Conditions
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 AWARD INFORMATION

Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at
https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease
Control and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO)
number CDC-RFA-CK19-1904, entitled 2019 Epidemiology and Laboratory Capacity for
Prevention and Control of Emerging Infectious Diseases (ELC) - 2019, and application dated
May 10, 2019, as may be amended, which are hereby made a part of this Non-research award,
hereinafter referred to as the Notice of Award (NoA).

Approved Funding: Funding in the amount of $5,003,218 is approved for the Year 01 budget
period, which is August 1, 2019 through July 31, 2020. All future year funding will be based on
satisfactory programmatic progress and the availability of funds.

 NOFO Funding                      Amount
 Non-PPHF                          $5,003,218
 Hurricane                         $19,919

The federal award amount is subject to adjustment based on total allowable costs incurred
and/or the value of any third party in-kind contribution when applicable.

Note: Refer to the Payment Information section for Payment Management System (PMS)
subaccount information.

Hurricane Disaster Relief Funds and Availability: Funds for grants provided by division B of
Public Law 115-56, division A of Public Law 115-72, and division B of Public Law 115-123 must
be expended by grant recipients within the 24-month period following the agency's obligation of
those funds. The agency obligation date is identified as the Issue Date reflected on page one of
this Notice of Award.

Funding in the amount of $19,919 is approved for budget period August 1, 2019 through July
31, 2020. The recipient must expend and disburse all funds by July 31, 2021. After the budget
period has expired, CDC may de-obligate all funds not expended and disbursed, including
unliquidated obligations.

Note: Refer to the Payment Information section for draw down and Payment Management
System (PMS) subaccount information.

Financial Assistance Mechanism: Cooperative Agreement

Substantial Involvement by CDC: This is a cooperative agreement and CDC will have
substantial programmatic involvement after the award is made. Substantial involvement is in
addition to all post-award monitoring, technical assistance, and performance reviews
undertaken in the normal course of stewardship of federal funds.

CDC program staff will assist, coordinate, or participate in carrying out effort under the award,
and recipients agree to the responsibilities therein, as detailed in the NOFO.

Objective/Technical Review Statement Response Requirement: The review comments on
the strengths and weaknesses of the proposal are provided as part of this award. A response to
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the weaknesses in these statements must be submitted to and approved, in writing, by the
Program Officer noted in the CDC Staff Contacts section of this NoA, no later than 30 days from
the budget period start date. Failure to submit the required information by the due date,
September 2, 2019, will cause delay in programmatic progress and will adversely affect the
future funding of this project.

Budget Revision Requirement: By September 2, 2019 the recipient must submit a revised
budget with a narrative justification. Failure to submit the required information in a timely
manner may adversely affect the future funding of this project. If the information cannot be
provided by the due date, you are required to contact the GMS/GMO identified in the CDC Staff
Contacts section of this notice before the due date.

Expanded Authority: The recipient is permitted the following expanded authority in the
administration of the award.

 ☒ Carryover of unobligated balances from one budget period to a subsequent budget period.
    Unobligated funds may be used for purposes within the scope of the project as originally
    approved. Recipients will report use, or intended use, of unobligated funds in Section 12
    “Remarks” of the annual Federal Financial Report. If the GMO determines that some or all of
    the unobligated funds are not necessary to complete the project, the GMO may restrict the
    recipient’s authority to automatically carry over unobligated balances in the future, use the
    balance to reduce or offset CDC funding for a subsequent budget period, or use a
    combination of these actions.

Program Income: Any program income generated under this grant or cooperative agreement
will be used in accordance with the Addition alternative.

Addition alternative: Under this alternative, program income is added to the funds committed to
the project/program and is used to further eligible project/program objectives.

Note: The disposition of program income must have written prior approval from the GMO.

 FUNDING RESTRICTIONS AND LIMITATIONS

Hurricane Disaster Previously Incurred Costs Restrictions: Previously incurred costs and
activities that will be reimbursed or funded by another federal source (e.g., FEMA) may not be
included.

Indirect Costs: Indirect costs are not approved for this award, because indirect costs were not
requested or an approved Indirect Cost Rate Agreement has not been provided. To have
indirect costs approved for this grant, submit an approved indirect cost rate agreement to the
grants management specialist no later than September 3, 2019.

 REPORTING REQUIREMENTS

Performance Progress and Monitoring: Performance information collection initiated under
this grant/cooperative agreement has been approved by the Office of Management and Budget
under OMB Number 0920-1132, “Performance Progress and Monitoring Report”,
Expiration Date 8/31/2019. The components of the PPMR are available for download at:
https://www.cdc.gov/grants/alreadyhavegrant/Reporting.html .
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Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
the HHS OIG at the following addresses:

CDC, Office of Grants Services
Karen Zion, Grants Management Specialist
Centers for Disease Control and Prevention
Infectious Disease Services Branch
2939 Flowers Road, MS-TV-2
Atlanta, GA 30341
Telephone: 770-488-2729
Email: wvf8@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
(45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award. (45 CFR 75.373(b))


 PAYMENT INFORMATION

The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-HHS-TIPS [1-
800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
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by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
sensitive material and submitters may decline to give their names if they choose to remain
anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified on the bottom of Page 1 of the Notice of Award must be
known in order to draw down funds.

 Component: Non-PPHF
 Document Number: 19NU50CK000552

 Component: Hurricane
 Document Number: 19NU50CK00055219HURR

 CDC Staff Contacts

Grants Management Specialist: The GMS is the federal staff member responsible for the day-
to-day management of grants and cooperative agreements. The GMS is the primary contact of
recipients for business and administrative matters pertinent to grant awards.

GMS Contact:
Karen Zion, Grants Management Specialist
Centers for Disease Control and Prevention
Infectious Disease Services Branch
2939 Flowers Road, MS-TV-2
Atlanta, GA 30341
Telephone: 770-488-2729
Email: wvf8@cdc.gov

Program/Project Officer: The PO is the federal official responsible for monitoring the
programmatic, scientific, and/or technical aspects of grants and cooperative agreements, as
well as contributing to the effort of the award under cooperative agreements.

Grants Management Officer: The GMO is the federal official responsible for the business and
other non-programmatic aspects of grant awards. The GMO is the only official authorized to
obligate federal funds and is responsible for signing the NoA, including revisions to the NoA that
change the terms and conditions. The GMO serves as the counterpart to the business officer of
the recipient organization.
                    Case 1:25-cv-00121-MSM-LDA                                             Document 4-10 Filed 04/01/25                                                              Page 400 of 498
1. DATE ISSUED            MM/DD/YYYY       1a. SUPERSEDES AWARD NOTICE dated 03/15/2020     PageID #: 1487
                                             except that any additions or restrictions previously imposed                       DEPARTMENT OF HEALTH AND HUMAN SERVICES
     04/23/2020
                                             remain in effect unless specifically rescinded
2. CFDA NO.
                                                                                                                                   Centers for Disease Control and Prevention
   93.323 - Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)


3. ASSISTANCE TYPE Cooperative Agreement                                                                                                                            2939 Brandywine Road
4. GRANT NO. 6 NU50CK000552-01-07                         5. TYPE OF AWARD                                                                                            Atlanta, GA 30341
    Formerly                                                  Demonstration

4a. FAIN      NU50CK000552                               5a. ACTION TYPE Post Award Amendment
6. PROJECT PERIOD                   MM/DD/YYYY                                         MM/DD/YYYY                                                              NOTICE OF AWARD
                 From               08/01/2019                Through                  07/31/2024                                              AUTHORIZATION (Legislation/Regulations)
7. BUDGET PERIOD                    MM/DD/YYYY                                         MM/DD/YYYY                                           301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
                 From               08/01/2019               Through                   07/31/2020
 8. TITLE OF PROJECT (OR PROGRAM)
     CK19-1904 - 2019 Epidemiology and Laboratory Capacity (ELC),


9a. GRANTEE NAME AND ADDRESS                                                                                      9b. GRANTEE PROJECT DIRECTOR
      PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF                                                              Ms. Nicole Comstock
      4300 E Cherry Creek South Dr                                                                                       4300 Cherry Creek South Dr
      Denver, CO 80246-1523                                                                                              Denver, CO 80246-1523
                                                                                                                         Phone: 303-692-2676


10a. GRANTEE AUTHORIZING OFFICIAL                                                                                10b. FEDERAL PROJECT OFFICER
      Mr. David Norris                                                                                                   Mrs. Janice Downing
      4300 Cherry Creek South Drive                                                                                      1600 Clifton Rd
      Denver, CO 80246-1523                                                                                              Atlanta, GA 30333
      Phone: 303-692-2127                                                                                                Phone: 404-639-7808


                                                                                      ALL AMOUNTS ARE SHOWN IN USD
11. APPROVED BUDGET (Excludes Direct Assistance)                                                                12. AWARD COMPUTATION
 I Financial Assistance from the Federal Awarding Agency Only                                                     a. Amount of Federal Financial Assistance (from item 11m)                                                              16,683,089.00
 II Total project costs including grant funds and all other financial participation                 I             b. Less Unobligated Balance From Prior Budget Periods                                                                             0.00
                                                                                                                  c. Less Cumulative Prior Award(s) This Budget Period                                                                    6,314,952.00
     a.     Salaries and Wages           ………………..................                             2,504,401.00
                                                                                                                  d. AMOUNT OF FINANCIAL ASSISTANCE THIS ACTION                                                                          10,368,137.00
     b.     Fringe Benefits              ………………..................                              822,112.00
                                                                                                                 13. Total Federal Funds Awarded to Date for Project Period                                                              16,683,089.00
     c.        Total Personnel Costs                     .…...….……                           3,326,513.00        14. RECOMMENDED FUTURE SUPPORT
                                                                                                                  (Subject to the availability of funds and satisfactory progress of the project):
     d.     Equipment                   …………………………….                                           135,331.00

                                                                                               220,330.00          YEAR                TOTAL DIRECT COSTS                                YEAR                     TOTAL DIRECT COSTS
     e.     Supplies                    …………………………….
                                                                                                                  a. 2                                                              d. 5
     f.     Travel                      …………………………….                                                88,886.00
                                                                                                                  b. 3                                                              e. 6
     g.     Construction                …………………………….                                                     0.00     c. 4                                                               f. 7

     h.     Other                       …………………………….                                         10,502,837.00       15. PROGRAM INCOME SHALL BE USED IN ACCORD WITH ONE OF THE FOLLOWING
                                                                                                                  ALTERNATIVES:

     i.     Contractual                 …………………….………                                          1,572,052.00               a.
                                                                                                                         b.
                                                                                                                                 DEDUCTION
                                                                                                                                 ADDITIONAL COSTS                                                                                        b
                                                                                                                         c.      MATCHING
     j.         TOTAL DIRECT COSTS                                                           15,845,949.00               d.      OTHER RESEARCH (Add / Deduct Option)
                                                                                                                         e.      OTHER (See REMARKS)
     k.     INDIRECT COSTS                                                                     837,140.00
                                                                                                                 16. THIS AWARD IS BASED ON AN APPLICATION SUBMITTED TO, AND AS APPROVED BY, THE FEDERAL AWARDING AGENCY
                                                                                                                 ON THE ABOVE TITLED PROJECT AND IS SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY
                                                                                                                 OR BY REFERENCE IN THE FOLLOWING:
     l.     TOTAL APPROVED BUDGET                                                            16,683,089.00
                                                                                                                         a.                                  .
                                                                                                                                 The grant program legislation
                                                                                                                         b.      The grant program regulations.
                                                                                                                         c.      This award notice including terms and conditions, if any, noted below under REMARKS.
     m.     Federal Share                                                                   16,683,089.00                d.      Federal administrative requirements, cost principles and audit requirements applicable to this grant.
                                                                                                                 In the event there are conflicting or otherwise inconsistent policies applicable to the grant, the above order of precedence shall
     n.     Non-Federal Share                                                                            0.00    prevail. Acceptance of the grant terms and conditions is acknowledged by the grantee when funds are drawn or otherwise
                                                                                                                 obtained from the grant payment system.

     REMARKS           (Other Terms and Conditions Attached -                   Yes                               No)




          GRANTS MANAGEMENT OFFICIAL:
          Brownie Anderson-Rana, Grants Management Officer
          2939 Flowers Road
          Mailstop TV2
          Atlanta, GA 30341-5509
          Phone: 770-488-2771

17.OBJ CLASS                41.51           18a. VENDOR CODE              1840644739A4              18b. EIN                  840644739                        19. DUNS                 878208826                   20. CONG. DIST.            01
            FY-ACCOUNT NO.                                  DOCUMENT NO.                                        ADMINISTRATIVE CODE                                     AMT ACTION FIN ASST                                APPROPRIATION
 21. a.              0-9390EWQ              b.              19NU50CK000552C3                        c.                        CK                               d.                            $10,368,137.00 e.                           75-2024-0943

 22. a.                                     b.                                                      c.                                                         d.                                                   e.
 23. a.                                     b.                                                      c.                                                         d.                                                   e.
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                                                              PAGE 2 of 3               DATE ISSUED
 NOTICE OF AWARD (Continuation Sheet)                                                   04/23/2020
                                                              GRANT NO.          6 NU50CK000552-01-07




Direct Assistance
            BUDGET CATEGORIES   PREVIOUS AMOUNT (A)            AMOUNT THIS ACTION (B)           TOTAL (A + B)
Personnel                                             $0.00                        $0.00                        $0.00
Fringe Benefits                                       $0.00                        $0.00                        $0.00
Travel                                                $0.00                        $0.00                        $0.00
Equipment                                             $0.00                        $0.00                        $0.00
Supplies                                              $0.00                        $0.00                        $0.00
Contractual                                           $0.00                        $0.00                        $0.00
Construction                                          $0.00                        $0.00                        $0.00
Other                                                 $0.00                        $0.00                        $0.00
Total                                                 $0.00                        $0.00                        $0.00




                  2
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                                                                       PAGE 3 of 3         DATE ISSUED
    NOTICE OF AWARD (Continuation Sheet)                                                   04/23/2020
                                                                       GRANT NO.     6 NU50CK000552-01-07


    Federal Financial Report Cycle
    Reporting Period Start Date   Reporting Period End Date   Reporting Type           Reporting Period Due Date
    08/01/2019                    07/31/2020                  Annual                   10/29/2020
‍




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                                    AWARD ATTACHMENTS
Colorado Dept of Public Health                                               6 NU50CK000552-01-07
1. COVID-19 Supplement Terms and Conditions
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 AWARD INFORMATION

Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
and Conditions for Non-research awards at
https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease
Control and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO)
number CK19-1904, entitled Epidemiology and Laboratory Capacity (ELC), which is hereby
made a part of this Non-research award, hereinafter referred to as the Notice of Award (NoA).

Component Funding: Additional funding in the amount $10,368,137 is approved for the Year
01 budget period, which is August 1, 2019 through July 31, 2020

COVID-19 Response Activities:

       •      E. Cross-Cutting Emerging Issues: $10,368,137

Recipients have 24 months from the date of this NoA to expend all funds awarded herein

Budget/Workplan Revision Requirement: Within 30 days of this NoA, the recipient must
submit a revised budget with a narrative justification outlining response activities. Failure to
submit the required information in a timely manner may adversely affect the future funding of
the project. If the information cannot be provided by the due date, you are required to contact
your ELC Project Officer and Grant Management Specialist. Revised budget can be uploaded
in GrantSolutions as a grant note for the purpose of “administrative relief” during the COVID-19
crisis.

 Pre-Award Costs: Pre-award costs dating back to January 20, 2020 – when CDC first
activated its Emergency Operations Center (EOC) – and directly related to the COVID-19
outbreak response are allowable.

Indirect Costs: Indirect cost will be approved based on current approved negotiated indirect
cost rate agreement.

Overtime: Because overtime costs are a very likely and reasonable expense during the
response to COVID-19, CDC will allow recipients to include projected overtime in their budgets.
Recipients should be careful to estimate costs based on current real-time needs and will still be
required to follow federal rules and regulations in accounting for the employees’ time and effort.

Additional Reporting:
   • Monthly progress reports on status of timelines, goals, and objectives as defined by
       CDC in approved work plans.
   • Monthly fiscal reports (beginning 60 days after NOAs are issued).
   • Performance measure data
   • CDC may require recipients to develop annual progress reports (APRs). CDC will
       provide APR guidance and optional templates should they be required.

Additional Term and Condition:
A recipient of a grant or cooperative agreement awarded by the Department of Health and
Human Services (HHS) with funds made available under the Coronavirus Preparedness and
Response Supplemental Appropriations Act, 2020 (P.L. 116-123) or the Coronavirus Aid, Relief,
and Economic Security Act, 2020 (the “CARES Act”) (P.L. 116-136) agrees to: 1) comply with
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existing and/or future directives and guidance from the Secretary regarding control of the spread
of COVID-19; 2) in consultation and coordination with HHS, provide, commensurate with the
condition of the individual, COVID-19 patient care regardless of the individual’s home jurisdiction
and/or appropriate public health measures (e.g., social distancing, home isolation); and 3) assist
the United States Government in the implementation and enforcement of federal orders related
to quarantine and isolation.

If recipient disburses any funds received pursuant to this award to a local jurisdiction, recipient
shall ensure that the local jurisdiction complies with the terms and conditions of this award.
Consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the purpose of
this award, and the underlying funding, the recipient is expected to provide to CDC copies of
and/or access to COVID-19 data collected with these funds. CDC will specify in further guidance
and directives what is encompassed by this requirement.

This award is contingent upon agreement by the recipient to comply with existing and future
guidance from the HHS Secretary regarding control of the spread of COVID-19.
In addition, to the extent applicable, Recipient will comply with Section 18115 of the Coronavirus
Aid, Relief, and Economic Security Act (the “CARES Act”), Public Law 116-136, with respect to
the reporting to the Secretary of Health and Human Services of results of tests intended to detect
SARS–CoV–2 or to diagnose a possible case of COVID–19.

Unallowable Costs:
   • Research
   • Clinical care
   • Publicity and propaganda (lobbying):
         o Other than for normal and recognized executive-legislative relationships, no
             funds may be used for:
                     publicity or propaganda purposes, for the preparation, distribution, or use
                     of any material designed to support or defeat the enactment of legislation
                     before any legislative body
                     the salary or expenses of any grant or contract recipient, or agent acting
                     for such recipient, related to any activity designed to influence the
                     enactment of legislation, appropriations, regulation, administrative action,
                     or Executive order proposed or pending before any legislative body
         o See Additional Requirement (AR) 12 for detailed guidance on this prohibition and
             additional guidance on lobbying for CDC recipients:
             https://www.cdc.gov/grants/documents/Anti-
             Lobbying_Restrictions_for_CDC_Grantees_July_2012.pdf
   • All unallowable costs cited in CDC-RFA-CK19-1904 remain in effect, unless specifically
      amended in this guidance, in accordance with 45 CFR Part 75 – Uniform Administrative
      Requirements, Cost Principles, And Audit Requirements for HHS Awards.


 REPORTING REQUIREMENTS

Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely
manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
related to violations of federal criminal law involving fraud, bribery, or gratuity violations
potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to the
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HHS OIG at the following addresses:

CDC, Office of Grants Services
Tonya M. Jenkins, Grants Management Specialist
Time Solutions LLC
Office of Grants Services (OGS)
Office of Financial Resources (OFR)
Office of the Chief Operating Officer (OCOO)
Centers for Disease Control and Prevention (CDC)
pjo6@cdc.gov | 404-498-2399 office


AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator
330 Independence Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
(45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for
failure to comply with the federal statutes, regulations, or terms and conditions of the federal
award. (45 CFR 75.373(b))

 PAYMENT INFORMATION

The HHS Office of the Inspector General (OIG) maintains a toll-free number (1- 800-HHS-
TIPS [1-800-447-8477]) for receiving information concerning fraud, waste, or abuse under
grants and cooperative agreements. Information also may be submitted by e-mail to
hhstips@oig.hhs.gov or by mail to Office of the Inspector General, Department of Health and
Human Services, Attn: HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such
reports are treated as sensitive material and submitters may decline to give their names if they
choose to remain anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
must be used in support of approved activities in the NOFO and the approved application.

The grant document number identified on the bottom of Page 1 of the Notice of Award must be
known in order to draw down funds.
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Stewardship: The recipient must exercise proper stewardship over Federal funds by ensuring
that all costs charged to your cooperative agreement are allowable, allocable, and reasonable
and that they address the highest priority needs as they relate to this program.

All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.
                    Case 1:25-cv-00121-MSM-LDA                                             Document 4-10 Filed 04/01/25                                                              Page 408 of 498
1. DATE ISSUED            MM/DD/YYYY        1a. SUPERSEDES AWARD NOTICE dated 04/23/2020    PageID #: 1495
                                              except that any additions or restrictions previously imposed                      DEPARTMENT OF HEALTH AND HUMAN SERVICES
     05/19/2020
                                              remain in effect unless specifically rescinded
2. CFDA NO.
                                                                                                                                   Centers for Disease Control and Prevention
   93.323 - Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)


3. ASSISTANCE TYPE Cooperative Agreement                                                                                                                            2939 Brandywine Road
4. GRANT NO. 6 NU50CK000552-01-08                          5. TYPE OF AWARD                                                                                           Atlanta, GA 30341
    Formerly                                                   Demonstration

4a. FAIN      NU50CK000552                                5a. ACTION TYPE Post Award Amendment
6. PROJECT PERIOD                    MM/DD/YYYY                                        MM/DD/YYYY                                                              NOTICE OF AWARD
                 From                08/01/2019               Through                  07/31/2024                                              AUTHORIZATION (Legislation/Regulations)
7. BUDGET PERIOD                     MM/DD/YYYY                                        MM/DD/YYYY                                           301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
                  From               08/01/2019               Through                  07/31/2020
 8. TITLE OF PROJECT (OR PROGRAM)
     CK19-1904 - 2019 Epidemiology and Laboratory Capacity (ELC),


9a. GRANTEE NAME AND ADDRESS                                                                                      9b. GRANTEE PROJECT DIRECTOR
      PUBLIC HEALTH AND ENVIRONMENT, COLORADO DEPARTMENT OF                                                              Ms. Nicole Comstock
      4300 E Cherry Creek South Dr                                                                                       4300 Cherry Creek South Dr
      Denver, CO 80246-1523                                                                                              Denver, CO 80246-1523
                                                                                                                         Phone: 303-692-2676


10a. GRANTEE AUTHORIZING OFFICIAL                                                                                10b. FEDERAL PROJECT OFFICER
      Mr. David Norris                                                                                                   Mrs. Janice Downing
      4300 Cherry Creek South Drive                                                                                      1600 Clifton Rd
      Denver, CO 80246-1523                                                                                              Atlanta, GA 30333
      Phone: 303-692-2127                                                                                                Phone: 404-639-7808


                                                                                      ALL AMOUNTS ARE SHOWN IN USD
11. APPROVED BUDGET (Excludes Direct Assistance)                                                                12. AWARD COMPUTATION
 I Financial Assistance from the Federal Awarding Agency Only                                                     a. Amount of Federal Financial Assistance (from item 11m)                                                              176,192,968.00
 II Total project costs including grant funds and all other financial participation                 I             b. Less Unobligated Balance From Prior Budget Periods                                                                               0.00
                                                                                                                  c. Less Cumulative Prior Award(s) This Budget Period                                                                    16,683,089.00
     a.      Salaries and Wages           ………………..................                            2,504,401.00
                                                                                                                  d. AMOUNT OF FINANCIAL ASSISTANCE THIS ACTION                                                                          159,509,879.00
     b.      Fringe Benefits              ………………..................                             822,112.00
                                                                                                                 13. Total Federal Funds Awarded to Date for Project Period                                                              176,192,968.00
     c.         Total Personnel Costs                    .…...….……                           3,326,513.00        14. RECOMMENDED FUTURE SUPPORT
                                                                                                                  (Subject to the availability of funds and satisfactory progress of the project):
     d.     Equipment                    …………………………….                                          135,331.00

                                                                                               220,330.00          YEAR                TOTAL DIRECT COSTS                                YEAR                     TOTAL DIRECT COSTS
     e.     Supplies                     …………………………….
                                                                                                                  a. 2                                                              d. 5
     f.     Travel                       …………………………….                                               88,886.00
                                                                                                                  b. 3                                                              e. 6
     g.     Construction                 …………………………….                                                    0.00     c. 4                                                               f. 7

     h.     Other                        …………………………….                                       170,012,716.00       15. PROGRAM INCOME SHALL BE USED IN ACCORD WITH ONE OF THE FOLLOWING
                                                                                                                  ALTERNATIVES:

     i.     Contractual                  …………………….………                                         1,572,052.00               a.
                                                                                                                         b.
                                                                                                                                 DEDUCTION
                                                                                                                                 ADDITIONAL COSTS                                                                                         b
                                                                                                                         c.      MATCHING
     j.         TOTAL DIRECT COSTS                                                          175,355,828.00               d.      OTHER RESEARCH (Add / Deduct Option)
                                                                                                                         e.      OTHER (See REMARKS)
     k.      INDIRECT COSTS                                                                    837,140.00
                                                                                                                 16. THIS AWARD IS BASED ON AN APPLICATION SUBMITTED TO, AND AS APPROVED BY, THE FEDERAL AWARDING AGENCY
                                                                                                                 ON THE ABOVE TITLED PROJECT AND IS SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY
                                                                                                                 OR BY REFERENCE IN THE FOLLOWING:
     l.      TOTAL APPROVED BUDGET                                                          176,192,968.00
                                                                                                                         a.                                  .
                                                                                                                                 The grant program legislation
                                                                                                                         b.      The grant program regulations.
                                                                                                                         c.      This award notice including terms and conditions, if any, noted below under REMARKS.
     m.      Federal Share                                                                 176,192,968.00                d.      Federal administrative requirements, cost principles and audit requirements applicable to this grant.
                                                                                                                 In the event there are conflicting or otherwise inconsistent policies applicable to the grant, the above order of precedence shall
     n.      Non-Federal Share                                                                           0.00    prevail. Acceptance of the grant terms and conditions is acknowledged by the grantee when funds are drawn or otherwise
                                                                                                                 obtained from the grant payment system.

     REMARKS           (Other Terms and Conditions Attached -                   Yes                               No)
          ELC Enhancing Detection Funding




          GRANTS MANAGEMENT OFFICIAL:
          Kathy Raible
          2920 Brandywine Rd
          Mailstop E09
          Atlanta, GA 30341-5539
          Phone: 770-488-2045

17.OBJ CLASS                 41.51           18a. VENDOR CODE             1840644739A4              18b. EIN                  840644739                        19. DUNS                 878208826                   20. CONG. DIST.              01
             FY-ACCOUNT NO.                                  DOCUMENT NO.                                       ADMINISTRATIVE CODE                                     AMT ACTION FIN ASST                                APPROPRIATION
 21. a.                0-9390F7F             b.             19NU50CK000552C4                        c.                        CK                               d.                          $159,509,879.00 e.                                 75-X-0140

 22. a.                                      b.                                                     c.                                                         d.                                                   e.
 23. a.                                      b.                                                     c.                                                         d.                                                   e.
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                                                              PAGE 2 of 3               DATE ISSUED
 NOTICE OF AWARD (Continuation Sheet)                                                   05/19/2020
                                                              GRANT NO.          6 NU50CK000552-01-08




Direct Assistance
            BUDGET CATEGORIES   PREVIOUS AMOUNT (A)            AMOUNT THIS ACTION (B)           TOTAL (A + B)
Personnel                                             $0.00                        $0.00                        $0.00
Fringe Benefits                                       $0.00                        $0.00                        $0.00
Travel                                                $0.00                        $0.00                        $0.00
Equipment                                             $0.00                        $0.00                        $0.00
Supplies                                              $0.00                        $0.00                        $0.00
Contractual                                           $0.00                        $0.00                        $0.00
Construction                                          $0.00                        $0.00                        $0.00
Other                                                 $0.00                        $0.00                        $0.00
Total                                                 $0.00                        $0.00                        $0.00




                  2
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                                                                       PAGE 3 of 3         DATE ISSUED
    NOTICE OF AWARD (Continuation Sheet)                                                   05/19/2020
                                                                       GRANT NO.     6 NU50CK000552-01-08


    Federal Financial Report Cycle
    Reporting Period Start Date   Reporting Period End Date   Reporting Type           Reporting Period Due Date
    08/01/2019                    07/31/2020                  Annual                   10/29/2020
‍




              3
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                                 AWARD ATTACHMENTS
Colorado Dept of Public Health                                      6 NU50CK000552-01-08
1. Terms & Conditions
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 AWARD INFORMATION
Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms and
Conditions for Non-research awards at
https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease Control
and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO) number CK19-
1904, entitled Epidemiology and Laboratory Capacity (ELC), which is hereby made a part of this
Non-research award, hereinafter referred to as the Notice of Award (NoA).

Component Funding: Additional funding in the amount $159,509,879 is approved for the Year 01
budget period, which is August 1, 2019 through July 31, 2020

COVID-19 Paycheck Protection Program and Health Care Enhancement Act Response Activities:

       E. Cross-Cutting Emerging Issues: $159,509,879

Recipients have 30 months from the date of this NoA to expend all funds awarded herein

Budget/Workplan Revision Requirement: Within 30 days of this NoA, the recipient must submit
a revised budget with a narrative justification outlining response activities. Failure to submit the
required information in a timely manner may adversely affect the future funding of the project. If
the information cannot be provided by the due date, you are required to contact your ELC Project
Officer and Grant Management Specialist.

Pre-Award Costs: Pre-award costs dating back to January 20, 2020 – when CDC first activated
its Emergency Operations Center (EOC) – and directly related to the COVID-19 outbreak
response are allowable.

Indirect Costs: Indirect cost will be approved based on current approved negotiated indirect cost
rate agreement.

Overtime: Because overtime costs are a very likely and reasonable expense during the response
to COVID-19, CDC will allow recipients to include projected overtime in their budgets. Recipients
should be careful to estimate costs based on current real-time needs and will still be required to
follow federal rules and regulations in accounting for the employees’ time and effort.

Additional Term and Condition:
A recipient of a grant or cooperative agreement awarded by the Department of Health and Human
Services (HHS) with funds made available under the Coronavirus Preparedness and Response
Supplemental Appropriations Act, 2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic
Security Act, 2020 (the “CARES Act”) (P.L. 116-136); and/or the Paycheck Protection Program
and Health Care Enhancement Act (P.L. 116-139) agrees, as applicable to the award, to: 1)
comply with existing and/or future directives and guidance from the Secretary regarding control of
the spread of COVID-19; 2) in consultation and coordination with HHS, provide, commensurate
with the condition of the individual, COVID-19 patient care regardless of the individual’s home
jurisdiction and/or appropriate public health measures (e.g., social distancing, home isolation);
and 3) assist the United States Government in the implementation and enforcement of federal
orders related to quarantine and isolation.

In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES Act,
with respect to the reporting to the HHS Secretary of results of tests intended to detect SARS–
CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in accordance with
guidance and direction from HHS and/or CDC.

Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
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copies of and/or access to COVID-19 data collected with these funds, including but not limited to
data related to COVID-19 testing. CDC will specify in further guidance and directives what is
encompassed by this requirement.

This award is contingent upon agreement by the recipient to comply with existing and future
guidance from the HHS Secretary regarding control of the spread of COVID-19. In addition,
recipient is expected to flow down these terms to any subaward, to the extent applicable to
activities set out in such subaward.

Unallowable Costs:
   • Research
   • Clinical care
   • Publicity and propaganda (lobbying):
         o Other than for normal and recognized executive-legislative relationships, no funds
             may be used for:
                     publicity or propaganda purposes, for the preparation, distribution, or use of
                     any material designed to support or defeat the enactment of legislation
                     before any legislative body
                     the salary or expenses of any grant or contract recipient, or agent acting for
                     such recipient, related to any activity designed to influence the enactment of
                     legislation, appropriations, regulation, administrative action, or Executive
                     order proposed or pending before any legislative body
         o See Additional Requirement (AR) 12 for detailed guidance on this prohibition and
             additional guidance on lobbying for CDC recipients:
             https://www.cdc.gov/grants/documents/Anti-
             Lobbying_Restrictions_for_CDC_Grantees_July_2012.pdf

   •   All unallowable costs cited in CDC-RFA-CK19-1904 remain in effect, unless specifically
       amended in this guidance, in accordance with 45 CFR Part 75 – Uniform Administrative
       Requirements, Cost Principles, And Audit Requirements for HHS Awards.

REPORTING REQUIREMENTS

Additional Reporting:
   • Quarterly progress reports on status of timelines, goals, and objectives as defined by CDC
       in approved work plans.
   • Monthly fiscal reports (beginning 60 days after NOAs are issued).
   • Quarterly performance measure data
   • CDC may require recipients to develop annual progress reports (APRs). CDC will provide
       APR guidance and optional templates should they be required.
   • Quarterly reporting of test results, both positive and negative
   • Clarity on how the states will focus on high socially vulnerable index counties, rural and
       urban areas, etc. (Vulnerable populations must be specific).

Required Disclosures for Federal Awardee Performance and Integrity Information System
(FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG), all
information related to violations of federal criminal law involving fraud, bribery, or gratuity
violations potentially affecting the federal award. Subrecipients must disclose, in a timely manner
in writing to the prime recipient (pass through entity) and the HHS OIG, all information related to
violations of federal criminal law involving fraud, bribery, or gratuity violations potentially affecting
the federal award. Disclosures must be sent in writing to the CDC and to the HHS OIG at the
following addresses:
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CDC, Office of Grants Services
Tonya M. Jenkins, Grants Management Specialist
Time Solutions LLC
Office of Grants Services (OGS)
Office of Financial Resources (OFR)
Office of the Chief Operating Officer (OCOO)
Centers for Disease Control and Prevention (CDC)
pjo6@cdc.gov | 404-498-2399 office

AND

U.S. Department of Health and Human Services Office of the Inspector General
ATTN: Mandatory Grant Disclosures, Intake Coordinator 330 Independence Avenue, SW
Cohen Building, Room 5527 Washington, DC 20201

Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject line) or Email:
MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and contracts
under this award.

Failure to make required disclosures can result in any of the remedies described in 45 CFR
75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts 180
and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the period of
performance due to material failure to comply with the terms and conditions of this award in the
OMB-designated integrity and performance system accessible through SAM (currently FAPIIS).
(45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is terminated for failure
to comply with the federal statutes, regulations, or terms and conditions of the federal award. (45
CFR 75.373(b))

 PAYMENT INFORMATION

The HHS Office of the Inspector General (OIG) maintains a toll-free number (1- 800-HHS- TIPS
[1-800-447-8477]) for receiving information concerning fraud, waste, or abuse under grants and
cooperative agreements. Information also may be submitted by e-mail to hhstips@oig.hhs.gov or
by mail to Office of the Inspector General, Department of Health and Human Services, Attn:
HOTLINE, 330 Independence Ave., SW, Washington DC 20201. Such reports are treated as
sensitive material and submitters may decline to give their names if they choose to remain
anonymous.

Payment Management System Subaccount: Funds awarded in support of approved activities
have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds must
be used in support of approved activities in the NOFO and the approved application.

The grant document number identified on the bottom of Page 1 of the Notice of Award must be
known in order to draw down funds.

Stewardship: The recipient must exercise proper stewardship over Federal funds by ensuring
that all costs charged to your cooperative agreement are allowable, allocable, and reasonable and
that they address the highest priority needs as they relate to this program.

All the other terms and conditions issued with the original award remain in effect throughout the
budget period unless otherwise changed, in writing, by the Grants Management Officer.
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                DEPARTMENT OF HEALTH ANDPageID
                                         HUMAN     SERVICES
                                               #: 1502         Notice of Award
                                                                                                  Award# 6 NU50CK000552-02-04
                Centers for Disease Control and Prevention
                                                                                                  FAIN# NU50CK000552
                                                                                                  Federal Award Date: 01/14/2021



Recipient Information                                                       Federal Award Information
1. Recipient Name                               11. Award Number
                                                    6 NU50CK000552-02-04
    Colorado Dept of Public Health              12. Unique Federal Award Identification Number (FAIN)
    4300 E Cherry Creek South Dr                    NU50CK000552
    Denver, CO 80246-1523                       13. Statutory Authority
                                                    301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
    [NO DATA]

                                                14. Federal Award Project Title
2. Congressional District of Recipient             CK19-1904 Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
    01
3. Payment System Identifier (ID)
    1840644739A4                                15. Assistance Listing Number
4. Employer Identification Number (EIN)             93.323
    840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
    878208826
6. Recipient’s Unique Entity Identifier         17. Award Action Type
                                                    Supplement
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                    No
    Ms. Nicole Comstock
    nicole.comstock@state.co.us                              Summary Federal Award Financial Information
    303-692-2676
                                                19. Budget Period Start Date         08/01/2020 - End Date 07/31/2021

                                                20. Total Amount of Federal Funds Obligated by this Action                        $331,463,532.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                       $331,463,532.00
    Mr. David Crosby
                                                    20b. Indirect Cost Amount                                                              $0.00
    david.crosby@state.co.us
    3036922726
                                                21. Authorized Carryover                                                                   $0.00

                                                22. Offset                                                                                  $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                      $8,335,158.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                               $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                     $339,798,690.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date        08/01/2019 - End Date 07/31/2024
 Ms. Joelle Cadet
 Grants Management Specialist                   27. Total Amount of the Federal Award including Approved
 qrx2@cdc.gov                                       Cost Sharing or Matching this Project Period                                  $517,406,670.00
 (404) 498-4349
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 Mrs. Janice Downing
                                                29. Grants Management Officer – Signature
 Public Health Analyst
                                                     Kathy Raible
 jsb3@cdc.gov
 404-639-7808



30. Remarks




                                                                                                                                    Page 1
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                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN     SERVICES
                                                #: 1503         Notice of Award
                 Centers for Disease Control and Prevention                                    Award# 6 NU50CK000552-02-04
                                                                                               FAIN# NU50CK000552
                                                                                               Federal Award Date: 01/14/2021



Recipient Information                                33. Approved Budget
                                                     (Excludes Direct Assistance)
Recipient Name                                        I. Financial Assistance from the Federal Awarding Agency Only
                                                      II. Total project costs including grant funds and all other financial participation
 Colorado Dept of Public Health
 4300 E Cherry Creek South Dr                         a. Salaries and Wages                                                    $2,457,555.00
 Denver, CO 80246-1523                                b. Fringe Benefits                                                         $802,609.00
 [NO DATA]
                                                           c. Total Personnel Costs                                            $3,260,164.00
                                                      d. Equipment                                                               $220,446.00
Congressional District of Recipient
 01                                                   e. Supplies                                                                $147,801.00
Payment Account Number and Type                       f. Travel                                                                   $68,863.00
 1840644739A4
Employer Identification Number (EIN) Data             g. Construction                                                                  $0.00
 840644739                                            h. Other                                                               $333,729,032.00
Universal Numbering System (DUNS)
                                                      i. Contractual                                                           $1,609,203.00
 878208826
Recipient’s Unique Entity Identifier                  j. TOTAL DIRECT COSTS                                                  $339,035,509.00
 Not Available
                                                      k. INDIRECT COSTS                                                         $763,181.00

 31. Assistance Type                                  l. TOTAL APPROVED BUDGET                                               $339,798,690.00
 Cooperative Agreement
                                                      m. Federal Share                                                       $339,798,690.00
 32. Type of Award
 Demonstration                                        n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.           DOCUMENT NO.       ADMINISTRATIVE CODE    OBJECT CLASS     AMT ACTION FINANCIAL ASSISTANCE         APPROPRIATION
    1-9390GCP         19NU50CK000552AMDC4            CK                 41.51                                        $0.00      75-X-0943
    1-9390GCQ           19NU50CK000552THC4           CK                 41.51                                        $0.00      75-X-0943
     1-9390GF0         19NU50CK000552PHLC4           CK                 41.51                                        $0.00      75-X-0943
    1-9390GKT         19NU50CK000552EDEXC5           CK                 41.51                              $331,463,532.00     75-2122-0140




                                                                                                                                    Page 2
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                  DEPARTMENT OF HEALTH AND  HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1504
                                                                                             Award# 6 NU50CK000552-02-04
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000552
                                                                                             Federal Award Date: 01/14/2021




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                               PageID #: 1505
                                      AWARD ATTACHMENTS
Colorado Dept of Public Health                                               6 NU50CK000552-02-04
1. Terms & Conditions -ELC Enhancing Detection Exp.
Case 1:25-cv-00121-MSM-LDA        Document 4-10 Filed 04/01/25        Page 419 of 498
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 AWARD INFORMATION


Incorporation: In addition to the federal laws, regulations, policies, and CDC General
Terms and Conditions for Non-research awards at
https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for
Disease Control and Prevention (CDC) hereby incorporates Notice of Funding
Opportunity (NOFO) number CK19-1904, entitled Epidemiology and Laboratory
Capacity for Prevention and Control of Emerging Infectious Diseases (ELC), which are
hereby made a part of this Non-research award, hereinafter referred to as the Notice
of Award (NoA).


Supplemental Component Funding: Additional funding in the amount $ 331,463,532
is approved for the Year 02 budget period, which is August 1, 2020 through July 31,
2021.

The approved component and funding level for this notice of award are:

 NOFO Component                                                Amount

 ELC Enhancing Detection Expansion                             $ 331,463,532


Recipients have until July 31, 2023 to expend all COVID-19 funds awarded herein.

Overtime: Because overtime costs are a very likely and reasonable expense during
the response to COVID-19, CDC will allow recipients to include projected overtime in
their budgets. Recipients should be careful to estimate costs based on current real-
time needs and will still be required to follow federal rules and regulations in
accounting for the employees’ time and effort.

Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
agreement awarded by the Department of Health and Human Services (HHS) with funds
made available under the Coronavirus Preparedness and Response Supplemental
Appropriations Act, 2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic
Security Act, 2020 (the “CARES Act”) (P.L. 116-136); the Paycheck Protection Program
and Health Care Enhancement Act (P.L. 116-139); and/or the Consolidated
Appropriations Act, 2021, Division M – Coronavirus Response and Relief Supplemental
Appropriations Act, 2021 (P.L. 116-260), agrees, as applicable to the award, to: 1)
comply with existing and/or future directives and guidance from the Secretary regarding
control of the spread of COVID-19; 2) in consultation and coordination with HHS,
provide, commensurate with the condition of the individual, COVID-19 patient care
regardless of the individual’s home jurisdiction and/or appropriate public health
measures (e.g., social distancing, home isolation); and 3) assist the United States
Government in the implementation and enforcement of federal orders related to
quarantine and isolation.
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To achieve the public health objectives of ensuring the health, safety, and welfare of all
Americans, Recipient must distribute or administer vaccine without discriminating on
non-public-health grounds within a prioritized group. This includes, but is not limited to,
immigration status, criminal history, incarceration, or homelessness. To this end, and to
help achieve the public health imperative of widespread herd immunity to COVID-19,
Recipient must administer or distribute vaccine to any and all individuals within a
prioritized group in the same timeframe, taking into account available vaccine
doses. For example, if meatpacking plant workers are a prioritized group, then all
workers in that group, including undocumented immigrants, must be vaccinated to help
assure that the plant is in a position to safely resume essential functions.

In addition, to the extent applicable, Recipient will comply with Section 18115 of the
CARES Act, with respect to the reporting to the HHS Secretary of results of tests
intended to detect SARS–CoV–2 or to diagnose a possible case of COVID–19. Such
reporting shall be in accordance with guidance and direction from HHS and/or
CDC. HHS laboratory reporting guidance is posted at:
https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-guidance.pdf.

Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322),
the purpose of this award, and the underlying funding, the recipient is expected to
provide to CDC copies of and/or access to COVID-19 data collected with these funds,
including but not limited to data related to COVID-19 testing. CDC will specify in further
guidance and directives what is encompassed by this requirement.

This award is contingent upon agreement by the recipient to comply with existing
and future guidance from the HHS Secretary regarding control of the spread of
COVID-19. In addition, recipient is expected to flow down these terms to any
subaward, to the extent applicable to activities set out in such subaward.

Unallowable Costs:
  • Research
  • Clinical care
  • Publicity and propaganda (lobbying):
        o Other than for normal and recognized executive-legislative
            relationships, no funds may be used for:
                 publicity or propaganda purposes, for the preparation, distribution,
                    or use of any material designed to support or defeat the enactment
                    of legislation before any legislative body
                 the salary or expenses of any grant or contract recipient, or agent
                    acting for such recipient, related to any activity designed to
                    influence the enactment of legislation, appropriations, regulation,
                    administrative action, or Executive order proposed or pending
                    before any legislative body
        o See Additional Requirement (AR) 12 for detailed guidance on this
            prohibition and additional guidance on lobbying for CDC recipients:
            https://www.cdc.gov/grants/documents/Anti-
            Lobbying_Restrictions_for_CDC_Grantees_July_2012.pdf
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   •   All unallowable costs cited in CDC-RFA-CK19-1904 remain in effect, unless
       specifically amended in this guidance, in accordance with 45 CFR Part 75 –
       Uniform Administrative Requirements, Cost Principles, And Audit Requirements
       for HHS Awards.

Budget Revision Requirement: By March 17, 2021 the recipient must submit a
separate revised budget with a narrative justification and workplan in accordance
with the COVID-19 guidance. The workplan should be submitted in REDCap and
must address all activities in the guidance.

The revised budget and narrative justification must be uploaded as an amendment in
Grant Solutions with a SF424A.

Failure to submit the required information in a timely manner may adversely affect
the future funding of this project. If the information cannot be provided by the due
date, you are required to contact the GMS/GMO identified in the CDC Staff Contacts
section of this notice before the due date.


 REPORTING REQUIREMENTS


COVID-19 - Additional Reporting Requirements:

   •   Monthly fiscal reports (beginning 60 days after NOAs are issued). Thereafter, all
       monthly financial reporting will occur on the 5th of the month which will cover the
       preceding month’s expenditures and unliquidated obligations (ULOs).
   •   Quarterly workplan milestone progress reporting will start on April 30, 2021; and
       will follow the regular ELC quarterly reporting timeline.
   •   The Jurisdictional Testing, Case Investigation, and Contact Tracing Plan updates
       will occur on the same quarterly reporting timeline as the workplan milestone
       progress.
   •   CDC may require recipients to develop annual progress reports (APRs). CDC
       will provide APR guidance and optional templates should they be required

Required Disclosures for Federal Awardee Performance and Integrity Information
System (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must
disclose in a timely manner, in writing to the CDC, with a copy to the HHS Office of
Inspector General (OIG), all information related to violations of federal criminal law
involving fraud, bribery, or gratuity violations potentially affecting the federal award.
Subrecipients must disclose, in a timely manner in writing to the prime recipient (pass
through entity) and the HHS OIG, all information related to violations of federal criminal
law involving fraud, bribery, or gratuity violations potentially affecting the federal award.
Disclosures must be sent in writing to the CDC and to the HHS OIG at the following
addresses:

CDC, Office of Grants Services
Joëlle Cadet, Grants Management Specialist
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Centers for Disease Control and
Prevention Branch 1
2939 Flowers Road, MS-TV2
Atlanta, GA 30341
Email: qrx2@cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

AND

U.S. Department of Health and Human Services
Office of the Inspector General
ATTN: Mandatory Grant Disclosure, Intake Coordinator
330 Independent Avenue, SW
Cohen Building, Room 5527
Washington, DC 20201
Fax: (202)-205-0604 (Include “Mandatory Grant Disclosures” in subject
line) or Email: MandatoryGranteeDisclosures@oig.hhs.gov

Recipients must include this mandatory disclosure requirement in all subawards and
contracts under this award.

Failure to make required disclosures can result in any of the remedies described in 45
CFR 75.371. Remedies for noncompliance, including suspension or debarment (See 2
CFR parts 180 and 376, and 31 U.S.C. 3321).

CDC is required to report any termination of a federal award prior to the end of the
period of performance due to material failure to comply with the terms and conditions
of this award in the OMB-designated integrity and performance system accessible
through SAM (currently FAPIIS). (45 CFR 75.372(b)) CDC must also notify the
recipient if the federal award is terminated for failure to comply with the federal
statutes, regulations, or terms and conditions of the federal award. (45 CFR
75.373(b))


PAYMENT INFORMATION



The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-
HHS-TIPS [1- 800-447-8477]) for receiving information concerning fraud, waste, or
abuse under grants and cooperative agreements. Information also may be submitted by
e-mail to hhstips@oig.hhs.gov or by mail to Office of the Inspector General,
Department of Health and Human Services, Attn: HOTLINE, 330 Independence Ave.,
SW, Washington DC 20201. Such reports are treated as sensitive material and
submitters may decline to give their names if they choose to remain anonymous.

Payment Management System Subaccount: Funds awarded in support of
approved activities have been obligated in a subaccount in the PMS, herein identified
as the “P Account”. Funds must be used in support of approved activities in the
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NOFO and the approved application.

The grant document number identified on the bottom of Page 1 of the Notice of
Award must be known in order to draw down funds.




Stewardship: The recipient must exercise proper stewardship over Federal funds by
ensuring that all costs charged to your cooperative agreement are allowable, allocable,
and reasonable and that they address the highest priority needs as they relate to this
program.

All the other terms and conditions issued with the original award remain in effect
throughout the budget period unless otherwise changed, in writing, by the Grants
Management Officer.
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                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN    SERVICES
                                                #: 1511         Notice of Award
                                                                                                  Award# 6 NU50CK000552-03-06
                 Centers for Disease Control and Prevention
                                                                                                  FAIN# NU50CK000552
                                                                                                  Federal Award Date: 04/26/2022



Recipient Information                                                       Federal Award Information
1. Recipient Name                               11. Award Number
                                                   6 NU50CK000552-03-06
   Public Health and Environment, Colorado      12. Unique Federal Award Identification Number (FAIN)
   Department of                                   NU50CK000552
   4300 E Cherry Creek South Dr                 13. Statutory Authority
                                                   301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   Denver, CO 80246-1523
   [NO DATA]
                                                14. Federal Award Project Title
2. Congressional District of Recipient             CK19-1904 Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   01
3. Payment System Identifier (ID)
   1840644739A4                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.323
   840644739
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   878208826
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   Y3WEW9MQ6NH5                                    Administrative Action
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Ms. Nicole Comstock
   nicole.comstock@state.co.us                               Summary Federal Award Financial Information
   303-692-2676
                                                19. Budget Period Start Date         08/01/2021 - End Date 07/31/2022

                                                20. Total Amount of Federal Funds Obligated by this Action                                    $0.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                   $0.00
   Ms. Jannette Scarpino                            20b. Indirect Cost Amount                                                                 $0.00
   Chief Financial Officer
                                                21. Authorized Carryover                                                                      $0.00
   Jannette.Scarpino@state.co.us
   303-692-2127                                 22. Offset                                                                                    $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                        $40,875,449.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                 $0.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                         $40,875,449.00
9. Awarding Agency Contact Information
                                                26. Project Period Start Date        08/01/2019 - End Date 07/31/2024
 Myrtle Smalls
 Grants Management Specialist                   27. Total Amount of the Federal Award including Approved
 tiu0@cdc.gov                                       Cost Sharing or Matching this Project Period                              Not Available
 404-498-0623
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Mrs. Janice Downing
                                                29. Grants Management Officer – Signature
 Public Health Analyst
                                                     Ms. Freda Johnson
 jsb3@cdc.gov
                                                     Grants Management Officer
 404-639-7808



30. Remarks




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1512         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NU50CK000552-03-06
                                                                                                 FAIN# NU50CK000552
                                                                                                 Federal Award Date: 04/26/2022



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
                                                        II. Total project costs including grant funds and all other financial participation
 Public Health and Environment, Colorado
 Department of                                         a. Salaries and Wages                                                    $8,428,026.00
 4300 E Cherry Creek South Dr                          b. Fringe Benefits                                                       $2,734,335.00
 Denver, CO 80246-1523
                                                            c. Total Personnel Costs                                           $11,162,361.00
 [NO DATA]
                                                       d. Equipment                                                               $39,200.00
Congressional District of Recipient
 01                                                    e. Supplies                                                              $3,541,489.00
Payment Account Number and Type                        f. Travel                                                                 $180,482.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                 $7,722,955.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                          $13,950,886.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                  $36,597,373.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                       $4,278,076.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                               $40,875,449.00
 Cooperative Agreement
                                                       m. Federal Share                                                       $40,875,449.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.        ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
   0-9390EPX          19NU50CK000552CV             CK                41.51     93.323                                 $0.00 75-2022-0943
   0-9390ESY          19NU50CK000552CV             CK                41.51     93.323                                 $0.00 75-2022-0943
   1-9390EWQ          19NU50CK000552C3             CK                41.51     93.323                                 $0.00 75-2024-0943
    0-9390F7F         19NU50CK000552C4             CK                41.51     93.323                                 $0.00  75-X-0140
   1-9390GCP        19NU50CK000552AMDC4            CK                41.51     93.323                                 $0.00  75-X-0943
   1-9390GCQ         19NU50CK000552THC4            CK                41.51     93.323                                 $0.00  75-X-0943
    1-9390GF0       19NU50CK000552PHLC4            CK                41.51     93.323                                 $0.00  75-X-0943
    1-9390GF6      19NU50CK000552PHL2C6            CK                41.51     93.323                                 $0.00  75-X-0140
   1-9390GKT       19NU50CK000552EDEXC5            CK                41.51     93.323                                 $0.00 75-2122-0140
   1-9390GY2       19NU50CK000552SCHLC6            CK                41.51     93.323                                 $0.00  75-X-0140
    1-9390H08      19NU50CK000552AMD2C6            CK                41.51     93.323                                 $0.00  75-X-0943




                                                                                                                                    Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1513
                                                                                             Award# 6 NU50CK000552-03-06
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000552
                                                                                             Federal Award Date: 04/26/2022




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                               AWARD ATTACHMENTS
Public Health and Environment, Colorado Department of                 6 NU50CK000552-03-06
1. Terms and Conditions
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 ADDITIONAL TERMS AND CONDITIONS OF AWARD

Administrative Correction: The purpose of the amendment is to extend the period of usage for all listed
COVID document numbers to align with YR3 budget period which is August 1, 2021 to July 31, 2022. No
action is required from the recipient.

 YR1 and YR2 COVID Document Numbers
 19NU50CK000552CV
 19NU50CK000552C3
 19NU50CK000552C4
 19NU50CK000552AMDC4
 19NU50CK000552THC4
 19NU50CK000552PHLC4
 19NU50CK000552PHL2C6
 19NU50CK000552EDEXC5
 19NU50CK000552SCHLC6
 19NU50CK000552AMD2C6

All other terms and conditions of this award remains in effect throughout the budget period unless
otherwise changed, in writing, by the Grants Management Officer.

PLEASE REFERENCE AWARD NUMBERS ON ALL CORRESPONDENCE
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                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN    SERVICES
                                                #: 1516         Notice of Award
                                                                                                       Award# 6 NU50CK000552-05-02
                 Centers for Disease Control and Prevention
                                                                                                       FAIN# NU50CK000552
                                                                                                       Federal Award Date: 10/18/2023



Recipient Information                                                            Federal Award Information
1. Recipient Name                                    11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                        6 NU50CK000552-05-02
                                                     12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                        NU50CK000552
   4300 E Cherry Creek South Dr                      13. Statutory Authority
   Denver, CO 80246-1523                                301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   321-321-3214
                                                     14. Federal Award Project Title
2. Congressional District of Recipient                  CK19-1904 Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   01
3. Payment System Identifier (ID)
   1840644739A4                                      15. Assistance Listing Number
4. Employer Identification Number (EIN)                 93.323
   840644739
                                                     16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)               Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   878208826
6. Recipient’s Unique Entity Identifier (UEI)        17. Award Action Type
   Y3WEW9MQ6NH5                                         No Cost Extension
7. Project Director or Principal Investigator        18. Is the Award R&D?
                                                        No
   Ms. Nicole Comstock
   Communicable Disease Branch Chief / ELC Project                Summary Federal Award Financial Information
   Director
                                                     19. Budget Period Start Date         08/01/2023 - End Date 07/31/2026
   nicole.comstock@state.co.us
   303-692-2676 Official                             20. Total Amount of Federal Funds Obligated by this Action                                 $0.00
8. Authorized
                                                         20a. Direct Cost Amount                                                                $0.00
   Ms. Jannette4 Scarpino                                20b. Indirect Cost Amount                                                              $0.00
   N/A
                                                     21. Authorized Carryover                                                                   $0.00
   jannette.scarpino@state.co.us
   303-692-2127                                      22. Offset                                                                          $1,698,403.00
                                                     23. Total Amount of Federal Funds Obligated this budget period                      $5,748,005.00
Federal Agency Information
                                                     24. Total Approved Cost Sharing or Matching, where applicable                              $0.00
 CDC Office of Financial Resources
                                                     25. Total Federal and Non-Federal Approved this Budget Period                       $5,748,005.00
9. Awarding Agency Contact Information               26. Period of Perfomance Start Date 08/01/2019 - End Date 07/31/2026
 Myrtle Smalls
                                                     27. Total Amount of the Federal Award including Approved
 Grants Management Specialist
                                                         Cost Sharing or Matching this Period of Performance                           $774,175,196.00
 tiu0@cdc.gov
 404-498-0623
                                                     28. Authorized Treatment of Program Income
10.Program Official Contact Information                  ADDITIONAL COSTS
 Mrs. Janice Downing
                                                     29. Grants Management Officer – Signature
 Public Health Analyst
                                                          Karen Zion1
 jsb3@cdc.gov
                                                          Grants Management Officer
 404-639-7808



30. Remarks
 No Cost Extension




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1517         Notice of Award
             Centers for Disease Control and Prevention                                          Award# 6 NU50CK000552-05-02
                                                                                                 FAIN# NU50CK000552
                                                                                                 Federal Award Date: 10/18/2023



Recipient Information                                  33. Approved Budget
                                                       (Excludes Direct Assistance)
Recipient Name                                          I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                          II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                  a. Salaries and Wages                                                    $2,891,551.00
 4300 E Cherry Creek South Dr
                                                       b. Fringe Benefits                                                        $941,232.00
 Denver, CO 80246-1523
 321-321-3214                                               c. Total Personnel Costs                                            $3,832,783.00
                                                       d. Equipment                                                                    $0.00
Congressional District of Recipient
 01                                                    e. Supplies                                                               $437,105.00
Payment Account Number and Type                        f. Travel                                                                 $142,126.00
 1840644739A4
Employer Identification Number (EIN) Data              g. Construction                                                                 $0.00
 840644739                                             h. Other                                                                  $143,557.00
Universal Numbering System (DUNS)
                                                       i. Contractual                                                           $2,004,587.00
 878208826
Recipient’s Unique Entity Identifier (UEI)             j. TOTAL DIRECT COSTS                                                   $6,560,158.00
 Y3WEW9MQ6NH5
                                                       k. INDIRECT COSTS                                                         $886,250.00

 31. Assistance Type                                   l. TOTAL APPROVED BUDGET                                                $7,446,408.00
 Cooperative Agreement
                                                       m. Federal Share                                                        $7,446,408.00
 32. Type of Award
 Other                                                 n. Non-Federal Share                                                            $0.00


 34. Accounting Classification Codes

FY-ACCOUNT NO.         DOCUMENT NO.        ADMINISTRATIVE CODE   OBJECT CLASS CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE APPROPRIATION
   0-9390EPX          19NU50CK000552CV             CK                41.51     93.323                                 $0.00 75-2022-0943
   0-9390ESY          19NU50CK000552CV             CK                41.51     93.323                                 $0.00 75-2022-0943
   0-9390EWQ          19NU50CK000552C3             CK                41.51     93.323                                 $0.00 75-2024-0943
    0-9390F7F         19NU50CK000552C4             CK                41.51     93.323                                 $0.00  75-X-0140
   1-9390EWQ       19NU50CK000552DMODC3            CK                41.51     93.323                                 $0.00 75-2024-0943
    1-9390GF6       19NU50CK000552PHL2C6           CK                41.51     93.323                                 $0.00  75-X-0140
   1-9390GKT       19NU50CK000552EDEXC5            CK                41.51     93.323                                 $0.00 75-2122-0140
    1-9390H08      19NU50CK000552AMD2C6            CK                41.51     93.323                                 $0.00  75-X-0943
    2-9390JEN      19NU50CK000552NWSSC6            CK                41.51     93.323                                 $0.00  75-X-0140
    1-9390GJ9      19NU50CK000552NWSSC4            CK                41.51     93.323                                 $0.00  75-X-0140
    2-9390J4P       19NU50CK000552SHRPC6           CK                41.51     93.323                                 $0.00  75-X-0140
    2-9390JXH       19NU50CK000552LDXC6            CK                41.51     93.323                                 $0.00  75-X-0140




                                                                                                                                    Page 2
                  Case 1:25-cv-00121-MSM-LDA
                                        Document 4-10 Filed 04/01/25 Page 431 of 498
                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1518
                                                                                             Award# 6 NU50CK000552-05-02
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000552
                                                                                             Federal Award Date: 10/18/2023




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                                              PageID #: 1519
                                     AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                          6 NU50CK000552-05-02
1. CK000552 Additional_Terms_Conditions No Cost Extension
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ADDITIONAL TERMS AND CONDITIONS OF AWARD

No Cost Extension: The purpose of this amendment is to approve a 24 month No Cost Extension
per the request submitted by your organization dated September 25, 2023 . The budget and project
period end dates have been extended from August 1, 2024 to July 31, 2026.

Annual Federal Financial Report (FFR SF-425): Annual financial reporting is required every twelve-
month period. Due to the approved extension period, the final budget period has been extended and
an additional annual financial report will be required. A completed FFR SF-425 covering the original
final budget period of August 1, 2023 to July 31, 2026 must be submitted by October 31, 2026.

Recipients must submit all closeout reports identified in this section within 90 days of the period of
performance end date. The reporting timeframe is the full period of performance. Failure to submit
timely and accurate final reports may affect future funding to the organization or awards under the
direction of the same Project Director/Principal Investigator (PD/PI).

Final Performance Progress and Evaluation Report (PPER): This report should include the
information specified in the NOFO. At a minimum, the report will include the following:

•     Statement of progress made toward the achievement of originally stated aims.
•     Description of results (positive or negative) considered significant.
•     List of publications resulting from the project, with plans, if any, for further publication.

All manuscripts published as a result of the work supported in part or whole by the cooperative grant
must be submitted with the performance progress reports.

Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds
authorized and actually expended during the timeframe covered by the report. The Final FFR, SF-
425 is required and must be submitted no later than 90 days after the period of performance end
date.

The final report must indicate the exact balance of unobligated funds and may not reflect any
unliquidated obligations. Should the amount not match with the final expenditures reported to the
Department of Health and Human Services’ PMS, you will be required to update your reports to PMS
accordingly. Remaining unobligated funds will be de-obligated and returned to the U.S. Treasury.

Electronic versions of the FFR SF-425 can be downloaded at:
https://www.grants.gov/web/grants/forms/post-award-reporting-forms.html#sortby=1

Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed Tangible
Personal Property Report SF-428 and Final Report SF-428B addendum must be submitted, along
with any Supplemental Sheet SF-428S detailing all major equipment acquired or furnished under this
project with a unit acquisition cost of $5,000 or more. Electronic versions of the forms can be
downloaded by visiting: https://www.grants.gov/web/grants/forms/post-award-reporting-
forms.html#sortby=1

If no equipment was acquired under an award, a negative report is required.
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The recipient must identify each item of equipment that it wishes to retain for continued use in
accordance with 45 CFR Part 75. The awarding agency may exercise its rights to require the transfer
of equipment purchased under the assistance award. CDC will notify the recipient if transfer to title
will be required and provide disposition instruction on all major equipment.

Equipment with a unit acquisition cost of less than $5,000 that is no longer to be used in projects or
programs currently or previously sponsored by the Federal Government may be retained, sold, or
otherwise disposed of, with no further obligation to the Federal Government.
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                                        Document 4-10 Filed 04/01/25 Page 435 of 498
                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN    SERVICES
                                                #: 1522         Notice of Award
                                                                                                       Award# 6 NU50CK000552-05-12
                 Centers for Disease Control and Prevention
                                                                                                       FAIN# NU50CK000552
                                                                                                       Federal Award Date: 03/24/2025



Recipient Information                                                            Federal Award Information
1. Recipient Name                                    11. Award Number
   COLORADO DEPARTMENT OF PUBLIC                        6 NU50CK000552-05-12
                                                     12. Unique Federal Award Identification Number (FAIN)
   HEALTH & ENVIRONMENT
                                                        NU50CK000552
   4300 E Cherry Creek South Dr                      13. Statutory Authority
   Denver, CO 80246-1523                                301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   321-321-3214
                                                     14. Federal Award Project Title
2. Congressional District of Recipient                  CK19-1904 Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   01
3. Payment System Identifier (ID)
   1840644739A4                                      15. Assistance Listing Number
4. Employer Identification Number (EIN)                 93.323
   840644739
                                                     16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)               Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   878208826
6. Recipient’s Unique Entity Identifier (UEI)        17. Award Action Type
   Y3WEW9MQ6NH5                                         Administrative Action
7. Project Director or Principal Investigator        18. Is the Award R&D?
                                                        No
   Ms. Nicole Comstock
   Communicable Disease Branch Chief / ELC Project                Summary Federal Award Financial Information
   Director
                                                     19. Budget Period Start Date         08/01/2023 - End Date 03/24/2025
   nicole.comstock@state.co.us
   303-692-2676 Official                             20. Total Amount of Federal Funds Obligated by this Action                                 $0.00
8. Authorized
                                                         20a. Direct Cost Amount                                                                $0.00
   Mr. Kurt Williams                                     20b. Indirect Cost Amount                                                              $0.00
   Controller
                                                     21. Authorized Carryover                                                          $24,400,843.00
   kurt.williams@state.co.us
   303-810-4679                                      22. Offset                                                                          $1,698,403.00
                                                     23. Total Amount of Federal Funds Obligated this budget period                    $13,860,272.00
Federal Agency Information
                                                     24. Total Approved Cost Sharing or Matching, where applicable                              $0.00
 CDC Office of Financial Resources
                                                     25. Total Federal and Non-Federal Approved this Budget Period                     $13,860,272.00
9. Awarding Agency Contact Information               26. Period of Performance Start Date 08/01/2019 - End Date 03/24/2025
 Terrian Dixon
                                                     27. Total Amount of the Federal Award including Approved
 Grants Management Officer
                                                         Cost Sharing or Matching this Period of Performance                           $696,743,117.80
 thd4@cdc.gov
 770-488-2774
                                                     28. Authorized Treatment of Program Income
10.Program Official Contact Information                  ADDITIONAL COSTS
 Aaron Borrelli
                                                     29. Grants Management Officer – Signature
 Public Health Advisor
                                                          Percy Jernigan
 zvt3@cdc.gov
 4046398715



30. Remarks
 Department Authority




                                                                                                                                         Page 1
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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1523         Notice of Award
             Centers for Disease Control and Prevention                                       Award# 6 NU50CK000552-05-12
                                                                                              FAIN# NU50CK000552
                                                                                              Federal Award Date: 03/24/2025



Recipient Information                               33. Approved Budget
                                                    (Excludes Direct Assistance)
Recipient Name                                       I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                       II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                a. Salaries and Wages                                                    $13,967,470.00
 4300 E Cherry Creek South Dr
                                                     b. Fringe Benefits                                                        $4,587,147.00
 Denver, CO 80246-1523
 321-321-3214                                            c. Total Personnel Costs                                             $18,554,617.00
                                                     d. Equipment                                                                $901,199.00
Congressional District of Recipient
 01                                                  e. Supplies                                                               $3,694,037.00
Payment Account Number and Type                      f. Travel                                                                   $393,346.00
 1840644739A4
Employer Identification Number (EIN) Data            g. Construction                                                                   $0.00
 840644739                                           h. Other                                                                  $4,534,527.00
Universal Numbering System (DUNS)
                                                     i. Contractual                                                            $8,528,315.00
 878208826
Recipient’s Unique Entity Identifier (UEI)           j. TOTAL DIRECT COSTS                                                    $36,606,041.00
 Y3WEW9MQ6NH5
                                                     k. INDIRECT COSTS                                                         $3,353,477.00

 31. Assistance Type                                 l. TOTAL APPROVED BUDGET                                                 $39,959,518.00
 Cooperative Agreement
                                                     m. Federal Share                                                         $39,959,518.00
 32. Type of Award
 Other                                               n. Non-Federal Share                                                              $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT          DOCUMENT NO.       ADMINISTRATIVE     OBJECT         ASSISTANCE           AMT ACTION FINANCIAL           APPROPRIATION
      NO.                                   CODE           CLASS            LISTING                 ASSISTANCE
  0-9390EWQ        19NU50CK000552C3           CK            41.51            93.323                                   $0.00      75-2024-0943
   0-9390F7F       19NU50CK000552C4           CK            41.51            93.323                                   $0.00       75-X-0140
  1-9390GKT      19NU50CK000552EDEXC5         CK            41.51            93.323                                   $0.00      75-2122-0140




                                                                                                                                    Page 2
                  Case 1:25-cv-00121-MSM-LDA
                                        Document 4-10 Filed 04/01/25 Page 437 of 498
                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1524
                                                                                             Award# 6 NU50CK000552-05-12
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000552
                                                                                             Federal Award Date: 03/24/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
      Case 1:25-cv-00121-MSM-LDA   Document 4-10 Filed 04/01/25    Page 438 of 498
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                               AWARD ATTACHMENTS
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT                6 NU50CK000552-05-12
1. REVISED: TERMS AND CONDITIONS
Case 1:25-cv-00121-MSM-LDA                Document 4-10 Filed 04/01/25                Page 439 of 498
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TERMS AND CONDITIONS OF AWARD



Termination: The purpose of this amendment is to terminate the use of any remaining COVID-19 funding
associated with this award. The termination of this funding is for cause. HHS regulations permit
termination if “the non-Federal entity fails to comply with the terms and conditions of the award”, or
separately, “for cause.” The end of the pandemic provides cause to terminate COVID-related grants and
cooperative agreements. These grants and cooperative agreements were issued for a limited purpose: to
ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and cooperative
agreements are no longer necessary as their limited purpose has run out. Termination of use of funding
under the listed document number(s) is effective as of the date set out in your Notice of Award.

Impacted document numbers are included on page 2 of this Notice of Award (NoA).

No additional activities can be conducted, and no additional costs may be incurred, as it relates to these
funds. Unobligated award balances of COVID-19 funding will be de-obligated by CDC. Award activities
under other funding may continue consistent with the terms and conditions of the award.

Final Federal Financial Report (FFR, SF-425): Within 30 days please submit final FFR’s for impacted
document numbers. The FFR should only include those funds authorized and expended during the
timeframe covered by the report. The final report must indicate the exact balance of unobligated funds
and may not reflect any unliquidated obligations. Should the amount not match with the final
expenditures reported to the Payment Management System (PMS), you will be required to update your
reports to PMS accordingly.

All other terms and conditions of this award remain in effect.
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                 DEPARTMENT OF HEALTH ANDPageID
                                          HUMAN    SERVICES
                                                #: 1527         Notice of Award
                                                                                                                       Award# 6 NU50CK000552-05-13
                 Centers for Disease Control and Prevention
                                                                                                                       FAIN# NU50CK000552
                                                                                                                       Federal Award Date: 03/25/2025



Recipient Information                                                                            Federal Award Information
1. Recipient Name                                                 11. Award Number
    COLORADO DEPARTMENT OF PUBLIC                                      6 NU50CK000552-05-13
                                                                  12. Unique Federal Award Identification Number (FAIN)
    HEALTH & ENVIRONMENT
                                                                       NU50CK000552
    4300 E Cherry Creek South Dr                                  13. Statutory Authority
    Denver, CO 80246-1523                                               301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
    321-321-3214
                                                                  14. Federal Award Project Title
2. Congressional District of Recipient                                 CK19-1904 Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   01
3. Payment System Identifier (ID)
   1840644739A4                                                   15. Assistance Listing Number
4. Employer Identification Number (EIN)                                93.323
   840644739
                                                                  16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)                               Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   878208826
6. Recipient’s Unique Entity Identifier (UEI)                     17. Award Action Type
   Y3WEW9MQ6NH5                                                        Administrative Action
7. Project Director or Principal Investigator                     18. Is the Award R&D?
                                                                       No
    Ms. Nicole Comstock
    Communicable Disease Branch Chief / ELC Project                             Summary Federal Award Financial Information
    Director
                                                                   19. Budget Period Start Date           08/01/2023 - End Date 07/31/2027
    nicole.comstock@state.co.us
   303-692-2676 Official                                           20. Total Amount of Federal Funds Obligated by this Action                                  $0.00
8. Authorized
                                                                       20a. Direct Cost Amount                                                                 $0.00
    Mr. Kurt Williams                                                   20b. Indirect Cost Amount                                                              $0.00
    Controller
                                                                   21. Authorized Carryover                                                           $24,400,843.00
    kurt.williams@state.co.us
    303-810-4679                                                   22. Offset                                                                           $1,698,403.00
                                                                   23. Total Amount of Federal Funds Obligated this budget period                     $13,860,272.00
Federal Agency Information
                                                                   24. Total Approved Cost Sharing or Matching, where applicable                               $0.00
 CDC Office of Financial Resources
                                                                   25. Total Federal and Non-Federal Approved this Budget Period                      $13,860,272.00
9. Awarding Agency Contact Information                            26. Period of Performance Start Date 08/01/2019 - End Date 07/31/2027
 Terrian Dixon
                                                                  27. Total Amount of the Federal Award including Approved
 Grants Management Officer
                                                                      Cost Sharing or Matching this Period of Performance                             $696,743,117.80
 thd4@cdc.gov
 770-488-2774
                                                                   28. Authorized Treatment of Program Income
10.Program Official Contact Information                                  ADDITIONAL COSTS
 Aaron Borrelli
                                                                   29. Grants Management Officer – Signature
 Public Health Advisor
                                                                         Percy Jernigan
 zvt3@cdc.gov
 4046398715



30. Remarks
 This is an internal administrative action. No action is required from the recipient.




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             DEPARTMENT OF HEALTH ANDPageID
                                      HUMAN    SERVICES
                                            #: 1528         Notice of Award
             Centers for Disease Control and Prevention                                       Award# 6 NU50CK000552-05-13
                                                                                              FAIN# NU50CK000552
                                                                                              Federal Award Date: 03/25/2025



Recipient Information                               33. Approved Budget
                                                    (Excludes Direct Assistance)
Recipient Name                                       I. Financial Assistance from the Federal Awarding Agency Only
 COLORADO DEPARTMENT OF PUBLIC                       II. Total project costs including grant funds and all other financial participation
 HEALTH & ENVIRONMENT                                a. Salaries and Wages                                                    $13,967,470.00
 4300 E Cherry Creek South Dr
                                                     b. Fringe Benefits                                                        $4,587,147.00
 Denver, CO 80246-1523
 321-321-3214                                            c. Total Personnel Costs                                             $18,554,617.00
                                                     d. Equipment                                                                $901,199.00
Congressional District of Recipient
 01                                                  e. Supplies                                                               $3,694,037.00
Payment Account Number and Type                      f. Travel                                                                   $393,346.00
 1840644739A4
Employer Identification Number (EIN) Data            g. Construction                                                                   $0.00
 840644739                                           h. Other                                                                  $4,534,527.00
Universal Numbering System (DUNS)
                                                     i. Contractual                                                            $8,528,315.00
 878208826
Recipient’s Unique Entity Identifier (UEI)           j. TOTAL DIRECT COSTS                                                    $36,606,041.00
 Y3WEW9MQ6NH5
                                                     k. INDIRECT COSTS                                                         $3,353,477.00

 31. Assistance Type                                 l. TOTAL APPROVED BUDGET                                                 $39,959,518.00
 Cooperative Agreement
                                                     m. Federal Share                                                         $39,959,518.00
 32. Type of Award
 Other                                               n. Non-Federal Share                                                             $0.00


 34. Accounting Classification Codes

 FY-ACCOUNT          DOCUMENT NO.       ADMINISTRATIVE     OBJECT         ASSISTANCE           AMT ACTION FINANCIAL           APPROPRIATION
      NO.                                   CODE           CLASS            LISTING                 ASSISTANCE
   3-939017Y     19NU50CK000552ASA2C6         CK            41.51            93.323                                   $0.00       75-X-0943




                                                                                                                                    Page 2
                  Case 1:25-cv-00121-MSM-LDA
                                        Document 4-10 Filed 04/01/25 Page 442 of 498
                  DEPARTMENT OF HEALTH AND HUMAN
                                         PageID      SERVICES Notice of Award
                                                #: 1529
                                                                                             Award# 6 NU50CK000552-05-13
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU50CK000552
                                                                                             Federal Award Date: 03/25/2025




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




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Docusign Envelope ID: A3335659-AB90-4015-803F-475A3F2272A3
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                                                          PageID #: 1530




                                                                                                           25 IBEH 193791
                                                                                                      eClearance #: 2414909


                                  STATE OF COLORADO
                             DEPARTMENT OF HUMAN SERVICES
                         INTERAGENCY AGREEMENT AMENDMENT #1
                                               SIGNATURE AND COVER PAGES
    Base Interagency Agreement CMS: 25 IBEH 191808                  Base Interagency Agreement eClearance #: 2410214
    State Agency #1- Party to Interagency Agreement                 State Agency #2- Party to Interagency Agreement
    Colorado Department of Human Services                           Colorado Department of Public Health and Environment
    Behavioral Health Administration                                Referred to herein as: CDPHE or Receiving Agency
    Referred to herein as: BHA or Paying Agency
    Interagency Agreement Maximum Amount               Interagency Agreement Performance Beginning Date
    Initial Term                                       July 1, 2024
        State Fiscal Year 2025          $16,105,450.68
                                                       Interagency Agreement Expiration Date
    Extension Terms                                    June 30, 2025
        None
                                                       Pricing/Funding
                                                       Paying Agency: State Agency #1
                                                       Receiving Agency: State Agency #2
                                                       Price Structure: Cost Reimbursement
                                                       State Agency #2 shall invoice: As specified elsewhere
                                                       Fund Source: State Cash Fund, Substance Abuse
                                                       Prevention and Treatment Block Grant – C.F.D.A. 93.959,
                                                       Block Grants for Community Mental Health Services –
                                                       C.F.D.A. 93.958, Substance Abuse Prevention and
                                                       Treatment Block Grant – Supplemental #2 HR1319 –
    Maximum Amount for All Fiscal Years $16,105,450.68 C.F.D.A. 93.959
    State Agency #1 Representative                                  State Agency #2 Representative
    Erin Wester, Deputy Commissioner                                Sharon Liu, Senior Manager of Community Prevention
    Behavioral Health Administration                                Programs
    710 S Ash St C140, Denver, CO 80246                             Colorado Department of Public Health and Environment
    303-748-5752 | erin.wester@state.co.us                          4300 Cherry Creek Drive
                                                                    South Denver, CO 80246
                                                                    303-692-2000 | sharon.liu@state.co.us
    Exhibits                                                        Interagency Agreement Amendment Purpose
    The following Exhibits are attached and incorporated into       The purpose of this Interagency Amendment is to update
    this Agreement:                                                 Exhibit A, Exhibit B, and Exhibit D. This Interagency
    Exhibit A-1 – Statement of Work                                 Amendment adds $3,000,000 in one time funding to
    Exhibit B-1 – Budget                                            supplement the Naloxone Bulk Fund.
    Exhibit D-1 – Supplemental Provisions for Federal Awards
                                          Signature Page begins on next page 🡪

                                                             Page 1 of 3
      Interagency Agreement Amendment                                                              Rev. Aug 2020
      25 IBEH 193791
Docusign Envelope ID: A3335659-AB90-4015-803F-475A3F2272A3
             Case 1:25-cv-00121-MSM-LDA                    Document 4-10 Filed 04/01/25                   Page 444 of 498
                                                            PageID #: 1531

                                                                                           CMS Number: 25 IBEH 193791
                                                                                                  eClearance: 2414909
                                                                                                      Amendment #: 1

               THE PARTIES HERETO HAVE EXECUTED THIS INTERAGENCY AGREEMENT
                                        AMENDMENT
                 Each person signing this Agreement represents and warrants that he or she is duly authorized to execute this
                                      Agreement and to bind the Party authorizing his or her signature.

                                  Agency #1                                                    Agency #2
                    Colorado Department of Human Services                Colorado Department of Public Health and Environment
                       Behavioral Health Administration                               Prevention Services Division
                      Michelle Barnes, Executive Director                     Jill Hunsaker Ryan, MPH, Executive Director



            ______________________________________________              _____________________________________________
                                 Signature                                                    Signature
                    By: Dannette R. Smith, Commissioner                    By: Jill Hunsaker Ryan, MPH, Executive Director
                      Behavioral Health Administration


                                 9/16/2024                                                    9/16/2024
                      Date: _________________________                             Date: _________________________

                 In accordance with §24-30-202 C.R.S., this Agreement is not valid until signed and dated below by the State
                                                  Controller or an authorized delegate.

                                                         STATE CONTROLLER
                                                       Robert Jaros, CPA, MBA, JD


                                          By: ___________________________________________
                                               Toni Williamson / Telly Belton / Amanda Rios

                                                                      9/17/2024
                                                  Effective Date: _____________________


                                             -- Signature and Cover Pages End --




     Interagency Agreement Amendment                            Page 2 of 3
                                                                                                            Rev. Aug 2020
     25 IBEH 193791
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                                                                                                       eClearance: 2414909
                                                                                                           Amendment #: 1



             1)     PARTIES
                  This Amendment to the above-referenced Interagency Agreement (hereinafter called “Agreement” or
                  “Amendment”) is entered into by and between the two State Agencies set forth and defined in the caption of this
                  Agreement, who may collectively be called the “Parties” and individually a “Party,” both of which are agencies
                  of the STATE OF COLORADO, hereinafter called the “State.”
             2)     EFFECTIVE DATE AND ENFORCEABILITY
                  This Amendment shall not be effective or enforceable until it is approved and signed by the Colorado State
                  Controller or designee (hereinafter called the “Effective Date”), but shall be effective and enforceable thereafter
                  in accordance with its provisions.
             3)     LIMITS OF EFFECT
                  This Amendment is incorporated by reference into the Agreement, and the Agreement and all prior amendments
                  thereto, if any, remain in full force and effect except as specifically modified herein.
             4)    MODIFICATIONS.
                  The Agreement and all prior amendments thereto, if any, are modified as follows:
                     A.     The Contract Maximum Amount table on the Contract’s Signature and Cover Page is hereby deleted and
                            replaced with the Current Contract Maximum Amount table shown on the Signature and Cover Page for
                            this Amendment.
                     B.     REPLACE Exhibit A, Statement of Work, with Exhibit A-1, Statement of Work, attached and
                            incorporated by reference.
                     C.     REPLACE Exhibit B, Budget, with Exhibit B-1, Budget, attached and incorporated by reference.
                     D.     REPLACE Exhibit D, Supplemental Provisions for Federal Awards, with Exhibit D-1, Supplemental
                            Provisions for Federal Awards, attached and incorporated by reference.
             5)     START DATE
                  Performance per this Agreement shall commence on Interagency Performance Beginning Date set forth on the
                  cover page to this Agreement.
             6)     ORDER OF PRECEDENCE
                  In the event of any conflict, inconsistency, variance, or contradiction between the provisions of this Amendment
                  and any of the provisions of the Agreement, the provisions of this Amendment shall in all respects supersede,
                  govern, and control.
             7)     AVAILABLE FUNDS
                  Financial obligations of either Party payable after the current fiscal year are contingent upon funds for that
                  purpose being appropriated, budgeted, or otherwise made available.




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                                                                              Exhibit A-1
                                                                          Statement of Work



             COMMUNITY PREVENTION AND EARLY INTERVENTION (CPEI) PROGRAM SAMHSA
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                            COMMUNITY PREVENTION AND EARLY
                              INTERVENTION (CPEI) PROGRAM
                    SAMHSA SUBSTANCE USE PREVENTION TREATMENT AND RECOVERY SERVCIES
                                          (SUPTRS) BLOCK GRANT

               I.     PROJECT TERM
                        a. July 1, 2024, through June 30, 2025

              II.     GOAL(S)
                        a. Improve access to high quality behavioral health primary prevention of substance
                           misuse programs and strategies.
                        b. Promote and strengthen the Colorado behavioral health substance misuse primary
                           prevention infrastructure throughout the state.
                        c. Synar – Tobacco compliance activities and reporting

             III.     OBJECTIVE(S)
                        a. CPEI shall fund local communities throughout the state to implement a wide
                           range of community level, empirically based behavioral health primary prevention
                           programming aimed at preventing the use and misuse of legal and illegal
                           substances, while reducing risk factors and increasing protective factors
                           associated with substance misuse and general wellness.
                        b. CPEI shall fund local communities in three categories: under-resourced high-need
                           communities, priority populations – innovative programs, and evidence-based
                           programs and policies.
                        c. CPEI shall fund behavioral health substance misuse primary prevention
                           infrastructure categorized as “other” prevention: training, technical assistance,
                           evaluation, data trends, fidelity, monitoring, and workforce development.

             IV.      ACTIVITIES/SERVICES
                        a. CPEI shall provide funding, technical assistance and training to community-based
                           grantees implementing services, activities and strategies designed to decrease
                           substance misuse and related problem behaviors, increase understanding of
                           contributing factors, and promote healthy behavior and lifestyle to support
                           positive choices utilizing SAMHSA’s Strategic Prevention Framework (SPF).
                           Community based grantees implementing services, activities and strategies must
                           include two or more of the following SAMHSA – Center for Substance Abuse
                           Prevention (CSAP) strategies:
                                i. Information Dissemination
                               ii. Education
                              iii. Alternative Activities

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                                 iv. Problem Identification and Referral
                                  v. Community-based Process
                                 vi. Environmental

                          b. CPEI shall provide evaluation tools, technical assistance and training to
                             community-based grantees to collect data and program outcomes. CPEI shall
                             input program data into the required web-based SAMHSA reporting database in
                             accordance with all SAMHSA SUPTRS Block Grant reporting requirements.
                          c. CPEI staff shall remain as the National Prevention Network (NPN) and the
                             National Association of State Alcohol and Drug Abuse Directors (NASADAD)
                             lead prevention representation for Colorado.

              V.     STANDARDS & REQUIREMENTS
                       a. CPEI staff shall be required to enter reporting data directly into SAMHSA’s
                          WebBGAS system and shall directly enter program and related data required by
                          SAMHSA for the prevention portion of the Block Grant.
                       b. CPEI staff shall work directly with the SAMHSA Center for Substance Abuse
                          Prevention (CSAP) project officer.
                       c. CPEI within CDPHE shall be responsible for leading behavioral health primary
                          prevention planning related to the SAMHSA SUPTRS and shall coordinate and
                          collaborate with BHA staff.
                       d. CPEI within CDPHE shall be required to assist with the SAMHSA SUPTRS
                          Block Grant application for the behavioral health primary prevention portion and
                          shall coordinate and collaborate with BHA staff.
                       e. CPEI within CDPHE shall be responsible for Synar related activities outlined in
                          the SUPTRS Block Grant and will inform appropriate BHA staff if any
                          requirements related to Synar are not met.

             VI.     BHA ROLE
                       a. The BHA has overall accountability for the SAMHSA SUPTRS Block Grant
                          behavioral health primary prevention project. The BHA shall review deliverables
                          and collaborate with CPEI on all aspects of the SAMHSA SUPTRS Block Grant
                          behavioral health primary prevention project.
                       b. The BHA shall ensure SAMHSA fiscal and contractual requirements are met.
                       c. The BHA shall approve key project deliverables, as defined in the SOW, of this
                          IA, in each project phase.
                       d. The BHA shall approve any deviations from the outlined work plan.
                       e. The BHA shall create annual updates to this IA, in collaboration with CDPHE to
                          provide annual funds for operation of the CPEI program. This shall include any
                          carryover of unspent prevention funds from the prior contract period.


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                          f. The BHA, as the State Mental Health and Substance Abuse Authority (SSA) shall
                             inform and share any relevant federal and national prevention opportunities with
                             CPEI within CDPHE.

            VII.     OUTCOMES
                       a. CPEI has identified outcomes for SABG-funded Behavioral Health Primary
                          Prevention programs, policies, and strategies:
                               i. Preventing and reducing alcohol, marijuana, prescription drugs, and other
                                  drug use for those under 18 years of age (tobacco excluded).
                              ii. Changing community policies and norms regarding alcohol, marijuana,
                                  prescription drugs, and other drug use (tobacco excluded).
                             iii. Addressing population-based needs regarding alcohol, marijuana,
                                  prescription drugs, and other drug use (tobacco excluded).

                          b. All funded community-based grantees shall develop and implement a
                             Comprehensive Primary Prevention initiative that employs Evidence-Based
                             Prevention Programs and Policies, which include strategies directed at the
                             following populations: children, youth, young adults, and/or families.
                          c. Implementing evidence-based primary prevention programs and policies will
                             assist CPEI in meeting state-level outcomes, such as reductions in substance use,
                             increased attendance at school, decreases in substance-related arrests, increased
                             family communication around substance use, increases in youth exposure to
                             prevention messaging, and a reduction in ACEs. The state will have a significant
                             impact on the identified state level outcomes by funding community-based
                             grantees ‘Primary Prevention programs, policies, and strategies to address
                             substance abuse and misuse.
                          d. Each community-based grantee shall consider and incorporate Cultural
                             Responsiveness, an inclusive approach to foster effective programs and policies
                             that are respectful of cultural conditions within the community. In addition, a
                             health equity lens is to be utilized at all stages of the Strategic Prevention
                             Framework to ensure that community-based grantees are valuing all individuals
                             and populations equitably, while providing resources according to need and to
                             assure conditions of optimal health for all people. Incorporating all these
                             approaches in planning will lead to measurable outcomes and system
                             improvements for substance abuse and misuse prevention at the community level.

           VIII.     DELIVERABLES
                       a. CPEI within CDPHE shall manage and oversee all funding and grantee contracts
                          to ensure grantee activities, services, and deliverables are met annually.



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                          b. CPEI within CDPHE shall input program data into the required web-based
                             SAMHSA reporting database in accordance with all SAMHSA SUPTRS Block
                             Grant reporting requirements as needed or annually.
                          c. CPEI within CDPHE shall follow all SAMHSA funding requirements such as
                             planning, application, and reporting requirements as needed or annually.
                          d. CPEI within CDPHE shall ensure Synar reporting is met annually.
                          e. CPEI within CDPHE shall represent Colorado at NPN and NASADAD meetings
                             and collaborations for SUPTRS Block Grant Prevention funding.


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                            COMMUNITY PREVENTION AND EARLY
                              INTERVENTION (CPEI) PROGRAM
             HR1319 SUBSTANCE USE PREVENTION TREATMENT AND RECOVERY SERVICES BLOCK
                                           GRANT ARPA

               I.    PROJECT TERM
                       a. July 1, 2024, through September 30, 2025 (Activities past June 30, 2025, are
                          contingent upon contract renewal).

              II.    GOAL(S)
                       a. Improve access to high quality behavioral health primary prevention of substance
                          misuse programs and strategies.
                       b. Promote and strengthen the Colorado behavioral health substance misuse primary
                          prevention infrastructure throughout the state.

             III.    OBJECTIVE(S)
                       a. CPEI shall fund local communities throughout the state to implement a wide
                          range of community level, empirically based behavioral health primary prevention
                          programming aimed at preventing the misuse of legal and illegal substances,
                          while reducing risk factors and increasing protective factors associated with
                          substance misuse and general wellness.
                       b. CPEI shall fund local communities in three categories: under-resourced high-need
                          communities, priority populations – innovative programs, and evidence-based
                          programs and policies.
                       c. CPEI shall fund behavioral health substance misuse primary prevention
                          infrastructure categorized as “other” prevention: training, technical assistance,
                          evaluation, data trends, fidelity, monitoring, and workforce development.

             IV.     ACTIVITIES/SERVICES
                       a. CPEI shall provide funding, technical assistance and training to community-based
                          grantees implementing services, activities and strategies designed to decrease
                          substance misuse and related problem behaviors, increase understanding of
                          contributing factors, and promote healthy behavior and lifestyle to support
                          positive choices utilizing SAMHSA’s Strategic Prevention Framework (SPF).
                          Community based grantees implementing services, activities and strategies must
                          include two or more of the following SAMHSA – Center for Substance Abuse
                          Prevention (CSAP) strategies:
                               i. Information Dissemination
                              ii. Education
                             iii. Alternative Activities

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                                 iv. Problem Identification and Referral
                                  v. Community-based Process
                                 vi. Environmental

                          b. CPEI shall provide evaluation tools, technical assistance and training to
                             community-based grantees to collect data and program outcomes. CPEI shall
                             input program data into the required web-based SAMHSA reporting database in
                             accordance with all SAMHSA SUPTRS Block Grant reporting requirements.

              V.     STANDARDS & REQUIREMENTS
                       a. CPEI staff are required to enter reporting data directly into SAMHSA’s
                          WebBGAS and shall directly enter program and related data required by
                          SAMHSA for the prevention portion of the Block Grant.
                       b. CPEI staff shall work directly with the SAMHSA Center for Substance Abuse
                          Prevention (CSAP) project officer.
                       c. CPEI within CDPHE shall be responsible for leading behavioral health primary
                          prevention planning related to the SAMHSA SUPTRS Block Grant and shall
                          coordinate and collaborate with BHA staff.
                       d. CPEI within CDPHE shall be required to assist with the SAMHSA SUPTRS
                          Block Grant application for the behavioral health primary prevention portion and
                          shall coordinate and collaborate with BHA staff.

             VI.     BHA ROLE
                       a. The BHA has overall accountability for the SAMHSA SUPTRS Block Grant
                          behavioral health primary prevention project. The BHA shall review deliverables
                          and collaborate with CPEI on all aspects of the SAMHSA SUPTRS Block Grant
                          behavioral health primary prevention project.
                       b. The BHA shall ensure SAMHSA fiscal and contractual requirements are met.
                       c. The BHA shall approve key project deliverables, as defined in the SOW, of this
                          IA, in each project phase.
                       d. The BHA shall approve any deviations from the outlined work plan.
                       e. The BHA shall create annual updates to this IA, in collaboration with CDPHE to
                          provide annual funds for operation of the CPEI program. This shall include any
                          carryover of unspent prevention funds from the prior contract period.

            VII.     OUTCOMES
                       a. CPEI has identified outcomes for SUPTRS-funded Behavioral Health Primary
                          Prevention programs, policies, and strategies:
                              i. Preventing and reducing alcohol, marijuana, prescription drugs, and other
                                 drug use for those under 18 years of age (tobacco excluded).


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                                  ii. Changing community policies and norms regarding alcohol, marijuana,
                                      prescription drugs, and other drug use (tobacco excluded).
                                 iii. Addressing population-based needs regarding alcohol, marijuana,
                                      prescription drugs, and other drug use (tobacco excluded).

                          b. All funded community-based grantees shall develop and implement a
                             Comprehensive Primary Prevention initiative that employs Evidence-Based
                             Prevention Programs and Policies, which include strategies directed at the
                             following populations: children, youth, young adults, and/or families.
                          c. Implementing evidence-based primary prevention programs and policies will
                             assist CPEI in meeting state-level outcomes, such as reductions in substance use,
                             increased attendance at school, decreases in substance-related arrests, increased
                             family communication around substance use, increases in youth exposure to
                             prevention messaging, and a reduction in ACEs. The state will have a significant
                             impact on the identified state level outcomes by funding community-based
                             grantees Primary Prevention programs, policies, and strategies to address
                             substance abuse and misuse.
                          d. Each community-based grantee shall consider and incorporate Cultural
                             Responsiveness, an inclusive approach to foster effective programs and policies
                             that are respectful of cultural conditions within the community. In addition, a
                             health equity lens is to be utilized at all stages of the Strategic Prevention
                             Framework to ensure that community-based grantees are valuing all individuals
                             and populations equitably, while providing resources according to need and to
                             assure conditions of optimal health for all people. The Two-Generation (2Gen)
                             approach, also known as intergenerational, multi-generational, or whole family
                             approach, shall also be included in the planning for programs and policies to
                             address the needs of children, youth, young adults, and the trusted adults in their
                             lives at the same time. Incorporating all these approaches in planning will lead to
                             measurable outcomes and system improvements for substance abuse and misuse
                             prevention at the community level.

           VIII.     DELIVERABLES
                       a. CPEI within CDPHE shall manage and oversee all funding and grantee contracts
                          to ensure grantee activities, services, and deliverables are met annually.
                       b. CPEI within CDPHE shall input program data into the required web-based
                          SAMHSA reporting database in accordance with all SAMHSA SUPTRS Block
                          Grant reporting requirements as needed or annually.
                       c. CPEI within CDPHE shall follow all SAMHSA funding requirements such as
                          planning, application, and reporting requirements as needed or annually.



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                            COMMUNITY PREVENTION AND EARLY
                              INTERVENTION (CPEI) PROGRAM
               PERSISTENT DRUNK DRIVING (PDD) AND LAW ENFORCEMENT ASSISTANCE FUND
                                         (LEAF) CASH FUNDS


               I.    PROJECT TERM
                       a. July 1, 2024, through June 30, 2025

              II.    GOAL(S)
                       a. Fund two communities to implement impaired driving prevention environmental
                          strategies with the goal of changing norms and attitudes around impaired driving
                          and/or excessive use.
                       b. Identify and mitigate the effects of local conditions related to identified
                          DUI/DWAI risk factors.

             III.    OBJECTIVE(S)
                       a. CPEI within CDPHE shall fund an organization to create a toolkit that addresses
                          the following topics:
                               i. Assess data around impaired driving in the community.
                              ii. Identify risk and protective factors that relate to impaired driving.
                             iii. Become familiar with best practices and evidence-based strategies around
                                  impaired driving.
                             iv. Select interventions that fit the needs of the community through strategic
                                  planning.
                              v. Engage in policy work at the community level.
                             vi. Identify and implement evaluation methods to inform impaired driving
                                  prevention work.

             IV.     ACTIVITIES/SERVICES
                       a. CPEI will work with two communities to address health and safety and roadway
                          safety implementing impaired driving prevention environmental strategies. a
                       b. CPEI will work with the two communities to utilize the Strategic Prevention
                          Framework (SPF).
                       c. CPEI will work with the two communities to implement a comprehensive primary
                          prevention by selecting additional strategies in addition to an environmental
                          strategy to be implemented in the communities.
                       d. CPEI will work with an external evaluator to monitor year-to-year progress
                          towards grant by measuring community-level attitudes and norms.




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              V.     STANDARDS & REQUIREMENTS
                       a. CPEI within CDPHE will be responsible for leading prevention community
                          programming related to the PDD and LEAF Cash Funds and will coordinate and
                          collaborate with BHA staff.

             VI.     BHA ROLE
                       a. The BHA has overall accountability for the project. BHA will review deliverables
                          and collaborate with CPEI on all aspects of the project.
                       b. The BHA will ensure fiscal and contractual requirements are met.
                       c. The BHA will approve key project deliverables, as defined in the SOW, of this
                          IA, in each project phase.
                       d. The BHA will approve any deviations from the outlined work plan.
                       e. The BHA will create annual updates to this IA, in collaboration with CDPHE to
                          provide annual funds for operation of the CPEI program. This will include any
                          carryover of unspent funds from the prior contract period.

            VII.     OUTCOMES
                       a. Improve community health and safety by decreasing injuries and fatalities caused
                          by impaired driving in two communities.

           VIII.     DELIVERABLES
                       a. CPEI within CDPHE shall manage and oversee all funding contracts to ensure
                          activities, services, and deliverables are met annually.




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                            COMMUNITY PREVENTION AND EARLY
                              INTERVENTION (CPEI) PROGRAM
                                          TOBACCO USE PREVENTION CASH FUND


               I.    PROJECT TERM
                       a. July 1, 2024, through June 30, 2025

              II.    GOAL(S)
                       a. This is a requirement of the SUPTRS Block Grant, and the majority of the work is
                          funded through the Block Grant. The Tobacco Use Prevention Cash Fund
                          supplements the requirement.
                       b. Since 1996, the Federal Synar Law has required States to have and enforce laws
                          prohibiting retail tobacco sales to minors. In 2009, Congress further expanded
                          regulatory authority over tobacco sales through the Family Smoking Prevention
                          and Tobacco Control Act (FSPTCA.) Under this Act, the federal Food and Drug
                          Administration (FDA) may regulate tobacco product contents and sales. The FDA
                          contracts with States, including Colorado, to conduct enforcement inspections and
                          report violations for imposition of penalties. Tobacco products include but are not
                          limited to chewing tobacco, cigarettes, and Electronic Nicotine Delivery Systems
                          (ENDS) and related products.

             III.    OBJECTIVE(S)
                       a. Under the Synar Law, States must fulfill the following three requirements or face
                          a loss of federal block grant funds for substance abuse prevention and treatment
                          programs:
                               i. Apply probability-based sampling methods and undercover tobacco
                                  purchase attempts by those under the age of 21 to the proportion of retail
                                  tobacco outlets that sell tobacco to underage youth.
                              ii. Enforce state laws prohibiting tobacco sales to underage youth in a
                                  manner reasonably expected to reduce such sales.
                             iii. Report the State’s estimated noncompliance rate, the methods used to
                                  obtain the estimate, and previous and planned activities to comply with the
                                  Synar Law.
                       b. The estimated store violation rate must not exceed 20 percent within a 3 percent
                          margin of error. Exceeding this limit can lead to a ten percent reduction in
                          SUPTRS Block Grant funds, or a negotiated agreement to enter into a Corrective
                          Action Plan with SAMHSA, or an alternative agreement.




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             IV.     ACTIVITIES/SERVICES
                       a. In Colorado, three entities collaborate and coordinate - authorized in statute 44-7-
                          104(3)(a): The Liquor and Tobacco Enforcement Division (LTED), Department
                          of Revenue; The Community Prevention and Early Intervention Team funded by
                          SAMHSA’s Substance Abuse Treatment and Prevention Block Grant; and the
                          State Tobacco Education and Prevention Program (STEPP), Department of Public
                          Health and Environment, collaborate and contribute the necessary authority and
                          resources to prevent tobacco sales to those who are under the age of 21.
                       b. CPEI within CDPHE shall be responsible for the contracts with The Liquor and
                          Tobacco Enforcement Division (LTED and the State Tobacco Education and
                          Prevention Program (STEPP), Department of Public Health and Environment).
                       c. CPEI within CDPHE staff shall fulfill the following responsibilities and activities:
                                i. CPEI shall serve as the lead agency for coordinating programs and
                                   activities that fulfill Colorado’s Synar Obligations for the SUPTRS Block
                                   Grant.
                               ii. CPEI shall remain current on Synar statutes, rules, regulations, and
                                   practices including ensuring that Federal block grant funds are not being
                                   used for enforcement activities.
                             iii. Triennial field studies must be performed, and results must show that the
                                   tobacco retailers list sampled for annual surveys must include at least 80
                                   percent of actual tobacco retail outlets.
                              iv. At least 90 percent of retail tobacco outlets selected for sampling must
                                   receive completed compliance checks.
                               v. The federal Synar agency must review and approve any changes to the
                                   sampling plan, with the rural sample provided in August and the urban
                                   sample provided in September.
                              vi. Coordination of retail tobacco outlet sampling to minimize overlap in
                                   FDA and Synar same- year samples in Colorado.
                             vii. Non-disclosure of confidential retailer information provided by the
                                   Department of Revenue.
                            viii. Analysis of compliance check results.
                              ix. Evaluation studies to improve methods of measuring youth access to
                                   tobacco and for enforcing laws against tobacco sales to those under 21,
                                   and to increase knowledge about the connections between retail access to
                                   tobacco products and underage smoking.
                               x. Preparation of Synar report.
                              xi. Communication with the federal Synar agency.
                             xii. Allocation of state revenues collected from tobacco-sales fines.



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              V.     STANDARDS & REQUIREMENTS
                       a. CPEI within CDPHE staff will be responsible for Synar related activities outlined
                          in the SUPTRS Block Grant and will inform appropriate BHA staff if any
                          requirements related to Synar are not met. The Synar Amendment to the 1992
                          Alcohol, Drug Abuse, and Mental Health Administration Reorganization Act (PL
                          102-321) aims to decrease youth access to tobacco. SAMHSA oversees the
                          implementation of the amendment. To receive their full SUPTRS Block Grant
                          awards, states (that is, all 50 states, the District of Columbia, Puerto Rico, the
                          U.S. Virgin Islands, and 6 Pacific jurisdictions) must enact and enforce laws
                          prohibiting the sale or distribution of tobacco products to individuals under the
                          age of 18. Synar legislation requires states to do the following:
                                i. Enact laws prohibiting the sale and distribution of tobacco products to
                                   minors.
                               ii. Enforce such laws in a manner that can reasonably be expected to reduce
                                   the availability of tobacco products to youth under the age of 18.
                             iii. Conduct random, unannounced inspections of tobacco outlets.
                              iv. Report annual findings to the secretary of the U.S. Department of Health
                                   and Human Services by December 31 each year.

             VI.     BHA ROLE
                       a. The BHA has overall accountability for the project. BHA will review deliverables
                          and collaborate with CPEI on all aspects of the project.
                       b. The BHA will post reviews and public access to the Synar report on the BHA
                          website.
                       c. The BHA will submit the annual Synar report to SAMHSA to meet the
                          requirements of the SUPTRS Block Grant.
                       d. The BHA will ensure fiscal and contractual requirements are met.
                       e. The BHA will approve key project deliverables, as defined in the SOW, of this
                          IA, in each project phase.
                       f. The BHA will approve any deviations from the outlined work plan.
                       g. The BHA will create annual updates to this IA, in collaboration with CDPHE to
                          provide annual funds for the operation of the CPEI program. This will include
                          any carryover of unspent funds from the prior contract period.

            VII.     OUTCOMES
                       a. Evaluation studies to improve methods of measuring youth access to tobacco and
                          for enforcing laws against tobacco sales to those under 21, and to increase
                          knowledge about the connections between retail access to tobacco products and
                          underage smoking.



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           VIII.     DELIVERABLES
                       a. CPEI within CDPHE shall manage and oversee all funding contracts to ensure
                          activities, services, deliverables and Synar reporting are met annually for the
                          Substance Use Prevention, Treatment, and Recovery Services Block Grant.


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               SCHOOL BASED HEALTH CENTERS PROGRAM FOR
             SCREENING BRIEF INTERVENTION AND REFERRAL TO
                      TREATMENT (SBIRT) SERVICES
                    SAMHSA SUBSTANCE USE PREVENTION TREATMENT AND RECOVERY SERVICES
                                              BLOCK GRANT


               I.     PROJECT TERM
                        a. July 1, 2024, through June 30, 2025

              II.     GOAL(S)
                          a. Through implementing screening, brief intervention, and referral to treatment and
                             community services (SBIRT), address adolescent needs and reduce the harms associated
                             with alcohol, tobacco, vape products, marijuana, and other drug use, as well as commonly
                             reported mental health concerns.
                          b. Reduce health disparities that impact youth substance misuse by applying the Enhanced
                             National Culturally and Linguistically Appropriate Services (CLAS) Standards.

             III.     OBJECTIVE(S)
                          a. CDPHE shall fund school-based health centers to participate in the SBIRT in school-
                             based health centers (SBIRT-SBHC) Project to implement adolescent SBIRT.
                          b. CDPHE shall utilize SAMHSA’s Strategic Prevention Framework and its guiding
                             principles to plan, implement, and evaluate the SBIRT-SBHC Project.
                          c. CDPHE shall develop and implement a comprehensive SBIRT training and technical
                             assistance plan for CDPHE-funded school-based health centers.
                          d. CDPHE shall maintain a connection to the BHA and staff providing oversight of the
                             treatment components of the Block Grant to ensure that the SBIRT-SBHC Project aligns
                             with Block Grant requirements.

             IV.      ACTIVITIES/SERVICES
                          a. CDPHE shall provide funding, technical assistance, and training to school-based health
                             center grantees to deliver SBIRT services, activities, and strategies designed to address
                             adolescent needs and reduce the harms associated with alcohol, tobacco, vape products,
                             marijuana, and other drug use, as well as commonly reported mental health concerns
                             utilizing SAMHSA’s Strategic Prevention Framework.
                          b. CDPHE shall maintain stakeholder engagement in the SBIRT-SBHC project through the
                             engagement of steering committee advisors.
                          c. CDPHE shall provide evaluation tools, technical assistance, and training to school-based
                             health center grantees to collect data and program outcomes.
                          d. CDPHE shall report data and program outcomes in accordance with all SAMHSA
                             SUPTRS Block Grant reporting requirements as directed by the BHA.



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              V.     STANDARDS & REQUIREMENTS
                          a. CDPHE staff are required to watch the SBIRT for Adolescents webinar by the Institute
                             for Research, Education, and Training in Addictions within 30 business days from their
                             start date on this project. This is a recorded webinar that lasts approximately two and a
                             half hours. The course is located here: https://ireta.org/resources/sbirt-for-adolescents/.
                             The BHA may approve an alternative SBIRT course.
                          b. CDPHE staff are required to consult (and implement when possible) CLAS Standards
                             located here: (https://www.thinkculturalhealth.hhs.gov/clas
                          c. CDPHE shall be responsible for leading SBIRT planning related to the SAMHSA
                             SUPTRS Block Grant and shall coordinate and collaborate with BHA staff.
                          d. CDPHE shall be required to assist with the SAMHSA SUPTRS Block Grant application
                             for the SBIRT portion and shall coordinate and collaborate with BHA staff.
                          e. CDPHE staff shall submit all project deliverables required to be submitted via email to
                             the BHA.

             VI.     BHA ROLE
                          a. BHA has overall accountability for the project. BHA will participate on the project
                             Steering Committee, review deliverables, and collaborate with School-Based Health
                             Center staff on all aspects of the project. BHA will provide behavioral health systems-
                             level technical assistance and subject matter expertise.
                          b. BHA shall ensure SAMHSA fiscal and contractual requirements are met.
                          c. BHA shall approve any deviations from the outlined work plan.
                          d. BHA shall approve key project deliverables, as defined in the SOW, of this IA, in each
                             project phase.
                          e. BHA shall create annual updates to this IA, in collaboration with CDPHE to provide
                             annual funds for the operation of the SBIRT-SBHC Project. This will include any
                             carryover of unspent funds from the prior contract period.
                          f. BHA is responsible for ensuring continued project support by including the SBIRT-
                             SBHC Project in the SAMHSA Block Grant application and grant reporting.
                          g. BHA shall review the Annual Project and Annual Evaluation Reports annually.
                          h. BHA shall serve as the primary liaison to SAMHSA, including participation in required
                             federal meetings.
                          i. BHA shall identify opportunities for the SBIRT-SBHC project to collaborate with
                             activities outlined in BHA’s Children and Youth Behavioral Health Implementation Plan
                             or other relevant statewide behavioral health initiatives.

            VII.     OUTCOMES
                          a. The overarching outcome of this project is to universally screen adolescents for alcohol,
                             tobacco, vape products, marijuana, and other drug use, as well as commonly reported
                             mental health concerns in CDPHE-funded school-based health centers voluntarily
                             participating in this project. In accordance with SBIRT protocol, adolescents will receive
                             brief intervention (BI), and referral to behavioral health and substance use disorder
                             treatment and other community resources, as needed, to reduce substance abuse and
                             associated harms and/or address commonly reported mental health concerns.

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                          b. Additional project outcomes are outlined within the SBIRT-SBHC Strategic and
                             Evaluation Plan.

           VIII.     DELIVERABLES
                          a. Provide the following annual deliverables:
                                  i. SBIRT-SBHC Project Implementation Plans to be submitted annually on the last
                                     business day of July.
                                 ii. Annual Project Report on the last business day of December.
                                iii. Annual Evaluation Report on the last business day of December.


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                         COMMUNITY PREVENTION AND EARLY
                       INTERVENTION (CPEI) PROGRAM LEARNING
                               MANAGEMENT SYSTEM

             I.     PROJECT TERM
                        a. July 1, 2024, through June 30, 2025

             II.     GOAL(S)
                       a. Create, implement, and update the prevention workforce Learning Management
                          System (LMS). The prevention LMS will be connected to the BHA LMS system
                          to have the full representation of the behavioral health continuum for behavioral
                          health professionals.

             III.    OBJECTIVE(S)
                       a. CPEI shall work with the Rocky Mountain Public Health Training Center
                          (RMPHTC) to deliver and implement a prevention LMS system that includes
                          prevention trainings for the behavioral health workforce.

             IV.     ACTIVITIES/SERVICES
                       a. RMPHTC shall further develop, create, build upon, implement and update the
                          prevention LMS. This includes existing and new training content and hosting of
                          the prevention LMS.
                       b. RMPHTC shall implement, update, and maintain the prevention LMS.
                       c. RMPHTC shall work with the BHA to link prevention LMS to the BHA LMS.

             V.     STANDARDS & REQUIREMENTS
                       a. CPEI within CDPHE shall work directly with the BHA staff to provide quarterly
                          updates as needed.
                       b. CPEI within CDPHE shall participate in BHA in project meetings as needed.


             VI.      BHA ROLE
                        b. The BHA has overall accountability for the behavioral health primary prevention
                           programs. BHA shall review deliverables and collaborate with CPEI on all
                           aspects of the behavioral health primary prevention programs.
                        c. The BHA shall ensure SAMHSA fiscal and contractual requirements are met.
                        d. The BHA shall approve key project deliverables, as defined in the SOW, of this
                           IA, in each project phase.
                        e. The BHA shall approve any deviations from the outlined work plan.
                        f. The BHA shall create annual updates to this IA, in collaboration with CDPHE to
                           provide annual funds for operation of the CPEI program. This shall include any
                           carryover of unspent prevention funds from the prior contract period.




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             VII.     OUTCOMES
                        a. RMPHTC shall further develop, create, build upon, implement and update the
                           prevention LMS. This includes existing and new training content and hosting of
                           the prevention LMS. Prevention content on the LMS system shall be linked to the
                           BHA LMS system to have the full representation of the behavioral health
                           continuum for behavioral health professionals.

            IX.      DELIVERABLES
                       a. CPEI within CDPHE shall manage and oversee all funding and grantee contract to
                          ensure grantee activities, services, and deliverables are met annually.
                       b. CPEI within CDPHE shall provide quarterly updates as needed and attend project
                          meetings when scheduled.




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              EMERGENCY PREPAREDNESS PARTNERSHIP SAMHSA
                 EMERGENCY PREPAREDNESS FUNDING FOR
                   BEHAVIORAL HEALTH IN COLORADO

               I.    PROJECT TERM
                       a. July 1, 2024, through June 30, 2025

              II.    PURPOSE
                        a. The purpose of this contract is to improve Colorado’s emergency preparedness
                           efforts to meet the needs of individuals with serious and persistent mental illness,
                           serious emotional disorders, substance abuse/addiction disorder, and/or
                           psychiatric emergencies during times of disaster, medical surge, community crisis
                           or public health emergency.
                        b. Enhance Colorado's emergency preparedness efforts by focusing on the processes
                           required to coordinate the delivery of behavioral health services.
                        c. CDPHE will set up a coordinated process to improve communication and
                           collaboration across the BHA and HCPF for emergency response.
             III.    GOAL(S)
                       a. Improve Colorado’s capacity to meet the needs of individuals with serious and
                          persistent mental illness, serious emotional disorders, substance abuse/addiction
                          disorder, and/or psychiatric emergencies during times of disaster, medical surge,
                          community crisis or public health emergency.


             IV.     OBJECTIVE(S)
                       a. No later than the expiration date of the Contract, increase emergency
                          preparedness and response capacity for the public behavioral health system in
                          Colorado.
              V.     ACTIVITIES/SERVICES
                       a. Maintain 1 FTE DBH State Agency Planning Specialist to create
                          CDPHE/BHA/HCPF preparedness and response collaborative.
                                   i. Develop draft cross agency behavioral health emergency operations
                                      procedure for collaborative response.
                                           1. Develop communications and situational awareness standard
                                              operational procedures.
                                           2. Revise and reestablish MOU between CDPHE DCPHR and BHA,
                                              HCPF


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                                           3. Enhance DBH and crisis service delivery during disasters through
                                              collaborative partnership across CDPHE, BHA and HCPF through:
                                                    a. Planning for crisis behavioral health system continuity and
                                                       integration into emergency response systems.
                                                    b. Develop substance abuse treatment service delivery
                                                       Continuity of Operations Plans (COOP) template to assure
                                                       the delivery of critical services (i.e. methadone treatment)
                                                       when service providers are unable to deliver services due to
                                                       crisis events or natural disasters in coordination with the
                                                       BHA Disaster Liaison and/or HCPF.
                                           4. Develop and implement training for BHA/HCPF partners covering
                                              DBH daily operations, resources requests, grant processes,
                                              response personnel coordination.
                                  ii. Develop draft guidance and technical assistance for Crisis behavioral
                                      health system and continuity during disasters.
                                           1. Fiscal year 2024-2025 CDPHE will connect with the crisis
                                              behavioral systems to conduct a disaster behavioral health and
                                              continuity of operations needs assessment.
                                           2. Utilize needs assessment data to scope guidance and technical
                                              assistance resources.
                                 iii. Develop response mechanisms to improve collaboration and
                                      communication across local, state and federal partners.
                                 iv. Have messaging for behavioral health agencies to ensure clients have
                                     access to needed services, i.e. methadone in collaboration with BHA
                                     Liaison and HCPF.
                                  v. Explore the possibilities of developing CDPHE/CDHS/HCPF/CDPS/DPA
                                     response capacity.
                                           1. Develop a state agency strike team structure during a disaster.
                                           2. Develop expected state agency response capabilities.
                          b. Maintain 1 FTE Pediatric Disaster Specialist
                                   i. Improve partnership with CSSRC and Office of School Safety.
                                  ii. Provide training and technical assistance regarding planning for pediatric
                                      needs following crisis events/disaster to school systems.


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                                 iii. Provide training and technical assistance to CMHC’s for developing
                                      stronger pediatric response capability.
                                 iv. Advocate for schools’ partnership/integration with Healthcare Coalitions.
                                  v. Provide training and technical assistance to state and local offices of
                                     emergency management to improve pediatric response capabilities.
                                 vi. Provide training and technical assistance to child serving systems to
                                     improve planning and response activities.
                                 vii. Develop a Pediatric Disaster Mental Health response team.
                          c. Maintain 1 FTE DBH Training Specialist
                                   i. Support DBH Strike Team capacity.
                                  ii. Provide training and technical assistance to CMHCs and other providers at
                                      the local level to maintain DBH Strike Teams
                                 iii. Develop and implement training for EMS providers to increase capacity
                                      for dealing with behavioral health crises.
                                 iv. Develop training for DBH as requested by state and community partners.
                                  v. Training Specialist will support the Pediatric Specialist and the State
                                     Agency Planning Specialist with the implementation of content specific
                                     training.
                          d. Subcontract with Community Mental Health Center to:
                                   i. Expand EOP /staff capacity and collaborative relationships to assure
                                      response/recovery capacity for individual clients.
                                  ii. Update COOP to assure essential services can be provided throughout
                                      response and recovery time periods following a crisis event/disaster.
                          e. Grant Requirements
                                   i. CDPHE will configure their chart of accounts to track expenditures related
                                      to this grant.
                                  ii. CDPHE will assist BHA in completing financial and programmatic reports
                                      related to receiving this grant funding.
             VI.     BHA ROLE
                       a. The BHA will help coordinate between the three state agencies, HPCF, CDPHE
                          and BHA.
                       b. The BHA will have oversight of SOW deliverables submitted by CDPHE.


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                          c. The BHA will attend monthly collaborative meetings with HCPF and CDPHE.
                          d. The BHA liaison will be responsible for communicating between the state
                             agencies during a disaster.
                          e. The BHA liaison will ensure BHA leadership and staff are aware of updates,
                             needs and communications posted on OwnPath during a disaster that the BHA’s
                             participation has been requested.

            VII.     OUTCOMES

                          a. Development of BHA/CDPHE/HCPF response coordination standard operational
                             procedures.

                          b. Evolution of pediatric response capability.

                          c. Expansion of DBH training delivery capacity.

                          d. CDPHE will provide BHA training plan for all training activities listed for
                             approval by January 1st, 2025.

                          e. CDPHE will document successful/unsuccessful attempts to engage with CMHC
                             and other providers, etc.

                          f. CDPHE project team, including HCPF and the BHA disaster liaison will have
                             regular scheduled meetings about deliverables, fiscal updates, and outcomes.

                          g. CDPHE will demonstrate compliance with all grant requirements.

                          h. CDPHE will provide a list of all subcontractors.

                          i. CDPHE will provide plan regarding strike teams between the three state agencies
                             by January 1st, 2025.

           VIII.     DELIVERABLES

                          a. CDPHE will provide quarterly expenditure reports to reconcile spending related
                             to this grant. CDPHE is responsible for sending BHA fiscal invoices quarterly
                             with all associated back up documentation such as invoices, receipts, payroll, etc.
                          b. CDPHE will maintain 1.0 FTE for cross agency emergency response
                             coordination.
                          c. CDPHE will maintain 1.0 FTE for Pediatric planning, training, and response
                             coordination.
                          d. CDPHE will maintain 1.0 FTE for DBH training.
                          e. CDPHE will deliver a draft cross agency behavioral health emergency operations
                             process for collaborative response.
                          f. CDPHE will deliver draft guidance and technical assistance for crisis behavioral
                             health system continuity during disasters; June 1, 2025



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                          g. CDPHE will provide 4 training sessions for BHA/HCPF partners covering DBH
                             daily operations, resources requests, grant processes, response personnel
                             coordination by June 1, 2025
                          h. CDPHE will provide training curriculum for advocacy organizations in
                             supporting individuals with SPMI/SED/SAD.
                          i. CDPHE will provide 4 EMS training.
                          j. CDPHE will provide written messaging for behavioral health agencies for client
                             emergency messaging and the BHA will provide information to OwnPath if
                             messaging is allowable.
                          k. CDPHE will provide a draft pediatric response training.
                          l. CDPHE will provide 4 Pediatric training to BHA stakeholder
                             organizations/service delivery organizations.
                          m. CDPHE will deliver a Pediatric Disaster Behavioral Health Response Team
                             overview.
                          n. CDPHE will deliver a State Agency DBH Strike Team overview.
                          o. CDPHE will subcontract with community mental health centers and other service
                             delivery organizations interested in but not limited to Continuity of Operations
                             Planning (COOP), response processes, partner engagement, needs assessments,
                             training, capacity building, documentation.
                          p. CDPHE will subcontract other service delivery organizations interested in disaster
                             behavioral health response.
                                  i. A state agency responsible for coordinating and providing crisis response
                                     services could be considered a service delivery organization.


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                              COMMUNITY PREVENTION AND EARLY
                                INTERVENTION (CPEI) PROGRAM
                              MINORS IN POSSESSION (MIP) OF ALCOHOL AND MARIJUANA


                         I.    PROJECT TERM
                               a. July 1, 2024, through June 30, 2025


                        II.    GOAL(S)
                               a. Promote and implement primary prevention programs that prevent the
                                  underage use of alcohol and marijuana and other substances. Educate
                                  Colorado youth about healthy choices available.


                       III.    OBJECTIVE(S)
                               a. CPEI unit shall work with existing funded local community-based
                                  grantees to implement prevention programs for underage use of
                                  alcohol and marijuana by using empirically based behavioral health
                                  primary prevention programming aimed at preventing the use and
                                  misuse of legal and illegal substances, while reducing risk factors
                                  and increasing protective factors associated with substance misuse
                                  and general wellness.


                       IV.     ACTIVITIES/SERVICES
                               a. CPEI shall provide funding, technical assistance and training to
                                  community-based grantees implementing services, activities and
                                  strategies designed to decrease substance misuse and related
                                  problem behaviors, increase understanding of contributing factors,
                                  and promote healthy behavior and lifestyle to support positive
                                  choices utilizing SAMHSA’s Strategic Prevention Framework
                                  (SPF). Community based grantees implementing services, activities
                                  and strategies must include two or more of the following SAMHSA
                                  – Center for Substance Abuse Prevention (CSAP) strategies:
                                     i. Information Dissemination
                                     ii. Education
                                     iii.     Alternative Activities
                                     iv.Problem Identification and Referral
                                     v. Community-based Process
                                     vi.Environmental

                               b. CPEI shall provide evaluation tools, technical assistance and
                                  training to community-based grantees to collect data and program
                                  outcomes. CPEI shall input program data into the web-based
                                  SAMHSA reporting database in accordance with all grantee


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                                  reporting requirements.
                        V.     STANDARDS & REQUIREMENTS
                               a. CPEI within CDPHE shall work directly with the BHA staff to provide
                                  quarterly updates as needed.

                               b. CPEI within CDPHE shall participate in BHA in project meetings as needed.


                       VI.     BHA ROLE
                               a. The BHA has overall accountability for the behavioral health primary
                                  prevention programs. BHA shall review deliverables and collaborate
                                  with CPEI on all aspects of the behavioral health primary prevention
                                  programs.

                               b. The BHA shall ensure fiscal and contractual requirements are met.

                               c. The BHA shall approve key project deliverables, as defined in the
                                  SOW, of this IA, in each project phase.

                               d. The BHA shall approve any deviations from the outlined work plan.

                               e. The BHA shall create annual updates to this IA, in collaboration with
                                  CDPHE to provide annual funds for operation of the CPEI program.
                                  This shall include any carryover of unspent prevention funds from the
                                  prior contract period.

                       VII.    OUTCOMES
                               a. CPEI has identified outcomes for funded Behavioral Health Primary
                                  Prevention programs, policies, and strategies:
                                     i. Preventing and reducing alcohol, marijuana, prescription drugs, and
                                          other drug use for those under 18 years of age (tobacco excluded).
                                     ii. Changing community policies and norms regarding alcohol, marijuana,
                                          prescription drugs, and other drug use (tobacco excluded).
                                     iii. Addressing population-based needs regarding alcohol, marijuana,
                                          prescription drugs, and other drug use (tobacco excluded).

                               b. All funded community-based grantees shall develop and implement a
                                  Comprehensive Primary Prevention initiative that employs Evidence-Based
                                  Prevention Programs and Policies, which include strategies directed at the
                                  following populations: children, youth, young adults, and/or families.

                               c. Implementing evidence-based primary prevention programs and policies will
                                  assist CPEI in meeting state-level outcomes, such as reductions in substance
                                  use, increased attendance at school, decreases in substance-related arrests,


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                                  increased family communication around substance use, increases in youth
                                  exposure to prevention messaging, and a reduction in ACEs. The state will
                                  have a significant impact on the identified state level outcomes by funding
                                  community-based grantees ‘Primary Prevention programs, policies, and
                                  strategies to address substance abuse and misuse.

                               d. Each community-based grantee shall consider and incorporate Cultural
                                  Responsiveness, an inclusive approach to foster effective programs and
                                  policies that are respectful of cultural conditions within the community. In
                                  addition, a health equity lens is to be utilized at all stages of the Strategic
                                  Prevention Framework to ensure that community-based grantees are valuing
                                  all individuals and populations equitably, while providing resources according
                                  to need and to assure conditions of optimal health for all people. Incorporating
                                  all these approaches in planning will lead to measurable outcomes and system
                                  improvements for substance abuse and misuse prevention at the community
                                  level.

                     VIII.     DELIVERABLES
                               a. CPEI within CDPHE shall manage and oversee all funding and grantee
                                  contract to ensure grantee activities, services, and deliverables are met
                                  annually.

                               b. CPEI within CDPHE shall provide quarterly updates as needed and
                                  attend project meetings when scheduled.



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                                                                                                       Exhibit A-1


                               COMMUNITY PREVENTION AND EARLY
                                 INTERVENTION (CPEI) PROGRAM
                  RURAL YOUTH ALCOHOL AND SUBSTANCE ABUSE PREVENTION CASH FUNDS


                         I.     PROJECT TERM
                                a. July 1, 2024, through June 30, 2025


                         II.    GOAL(S)
                                a. Promote and implement primary prevention programs that prevent the
                                   underage use of alcohol and other substances in rural counties in Colorado by
                                   educating youth about healthy choices available.


                         III. OBJECTIVE(S)
                              a. CPEI unit shall work with existing funded rural community-based
                                 grantees to implement prevention programs for underage use of
                                 alcohol and other drugs by using empirically based behavioral
                                 health primary prevention programming aimed at preventing the use
                                 and misuse of legal and illegal substances, while reducing risk
                                 factors and increasing protective factors associated with substance
                                 misuse and general wellness.


                         IV. ACTIVITIES/SERVICES
                             a. CPEI shall provide funding, technical assistance and training to
                                community-based grantees implementing services, activities and
                                strategies designed to decrease substance misuse and related
                                problem behaviors, increase understanding of contributing factors,
                                and promote healthy behavior and lifestyle to support positive
                                choices utilizing SAMHSA’s Strategic Prevention Framework
                                (SPF). Community based grantees implementing services, activities
                                and strategies must include two or more of the following SAMHSA
                                – Center for Substance Abuse Prevention (CSAP) strategies:
                                   i. Information Dissemination
                                   ii. Education
                                   iii. Alternative Activities
                                   iv. Problem Identification and Referral
                                   v. Community-based Process
                                   vi. Environmental

                                b. CPEI shall provide evaluation tools, technical assistance, and
                                   training to community-based grantees to collect data and program
                                   outcomes. CPEI shall input program data into the web-based
                                   SAMHSA reporting database in accordance with all grantee
                                   reporting requirements.

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                           V. STANDARDS & REQUIREMENTS
                              a. CPEI within CDPHE shall work directly with the BHA staff to provide
                                 quarterly updates as needed.

                               b. CPEI within CDPHE shall participate in BHA in project meetings as needed.


                         VI. BHA ROLE
                             a. The BHA has overall accountability for the behavioral health primary
                                prevention programs. BHA shall review deliverables and collaborate
                                with CPEI on all aspects of the behavioral health primary prevention
                                programs.

                               b. The BHA shall ensure fiscal and contractual requirements are met.

                               c. The BHA shall approve key project deliverables, as defined in the
                                  SOW, of this IA, in each project phase.

                               d. The BHA shall approve any deviations from the outlined work plan.

                               e. The BHA shall create annual updates to this IA, in collaboration with
                                  CDPHE to provide annual funds for operation of the CPEI program.
                                  This shall include any carryover of unspent prevention funds from the
                                  prior contract period.


                         VII. OUTCOMES
                              a. CPEI has identified outcomes for funded Behavioral Health Primary
                                 Prevention programs, policies, and strategies:
                                    i. Preventing and reducing alcohol, marijuana, prescription drugs, and
                                         other drug use for those under 18 years of age (tobacco excluded).
                                    ii. Changing community policies and norms regarding alcohol, marijuana,
                                         prescription drugs, and other drug use (tobacco excluded).
                                    iii. Addressing population-based needs regarding alcohol, marijuana,
                                         prescription drugs, and other drug use (tobacco excluded).

                               b. All funded community-based grantees shall develop and implement a
                                  Comprehensive Primary Prevention initiative that employs Evidence-Based
                                  Prevention Programs and Policies, which include strategies directed at the
                                  following populations: children, youth, young adults, and/or families.

                               c. Implementing evidence-based primary prevention programs and policies will
                                  assist CPEI in meeting state-level outcomes, such as reductions in substance
                                  use, increased attendance at school, decreases in substance-related arrests,


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                                  increased family communication around substance use, increases in youth
                                  exposure to prevention messaging, and a reduction in ACEs. The state will
                                  have a significant impact on the identified state level outcomes by funding
                                  community-based grantees ‘Primary Prevention programs, policies, and
                                  strategies to address substance abuse and misuse.

                               d. Each community-based grantee shall consider and incorporate Cultural
                                  Responsiveness, an inclusive approach to foster effective programs and
                                  policies that are respectful of cultural conditions within the community. In
                                  addition, a health equity lens is to be utilized at all stages of the Strategic
                                  Prevention Framework to ensure that community-based grantees are valuing
                                  all individuals and populations equitably, while providing resources according
                                  to need and to assure conditions of optimal health for all people. Incorporating
                                  all these approaches in planning will lead to measurable outcomes and system
                                  improvements for substance abuse and misuse prevention at the community
                                  level.


                       VIII. DELIVERABLES
                             a. CPEI within CDPHE shall manage and oversee all funding and grantee
                                contract to ensure grantee activities, services, and deliverables are met
                                annually.

                               b. CPEI within CDPHE shall provide quarterly updates as needed and
                                  attend project meetings when scheduled.




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                                                                                                         Exhibit A-1


                                 OVERDOSE PREVENTION PROGRAM
                                       OPIATE ANTAGONIST BULK PURCHASE FUND


                       I.       PROJECT TERM
                                a. Upon execution of the IA Amendment through June 30, 2025


                       II.      GOAL(S)
                                a. This funding is managed by the Overdose Prevention Unit in the Prevention
                                   Services Division of CDPHE and exists to:
                                           i. Reduce the financial burden of purchasing naloxone for key
                                              partners by providing naloxone at no cost.
                                          ii. Promote public health and safety for Colorado citizens.
                                         iii. Increase access to naloxone, which is used to reverse opioid
                                              overdoses and save lives.


                         III. OBJECTIVE(S)
                              a. The Naloxone Bulk Purchase Fund will be made available to eligible entities
                                 per state statute and prioritization plan in order to reduce the financial burden
                                 of purchasing naloxone.

                                b. The naloxone acquired by eligible entities is intended to be used both by the
                                   agency that applied as well as distributed by that agency to those in the
                                   community at risk of experiencing an overdose event.

                         IV. ACTIVITIES/SERVICES
                             a. Determine eligibility of applicants to the Naloxone Bulk Purchase Fund.

                                b. Place orders with a wholesale pharmacy and/or distributor for naloxone.

                                c. Ensure delivery of shipments of naloxone from wholesale pharmacy and / or
                                   distributor eligible Agencies.

                                d. Pay invoices for naloxone ordered upon delivery.

                             V. STANDARDS & REQUIREMENTS
                                a. Entities eligible for the Naloxone Bulk Fund are outlined in C.R.S. §
                                   12-30-110 (1)(a) & (b).
                            VI. BHA ROLE
                                a. The BHA is responsible for ensuring project continuation by ensuring that
                                   BHA SUPTRS funds remain available for the Naloxone Bulk Purchase
                                   Fund as long as the funding is continued by SAMHSA. In the event that
                                   SUPTRS funding ends, the BHA will seek additional funding sources at both


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                                  the federal and state level, to ensure continued viability of the Naloxone Bulk
                                  Purchase Fund.

                         VII. OUTCOMES AND DELIVERABLES
                              a. Naloxone will be made available through the naloxone bulk purchase fund to
                                  eligible entities in Colorado.
                               b. The cost of naloxone distributed to eligible entities will be covered by the naloxone
                                  bulk purchase fund.
                               c. Access to naloxone will increase in Colorado communities due to distribution efforts
                                  of the naloxone bulk purchase fund.
                               d. The deliverable is the annual report on the project due to the Colorado legislature.
                                  The report is due annually on October 1 and made available to the House and
                                  Senate appropriations committees. The report must include:
                                            i. Revenue received by the fund.
                                           ii. Revenue and expenditure projections for the forthcoming fiscal year and
                                               details of all expenditures from the fund.
                                          iii. The eligible entities that purchased opiate antagonists.
                                          iv. The amount of opiate antagonists purchased by each eligible entity.
                                           v. The discount procured through bulk purchasing.
                               e. The deliverable for Federal SUPTRS reporting is an annual report on the project due
                                  to BHA on October 1. The report must include:
                                            i. The number of naloxone kits purchased
                                           ii. The number of naloxone kits distributed


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                                                                              Exhibit B-1
                                                                               Budget



             COMMUNITY PREVENTION AND EARLY INTERVENTION (CPEI) PROGRAM SAMHSA
             SUBSTANCE USE PREVENTION TREATMENT AND BLOCK GRANT (SUBSTANCE ABUSE BLOCK
             GRANT PREVENTION SET ASIDE) ............................................................................................................ 2
             COMMUNITY PREVENTION AND EARLY INTERVENTION (CPEI) PROGRAM HR1319 SAMHSA
             SUBSTANCE ABUSE PREVENTION AND TREATMENT BLOCK GRANT (SUBSTANCE ABUSE
             BLOCK GRANT) ARPA ................................................................................................................................ 3
             COMMUNITY PREVENTION AND EARLY INTERVENTION (CPEI) PROGRAM PERSISTENT
             DRUNK DRIVING (PDD, RURAL ALCOHOL, AND SUBSTANCE ABUSE PREVENTIONS AND LAW
             ENFORCEMENT ASSISTANCE (LEAF) CASH FUNDS ............................................................................. 4
             COMMUNITY PREVENTION AND EARLY INTERVENTION (CPEI) PROGRAM TOBACCO USE
             PREVENTION AND ADOLESCENT SUBSTANCE ABUSE PREVENTION CASH FUNDS ...................... 5
             COMMUNITY PREVENTION AND EARLY INTERVENTION (CPEI) PROGRAM AND SCHOOL
             BASED HEALTH CENTERS PROGRAM FOR SCREENING BRIEF INTERVENTION AND
             REFERRAL TO TREATMENT (SBIRT) SERVICES SAMHSA SUBSTANCE ABUSE PREVENTION
             AND TREATMENT BLOCK GRANT (SUBSTANCE ABUSE BLOCK GRANT TREATMENT PORTION) 6
             PREVENTION LEARNING MANAGEMENT SYSTEM (LMS) DEVELOPMENT ............................... 7
             BSCA SUPPLEMENT TO EMERGENCY PREPAREDNESS RESPONSE TEAM ................................. 8
             OVERDOSE PREVENTION PROGRAM OPIATE ANTAGONIST BULK FUND .................................... 9




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                    COMMUNITY PREVENTION AND EARLY INTERVENTION
                                  (CPEI) PROGRAM
             SAMHSA SUBSTANCE USE PREVENTION TREATMENT AND BLOCK GRANT (SUBSTANCE
                            ABUSE BLOCK GRANT PREVENTION SET ASIDE)



               I.    PROJECT TERM
                       a. July1, 2024, through June 30, 2025


              II.    PROJECT BUDGET INFORMATION
                      PROJECT       FUND    APPROPRIATION                          BUDGET AMOUNT

              Substance Abuse Block              1000            IFLAU0180              $7,325,184.00
              Grant 1B08T1084634-01




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                    COMMUNITY PREVENTION AND EARLY INTERVENTION
                                  (CPEI) PROGRAM
               HR1319 SAMHSA SUBSTANCE ABUSE PREVENTION AND TREATMENT BLOCK GRANT
                                (SUBSTANCE ABUSE BLOCK GRANT) ARPA


               I.    PROJECT TERM
                       a. July1, 2024, through June 30, 2025




              II.    PROJECT BUDGET
                       PROJECT                          FUND           APPROPRIATION       BUDGET
                                                                                           AMOUNT

              Substance Abuse Block Grant                1000                 IFLAWC522   $1,906,602.73
              Supplemental HR 1319




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                    COMMUNITY PREVENTION AND EARLY INTERVENTION
                                  (CPEI) PROGRAM
                 PERSISTENT DRUNK DRIVING (PDD, RURAL ALCOHOL, AND SUBSTANCE ABUSE
                   PREVENTIONS AND LAW ENFORCEMENT ASSISTANCE (LEAF) CASH FUNDS


               I.    PROJECT TERM
                       a. July1, 2024, through June 30, 2025


              II.    PROJECT BUDGET
                         PROJECT                             FUND      APPROPRIATIO       BUDGET
                                                                            N             AMOUNT

                     Persistent Drunk Driving                11YO          ICLAT0545       $220,000




               Rural Alcohol and Substance Abuse             24T0          ICLAT0545        $75,600
                       (Youth Prevention)



               Law Enforcement Assistance Funds              4030          ICLAT0545       $255,000




                                                                                 TOTAL    $550,600.00




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                    COMMUNITY PREVENTION AND EARLY INTERVENTION
                                  (CPEI) PROGRAM
                TOBACCO USE PREVENTION AND ADOLESCENT SUBSTANCE ABUSE PREVENTION
                                           CASH FUNDS


               I.    PROJECT TERM
                       a. July1, 2024, through June 30, 2025


              II.    PROJECT BUDGET
                       PROJECT                               FUND        APPROPRIATIO       BUDGET
                                                                              N             AMOUNT

                 Community Prevention and                    11X0            ICLAU0180      $10,000.00
                   Treatment Programs



                Adolescent Substance Abuse                   19Y0            ICLAU0180      $42,172.00
                 Prevention and Treatment



                                                                                   TOTAL    $52,172.00




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                  COMMUNITY PREVENTION AND EARLY INTERVENTION
                 (CPEI) PROGRAM AND SCHOOL BASED HEALTH CENTERS
                  PROGRAM FOR SCREENING BRIEF INTERVENTION AND
                       REFERRAL TO TREATMENT (SBIRT) SERVICES
                    SAMHSA SUBSTANCE ABUSE PREVENTION AND TREATMENT BLOCK GRANT
                          (SUBSTANCE ABUSE BLOCK GRANT TREATMENT PORTION)


               I.    PROJECT TERM
                       a. July1, 2024, through June 30, 2025


              II.    PROJECT BUDGET
                       PROJECT                               FUND        APPROPRIATIO       BUDGET
                                                                              N             AMOUNT

               Substance Abuse Block Grant                   1000            IFLAW0522      $138,986.00
              1B08T1084634-01- CPEI Work




               Substance Abuse Block Grant                   1000            IFLAW0522     $1,538,872.18
                1B08T1084634-01- SBIRT
                          Work


               Substance Abuse Block Grant                   1000            IFLAW0522      $10,000.00
                1B08T1084634-01- SBIRT
               Work (FY24 carry-over July 1,
                2024 – September 30, 2024)

                                                                                   TOTAL   $1,687,858.18




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                    PREVENTION LEARNING MANAGEMENT SYSTEM (LMS)
                                   DEVELOPMENT

               I.    PROJECT TERM
                       a. July1, 2024, through June 30, 2025


              II.    PROJECT BUDGET
                       PROJECT                               FUND        APPROPRIATIO     BUDGET
                                                                              N           AMOUNT

              HR 1319 - Prevention LMS                       1000            IFLAWC522    $878,153.77
              Development




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                     BSCA SUPPLEMENT TO EMERGENCY PREPAREDNESS
                                   RESPONSE TEAM


               I.    PROJECT TERM
                       a. July1, 2024, through June 30, 2025




              II.    PROJECT BUDGET
                       PROJECT                               FUND      APPROPRIATION      BUDGET
                                                                                          AMOUNT

              BSCA Supplement to                             1000            IFBDB0110    $704,880.00
              Emergency Preparedness
              Response Team




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                                    OVERDOSE PREVENTION PROGRAM
                                               OPIATE ANTAGONIST BULK FUND



              II.    PROJECT TERM
                       a. Upon execution of the IA Amendment through June 30, 2025


             III.    PROJECT BUDGET
                       PROJECT                               FUND        APPROPRIATION       BUDGET
                                                                                             AMOUNT

                     Naloxone Bulk Fund                      1000            IFLAW0522      $3,000,000.00
                         Supplement



                                                                                   TOTAL    $3,000,000.00




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                                            EXHIBIT D-1 - Supplemental Provisions for Federal Awards

             For the purposes of this Exhibit only, Contractor is also identified as “Subrecipient.” This Contract has been
             funded, in whole or in part, with an award of Federal funds. In the event of a conflict between the provisions of
             these Supplemental Provisions for Federal Awards, the Special Provisions, the Contract or any attachments or
             exhibits incorporated into and made a part of the Contract, the Supplemental Provisions for Federal Awards shall
             control. In the event of a conflict between the Supplemental Provisions for Federal Awards and the FFATA
             Supplemental Provisions (if any), and/or exhibit regarding SLFRF Federal Provisions, the terms re FFATA and/or
             SLFRF shall control. If the source of the funding of the Contract is a grant, these Federal Provisions are subject to
             the Award as defined in §2 of these Federal Provisions, as may be revised pursuant to ongoing guidance from the
             relevant Federal or State of Colorado agency or institutions of higher education.

             1) Federal Award Identification
                   i.   Subrecipient: Colorado Department of Public Health & Environment
                  ii.   Subrecipient Unique Entity ID number: Y3WEW9MQ6NH5
                 iii.   The Federal Award Identification Number (FAIN) is:
                             a)     SABG: B08TI085796
                             b)     HR1319: B08TI083931-01
                             c)     H24MBS: B09SM089139
                 iv.    The Federal award date is:
                             a)     SABG: February 20, 2024
                             b)     HR1319: May 17, 2021
                             c)     H24MBS: August 23, 2023
                  v.    The subaward period of performance start date is:
                             a)     SABG: October 1, 2023 – September 30, 2025
                             b)     HR1319: September 1, 2021 – September 30, 2025
                             c)     H24MBS: September 30, 2023 – September 29, 2025

                   vi.     Federal Funds:
                           Contract or Amount of Federal funds       Total amount of Federal        Total amount of the
                           Fiscal Year obligated by this Contract    funds obligated to the         Federal Award committed
                                                                     Subrecipient                   to Subrecipient by CDHS

                              FY25         $9,013,042.18             $9,013,042.18                  $9,013,042.18
                              SABG

                              FY25         $5,784,756.50             $5,784,756.50                  $5,784,756.50
                             HR1319

                             FY25          $704,880.00               $704,880.00                    $704,880.00
                            H24MBS

             Supplemental Provisions for Federal Awards                                                        Page 1 of 11
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                  vii.       Federal award project description: To provide funding for substance misuse prevention and early
                             intervention through the Community Prevention and Early Intervention Program.
                  viii.      The name of the Federal awarding agency is U.S. Department of Treasury; the name of the pass-
                             through entity is the State of Colorado, Department of Human Services (CDHS).
                    ix.      The Catalog of Federal Domestic Assistance (CFDA) number is:
                                  a)      SABG is 93.959, name is Substance Use Prevention and Treatment Block Grant, and the
                                          dollar amount is $9,057,425.
                                  b)      HR1319 is 93.959, name is Substance Use Prevention and Treatment Block Grant, and the
                                          dollar amount is $23,406,309.
                                  c)      H24MBS is 93.958, name is Block Grants for Community Mental Health Services –
                                          BSCA 2nd Allocation, and the dollar amount is $851,047.
                     x.      This award is not for research & development;
                    xi.      The indirect cost rate for the Federal award (including if the de minimis rate is charged per 2 CFR
                             §200.414 Indirect (F&A) costs) is pre-determined based upon the State of Colorado and CDHS cost
                             allocation plan.
             2)   All requirements imposed by CDHS on Subrecipient so that the Federal award is used in accordance with
                  Federal statutes, regulations, and the terms and conditions of the Federal award, are stated in Exhibit A,
                  Exhibit B, Exhibit C, and Exhibit D.
             3)   Any additional requirements that CDHS imposes on Subrecipient in order for CDHS to meet its own
                  responsibility to the Federal awarding agency, including identification of any required financial and
                  performance reports, are stated in Exhibit A, Exhibit B, Exhibit C, and Exhibit D.
             4)   Subrecipient’s approved indirect cost rate is 0%.
             5)   Subrecipient must permit CDHS and auditors to have access to Subrecipient’s records and financial statements
                  as necessary for CDHS to meet the requirements of 2 CFR §200.332 Requirements for pass-through entities,
                  §§ 200.300 Statutory and National Policy Requirements through §200.309 Period of performance, and Subpart
                  F—Audit Requirements of this Part.
             6)   The appropriate terms and conditions concerning closeout of the subaward are listed in Section 15 of this
                  Exhibit and may be further specified in the accompanying Scope of Work exhibit.
             7)   Performance and Final Status. Subrecipient shall submit all financial, performance, and other reports to
                  CDHS no later than 30 calendar days after the period of performance end date or sooner termination of this
                  Contract containing an evaluation and review of Subrecipient’s performance and the final status of
                  Subrecipient’s obligations hereunder.
             8)   Matching Funds
                        If a box below is checked, the accompanying provision applies.

                     i.    X Subrecipient is not required to provide matching funds.
                    ii.    ☐ Subrecipient shall provide matching funds as stated in insert reference to exhibit that contains
                           match information. Subrecipient shall have raised the full amount of matching funds prior to the
                           Effective Date and shall report to CDHS regarding the status of such funds upon request.
                           Subrecipient’s obligation to pay all or any part of any matching funds, whether direct or contingent,
                           only extends to funds duly and lawfully appropriated for the purposes of this Contract by the
                           authorized representatives of the Subrecipient and paid into the Subrecipient’s treasury or bank
                           account. Subrecipient represents to CDHS that the amount designated as matching funds has been
                           legally appropriated for the purposes of this Contract by its authorized representatives and paid into its
             Supplemental Provisions for Federal Awards                                                          Page 2 of 11
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                           treasury or bank account. Subrecipient does not by this Contract irrevocably pledge present cash
                           reserves for payments in future fiscal years, and this Contract is not intended to create a multiple-fiscal
                           year debt of the Subrecipient. Subrecipient shall not pay or be liable for any claimed interest, late
                           charges, fees, taxes or penalties of any nature, except as required by Subrecipient’s laws or policies.
             1. DEFINITIONS.
                1.1 For the purposes of these Federal Provisions, the following terms shall have the meanings ascribed to them
                    below.
                      1.1.1    “Award” means an award of Federal financial assistance, and the Contract setting forth the terms
                               and conditions of that financial assistance, that a non-Federal Entity receives or administers.
                           1.1.1.1 Awards may be in the form of:
                           1.1.1.2 Grants;
                           1.1.1.3 Contracts;
                               1.1.1.3.1      Cooperative Contracts, which do not include cooperative research and
                                              development Contracts (CRDA) pursuant to the Federal Technology Transfer
                                              Act of 1986, as amended (15 U.S.C. 3710);
                               1.1.1.3.2      Loans;
                               1.1.1.3.3      Loan Guarantees;
                               1.1.1.3.4      Subsidies;
                               1.1.1.3.5      Insurance;
                               1.1.1.3.6      Food commodities;
                               1.1.1.3.7      Direct appropriations
                               1.1.1.3.8      Assessed and voluntary contributions; and
                               1.1.1.3.9      Other financial assistance transactions that authorize the expenditure of Federal
                                              funds by non-Federal entities.
                               1.1.1.3.10 Any other items specified by OMB in policy memoranda available at the OMB
                                          website or other source posted by the OMB.
                      1.1.2    Award does not include:
                           1.1.2.1 Technical assistance, which provides services in lieu of money;
                           1.1.2.2 A transfer of title to Federally owned property provided in lieu of money; even if the
                                   award is called a grant;
                           1.1.2.3 Any award classified for security purposes; or
                           1.1.2.4 Any awarded funded in whole or in part with Recovery funds, as defined in section 1512
                                   of the American Recovery, and Reinvestment Act (ARRA) of 2009 (Public Law 111-
                                   5).
                      1.1.3    “Contract” means the Contract to which these Federal Provisions are attached and includes
                               all Award types in § of this Exhibit.
                      1.1.4 “Contractor” means the party or parties to a Contract funded, in whole or in part, with Federal
                             financial assistance, other than the Prime Recipient, and includes grantees, subgrantees,
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                               Subrecipients, and borrowers. For purposes of Transparency Act reporting, Contractor does not
                               include Vendors.
                      1.1.5 “Unique Entity ID number” or “UEI” is the Unique Entity ID number established by the federal
                             government in the Unique Entity ID System to uniquely identify a business entity. For more, see:
                             www.sam.gov.
                      1.1.6    “Entity” means:
                           1.1.6.1 If the source of funding is a Grant:
                               1.1.6.1.1      a Non-Federal Entity;
                               1.1.6.1.2      a foreign public entity;
                               1.1.6.1.3      a foreign organization;
                               1.1.6.1.4      a non-profit organization;
                               1.1.6.1.5      a domestic for-profit organization (for 2 CFR parts 25 and 170 only);
                               1.1.6.1.6      a foreign non-profit organization (only for 2 CFR part 170) only);
                               1.1.6.1.7      a Federal agency, but only as a Subrecipient under an Award or Subaward to a non-
                                              Federal entity (or 2 CFR 200.1); or
                               1.1.6.1.8      a foreign for-profit organization (for 2 CFR part 170 only).
                           1.1.6.2 If the source of funding is not a Grant:
                               1.1.6.2.1      all of the following as defined at 2 CFR part 25, subpart C;
                               1.1.6.2.2      A governmental organization, which is a State, local government, or Indian Tribe;
                               1.1.6.2.3      a foreign public entity;
                               1.1.6.2.4      a domestic or foreign non-profit organization;
                               1.1.6.2.5      a domestic or foreign for-profit organization; and
                               1.1.6.2.6      a Federal agency, but only a Subrecipient under an Award or Subaward to a non-Federal
                                              entity.
                      1.1.7    “Executive” means an officer, managing partner or any other employee in a management position.
                      1.1.8    If the source of funding is a Grant, “Federal Awarding Agency” means a Federal agency providing
                               a Federal Award to a Recipient as described in 2 CFR 200.1. If the source of funding is not a Grant,
                               “Federal Award Identification Number (FAIN)” means an Award number assigned by a Federal
                               agency to a Prime Recipient.
                      1.1.9    “FFATA” means the Federal Funding Accountability and Transparency Act of 2006 (Public Law
                               109-282), as amended by §6202 of Public Law 110-252. FFATA, as amended, also is referred to as
                               the “Transparency Act.”
                      1.1.10 “Federal Provisions” means these Federal Provisions subject to the Transparency Act and Uniform
                              Guidance, as may be revised pursuant to ongoing guidance from the relevant Federal or State of
                              Colorado agency or institutions of higher education.
                      1.1.11 If the source of funding is a Grant, “Grant” as used herein is the Contract to which these Federal
                             Provisions are attached.
                      1.1.12 “Grantee” means the party or parties identified as such in the Grant to which these Federal Provisions
                             are attached if the source of funding is a Grant. Grantee also means Subrecipient.

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                      1.1.13 “Non-Federal Entity means a State, local government, Indian tribe, institution of higher education,
                             or nonprofit organization that carries out a Federal Award as a Recipient or a Subrecipient.
                      1.1.14 “Nonprofit Organization” means any corporation, trust, association, cooperative, or other
                             organization, not including IHEs, that:
                           1.1.14.1 Is operated primarily for scientific, educations, service, charitable, or similar purposes in the
                                   public interest;
                           1.1.14.2 Is not organized primarily for the profit, and
                           1.1.14.3 Uses net process to maintain improve or expand the operations of the organization.
                      1.1.15 “OMB” means the Executive Office of the President, Office of Management and Budget.
                      1.1.16 “Pass-through Entity” means a non-Federal Entity that provides a Subaward to a Subrecipient to
                             carry out part of a Federal program.
                      1.1.17 “Prime Recipient” means a Colorado State agency or institution of higher education that receives an
                             Award, or, of the source of funding is a Grant it is that agency or institution identified as the Grantor
                             in the Grant to which these Federal Provisions are attached.
                      1.1.18 “Subaward” means an award by a Prime Recipient to a Subrecipient funded in whole or in part by a
                             Federal Award. The terms and conditions of the Federal Award flow down to the Subaward unless
                             the terms and conditions of the Federal Award specifically indicate otherwise in accordance with 2
                             CFR 200.101 or 2 CFR 200.38, as applicable. The term does not include payments to a contractor
                             or payments to an individual that is a beneficiary of a Federal program.
                      1.1.19 “Subrecipient” or, if the source of funding is a Grant, “Subgrantee” means a non-Federal Entity (or
                             a Federal agency under an Award or Subaward to a non-Federal Entity) receiving Federal funds
                             through a Prime Recipient to support the performance of the Federal project or program for which
                             the Federal funds were awarded. A Subrecipient is subject to the terms and conditions of the Federal
                             Award to the Prime Recipient, including program compliance requirements. The term “Subrecipient”
                             includes and may be referred to as Subgrantee. The term does not include an individual who is a
                             beneficiary of a federal program.
                      1.1.20 “Subrecipient Parent UEI Number” means the subrecipient parent organization’s 12-digit Unique
                             Entity ID System (UEI) number that appears in the subrecipient’s System for Award Management
                             (SAM) profile, if applicable.
                      1.1.21 “System for Award Management (SAM)” means the Federal repository into which an Entity must
                             enter the information required under the Transparency Act, which may be found at
                             http://www.sam.gov.
                      1.1.22 “Total Compensation” means the cash and noncash dollar value earned by an Executive during the
                             Prime Recipient’s or Subrecipient’s preceding fiscal year (see 48 CFR 52.204-10, as prescribed in
                             48 CFR 4.1403(a), as applicable) and includes the following:
                           1.1.22.1 Salary and bonus;
                           1.1.22.2 Awards of stock, stock options, and stock appreciation rights, using the dollar amount
                                    recognized for financial statement reporting purposes with respect to the fiscal year in
                                    accordance with the Statement of Financial Accounting Standards No. 123 (Revised 2005)
                                    (FAS 123R), Shared Based Payments;
                           1.1.22.3 Earnings for services under non-equity incentive plans, not including group life, health,
                                    hospitalization or medical reimbursement plans that do not discriminate in favor of
                                    Executives and are available generally to all salaried employees;

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                           1.1.22.4 Change in present value of defined benefit and actuarial pension plans;
                           1.1.22.5 Above-market earnings on deferred compensation which is not tax-qualified;
                           1.1.22.6 Other compensation, if the aggregate value of all such other compensation (e.g., severance,
                                    termination payments, value of life insurance paid on behalf of the employee, perquisites or
                                    property) for the Executive exceeds $10,000.
                      1.1.23 “Transparency Act” means the Federal Funding Accountability and Transparency Act of 2006
                             (Public Law 109-282), as amended by §6202 of Public Law 110-252. The Transparency Act may
                             also be referred to as FFATA.
                      1.1.24 “Uniform Guidance” means the Office of Management and Budget Uniform Administrative
                             Requirements, Cost Principles, and Audit Requirements for Federal Awards, which, unless the
                             source of funding is a Grant, supersedes requirements from OMB Circulars A-21, A-87, A-110, and
                             A-122, OMB Circulars A-89, A-102, and A-133, and the guidance in Circular A-50 on Single Audit
                             Act follow-up. The terms and conditions of the Uniform Guidance flow down to Awards to
                             Subrecipients unless the Uniform Guidance or the terms and conditions of the Federal Award
                             specifically indicate otherwise.
                      1.1.25 “Vendor” means a dealer, distributor, merchant or other seller providing property or services required
                              for a project or program funded by an Award. A Vendor is not a Prime Recipient or a Subrecipient
                              and is not subject to the terms and conditions of the Federal award. Program compliance
                              requirements do not pass through to a Vendor.
             2.   COMPLIANCE.

                  2.1 Contractor/Grantee shall comply with all applicable provisions of the Transparency Act and the regulations
                      issued pursuant thereto, all applicable provisions of the Uniform Guidance, including, but not limited to, all
                      applicable Federal Laws and regulations required by this Federal Award. Any revisions to such provisions
                      or regulations shall automatically become a part of these Federal Provisions, without the necessity of either
                      party executing any further instrument. The State of Colorado, at its discretion, may provide written
                      notification to Contractor/Grantee of such revisions, but such notice shall not be a condition precedent to
                      the effectiveness of such revisions.
             3.   SYSTEM FOR AWARD MANAGEMENT (SAM) AND UNIQUE ENTITY ID SYSTEM (UEI) REQUIREMENTS.
                  3.1 SAM. Contractor/Grantee shall maintain the currency of its information in SAM until the
                      Contractor/Grantee submits the final financial report required under the Award or receives final payment,
                      whichever is later. Contractor/Grantee shall review and update SAM information at least annually after
                      the initial registration, and more frequently if required by changes in its information.
                  3.2 UEI. Contractor/Grantee shall provide its UEI number to its Prime Recipient and shall update
                      Contractor’s/Grantee’s information in www.sam.gov at least annually after the initial registration, and
                      more frequently if required by changes in Contractor’s/Grantee’s information.
             4.   TOTAL COMPENSATION.
                  4.1 Contractor/Grantee shall include Total Compensation in SAM for each of its five most highly compensated
                      Executives for the preceding fiscal year if:
                      4.1.1 The total Federal funding authorized to date under the Award is $30,000 or more if the source of
                            funding is a Grant, or otherwise $25,000 or more if the source of funding is not a Grant; and
                      4.1.2 In the preceding fiscal year, Contractor/Grantee received:
                           4.1.2.1 80% or more of its annual gross revenues from Federal procurement contracts and subcontracts
                                   and/or Federal financial assistance Awards or Subawards subject to the Transparency Act; and

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                           4.1.2.2 $30,000,000 or more in annual gross revenues from Federal procurement contracts and
                                   subcontracts and/or Federal financial assistance Awards or Subawards subject to the
                                   Transparency Act if the source of funding is a Grant or otherwise $25,000,000 or more in
                                   annual gross revenues from Federal procurement contracts and subcontracts and/or Federal
                                   financial assistance Awards or Subawards subject to the Transparency Act if the source of
                                   funding is not a Grant; and
                           4.1.2.3 The public does not have access to information about the compensation of such Executives
                                   through periodic reports filed under section 13(a) or 15(d) of the Securities Exchange Act of
                                   1934 (15 U.S.C. 78m(a), 78o(d) or § 6104 of the Internal Revenue Code of 1986.
             5.   REPORTING.
                  5.1 If Contractor/Grantee is a Subrecipient of the Award pursuant to the Transparency Act, Grantee shall report
                      data elements to SAM and to the Prime Recipient as required in this Exhibit. No direct payment shall be
                      made to Grantee for providing any reports required under these Federal Provisions and the cost of producing
                      such reports shall be included in the Contract/Grant price. The reporting requirements in this Exhibit are
                      based on guidance from the US Office of Management and Budget (OMB), and as such are subject to
                      change at any time by OMB. Any such changes shall be automatically incorporated into this Contract/Grant
                      and shall become part of Contractor’s/Grantee’s obligations under this Contract/Grant.
             6.   EFFECTIVE DATE AND DOLLAR THRESHOLD FOR REPORTING.
                  6.1 If the source of funding is a Grant, Reporting requirements in §7 below apply to new Awards as of October
                      1, 2010, if the initial award is $30,000 or more. If the initial Award is below $30,000 but subsequent Award
                      modifications result in a total Award of $30,000 or more, the Award is subject to the reporting requirements
                      as of the date the Award exceeds $30,000. If the initial Award is $30,000 or more, but funding is
                      subsequently de-obligated such that the total award amount falls below $30,000, the Award shall continue
                      to be subject to the reporting requirements.
                  6.2 If the source of funding is not a Grant, Reporting requirements in §7 below apply to new Awards as of
                      October 1, 2010, if the initial award is $25,000 or more. If the initial Award is below $25,000 but subsequent
                      Award modifications result in a total Award of $25,000 or more, the Award is subject to the reporting
                      requirements as of the date the Award exceeds $25,000. If the initial Award is $25,000 or more, but funding
                      is subsequently de-obligated such that the total award amount falls below $25,000, the Award shall continue
                      to be subject to the reporting requirements.
                  6.3 The procurement standards in §8 below are applicable to new Awards made by Prime Recipient as of
                      December 26, 2015. The standards set forth in §11 below are applicable to audits of fiscal years beginning
                      on or after December 26, 2014.
             7.   SUBRECIPIENT REPORTING REQUIREMENTS.
                  7.1 If Contractor/Grantee is a Subrecipient, Contractor/Grantee shall report as set forth below.
                      7.1.1 To SAM. A Subrecipient shall register in SAM and report the following data elements in SAM for
                            each Federal Award Identification Number (FAIN) assigned by a Federal agency to a Prime Recipient
                            no later than the end of the month following the month in which the Subaward was made:
                           7.1.1.1 Subrecipient UEI Number;
                           7.1.1.2 Subrecipient UEI Number if more than one electronic funds transfer (EFT) account;
                           7.1.1.3 Subrecipient parent’s organization UEI Number;
                           7.1.1.4 Subrecipient’s address, including Street Address, City, State, Country, Zip (+ 4 if source of
                                   funding is a Grant or as otherwise directed per SAM directives for proper reporting), and
                                   Congressional District;
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                           7.1.1.5 Subrecipient’s top 5 most highly compensated Executives if the criteria in §4 above are met;
                                   and
                           7.1.1.6 Subrecipient’s Total Compensation of top 5 most highly compensated Executives if the criteria
                                   in §4 above met.
                      7.1.2 To Prime Recipient. A Subrecipient shall report to its Prime Recipient, upon the effective date of the
                            Contract/Grant, the following data elements:
                           7.1.2.1 Subrecipient’s UEI Number as registered in SAM.
                           7.1.2.2 Primary Place of Performance Information, including: Street Address, City, State, Country, Zip
                                   code + 4, and Congressional District.
             8.   SUBRECIPIENT REPORTING REQUIREMENTS.
                  8.1 Procurement Procedures. A Subrecipient shall use its own documented procurement procedures which
                      reflect applicable State, local, and Tribal laws and applicable regulations, provided that the procurements
                      conform to applicable Federal law and the standards identified in the Uniform Guidance, including without
                      limitation, 2 CFR 200.318 through 200.327 thereof.
                  8.2 If the source of funding is a Grant: Domestic preference for procurements (2 CFR 200.322). As appropriate
                      and to the extent consistent with law, the non-Federal entity should, to the greatest extent practicable under
                      a Federal award, provide a preference for the purchase, acquisition, or use of goods, products, or materials
                      produced in the United States (including but not limited to iron, aluminum, steel, cement, and other
                      manufactured products). The requirements of this section must be included in all subawards including all
                      contracts and purchase orders for work or products under this award.
                  8.3 Procurement of Recovered Materials. If a Subrecipient is a State Agency or an agency of a political
                      subdivision of the State, its contractors must comply with section 6002 of the Solid Waste Disposal Act, as
                      amended by the Resource Conservation and Recovery Act. The requirements of Section 6002 include
                      procuring only items designated in guidelines of the Environmental Protection Agency (EPA) at 40 CFR
                      part 247, that contain the highest percentage of recovered materials practicable, consistent with maintaining
                      a satisfactory level of competition, where the purchase price of the item exceeds $10,000 or the value of the
                      quantity acquired during the preceding fiscal year exceeded $10,000; procuring solid waste management
                      services in a manner that maximizes energy and resource recovery; and establishing an affirmative
                      procurement program for procurement of recovered materials identified in the EPA guidelines.
             9.   ACCESS TO RECORDS.
                  9.1 A Subrecipient shall permit Recipient/Prime Recipient and its auditors to have access to Subrecipient’s
                      records and financial statements as necessary for Recipient to meet the requirements of 2 CFR 200.311-
                      200.332 (Requirements for pass-through entities), 2 CFR 200.300 (Statutory and national policy
                      requirements) through 2 CFR 200.309 (Period of performance), and Subpart F-Audit Requirements of the
                      Uniform Guidance.
            10.   SINGLE AUDIT REQUIREMENTS
                  10.1 If a Subrecipient expends $750,000 or more in Federal Awards during the Subrecipient’s fiscal year, the
                       Subrecipient shall procure or arrange for a single or program-specific audit conducted for that year in
                       accordance with the provisions of Subpart F-Audit Requirements of the Uniform Guidance, issued pursuant
                       to the Single Audit Act Amendments of 1996, (31 U.S.C. 7501-7507). 2 CFR 200.501.




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                     10.1.1 Election. A Subrecipient shall have a single audit conducted in accordance with Uniform Guidance
                            2 CFR 200.514 (Scope of audit), except when it elects to have a program-specific audit conducted in
                            accordance with 2 CFR 200.507 (Program-specific audits). The Subrecipient may elect to have a
                            program-specific audit if Subrecipient expends Federal Awards under only one Federal program
                            (excluding research and development) and the Federal program’s statutes, regulations, or the terms
                            and conditions of the Federal award do not require a financial statement audit of Prime Recipient. A
                            program-specific audit may not be elected for research and development unless all of the Federal
                            Awards expended were received from Recipient and Recipient approves in advance a program-
                            specific audit.
                     10.1.2 Exemption. If a Subrecipient expends less than $750,000 in Federal Awards during its fiscal year,
                            the Subrecipient shall be exempt from Federal audit requirements for that year, except as noted in 2
                            CFR 200.503 (Relation to other audit requirements), but records shall be available for review or audit
                            by appropriate officials of the Federal agency, the State, and the Government Accountability Office.
                     10.1.3 Subrecipient Compliance Responsibility. A Subrecipient shall procure or otherwise arrange for the
                            audit required by Subpart F of the Uniform Guidance and ensure it is properly performed and
                            submitted when due in accordance with the Uniform Guidance. Subrecipient shall prepare
                            appropriate financial statements, including the schedule of expenditures of Federal awards in
                            accordance with 2 CFR 200.510 (Financial statements) and provide the auditor with access to
                            personnel, accounts, books, records, supporting documentation, and other information as needed for
                            the auditor to perform the audit required by Uniform Guidance Subpart F-Audit Requirements.
             11. CONTRACT/GRANT PROVISIONS FOR SUBRECIPIENT CONTRACTS.
                 11.1 In addition to other provisions required by the Federal Awarding Agency or the Prime Recipient,
                      Contractors/Grantees that are Subrecipients shall comply with the following provisions. Subrecipients shall
                      include all of the following applicable provisions in all subcontracts entered into by it pursuant to this
                      Contract/Grant.
                     11.1.1 [Applicable to federally assisted construction contracts.] Equal Employment Opportunity. Except as
                            otherwise provided under 41 CFR Part 60, all contracts that meet the definition of “federally assisted
                            construction contract” in 41 CFR Part 60-1.3 shall include the equal opportunity clause provided
                            under 41 CFR 60-1.4(b), in accordance with Executive Order 11246, “Equal Employment
                            Opportunity” (30 FR 12319, 12935, 3 CFR Part, 1964-1965 Comp., p. 339), as amended by Executive
                            Order 11375, “Amending Executive Order 11246 Relating to Equal Employment Opportunity,” and
                            implementing regulations at 41 CFR part 60, Office of Federal Contract Compliance Programs, Equal
                            Employment Opportunity, Department of Labor.
                     11.1.2 [Applicable to on-site employees working on government-funded construction, alteration and repair
                            projects.] Davis-Bacon Act. Davis-Bacon Act, as amended (40 U.S.C. 3141-3148).
                     11.1.3 Rights to Inventions Made Under a contract/grant or agreement. If the Federal Award meets the
                            definition of “funding agreement”/ “funding Contract” under 37 CFR 401.2 (a) and the Prime
                            Recipient or Subrecipient wishes to enter into a contract with a small business firm or nonprofit
                            organization regarding the substitution of parties, assignment or performance of experimental,
                            developmental, or research work under that “funding agreement,”/”funding Contract”, the Prime
                            Recipient or Subrecipient must comply with the requirements of 37 CFR Part 401, “Rights to
                            Inventions Made by Nonprofit Organizations and Small Business Firms Under Government Grants,
                            Contracts and Cooperative Agreements,” and any implementing regulations issued by the Federal
                            Awarding Agency.




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                     11.1.4 Clean Air Act (42 U.S.C. 7401-7671q.) and the Federal Water Pollution Control Act (33 U.S.C. 1251-
                            1387), as amended. Contracts and subgrants of amounts in excess of $150,000 must contain a
                            provision that requires the non-Federal awardee(s) to agree to comply with all applicable standards,
                            orders or regulations issued pursuant to the Clean Air Act (42 U.S.C. 7401-7671q) and the Federal
                            Water Pollution Control Act as amended (33 U.S.C. 1251-1387). Violations must be reported to the
                            Federal Awarding Agency and the Regional Office of the Environmental Protection Agency (EPA).
                     11.1.5 Debarment and Suspension (Executive Orders 12549 and 12689). A contract award (see 2 CFR
                            180.220) must not be made to parties listed on the government wide exclusions in the System for
                            Award Management (SAM), in accordance with the OMB guidelines at 2 CFR 180 that implement
                            Executive Orders 12549 (3 CFR part 1986 Comp., p. 189) and 12689 (3 CFR part 1989 Comp., p.
                            235), “Debarment and Suspension.” SAM Exclusions contains the names of parties debarred,
                            suspended, or otherwise excluded by agencies, as well as parties declared ineligible under statutory
                            or regulatory authority other than Executive Order 12549.
                     11.1.6 Byrd Anti-Lobbying Amendment (31 U.S.C. 1352). Contractors that apply or bid for an award
                            exceeding $100,000 must file the required certification. Each tier certifies to the tier above that it
                            will not and has not used Federal appropriated funds to pay any person or organization for influencing
                            or attempting to influence an officer or employee of any agency, a member of Congress, officer or
                            employee of Congress, or an employee of a member of Congress in connection with obtaining any
                            Federal contract, grant or any other award covered by 31 U.S.C. 1352. Each tier must also disclose
                            any lobbying with non-Federal funds that takes place in connection with obtaining any Federal award.
                            Such disclosures are forwarded from tier to tier up to the non-Federal award.
                     11.1.7 Never contract with the enemy (2 CFR 200.215). Federal awarding agencies and recipients are subject
                            to the regulations implementing “Never contract with the enemy” in 2 CFR part 183. The regulations
                            in 2 CFR part 183 affect covered contracts, grants and cooperative agreements that are expected to
                            exceed $50,000 within the period of performance, are performed outside the United States and its
                            territories, and are in support of a contingency operation in which members of the Armed Forces are
                            actively engaged in hostilities.
                     11.1.8 Prohibition on certain telecommunications and video surveillance services or equipment (2 CFR
                            200.216). Grantee is prohibited from obligating or expending loan or grant funds on certain
                            telecommunications and video surveillance services or equipment pursuant to 2 CFR 200.216.
             12. CERTIFICATIONS.
                 12.1 Unless prohibited by Federal statutes or regulations, Recipient/Prime Recipient may require Subrecipient
                      to submit certifications and representations required by Federal statutes or regulations on an annual basis.
                      2 CFR 200.208. Submission may be required more frequently if Subrecipient fails to meet a requirement
                      of the Federal award. Subrecipient shall certify in writing to the State at the end of the Award that the
                      project or activity was completed, or the level of effort was expended. 2 CFR 200.201(3). If the required
                      level of activity or effort was not carried out, the amount of the Award must be adjusted.
             13. EXEMPTIONS.
                 13.1 These Federal Provisions do not apply to an individual who receives an Award as a natural person, unrelated
                      to any business or non-profit organization he or she may own or operate in his or her name.
             14. EVENT OF DEFAULT AND TERMINATION.
                 14.1 Failure to comply with these Federal Provisions shall constitute an event of default under the Contract/Grant
                      and the State of Colorado may terminate the Contract/Grant upon 30 days prior written notice if the default
                      remains uncured five calendar days following the termination of the 30-day notice period. This remedy will
                      be in addition to any other remedy available to the State of Colorado under the Contract/Grant, at law or in
                      equity.
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                                                                                                                         Exhibit D-1


                 14.2 Termination (2 CFR 200.340). The Federal Award may be terminated in whole or in part as follows:
                     14.2.1 By the Federal Awarding Agency or Pass-through Entity, if a Non-Federal Entity fails to comply with
                            the terms and conditions of a Federal Award;
                     14.2.2 By the Federal awarding agency or Pass-through Entity, to the greatest extent authorized by law, if
                            an award no longer effectuates the program goals or agency priorities;
                     14.2.3 By the Federal awarding agency or Pass-through Entity with the consent of the Non-Federal Entity,
                            in which case the two parties must agree upon the termination conditions, including the effective date
                            and, in the case of partial termination, the portion to be terminated;
                     14.2.4 By the Non-Federal Entity upon sending to the Federal Awarding Agency or Pass-through Entity
                            written notification setting forth the reasons for such termination, the effective date, and, in the case
                            of partial termination, the portion to be terminated. However, if the Federal Awarding Agency or Pass-
                            through Entity determines in the case of partial termination that the reduced or modified portion of
                            the Federal Award or Subaward will not accomplish the purposes for which the Federal Award was
                            made, the Federal Awarding Agency or Pass-through Entity may terminate the Federal Award in its
                            entirety; or
                     14.2.5 By the Federal Awarding Agency or Pass-through Entity pursuant to termination provisions included
                            in the Federal Award.
             15. ADDITIONAL TERMS RE PAYMENTS TO GRANTEE TO SUPPLEMENT MAIN TERMS IN CONTRACT.
                 15.1 Federal Recovery: The closeout of a Federal Award does not affect the right of the Federal Awarding Agency
                      or the State to disallow costs and recover funds on the basis of a later audit or other review. Any cost
                      disallowance recovery is to be made within the Record Retention Period, as defined below.
                 15.2 Close-Out: Grantee shall close out this Award within 45 days after the Fund Expenditure End Date shown
                      on the Signature and Cover Page for this Agreement. To complete closeout, Grantee shall submit to the
                      State all deliverables (including documentation) as defined in this Agreement and Grantee’s final
                      reimbursement request or invoice. The State will withhold 5% of allowable costs until all final
                      documentation has been submitted and accepted by the State as substantially complete. If the Federal
                      Awarding Agency has not closed this Federal Award within one year and 90 days after the Fund Expenditure
                      End Date shown on the Signature and Cover Page for this Agreement due to Grantee’s failure to submit
                      required documentation, then Grantee may be prohibited from applying for new Federal Awards through
                      the State until such documentation is submitted and accepted


                                                                EXHIBIT END




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March 27, 2025

Colorado Behavioral Health Administration
710 S. Ash Street
Denver, CO 80246

Re: Notice of Stop Work Order for Original Agreement


Good afternoon,

I am writing to you today to follow up on a message that you received on March 25, 2025
regarding a notification that the Behavioral Health Administration (BHA) received from the
Substance Abuse and Mental Health Services Administration (SAMHSA) on the evening of March
24th. The SAMHSA notice detailed the termination of four American Rescue Plan Act (ARPA)
grants including: (1) Mental Health Block Grant 1319 (Stimulus) (FAIN #B09SM085338); (2)
Mental Health Block Grant COVID Testing and Mitigation (FAIN #B09SM085865); (3) Substance
Use Prevention, Treatment, and Recovery Services Block Grant 1319 (Stimulus) (FAIN
#B08TI083931); (4) Substance Use Prevention, Treatment, and Recovery Services Block Grant
COVID Testing and Mitigation (FAIN #B08TI084572).


Based on these notices, the BHA has determined that the federal funds supporting your
agreement are not available. Therefore, effective immediately, and pursuant to the terms of
your agreement,1 all work related to the above referenced grants must stop. This stop work
order shall remain in effect until further notice. Please note, this stop work order ONLY
applies to the four direct-to-agency grants listed above.


The BHA has been working to ensure grantees were notified about this sudden change in
availability of federal funding and understands you may have a variety of questions as a result
of this challenging situation. Please reach out to your BHA grant monitor directly with any
further questions.
Sincerely,




Commissioner Dannette R. Smith




1
 Depending on the type of agreement involved, this provision is known as either “Available Funds -
Contingency - Termination,” “Funds Availability,” or “Available Funds.”
